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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY

 Caption in Compliance with D.N.J. LBR 9004-1(b)

                                                                         Order Filed on February 24, 2022
                                                                         by Clerk
                                                                         U.S. Bankruptcy Court
                                                                         District of New Jersey




 In Re:                                                  Case No.:                  21-30589
                                                                              ____________________

 LTL MANAGEMENT LLC                                      Chapter:                      11
                                                                              ____________________

                                                         Hearing Date:        ____________________

                                                         Judge:                 Michael B. Kaplan
                                                                              ____________________




       -2,1767,38/$7,21$1'$*5(('25'(5%(7:((1029$176$1'
             '(%7255(*$5',1*7+($'0,66,212)'(326,7,21
                 '(6,*1$7,216$7027,2172',60,6675,$/

      The relief set forth on the following pages is ORDERED.




DATED: February 24, 2022
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  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY
   Caption in Compliance with D.N.J. LBR 9004-1(b) BAILEY GLASSER LLP
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   COOLEY LLP                                      Thomas B. Bennett, Esq. (admitted pro hac vice)
   Cullen D. Speckhart (admitted pro hac vice)     Kevin W. Barrett, Esq. (admitted pro hac vice)
   Michael Klein (admitted pro hac vice)           Maggie B. Burrus, Esq. (admitted pro hac vice)
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   Lauren A. Reichardt (pro hac vice to be filed)  Washington, DC 20007
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   55 Hudson Yards                                 Fax: (202) 463-2103
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   Tel: (212) 479-6000                                    tbennett@baileyglasser.com
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          lreichardt@cooley.com
          elazerowitz@cooley.com

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   Official Committee of Talc Claimants II
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   Kevin L. Sink (admitted pro hac vice)              Washington, DC 20024
   James C. Lanik (admitted pro hac vice)             Tel: (202) 652-4511
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   Email: notice@waldrepwall.com

   Proposed Co-Counsel to the Official Committee of
   Talc Claimants II
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  Proposed Local Counsel to
  the Official Committee of Talc Claimants II
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   In re:
                                                      Chapter 11
   LTL MANAGEMENT LLC,
                                                      Case No.: 21-30589 (MBK)
                           Debtor.
                                                      Honorable Michael B. Kaplan

       JOINT STIPULATION AND AGREED ORDER BETWEEN MOVANTS AND
      DEBTOR REGARDING THE ADMISSION OF DEPOSITION DESIGNATIONS
                       AT MOTION TO DISMISS TRIAL

            The relief set forth on the following pages is hereby ORDERED.




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        This stipulation and agreed order (this “Stipulation”) is made on this 18th day of

 February, 2022 (the “Stipulation Date”) by the Official Committee of Talc Claimants I (the

 “TCC I”), the Official Committee of Talc Claimants II (the “TCC II”), Aylstock, Witkin, Kreis &

 Overholtz, PLLC (“AWKO”), and Arnold & Itkin LLP on behalf of certain personal injury tort

 plaintiffs (collectively, “Movants”), and LTL Management LLC, the debtor and debtor-in-

 possession (“Debtor”), regarding the evidentiary record for the Motion of the Official Committee

 of Talc Claimants to Dismiss Debtor’s Chapter 11 Case [Docket No. 632] and Motion to Dismiss

 Bankruptcy Case filed by Arnold & Itkin LLP on behalf of certain personal injury tort plaintiffs

 [Docket No. 766] (the “Motions to Dismiss”).

                                            Recitals

        WHEREAS, the Preliminary Hearing on the Motions to Dismiss commenced on February

 14, 2022 (the “MTD Trial”);

        WHEREAS, the Movants have designated certain portions of the following depositions

 that they wish the Court to consider (“Movants’ Designations”), and the Debtor has counter-

 designated other portions of these depositions that it wishes the Court to consider (“Debtor’s

 Counters”):

            x   Michelle Goodridge (Dec. 20, 2021);

            x   Robert Wuesthoff (Dec. 22, 2021);

            x   Thibaut Mongon (Jan. 19, 2022);

            x   Jose Azevedo (Jan. 24, 2022);

            x   Richard Dickinson (Jan. 26, 2022);

            x   Michelle Ryan (Jan. 27, 2022);

            x   John Kim (Jan. 31, 2022);


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            x   John Kim (30(b)(6)) (Feb. 1, 2022);

            x   Adam Lisman (Feb. 8, 2022);

            x   Arthur Wong (Feb. 11, 2022); and

            x   David Kaplan (Feb. 11, 2022).

        WHEREAS, the Debtor has designated certain portions of the following depositions that it

 wishes the Court to consider (“Debtor’s Designations”), and the Movants have designated other

 portions of these depositions that they wish the Court to consider (“Movants’ Counters”):

            x   Michelle Ryan (Jan. 27, 2022);

            x   Arthur Wong (Feb. 11, 2022); and

            x   David Kaplan (Feb. 11, 2022).

        WHEREAS, a listing of (a) Movants’ Designations, (b) Debtor’s Counters, (c) Debtor’s

 Designations, and (d) Movants’ Counters (collectively, the “Stipulated Designations”) to which

 the parties either have no objections or have waived objections, together with agreed-upon

 confidentiality treatment in accordance with the Agreed Protective Order Governing Confidential

 Information [Docket No. 948] (the “Protective Order”), is attached hereto as Exhibit A;

        WHEREAS, the Parties wish the Court to accept the Designations into evidence, and

 consider the Designations in connection with deciding the MTD Trial;

        WHEREAS, those Stipulated Designations that are, pursuant to the Protective Order,

 available for public view are annexed hereto as Exhibit B.

        NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, AND UPON

 APPROVAL BY THE BANKRUPTCY COURT OF THIS STIPULATION, IT IS SO ORDERED

 AS FOLLOWS:




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        1.      The Stipulated Designations in Exhibit B hereto are admitted into evidence and are

 made part of the public record herewith

        2.      The remaining Stipulated Designations (i.e., those listed in Exhibit A hereto that

 are subject to confidential treatment in accordance with the Protective Order) are also admitted

 into evidence and shall be filed in accordance with the Protective Order or otherwise in the form

 and manner agreed between and among the parties and the Court.

        3.      This Stipulation shall constitute the entire agreement and understanding between

 Movants and Debtor relating to the subject matter hereof and supersedes all prior agreements and

 understandings between Movants and Debtor relating to the subject matter hereof.

        4.      The Court shall retain jurisdiction to resolve any disputes, controversies, or

 ambiguities arising from this Stipulation.



                                      {Signature page follows}




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 AGREED AS TO FORM AND SUBSTANCE:

 SHERMAN, SILVERSTEIN,                           GENOVA BURNS, LLC
 KOHL, ROSE & PODOLSKY, P.A.                     Proposed Local Counsel to the
 Proposed Local Counsel to the                   Official Committee of Talc Claimants I
 Official Committee of Talc Claimants II


 By:    /s/ Arthur J. Abramowitz                 By:    /s/ Daniel M. Stolz
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        Ross J. Switkes                                 Donald W. Clarke
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        aabramowitz@shermansilverstein.com              dstolz@genovaburns.com
        rswitkes@shermansilverstein.com                 dclarke@genovaburns.com

 Dated: February 18, 2022                               Dated: February 18, 2022



 WOLLMUTH MAHER & DEUTSCH LLP                    OFFIT KURMAN, P.A.
 Counsel to the Debtor                           Counsel to Aylstock, Witkin, Kreis &
                                                 Overholtz, PLLC

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 Dated: February 18, 2022                        Dated: February 18, 2022


 PACHULSKI STANG ZIEHL & JONES LLP
 Counsel to Arnold & Itkin LLP

 By:    /s/ Colin Robinson
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        Colin Robinson
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        ljones@pszjlaw.com

 Dated: February 18, 2022
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              EXHIBIT A: DEPOSITION DESIGNATIONS
 JOSE AZEVEDO – JANUARY 24, 2022

            Movants’              Debtor’s Counter
     Designation (Azevedo)          Designation
  11:20-25
  14:19-22
  17:4-17:11
  18:12-20
  22-17-23:22
  33:14-34:6
  35:11-37:16
  39:3-20
  42:20-45:12
  52:12-53:20
  55:4-57:12
  58:5-61:6                  57:18 – 22
  62:23-63:20
  65:21-68:8
  68:17-70:16
  72:2-8
  73:5-74:2
  74:13-23
  79:4-80:22
  85:18-86:6
  87:5-89:8
  90:11-98:6
  98:17-24
  99:11-101:18
  102:17-23
  103:4-108:16
  110:13-115:16
  116:4-118-21
  119:16-21                  119:23-120:3
  120:4-121-13
  147:2-8
  148:13-149:22
  152:12-22
  156:24-157:9
  168:20-169:23
  175:12-183:4               166:20 – 168:19, 183: 5 – 16




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 RICHARD DICKINSON – JANUARY 26, 2022

           Movants’                Debtor’s Counter
    Designation (Dickinson)          Designation
  18:23-19:6
  19:11-20:20
  24:3-20
  25:20-26:17
  27:19-28:7                  28:8-29:8; 29:21-24; 30:9-17
  32:14-33:20
  34:7-34:13
  34:20-35:13
  35:15-35:18
  40:12-41:12
  42:5-42:13
  44:22-45:13
  48:9-48:20
  49:24-50:11
  61:10-61:17
  70:3-70:11
  72:14-74:8
  75:10-77:15
  78:9-79:13
  80:13-20
  81:5-7
  83:12-84:17
  86:12-22
  88:12-88:18
  89:19-91:9
  91:21-93:21
  92:23-93:21
  94:14-95:21
  101:13-15                   101:16-17
  101:19-102:11
  103:17-104:15
  107:20-108:7
  117:20-118:8                113:17-21; 116:23-18
  146:7-11
  147:5-147:11
  150:11-151:21 [sic]         149:18-150:7;151:22-25
  155:22-158:19
  158:25-159:22
  172:19-174:6
  176:17-19
  176:22-178:5


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           Movants’                Debtor’s Counter
    Designation (Dickinson)           Designation
  182:20-183:16               181:22-183:1;182:15-19;
                              183:17-19
  189:16-190:8
  196:25-197:4
  197:8-17
  198:12-199:10
  199:18-24
  200:3-25
  201:17-202:3
  202:17-203:4
  203:6-17                    203:18-22; 204:12-15
  204:17-205:3
  207:8-17
  209:7-210:18
  211:24-212:17
  214:3-215:18
  218:20-219:15
  219:23-220:20
  230:6-230:19
  232:12-233:7
  236:14-238:6
  244:7-245:25
  248:25-249:16
  252:16-252:25
  256:11-256:17
  262:21-263:10
  292:25-293:18
  312:22-313:14
  318:17-319:9
  332:19-21
  333:7-335:5
  336:14-336:22               336:12-13
  338:17-339:7
  339:16-23
  340:7-21
  346:12-24
  347:19-20
  348:3-24
  350:20-351:6
  351:18-352:4
  352:11-354:9
  355:7-356:8
  356:20-357:19


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           Movants’               Debtor’s Counter
    Designation (Dickinson)         Designation
  357:23-358:15
  360:20-361:6
  364:7-365:5
  401:5-10




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 MICHELLE RYAN – JANUARY 27, 2022

  Movants’ Designation     Debtor’s Counter         Debtor’s         Movants’ Counter
          (Ryan)             Designation           Designation         Designation
  8:19-8:21                                    8:19 – 21
  9:8 – 10:17                                  9:8 – 10:17
  11:09-11:16                                  15:14 – 18
  15:14-18                                     17:21 – 18:19         16:21 – 24
  16:21-24                                     140:3 – 141:20        141:21 – 144:16
  17:1-9                                       143:19 – 22           143:24 – 144:16
  17:19-18:25                                  145:5 – 7             145:13 –23; 148:21
                                                                     – 149:10
  19:11-21:01                                  145:13 – 23           145:5 – 7; 148:21 –
                                                                     149:10
  22:4-23:8                                    149:16 – 150:6
  23:13:-24:5                                  201:19 – 207:7        207:11 – 20
                                               (including Ex. 107)
  24:7-17                                      207:11 – 20           201:19 – 207:7
  25:14-26:3                                   214:24 – 215:1        216:5 – 8; 218:6 –
                                                                     15
  27:1-5                                       215:10 – 25           214:24 – 215:1;
                                                                     216:5 – 8; 218:6 –
                                                                     15
  27:24-28:2                                   218:17 – 20           219:7 – 15; 221:10
                                                                     – 222:14; 222:16 –
                                                                     25; 223:1 – 13
  29:18-21                                     219:7 – 15            221:10 – 222:14;
                                                                     222:16 – 25; 223:1
                                                                     – 13
  29:23-30:1                                   221:10 – 222:10       221:10 – 222:14;
                                                                     222:16 – 25; 223:1
                                                                     – 13
  31:8-32:1                                    222:14                221:10 – 222:14;
                                                                     222:16 – 25; 223:1
                                                                     – 13
  32:3-32:5                                    223:14 – 224:1
  32:7-25                                      230:11 – 231:6        231:17 – 232:2
  33:2-8                                       234:15 – 235:7
  33:11-33:12
  33:17-24
  34:13-35:7
  35:22 – 36:18
  36:23 – 38:8
  39:6-13
  40:10 – 42:24          42:25
  43:1-43:2


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  Movants’ Designation     Debtor’s Counter     Debtor’s     Movants’ Counter
          (Ryan)             Designation       Designation     Designation
  43:8 -45:1
  45:5 – 47:3
  48: 8-49: 7
  49:18 – 50:13
  51:13-52:5             51:5-51:11
  52:12 – 53:5
  53:17-19
  54:22- 56:8
  56:12-57:13
  58:14-58:22
  59:10-60:6
  60:13-60:15            60:10-16
  60:17-60:19
  60:21-60:24
  61:4-15
  61:17-62:25
  63:11-63:15
  64:4-65:9
  65:24-66:7             66:8-9
  66:10-67:7
  67:9-22
  67:24-68:15            68:16-17
  68:18-69:8
  69:10-69:17            69:18-21
  69:22-69:23
  69:25-70:02
  70:10-70:22            70:23-24
  70:25                  70:23-24
  75:22-75:25            75:17-18
  76:06-76:20            76:1-5
  80:20-22
  80:24-25
  81:8-87:8
  89:4 – 91:16
  93:14 – 94:12
  95:21 – 97:14
  99:8 – 101:22
  104:6-104:11
  104:11-104:21          104:22-105:1
  105:7 -106:8
  106:17 -20
  108:8-18
  111:13-111:25


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  Movants’ Designation     Debtor’s Counter       Debtor’s     Movants’ Counter
          (Ryan)             Designation         Designation     Designation
  117:1-118:3
  118:8-10
  121:1-23
  131:13-132:17
  134:8-134:21
  135:8-136:1            136:2-3
  136:4-9                136:11-12
  136:13-15
  136:17-136:23          136:24-25
  137:3-11
  138:14-138:24
  140:3-141:20
  143:19-144:16
  145:5-23
  148:20 -149:14         149:16-150:6
  150:12-151:2
  151:22-152:5           152:6-7
  152:8-152:11
  152:13-152:22          152:23
  152:24-152:25
  154:15-24
  156:14-156:22
  157:1-157:18           157:19-23
  158:2-158:3            158:4-7
  158:8-158:10
  158:12-158:20
  161:8 – 161:14
  172:21 – 173:7
  174:19-23
  175:7 – 176:22
  176:25-178:1
  179:23-180:23
  190:2-191:10
  196:20- 197:24
                         201:19-207:7; 207:11-
                         20
  204:4-207:20
  208:2-12
  209:2-18
  212:17-212:25
  216:5-8                214:24-215:1; 215:10-
                         25
  216:9-217:10


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  Movants’ Designation     Debtor’s Counter          Debtor’s     Movants’ Counter
          (Ryan)             Designation            Designation     Designation
  217:13-21
  218:6-218:15           218:17-20; 221:10-
                         222:10
  224:2-7                223:14-224:1
  229:2-19               228:24-229:1
  231:17-232:2           230:11-231:6
  243:19-244:8
  247:8 – 248:24
  252:9 -253:6
  274:9-22
  275: 4-15
  296:6 – 297:21
  298:12-25
  299: 7-19
  302: 20-303:2
  303:4-15               303:17-303:22
  303:23 – 307:5




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 ARTHUR WONG – FEBRUARY 11, 2022

  Movants’ Designation     Debtor’s Counter         Debtor’s        Movants’ Counter
          (Wong)              Designation         Designation         Designation
  11:5 - 11:10           11:11-14              18:7-19
  11:24 - 12:5                                 19:5-7
  14:8 - 15:18           13:19-14:7            19:13-19
  18:7 - 18:19                                 19:25-20:11
  19:5 - 22:7            22:8-9                47:8-48:25
  23:20 - 24:3                                 50:24-51:18
  24:19 - 26:25          24:4-18               51:21-52:8
  27:25 - 28:9                                 56:10-22             55:16-56:9; 56:23-
                                                                    57:4
  30:2 - 30:13                                 57:17-21
  31:21 - 34:6                                 58:8-18 (just A. I
                                               do.)
  34:22 - 35:23                                58:20-59:2
  36:1 - 36:6                                  59:22-25
  39:1 - 40:25                                 60:12-62:2
  71:14 - 72:24          72:25-73:25           64:15-66-14          63:15-64:14; 67:3-
                                                                    7; 76:20-77:4




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 DAVID KAPLAN – FEBRUARY 11, 2022

  Movants’ Designation     Debtor’s Counter            Debtor’s       Movants’ Counter
         (Kaplan)            Designation             Designation         Designation
  13:18 - 13:21                                   160:3-161:12        161:13-163:12
  13:23 - 14:4                                    165:6-166:7 (just   166:7-167:3
                                                  A. Not – not
                                                  specifically)
  14:7 - 14:13                                    171:7-172:13        172:14-15
  17:2 - 19:8                                     174:25-176:5
  20:20 - 20:24                                   177:18-180:19       180:20-21
  20:25 - 21:25                                   180:22-181:6
  22:8 - 23:4            23:5 – 23:19             191:12-192:24       191:6-10
  23:20 - 25:20                                   193:10-193-13
  26:10 - 26:19          26:20 – 27:14            197:23-198:14       198:15-16
  27:15 - 28:24                                   198:17-199:4        199:5-23
  30:1 - 30:22           30:23 – 34-15            199:24-200:4
  34:16 - 37:20                                   203:6-16
  38:24 - 40:25                                   205:24-206:6
  42:22 - 43:18                                   208:19-209:23
  44:3 - 44:10           44:11                    211:16-213:5
  44:12 - 44:24                                   214:1-214:9
  45:5 - 45:7                                     214:24-216:25
  45:13 - 48:3                                    219:24-220:7
  48:4 - 49:11                                    248:8-249:23
  51:4 - 51:16
  53:10 - 53:22
  56:24 - 59:24
  59:25 - 60:12          60:13 – 60:25
  61:1 - 62:19
  70:12 - 71:6
  78:23 - 80:21
  82:2 - 82:20           82:21 – 83:5
  83:25 - 84:8
  84:10 - 87:8
  88:18 - 89:1           89:2
  91:11 - 91:16          91:17 – 94:16
  94:17 - 96:5           96:6 – 96:9
  96:10 - 97:2
  98:8 - 98:23
  102:21 - 103:16        105:9 – 106:9
  106:10 - 106:13
  108:17 - 110:24        110:25 – 111:15
  111:16 - 111:19        111:20 – 112:10
  112:12 - 112:19


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  Movants’ Designation     Debtor’s Counter         Debtor’s     Movants’ Counter
         (Kaplan)            Designation           Designation     Designation
  119:4 - 119:15
  120:16 - 121:8
  121:24 - 122:21        122:22 – 123:2; 124:24
                         – 125:9; 130:4 – 132:9;
                         137:13 – 138:25;
                         144:16 – 146:21;
                         149:10 – 149:24; 150:7
                         – 150:18; 150:20 –
                         151:13; 160:3 – 160:20;
                         160:21 – 161:12; 162:3
                         – 163:12; 164:16 –
                         165:1
  165:20 - 166:16        167:4 – 167:13; 168:3 –
                         168:6
  169:14 - 170:16        172:1 – 172:13; 174:25
                         – 176:10; 178:13 –
                         179:23; 194:3 – 194:13;
                         197:10 – 198:14; 199:5
                         – 200:4; 200:5-206:06;
                         208:19 – 211:15;
                         211:16 – 211:25; 212:1
                         – 212:23; 213:9 –
                         213:25
  214:1 - 214:16         214:17 – 214:23;
                         216:12 – 217:2; 217:3 –
                         217:9; 219:24 – 220:7;
                         224:21 – 225:1; 225:2 –
                         226:20
  228:2 - 233:25
  234:14 - 234:25
  235:21 - 236:8
  243:14 - 244:20
  246:6 - 247:24         248:8 – 249:23
  251:15 - 252:25        253:1 – 253:8




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 ADAM LISMAN – FEBRUARY 8, 2022


     Movants’ Designation        Debtor’s Counter
            (Lisman)                Designation
  10:10 - 10:17             9:13-25; 10:8-9
  13:2 - 14:22
  15:9 - 17:8
  19:2 - 19:9               19:10-16
  21:12 - 21:20             20:25-21:19
  23:5 - 25:20              22:21-23:5
  37:16 - 38:2
  38:19 - 39:17             38:3-9
  40:1 - 41:8
  42:13 - 43:7
  44:5 - 44:12
  51:8 - 52:13              50:17-51=:7
  52:25 - 53:11
  68:16 - 69:17
  69:19 - 70:14
  71:18 - 71:25
  89:24 - 90:11
  92:20 - 93:7
  100:8 - 100:13            99:2-100:7
  102:8 - 102:22
  110:10 - 110:21           109:15-110:9
  113:22 - 114:19
  120:11 - 121:17
  123:3 - 124:16            122:24-123:3
  131:20 - 132:5
  133:3 - 133:21
  134:4 - 135:6
  140:23 - 141:18
  141:23 - 143:10
  143:14 - 146:2            141:11-14
  146:25 - 147:17           147:8-149:2
  149:17 - 150:10
  151:19 - 152:7
  152:15 - 154:1
  155:4 - 155:21
  164:19 - 165:14
  172:12 - 172:19
  186:19 - 187:8
  187:21 - 190:17           187:9-20
  192:7 - 193:21            191:23-192:6


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     Movants’ Designation        Debtor’s Counter
            (Lisman)               Designation
  197:7 - 197:17
  204:17 - 205:10
  213:13 - 216:20           213:2-12
  229:12 - 229:25           228:23-229:11
  243:13 - 243:22           243:4-12
  249:25 - 250:7




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 ROBERT WUESTHOFF – DECEMBER 22, 2021

     Movants’ Designation        Debtor’s Counter
           (Wuesthoff)              Designation
  17:25 - 18:17             17:8-24
  18:25 - 19:15
  20:13 - 20:15
  21:2 - 21:18              21:19-23
  22:3 - 22:10              22:11-12
  26:17 - 26:21             26:22-27:1
  27:2 - 27:9
  28:2 - 28:25
  29:25 - 30:4              30:5-8
  30:9 - 30:11
  34:11 - 34:16             34:17-35:1
  35:22 - 36:6
  39:24 - 40:11             40:12-16
  42:11 - 42:20             41:20-42:10
  50:13 - 50:19
  53:19 - 53:23
  57:6 - 57:8               57:9-15
  57:16 - 57:22             57:23-58:7
  58:8 - 59:18
  61:18 - 63:1
  63:4 - 63:12              63:13-14
  63:15 - 64:5
  65:22 - 66:1
  66:8 - 66:12
  67:8 - 67:18
  68:8 - 68:15
  69:24 - 70:17             7:18-21
  70:22 - 73:4
  74:6 - 77:12
  78:3 - 78:19
  82:3 - 82:15
  108:25 - 109:8
  109:11 - 109:12           109:9-10; 109:14-18
  127:16 - 127:21
  127:24 - 128:8
  128:11 - 128:23           128:24-25
  129:1 - 129:2
  129:4 - 130:6
  130:13 - 130:14           130:7-12
  130:16 - 130:17           130:18
  130:19 - 130:25


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     Movants’ Designation        Debtor’s Counter
           (Wuesthoff)             Designation
  131:2 - 131:20            131:21
  131:22 - 131:25
  132:2 - 132:4             132:5-6
  132:7 - 132:9
  132:11 - 132:17
  142:17 - 143:13
  144:25 - 145:3
  146:9 - 146:22            146:23-24
  146:25 - 147:2
  150:1 - 150:15
  150:22 - 152:3            152:4-5
  152:9 - 152:9             152:10-153:1
  153:2 - 153:8             153:9-10
  153:11 - 153:15
  154:16 - 154:18           154:19-20
  154:21 - 154:24
  155:3 - 156:17
  160:3 - 160:17
  161:4 - 161:23
  162:3 - 162:15
  163:1 - 163:15
  167:16 - 168:5
  168:8 - 168:15            168:16-18
  168:21 - 168:25
  169:2 - 169:10            169:1
  169:12 - 169:15           169:16-17
  169:18 - 169:20
  169:23 - 170:1
  171:13 - 171:14           171:15
  171:16 - 171:17
  171:19 - 172:10
  172:21 - 173:15
  173:22 - 173:25
  178:17 - 178:23           178:24-25
  179:1 - 179:13
  180:9 - 180:12            180:13
  180:14 - 180:15
  180:17 - 180:20           180:21-22
  180:25 - 181:2
  181:4 - 181:14            181:15-16
  181:17 - 181:17
  189:1 - 189:20
  190:12 - 190:18


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     Movants’ Designation        Debtor’s Counter
           (Wuesthoff)              Designation
  221:14 - 221:20           221:2-9
  222:2 - 222:7             221:21-222:1, 222:8-13
  222:14 - 222:15           222:16
  222:17 - 222:21
  222:23 - 223:2
  223:9 - 223:24
  224:25 - 225:16           224:14-24; 225:17
  225:20 - 225:22
  237:8 - 238:13
  249:19 - 249:22
  250:10 - 250:14
  283:25 - 284:4            284:5-7
  284:9 - 284:21
  285:19 - 286:1            286:2-3
  286:4 - 286:4
  333:14 - 334:16




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 JOHN KIM – JANUARY 31, 2022

     Movants’ Designation        Debtor’s Counter
              (Kim)                Designation
  21:2 - 22:5
  25:24 - 26:3              25:4 – 25:23
  29:25 - 30:17             28:14 – 29:4
  31:8 - 31:16
  32:5 - 33:20
  34:6 - 34:14
  46:8 - 46:21
  49:2 - 49:24
  50:3 - 50:13
  51:15 - 52:13
  55:4 - 55:20
  62:3 - 62:23
  63:1-63:11                64:21 – 65:22
  65:23 - 67:7              67:8 – 67:18
  73:3 - 74:7
  105:13 - 107:10
  107:16 - 109:9
  114:5 - 114:17
  117:12 - 118:9
  119:9 - 119:21            Designated Confidential
  124:18 - 124:24           124:25
  125:1 - 125:3
  135:4 - 135:9             140:19 – 141:3
  141:17 - 142:9
  149:8 - 150:8
  152:1 - 152:14
  153:18 - 154:15
  166:21 - 167:2            167:3 – 167:13
  181:18 - 182:7
  183:22 - 184:4
  184:18 - 184:22
  193:11 - 194:8
  197:25 - 199:8
  202:1 - 202:14
  204:10 - 204:21
  206:8 - 206:14
  213:20 - 214:15
  215:16 - 216:17
  217:23 - 218:12
  223:9 - 224:9
  226:1-227:16


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 JOHN KIM 30(B)(6) – FEBRUARY 1, 2022

     Movants’ Designation        Debtor’s Counter
         (Kim – 30(b)(6))          Designation
  13:7 - 15:13
  15:16 - 16:16
  21:7 - 23:1
  23:20 - 28:21
  30:9 - 30:18              32:20 – 33:9
  33:10 - 35:7
  35:13 - 36:7              36:8 – 36:16
  36:23 - 36:24
  37:5 - 37:13
  45:10 - 45:13
  45:15 - 45:18
  45:21 - 46:17
  50:21 - 51:4
  52:25 - 53:10
  58:15 - 58:18
  60:4 - 60:7
  60:21 - 60:25
  61:2 - 61:8
  64:1 - 64:15
  64:18 - 64:23
  68:1 - 69:9
  69:16 - 70:5              70:18 – 71:1
  76:1 - 76:15
  77:1 - 77:14              79:13 – 80:6
  82:4 - 83:8
  84:5 - 84:19
  88:15 - 88:25
  90:17 - 91:6
  92:6 - 93:3
  94:8 - 94:11
  95:15 - 95:23
  102:24 - 103:10
  105:1 - 106:2
  111:5 - 111:22
  113:24 - 115:20
  116:16 - 116:23
  118:23 - 120:22
  122:17 - 123:4
  125:21 - 126:7
  130:7 - 132:11
  134:21 - 136:1


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     Movants’ Designation        Debtor’s Counter
        (Kim – 30(b)(6))           Designation
  138:15 - 139:20
  141:20 - 142:11
  145:10 - 145:19
  149:7 - 149:18
  149:21 - 151:4
  155:19 - 155:23           155:24
  155:25 - 156:8
  157:3 - 157:5             157:6 – 157:7
  157:8 - 157:13
  158:24 - 158:25           159:1 – 159:7
  168:15 - 169:6
  170:17 - 171:9            172:13 – 173:2
  178:23 - 179:6
  186:25 - 187:8
  192:16 - 194:17
  194:23 - 196:4
  199:9 - 199:22
  200:9 - 200:25            203:9 – 203:23




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 THIBAUT MONGON – JANUARY 19, 2022

     Movants’ Designation          Debtor’s Counter
            (Mongon)                 Designation
  9:22 – 10:16
  12:12 – 12:16
  14:14 – 14:24
  15:11 – 16:10
  16:14 – 17:18
  17:24 – 18:22             18:23 – 18:24
  18:25 – 19:3              18:23 – 18:24
  19:5 – 19:25
  20:8 – 21:1
  22:2 – 23:5
  23:17 – 24:5              23:6 – 23:16
  24:18 – 24:22             24:23 – 25:7
  25:6 – 27:15
  27:23 – 28:22
  29:25 – 30:5
  34:19 – 35:2
  35:15 – 35:24             35:3 – 35:13
  36:15 – 36:24             36:8 – 36:14
  43:15 – 44:12             43:10 – 43:14
  45:15 – 46:5
  46:21 – 47:17
  52:4 – 53:10              Designated Confidential
  62:2 – 62:11
  63:4 – 63:14
  63:16 – 63:21
  64:1 – 64:8               64:9
  64:10 – 64:10
  69:25 – 70:12
  72:13 – 72:25
  83:15 – 84:2
  84:14 – 85:3              84:4 – 84:11
  90:3 – 90:21
  94:8 – 95:1
  100:1 – 100:10            100:11
  100:22 – 101:22
  103:7 – 103:22
  107:6 – 108:23            108:24
  113:25 – 115:6            115:7 – 115:9
  121:10 – 122:25
  123:20 – 124:14
  124:19 – 125:11


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     Movants’ Designation        Debtor’s Counter
           (Mongon)                Designation
  134:11 – 134:17
  135:18 – 136:13
  136:24 – 137:8
  137:17 – 139:6
  139:15 – 140:17
  142:2 – 142:7
  143:18 – 144:4
  146:5 – 146:24
  148:23 – 149:3
  149:11 – 150:16
  152:6 – 155:6             151:17 – 152:5
  155:20 – 156:12
  162:22 – 165:12
  167:3 – 167:12
  168:1 – 168:11
  169:3 – 169:13
  171:2 – 171:10
  172:3 – 173:1             171:15 – 172:2
  177:22 – 178:18
  179:6 – 179:10
  180:7 – 180:19
  181:1 – 181:19
  182:22 – 183:1
  186:14 – 187:18
  191:15 – 196:8            196:9 – 196:14
  196:15 – 196:25
  197:6 – 198:14
  201:20 – 202:7            201:12 – 201:18
  206:18 – 206:24           207:10 – 207:16
  207:5 – 207:16
  209:18 – 210:21
  212:15 – 212:19
  215:3 – 215:10
  216:3 – 217:1             217:8 – 217:23
  217:24 – 219:1
  219:12 – 219:23           219:2 – 219:11, 219:23 –
                            220:2
  220:12 – 220:23
  221:12 – 222:10
  223:21 – 224:2            123:5 – 123:18
  227:21 – 228:13           227:18 – 227:21
  231:18 – 231:25           230:18 – 231:17
  235:12 – 236:12           236:13 – 236:17


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     Movants’ Designation        Debtor’s Counter
           (Mongon)                Designation
  236:25 – 237:4
  237:19 – 237:25
  238:12 – 239:13
  243:11 – 243:22
  244:8 – 244:22
  246:24 – 247:9
  247:19 – 249:5
  251:7 – 254:1
  254:24 – 257:5            254:2 – 254:23
  257:18 – 258:3            256:17 – 257:18; 258:4 –
                            258:6
  259:19 – 260:3
  264:3 – 264:12            263:21 – 264:2
  268:5 – 268:21
  270:4 – 270:20            269:13 – 270:5
  272:4 – 272:20
  273:12 – 274:1
  274:9 – 275:5             275:6 – 275:8
  275:9 – 277:12            277:13 – 278:2
  278:3 – 279:4
  287:23 – 289:18
  294:25 – 295:22
  296:12 – 296:24           296:6 – 296:11; 296:25 –
                            297:12
  297:23 – 298:10           297:13 – 297:21
  298:23 – 299:13
  299:19 – 300:12
  300:24 – 301:7
  303:9 – 304:7             302:8 – 303:8
  322:24 – 323:11
  330:3 – 330:13
  331:1 – 331:6
  332:13 – 333:8
  336:12 – 337:15
  340:25 – 341:9            338:14 – 338:20; 339:11 –
                            339:17




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 MICHELLE GOODRIDGE – DECEMBER 20, 2021

     Movants’ Designation        Debtor’s Counter
           (Goodridge)             Designation
  7:22 - 8:1
  8:7 - 8:20
  13:23 - 14:4
  17:23 - 18:3
  18:18 - 18:23             18:24-18:25
  19:1 - 19:23              19:24-19:25
  20:1 - 21:2               21:3-21:4
  21:5 - 21:13              21:14-21:15
  21:16 - 22:1              22:1-22:3
  22:4 - 22:8
  22:15 - 22:16             22:17-22:18
  22:19 - 22:19             22:20-22:20
  22:21 - 22:23
  22:25 - 23:4              23:5-23:6
  23:7 - 23:12
  23:15 - 23:21
  24:23 - 25:16
  25:20 - 25:24             25:25-26:1
  26:2 - 26:4
  27:14 - 28:17
  30:3 - 30:6
  31:11 - 31:22
  34:14 - 36:4
  36:11 - 37:1
  38:4 - 38:19
  40:23 - 41:5              41:6-41:7
  41:8 - 41:13              41:14-41:14
  41:15 - 42:3              42:4-42:4
  42:5 - 43:19
  44:17 - 44:24
  45:3 - 45:8
  46:5 - 46:6
  46:20 - 46:22
  48:9 - 48:14
  49:8 - 49:16
  50:17 - 51:17
  53:13 - 53:14
  55:25 - 56:2
  56:5 - 56:7
  56:22 - 57:12
  59:11 - 59:18


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     Movants’ Designation        Debtor’s Counter
           (Goodridge)             Designation
  61:6 - 61:24
  61:18 - 61:24
  62:2 - 62:9
  62:24 - 63:3
  64:23 - 65:2              65:3-65:3
  65:4 - 65:13
  65:21 - 66:23             66:24-66:24
  66:25 - 67:3
  69:22 - 69:24             69:25-69:25
  70:1 - 70:6
  70:11 - 70:15
  71:7 - 71:8               71:9-71:9
  71:10 - 71:16             71:17-71:17
  71:18 - 72:3              72:4-72:4
  72:5 - 72:19
  74:8 - 74:11              74:12-74:12
  74:13 - 74:23
  76:16 - 77:18
  80:10 - 81:1
  81:2 - 81:10
  83:10 - 83:13             83:14-83:15
  83:16 - 84:6              84:7-84:8
  84:9 - 84:15              84:16-84:17
  84:18 - 85:1
  85:9 - 85:19
  86:11 - 86:13             86:14-86:14
  86:15 - 86:23
  91:7 - 91:15              91:16-91:16
  91:17 - 92:6
  93:8 - 93:12              93:13-93:14
  93:15 - 94:18
  94:23 - 95:7              94:19-94:22 ; 95:8-95:9
  95:10 - 96:3              96:4-96:5
  96:6 - 96:12              96:13-96:13
  96:14 - 97:6              97:7-97:8
  97:9 - 98:7               98:8-98:9
  98:10 - 98:20
  99:8 - 99:18
  107:10 - 107:12           107:13-107:13
  107:14 - 107:18
  108:12 - 108:19
  111:12 - 112:14           112:15-112:15
  112:16 - 112:18


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     Movants’ Designation        Debtor’s Counter
           (Goodridge)              Designation
  114:1 - 114:10            114:11-114:11
  114:12 - 114:14           114:15-114:16
  114:17 - 115:9
  115:23 - 116:1            116:1-116:2
  116:3 - 116:7
  119:15 - 119:17
  119:21 - 120:2
  120:17 - 121:1
  125:3 - 125:6             125:7-125:8
  125:9 - 126:1             126:2-126:3
  126:4 - 126:18
  130:6 - 130:8             130:9-130:12
  130:13 - 130:15
  130:22 - 130:23           130:24-130:25
  131:1 - 131:3
  132:18 - 132:22           132:23-132:24
  132:25 - 133:4
  142:22 - 143:5
  144:1 - 144:7
  148:22 - 150:5
  149:14 - 150:5
  150:11 - 151:16           151:17-151:20
  156:1 - 156:4             156:5-156:6
  156:7 - 156:9             156:10-156:10
  156:11 - 156:14           156:15-156:15
  156:16 - 157:7            157:8-157:9
  157:10 - 157:12
  163:14 - 163:16           163:17-163:18
  163:19 - 163:20           163:21-163:22
  163:23 - 163:24           163:25-163:25
  164:1 - 164:1             162:2-164:2
  164:3 - 164:4
  172:21 - 173:14
  176:8 - 176:21
  176:22 - 177:11
  179:7 - 179:12            179:13-179:14
  179:15 - 180:6
  189:7 - 189:8             189:9-189:10
  189:11 - 190:5            190:6-190:7
  190:8 - 190:13            190:14-190:21
  190:22 - 191:1            191:2-191:2
  191:3 - 191:15
  199:25 - 200:5


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     Movants’ Designation        Debtor’s Counter
           (Goodridge)             Designation
  200:22 - 201:1
  200:25 - 201:12
  201:6 - 201:8
  201:12 - 201:17           201:18-201:19
  201:20 - 201:23
  202:2 - 202:7
  203:19 - 204:1            204:2-204:8
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  208:23 - 209:18
  210:8 - 210:16
  214:20 - 215:1
  230:20 - 231:11
  248:15 - 248:17           248:18-248-18
  248:19 - 249:7
  249:20 - 250:1            250:2-250:11
  250:12 - 250:23
  253:1 - 253:4             253:5-253:8
  253:9 - 253:12
  254:1 - 254:3             254:4-254:5
  254:6 - 254:21
  310:11 - 310:22           310:23-310:24
  310:25 - 311:5
  311:11 - 312:15
  312:20 - 313:4
  314:14 - 314:20
  325:2 - 325:21
  338:11 - 338:22           338:23-339:12




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                               Exhibit B
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AZEVEDO, JOSE LUIZ


AZEVEDO, JOSE LUIZ - 01/24/2022
Page 11
   11 :20   J O S E L U I Z A Z E V E D O,
       21       called as a witness, having been duly
       22       sworn by a Notary Public, was
       23       examined and testified as follows:
       24          THE WITNESS: Yes, I do.
       25            ***


AZEVEDO, JOSE LUIZ - 01/24/2022
Page 14
   14 :19      Q. Great.
       20           Is there anything affecting your
       21   ability to testify truthfully today?
       22      A. No.


AZEVEDO, JOSE LUIZ - 01/24/2022
Page 17
   17 :4           Can you let me know where you
       5    went to college and what your degree was?
       6        A. Yes.
       7           I went to college in Brazil. It
       8    was Universidade Federal de Minas Gerais.
       9    I did economics. And then I did a master
       10   -- MBA here in the United States at
       11   University of Rochester.


AZEVEDO, JOSE LUIZ - 01/24/2022
Page 18
   18 :12      Q. And then after your MBA, what was
       13   your next employment?
       14      A. I joined Johnson & Johnson.
       15      Q. What year was that?
       16      A. It was 1999.
       17      Q. Am I correct that you've been at
       18   Johnson & Johnson since 1999?
       19      A. Yes, since 1999. July of '99.
       20   Correct.


AZEVEDO, JOSE LUIZ - 01/24/2022
Page 22
   22 :17       Q. What was your position after VP
       18   of finance for innovation?
       19       A. So in 2019, I became vice
       20   president for the pharmaceutical business
       21   in North America, so responsible for the
       22   United States and Canada.
       23       Q. And for which organization within
       24   Johnson & Johnson was this position?
       25       A. Pharmaceuticals. Janssen.
   23 :1          J. Azevedo - Confidential
       2    Pharmaceuticals business at Janssen.
       3    Janssen Pharmaceuticals.
       4        Q. How long did you hold that
   Case 21-30589-MBK            Doc 1566 Filed 02/24/22 Entered 02/24/22 13:09:09   Desc Main
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      5     position?
      6         A. Also approximately two years.
      7     Two years and a half until, I would say,
      8     October last year.
      9         Q. October 2021?
      10        A. October 2021, yes.
      11        Q. In your role as -- I believe you
      12    said it was VP of finance of Janssen
      13    Pharmaceutical, what were your
      14    responsibilities?
      15        A. So I was responsible to support
      16    the chairman of the business in North
      17    America in all finance-related issues. So
      18    we talk about investments, business
      19    planning, strategic plan, you know,
      20    closing, controls, stocks. Everything
      21    related to finance, I was responsible to
      22    support the business.


AZEVEDO, JOSE LUIZ - 01/24/2022
Page 33
   33 :14        Q. Do you have any knowledge
       15   regarding the dollar amount of talc claims
       16   against Johnson & Johnson or any of its
       17   related entities?
       18        A. I don't.
       19        Q. Have you ever obtained any
       20   information regarding the history of talc
       21   litigation at J&J -- against J&J?
       22        A. No.
       23        Q. Are you aware of the amount that
       24   J&J or any other J&J entity ever
       25   historically paid on talc claims?
   34 :1           J. Azevedo - Confidential
       2         A. No.
       3         Q. Are you aware of any estimate of
       4    future claims that Johnson & Johnson might
       5    pay to claimants?
       6         A. No.


AZEVEDO, JOSE LUIZ - 01/24/2022
Page 35
   35 :11       Q. Are you a member of the board of
       12   directors of Janssen Pharmaceutical?
       13       A. I was, and I believe I may be.
       14   Because I know after I changed the position
       15   from the U.S. commercial to R&D, my
       16   understanding is that they are going to be
       17   moving all of the board and replace with
       18   the person that is replaced in my previous
       19   role. So I'm not sure if that process has
       20   been completed or not.
       21           But, yes, I was a board member
       22   for at least for the time that I was CFO
       23   for the North America business.
       24       Q. Okay. So I want to back up to
       25   the beginning.
   36 :1          J. Azevedo - Confidential
       2            When did you become a member of
       3    the board of Janssen Pharmaceutical?
       4        A. I believe that when I became --
       5    when I became the CFO for the commercial
   Case 21-30589-MBK           Doc 1566 Filed 02/24/22 Entered 02/24/22 13:09:09   Desc Main
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       6    business in North America, that was in
       7    2019. So during that time -- sometime
       8    during that time, I became a board member.
       9        Q. Do you recall if it was right
       10   when you started your role as the VP of
       11   pharmaceutical North America?
       12       A. I don't recall. Probably. But I
       13   don't recall.
       14       Q. How did you become a board member
       15   of Janssen Pharmaceutical?
       16           MR. STARNER: Objection.
       17           You can answer.
       18       A. How I became?
       19           THE WITNESS: Sorry, I should
       20       answer or not? I should answer?
       21           MR. STARNER: You can answer if
       22       you can.
       23       A. Yeah, I think, like I said, when
       24   I became CFO for the North America
       25   business, you know -- and, again, I'm
   37 :1          J. Azevedo - Confidential
       2    trying the recall here -- I believe I was
       3    approached by the lawyers and they told me,
       4    hey, you're going to become a board member
       5    there. And probably I signed some
       6    documents and I became a board member. I
       7    think that was the process.
       8        Q. When you say you were approached
       9    by the lawyers, which lawyers?
       10       A. I don't recall.
       11       Q. Was it internal lawyers within
       12   J&J?
       13       A. Oh, yes, internal lawyers.
       14       Q. So in-house counsel?
       15       A. Yes, internal lawyers, yes.
       16   Internal lawyers, yes, yes.


AZEVEDO, JOSE LUIZ - 01/24/2022
Page 39
   39 :3        Q. Did you ever weigh the pros and
       4    cons to becoming a board member of Janssen
       5    Pharmaceutical?
       6            MR. STARNER: Objection.
       7            You can answer.
       8        A. I would say probably -- not as a
       9    Janssen Pharmaceutical. Probably when I
       10   was in Brazil, my first time I became a
       11   board member, I thought about that, right.
       12   But I know in my view that the company has
       13   the processes in place and everything,
       14   right, that if I'm doing the right thing in
       15   line with the policies of the company, I
       16   would be protected. So I was not concerned
       17   because of that because I know the company
       18   was always doing the right thing. We have
       19   processes in places, and so I was not
       20   concerned about being a board member.


AZEVEDO, JOSE LUIZ - 01/24/2022
Page 42
   42 :20      Q. What was your understanding of
       21   your role on the board of directors for
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    22   Janssen Pharmaceutical?
    23       A. Yeah, my understanding is more of
    24   a statutory role. You know, a lot of times
    25   signing documents. Some of the documents
43 :1           J. Azevedo - Confidential
    2    that I signed, I would say I was part of
    3    the decision process. Some of the
    4    documents I signed, I am not part of the
    5    decision-making process.
    6            You know, it's a big business, it
    7    is the legal business, and I don't have
    8    full responsibility on everything. So I
    9    would say a lot of that is really statutory
    10   signing documents. That's a big part of
    11   that.
    12       Q. What do you mean when you say
    13   that you didn't have -- you weren't part of
    14   the decision-making process of documents
    15   that you would sign --
    16           MR. STARNER: I'll just object to
    17       that question.
    18           But you can answer if you
    19       understand.
    20       A. Yes, because again, J&J -- maybe
    21   step back a little bit.
    22           When I'm saying I'm finance VP
    23   for commercial of North America, right, I'm
    24   responsible for, like I said before, the
    25   commercial business of North America.
44 :1           J. Azevedo - Confidential
    2    However, the Janssen Pharmaceutical, the
    3    legal entity that I support, has a lot of
    4    activities that are beyond commercial, like
    5    supply chain, R&D, and et cetera.
    6            So sometimes I'm signing
    7    documents that are really related to areas
    8    that I don't have, I would say, managerial
    9    responsibility. So I don't -- so I'm not
    10   part of the decision-making of some of the
    11   documents I am signing.
    12       Q. What do you do to get comfortable
    13   to make a business decision and sign
    14   documents when it's areas outside of your
    15   decision-making?
    16       A. Yes, I make sure that -- I make a
    17   couple --
    18           MR. STARNER: Hold on, Jose.
    19       Give me a chance to object.
    20           I object to the question.
    21           But you can answer, Jose. Just
    22       give me a second to object, if you
    23       would.
    24           THE WITNESS: Sorry about that,
    25       Greg.
45 :1           J. Azevedo - Confidential
    2        A. No, I make sure that when things
    3    are brought to me, that the people --
    4    because J&J, I would say, has a very clear
    5    process, right? Roles and responsibilities
    6    and et cetera.
    7            So I make sure that things come
    8    to me that the people who had to review or
    9    approve, they have approved it. So after I
    10   have that visibility, right, that the right
    11   people have done the due diligence and
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      12    approved, then I approve.


AZEVEDO, JOSE LUIZ - 01/24/2022
Page 52
   52 :12       Q. So earlier when you were
       13   mentioning that there are documents that
       14   you sign for which you are not part
       15   decision-making process and documents that
       16   you sign for which you are part of the
       17   decision-making process, when it comes to
       18   the 2021 Johnson & Johnson corporate
       19   restructuring, which bucket would that
       20   restructuring fall into for you?
       21       A. I'm not part of the
       22   decision-making process. I'm not, no.
       23       Q. So in that -- with regards to the
       24   corporate restructuring, you were provided
       25   a document to sign but were not part of the
   53 :1          J. Azevedo - Confidential
       2    decision-making process?
       3            MR. STARNER: Objection.
       4            You can answer.
       5        A. That is correct.
       6        Q. Okay. And for the corporate
       7    restructuring, were you aware of a specific
       8    matrix or business guidelines that you were
       9    required to follow?
       10           MR. STARNER: Objection.
       11       A. For the corporate restructuring,
       12   I think when the lawyers -- because a lot
       13   of case, when the lawyers comes to me, you
       14   know, because what happened that the
       15   lawyers came to me, they explained to me
       16   the restructuring they were trying to
       17   achieve there. And I understand that at
       18   that point in time, the people who had, you
       19   know, the decision-making had made that
       20   decision. So I was okay to sign that.


AZEVEDO, JOSE LUIZ - 01/24/2022
Page 55
   55 :4         Q. Do you know who -- do you know
       5    whether there were other members of the
       6    board of directors of Janssen
       7    Pharmaceutical at the time of the corporate
       8    restructuring?
       9             MR. STARNER: Objection.
       10        A. Yes, absolutely there are others.
       11        Q. Do you know who they are?
       12        A. I cannot tell you for 100 percent
       13   certainty. I believe that one of the
       14   persons that was also my colleague in the
       15   board was Sarah Brennan. But, again, I'm
       16   not 100 percent sure of that. Because she
       17   replaced Jeff Smith, and I believe she was
       18   -- again, I believe that she replaced him
       19   as a board member in the Janssen
       20   Pharmaceutical.
       21        Q. Do you know what Sarah Brennan's
       22   title is?
       23        A. I don't know -- I know what she
       24   does. I don't know the title specifically.
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       25       Q. And what does Sarah Brennan do?
   56 :1          J. Azevedo - Confidential
       2        A. She is responsible for business
       3    development for U.S. commercial.
       4        Q. Do you know if there were any
       5    other board members of Johnson at the time
       6    of the corporate restructuring?
       7            MR. STARNER: Objection.
       8            You can answer.
       9        A. I don't know who were the other
       10   members, if there were. I believe there
       11   were, but I don't know who are they.
       12       Q. Is it fair to say that you had no
       13   discussions with other board members of
       14   Johnson regarding the corporate
       15   restructuring?
       16           MR. STARNER: Objection. Assumes
       17       evidence not -- facts not in evidence.
       18           You can answer.
       19           THE WITNESS: That's okay.
       20       A. Yes, I didn't have discussions
       21   with other board members about the
       22   restructuring. I did not.
       23       Q. Thank you.
       24           When did you first learn about
       25   the possibility of a corporate
   57 :1          J. Azevedo - Confidential
       2    restructuring?
       3            MR. STARNER: Objection. Vague.
       4        A. I believe it was sometime in
       5    October when the internal lawyers -- they
       6    approached me and -- because of course I
       7    have the -- my role as a board member of
       8    Janssen Pharmaceutical, they approached me
       9    and they explained me the corporate
       10   restructuring, what they are trying to do,
       11   what is the intent of the restructuring and
       12   what is being done.


AZEVEDO, JOSE LUIZ - 01/24/2022
Page 57
   57 :18       Q. Does the board of Janssen
       19   Pharmaceutical ever meet whether it's
       20   virtually or in person?
       21       A. I never met. I'm not sure if
       22   there are other meetings, but I never did.


AZEVEDO, JOSE LUIZ - 01/24/2022
Page 58
   58 :5       Q. So it's fair to say you did not
       6    meet with other members of the board of
       7    Janssen with regard to the corporate
       8    restructuring that occurred in 2021?
       9           MR. STARNER: Objection.
       10          You can answer.
       11      A. No, I did not meet.
       12      Q. Does the board of Janssen
       13   Pharmaceutical ever hire its own counsel?
       14      A. I'm not -- I don't know.
       15      Q. In your experience, have you ever
       16   been part of a decision to hire counsel for
       17   the board of Janssen Pharmaceutical?
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    18       A. No.
    19       Q. So is it fair to say in your
    20   experience, you rely on Johnson & Johnson
    21   internal counsel to make decisions on
    22   behalf of the board of Janssen?
    23           MR. STARNER: Objection.
    24           You can answer.
    25       A. I would say yes. And I'm not
59 :1          J. Azevedo - Confidential
    2    sure, so let me -- so, yes, I'm not sure --
    3    but I'm not sure if the lawyers, they get
    4    external advice or not. So most of the
    5    time, my contact is with internal lawyers,
    6    yes.
    7        Q. And when you speak with those
    8    in-house lawyers, those lawyers for Johnson
    9    & Johnson, you understand that they're
    10   representing the interests of the board of
    11   Janssen & Janssen [sic]?
    12           MR. STARNER: Objection.
    13           You can answer.
    14       A. Yes.
    15       Q. So those in-house Johnson &
    16   Johnson counsel are providing advice on
    17   behalf of the board of Janssen
    18   Pharmaceuticals?
    19           MR. STARNER: Objection.
    20       A. Yes, I believe so. Yes.
    21       Q. In your experience as a board
    22   member of Janssen Pharmaceutical, do you
    23   ever rely on advice of outside counsel?
    24           MR. STARNER: Objection.
    25       A. I don't -- I don't recall --
60 :1          J. Azevedo - Confidential
    2    again, I don't recall any decision as a
    3    board member that I had to go outside to --
    4    again, I don't recall -- to get external,
    5    external advice.
    6        Q. Without -- I'm not asking about
    7    content of any communication with lawyers.
    8            With regard to the corporate
    9    restructuring, did you ever speak with
    10   counsel, with outside counsel such as Jones
    11   Day?
    12       A. Such as, sorry?
    13           MR. STARNER: Objection.
    14       Q. Such as Jones Day.
    15           MR. STARNER: Objection.
    16           You can answer.
    17       A. So let me try to recall here,
    18   right? So I -- when -- when the lawyers,
    19   the lawyers approach me to sign the
    20   document, and of course, you know, to make
    21   sure that I understood, you know, the whole
    22   process, the restructuring, to make sure
    23   that I was comfortable, I believe, I
    24   believe at that point in time, I just
    25   talked to internal lawyers, I guess. I
61 :1          J. Azevedo - Confidential
    2    believe.
    3            I don't recall talking to
    4    external, but I'm -- but, you know, I'm not
    5    100 percent sure here. I think it was the
    6    internal lawyers only.
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Page 62
   62 :23       Q. When did you first hear about the
       24   possibility of a Johnson corporate
       25   restructuring with regard to talc
   63 :1           J. Azevedo - Confidential
       2    liabilities?
       3             MR. STARNER: Objection.
       4             You can answer.
       5        A. It was when, like I said, when
       6    the lawyers approached me in October to
       7    explain me the restructuring. That is the
       8    first time I heard that.
       9        Q. Okay. Do you recall
       10   approximately when in October you were
       11   approached?
       12       A. I don't know. I would not be --
       13   no, I don't know.
       14       Q. Would you say it was closer to
       15   the beginning of October or the end of
       16   October?
       17       A. Probably, again, I think probably
       18   the beginning of October.
       19       Q. Who approached you?
       20       A. Internal J&J lawyers.


AZEVEDO, JOSE LUIZ - 01/24/2022
Page 65
   65 :21       Q. Okay. And from the time that you
       22   received the email -- strike that.
       23           Am I correct that you received an
       24   email scheduling a meeting with these
       25   lawyers?
   66 :1           J. Azevedo - Confidential
       2            MR. STARNER: Objection.
       3            Go ahead.
       4        A. Yeah, I received an email asking
       5    for my flexibility to schedule a meeting.
       6    It was not -- it was not to schedule the
       7    meeting specifically. Just to say we need
       8    to talk and I would need to talk to you and
       9    would likely in the next X days if you have
       10   -- you know, for me to be more flexible if
       11   possible.
       12       Q. And did you end up having a
       13   meeting with these lawyers?
       14       A. Yes, I did.
       15       Q. Was that meeting in person,
       16   virtual, a telephone call, or something
       17   else?
       18       A. It was a Zoom call.
       19       Q. I'm going to put aside that call
       20   for a second and we'll come back to that
       21   later.
       22           Sitting here today, what is your
       23   understanding of the J&J corporate
       24   restructuring?
       25           MR. STARNER: I'll just object.
   67 :1           J. Azevedo - Confidential
       2            I'll instruct you not to reveal
       3        any specific communications you may
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       4        have had with counsel on that topic,
       5        but subject to that, Jose, you know,
       6        you can answer the question.
       7            THE WITNESS: Thank you Greg.
       8        A. So you want me to -- what is my
       9    overall understanding of the restructuring?
       10       Q. Right.
       11       A. Yeah. Okay. So I -- so I
       12   understand Johnson & Johnson, we create
       13   this new company, LTL, that is going to be
       14   carrying out the liability -- existing
       15   future liability in regards to the talc.
       16   This company, of course, is being funded.
       17   You know, I think they have a royalty
       18   stream. Yeah, so my understanding of the
       19   -- so let me start again.
       20           So my understanding is that what
       21   they are trying to do here is really to
       22   solve the talc litigation in a fair and
       23   equitable way to all the parties involved.
       24   And to do that, J&J set up a new company.
       25   LTL I believe that is the name.
   68 :1          J. Azevedo - Confidential
       2            And that company is going to be
       3    the one carrying out the liabilities and
       4    the liabilities that exist today, plus any
       5    future liabilities. And that company is
       6    going to be funded, you know, to resources
       7    to, of course, to handle those liabilities.
       8    That is my understanding.


AZEVEDO, JOSE LUIZ - 01/24/2022
Page 68
   68 :17            What is your understanding of how
       18   LTL came into existence?
       19            MR. STARNER: Objection.
       20            You can answer.
       21       A. Like I said, I think it was a
       22   corporate restructuring, right? That, you
       23   know, one of the outcomes of that was we
       24   need to create that company that is going
       25   to be receiving all the liabilities related
   69 :1           J. Azevedo - Confidential
       2    to talc. So that's my understanding.
       3        Q. Are you aware of the specific
       4    steps in the process of creating LTL?
       5        A. No, not the details.
       6        Q. Are you familiar with a company
       7    called Currahee Holding Company Inc.?
       8        A. Yes.
       9        Q. What is your understanding of the
       10   purpose of that company?
       11       A. My understanding that this
       12   company is the one that is going to
       13   continue to carry the Johnson & Johnson
       14   Consumer business, aside, of course, of the
       15   talc litigation. So the business
       16   operations. That is what I recall. That
       17   is my understanding.
       18       Q. When did you form that
       19   understanding?
       20       A. When I talked to the lawyers.
       21   Because if I'm not mistaken, this was one
       22   of the steps that I was -- the reason was
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       23   going through the process, right, is to
       24   sign, as a Johnson & Johnson pharmaceutical
       25   board member is really to -- the creation
   70 :1          J. Azevedo - Confidential
       2    of that company that you mentioned
       3    Currahee, right, there is going to be a
       4    Holdco under Janssen Pharmaceutical to
       5    continue to do the business operations of
       6    consumers.
       7            So that's when I learned. Of
       8    course as part of my signatory
       9    responsibility, right, I understood that
       10   because I signed that specific step of the
       11   process.
       12       Q. Were you involved in any other
       13   steps of the process?
       14           MR. STARNER: Objection.
       15           You can answer.
       16       A. I was not.


AZEVEDO, JOSE LUIZ - 01/24/2022
Page 72
   72 :2       Q. Prior to the creation of Currahee
       3    Holding Company, were you aware of the
       4    assets and liabilities of Johnson & Johnson
       5    Consumer Inc.?
       6            MR. STARNER: Objection.
       7       A. No, I don't have visibility of
       8    that. I don't have access to that.


AZEVEDO, JOSE LUIZ - 01/24/2022
Page 73
   73 :5        Q. So you said it is your
       6    understanding that Currahee was going to be
       7    the one that was going to be doing some of
       8    the activities that JJCI was doing.
       9           Which activities?
       10       A. The commercial activities and et
       11   cetera. I would say -- and that is my
       12   understanding. All the activities except
       13   for the talc liabilities. That is going to
       14   be done by LTL.
       15       Q. Are you familiar with a company
       16   called Chenango Zero LLC?
       17       A. No.
       18       Q. Are you familiar with a company
       19   called Chenango One LLC?
       20       A. No.
       21       Q. Are you familiar with a company
       22   called Chenango Two LLC?
       23       A. No.
       24       Q. Are you familiar with a company
       25   called Royalty A&M?
   74 :1          J. Azevedo - Confidential
       2        A. No.


AZEVEDO, JOSE LUIZ - 01/24/2022
Page 74
   74 :13     Q. Mr. Azevedo, you can take a
       14   moment to look at the document.
       15        MS. D'AQUILA: We are going to be
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      16       marking this document as Exhibit 53.
      17          (Deposition Exhibit 53, Email
      18       chain beginning with email dated
      19       10/6/2021 from McCann to McCann and
      20       others, Bates-stamped LTL 0032091
      21       through 32093, marked for
      22       identification, as of this date.)
      23          (Document review.)


AZEVEDO, JOSE LUIZ - 01/24/2022
Page 79
   79 :4        Q. Do you recall whether the meeting
       5    being referenced in the document up on your
       6    screen is the first meeting -- is
       7    referencing the first meeting you had ever
       8    had a meeting with Johnson & Johnson
       9    counsel regarding the corporate
       10   restructuring?
       11       A. Yeah. Like I said, I mean, the
       12   first -- so maybe step back again a little
       13   bit, right, because I know that in that
       14   timeline, I had two meetings with the
       15   lawyers. So I am not sure if this is the
       16   first or second, right? So just recalling.
       17            So like I said, I was contacted
       18   by the lawyers to try to set up some time.
       19   And then I had a meeting with the lawyers,
       20   maybe this one, where they explained to me
       21   the restructuring, right, to make sure,
       22   number one, I understand the restructuring;
       23   number two, that I'm comfortable that
       24   everybody had to analyze, analyze.
       25            And then I had a second meeting
   80 :1           J. Azevedo - Confidential
       2    with the lawyers I believe in the moment --
       3    in the day that I signed the documents,
       4    just to make sure that I'm signing -- if
       5    there was any questions, any other
       6    followups that I had to do.
       7             So if this -- probably this was
       8    the first meeting, but I am not so sure if
       9    this is the first or the second. Maybe the
       10   first.
       11       Q. Okay. At your first meeting with
       12   Johnson & Johnson attorneys, was anyone
       13   else present other than you and the Johnson
       14   & Johnson attorneys?
       15       A. That's what I recall.
       16       Q. I'm sorry, what is it that you
       17   recall? That it was just yourself --
       18       A. Only myself -- yeah, what I
       19   recall, that only myself and the J&J
       20   lawyers. But I'm not 100 percent sure. I
       21   think it was only us and the internal
       22   lawyers.


AZEVEDO, JOSE LUIZ - 01/24/2022
Page 85
   85 :18         MS. D'AQUILA: Deane, if you
       19      could please pull up what Brown Rudnick
       20      has identified for the court reporter
       21      as Document C and put it on the screen
   Case 21-30589-MBK          Doc 1566 Filed 02/24/22 Entered 02/24/22 13:09:09   Desc Main
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       22      for all parties, please.
       23          We are going to be marking this
       24      document as Exhibit 54.
       25          (Deposition Exhibit 54, Email
   86 :1         J. Azevedo - Confidential
       2       chain beginning with email dated
       3       10/7/2021 from McCann to McCann and
       4       others, Bates-stamped LTL 0032094
       5       through 32096, marked for
       6       identification, as of this date.)


AZEVEDO, JOSE LUIZ - 01/24/2022
Page 87
   87 :5        Q. So if you see, the email appears
       6    to have been sent to you on October 7th,
       7    2021, at 4:27 p.m.
       8            Do you see that?
       9        A. Yes, I do.
       10       Q. And it appears to be scheduling a
       11   call or a meeting for October 11th, 2021,
       12   at 3:30 p.m.
       13           Do you see that?
       14       A. I do.
       15       Q. Do you recall attending a meeting
       16   on October 11th with the J&J attorneys with
       17   regard to the corporate restructuring?
       18       A. If -- I don't recall. It was a
       19   long time ago. But if the meeting was
       20   scheduled, probably that happened, yeah.
       21       Q. Are you --
       22       A. I don't recall the specific dates
       23   specifically if anything changed. But like
       24   I said before, I had two meetings with the
       25   lawyers in the beginning of October. So
   88 :1          J. Azevedo - Confidential
       2    that could be one of those meetings no
       3    doubt.
       4        Q. And when you -- so just looking
       5    chronologically, comparing the last
       6    exhibit, which appears to be -- the call
       7    appears to have been scheduled for
       8    October 6th at 7:00 p.m., and this document
       9    the call was scheduled for October 11th at
       10   3:30 p.m., is it fair to say that this
       11   document is likely reflecting the second
       12   meeting with counsel that you were
       13   describing?
       14           MR. STARNER: You can answer.
       15       A. Yes, that is correct. So like I
       16   said before, Danielle, I had the first
       17   meeting maybe October 6th, right, where the
       18   lawyers, they explained, you know, the
       19   restructuring, the goals, and et cetera.
       20           And then the second meeting, that
       21   may be the October 11th, was I think during
       22   the time that I signed the documents,
       23   right, just to check again if I have any
       24   questions, any doubts, any concerns and
       25   everything like that.
   89 :1          J. Azevedo - Confidential
       2            So probably, you know, not having
       3    100 percent certainty because this may have
       4    changed a little bit, but, yeah, these
       5    probably were the two meetings; October 6th
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      6     the first one and October 11th, the second
      7     one, the one after or during the time I was
      8     signing the document.


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Page 90
   90 :11       Q. So if I understand the timeline
       12   correct, roughly October 6th is when you
       13   first learned of the J&J corporate
       14   restructuring, correct?
       15           MR. STARNER: Objection.
       16           You can answer.
       17       A. I believe so. Around that
       18   timeline. If the meeting was October 6th,
       19   the first one, that is when I learned.
       20       Q. Between October 6th and
       21   October 11th, what did you do, if anything,
       22   to analyze the corporate restructuring?
       23           MR. STARNER: Objection. Vague.
       24           You can answer.
       25           THE WITNESS: Sorry?
   91 :1           J. Azevedo - Confidential
       2            MR. STARNER: I objected to the
       3        form of the question, but you can
       4        answer.
       5        A. Yeah, I -- so a couple of things,
       6    right? I think the October 6th, the first
       7    meeting where I had the meeting with the
       8    lawyers and they explained me the
       9    restructuring. And then at some point in
       10   time is where I did receive the document
       11   and I read the document. That is how I
       12   analyzed that, the document that I was
       13   supposed to sign, that I was going to sign.
       14           But I don't think I did that in
       15   any other activities there. I think the
       16   lawyers were very clear if I have any
       17   questions, if I want to have any follow-up
       18   calls to, you know, to learn more on this
       19   or that, that they were open to do that,
       20   but I don't think -- I think the first
       21   meeting for me was, I would say, enough to
       22   understand and to be comfortable to sign.
       23       Q. How long did that first meeting
       24   last?
       25       A. I don't remember.
   92 :1           J. Azevedo - Confidential
       2        Q. Did it last approximately 30
       3    minutes?
       4        A. No. Probably more.
       5        Q. Did it last --
       6        A. I would say around one hour.
       7    Between half an hour and an hour, but I
       8    don't remember anyhow.
       9        Q. Did you receive any materials
       10   other than the Janssen Pharmaceutical
       11   unanimous consent that you executed with
       12   regard to the corporate restructuring?
       13       A. So I don't think so. I think the
       14   lawyers, I think they -- they, during the
       15   meeting, they did share documents and their
       16   restructuring, the design of the
       17   restructuring, but I don't recall having
       18   received that. I don't think I did. I saw
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    19   it during the meeting.
    20       Q. How many documents did you see
    21   during the meeting?
    22       A. I don't remember.
    23       Q. Fewer than five?
    24       A. I don't --
    25           MR. STARNER: Objection.
93 :1          J. Azevedo - Confidential
    2            THE WITNESS: Sorry, Greg.
    3            MR. STARNER: Yeah, just
    4        objection.
    5            You can answer.
    6        A. I don't know. I don't recall. I
    7    would be speculating here. I have no idea.
    8        Q. At least one?
    9        A. For sure, yes, more than one.
    10       Q. I'm trying to understand roughly
    11   the number of documents that you were
    12   shown, Mr. Azevedo, during your first
    13   meeting with the J&J attorneys.
    14           So you saw at least one document,
    15   correct?
    16       A. Yeah, at least one document. You
    17   know, I remember I saw documents. I saw
    18   corporate design, some drafts, but I don't
    19   recall how many documents. I would be
    20   speculating to say. It's more than one for
    21   sure.
    22       Q. Other than -- so -- strike that.
    23           You saw documents with regard to
    24   corporate structure and the corporate
    25   design of the corporate restructuring,
94 :1          J. Azevedo - Confidential
    2    correct?
    3        A. Very high level. Yes.
    4        Q. Can you describe for me the other
    5    documents that you were shown?
    6        A. I would say what I recall at this
    7    point in time -- again, Danielle, of course
    8    the lawyers, they showed me, you know, the
    9    design, the LTL, et cetera, what we are
    10   trying to do here. So I remember I saw
    11   some of the corporate design, the documents
    12   there.
    13       Q. Did you see any documents with
    14   regard to the financial impact that the
    15   corporate restructuring would have
    16   specifically on Janssen Pharmaceutical?
    17       A. No.
    18       Q. Did you see any documents with
    19   regard to the financial impact of the
    20   corporate restructuring would have on JJCI?
    21       A. No.
    22       Q. Did you see any documents with
    23   regard to the financial impact that the
    24   corporate restructuring would have on LTL?
    25           MR. STARNER: Objection.
95 :1          J. Azevedo - Confidential
    2        A. No.
    3        Q. Were you shown any documents with
    4    regard to the tax implication that the
    5    corporate restructuring would have on
    6    Janssen Pharmaceutical?
    7            MR. STARNER: Objection.
    8        A. The tax implications, no, I have
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    9    not seen that.
    10       Q. And is it fair to say that at no
    11   point in time have you seen documents with
    12   regard to how the corporate restructuring
    13   would -- strike that.
    14           Is it fair to say that at no
    15   point in time that you've seen documents
    16   with regard to the financial impact of how
    17   the corporate restructuring would impact
    18   Janssen Pharmaceutical?
    19           MR. STARNER: Objection.
    20       A. The financial impacts of the
    21   restructuring in the Janssen
    22   Pharmaceutical?
    23       Q. Correct, that is my question.
    24       A. Yeah, I don't recall. I don't
    25   recall having that discussion.
96 :1          J. Azevedo - Confidential
    2        Q. Okay. And you don't recall
    3    seeing those documents, not just at the
    4    meeting with the attorneys that we were
    5    talking about, but I'm talking about at any
    6    point in time?
    7            MR. STARNER: Objection.
    8        A. I think your question is if I saw
    9    the documents only in the meeting or at any
    10   other point in time?
    11       Q. Correct.
    12           So let me back up a second.
    13           My prior question was specific to
    14   documents that -- whether you were shown
    15   them at the time of your discussions with
    16   attorneys prior to the J&J restructuring.
    17           I'm now asking have you ever seen
    18   documents with regard to the financial
    19   impact that the corporate restructuring
    20   would have on Janssen Pharmaceutical?
    21       A. I don't recall having seen that.
    22       Q. And at any point in time did you
    23   see -- have you seen documents with regard
    24   to the financial impact that the corporate
    25   restructuring would have on JJCI?
97 :1          J. Azevedo - Confidential
    2            MR. STARNER: Objection.
    3        A. I -- I don't recall having seen
    4    that.
    5        Q. At any point in time have you
    6    seen documents with regard to the financial
    7    impact that the corporate restructuring
    8    would have on LTL?
    9            MR. STARNER: Objection.
    10       A. The financial impact that the
    11   restructuring would have on LTL?
    12       Q. Correct.
    13       A. I don't recall having seen that.
    14       Q. Okay. Going back to the meeting
    15   that occurred on October 6th between
    16   yourself and the J&J attorneys, from that
    17   point forward, what else did you do other
    18   than talk to the attorneys at these two
    19   meetings with regard to the J&J corporate
    20   restructuring?
    21           MR. STARNER: Objection.
    22       A. I just talked to -- let's see, my
    23   role on that and also to get me comfortable
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       24   to sign was talking with the attorneys. So
       25   I think the attorneys -- I talked only to
   98 :1          J. Azevedo - Confidential
       2    the attorneys, the attorneys only.
       3        Q. You never talked to any other
       4    businessperson at J&J with regard to the
       5    corporate restructuring?
       6        A. No.


AZEVEDO, JOSE LUIZ - 01/24/2022
Page 98
   98 :17           So you never spoke to any other
       18   Janssen board member with regard to the
       19   Johnson & Johnson restructuring?
       20       A. I have not. No, Danielle, like I
       21   said, the only people I talked to were the
       22   attorneys and the attorneys only on the
       23   restructuring, the only people that have
       24   contact and talk to understand.


AZEVEDO, JOSE LUIZ - 01/24/2022
Page 99
  99 :11         Q. Sure. I'll rephrase it.
      12             Am I correct that at some point
      13    in time, you received a copy of the Janssen
      14    Pharmaceutical unanimous written consent?
      15             MR. STARNER: Objection. Vague.
      16         A. I'm not sure. I mean I know that
      17    the document -- so let me step back a
      18    little bit.
      19             So the document I have received
      20    was the one that I signed, right? And if
      21    that is the one that you are referring to,
      22    you are correct.
      23             Other documents, you know, were
      24    shared with me by the lawyers for me to
      25    have an understanding of the restructuring
 100 :1            J. Azevedo - Confidential
      2     so I would be comfortable to sign. But I
      3     believe that the only one that I had
      4     received was the one that I did sign.
      5          Q. And when you say that the lawyers
      6     shared documents with you, how did they
      7     share them?
      8          A. In the Zoom like you're doing
      9     here, like sharing the Zoom so I could read
      10    and could talk like in a presentation mode,
      11    you know, could go through the documents
      12    and have a discussion and while they're
      13    explaining, you know, the whole
      14    restructuring, the organization.
      15         Q. During your October 11th meeting
      16    with the attorneys, were documents shared
      17    with you then as well?
      18         A. Can you repeat that? Sorry.
      19         Q. No problem.
      20             During the October 11th meeting
      21    with the attorneys, is the document that is
      22    up on your screen right now, did the
      23    attorneys share documents with you during
      24    that meeting as well?
      25         A. I don't recall the specific of
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 101 :1          J. Azevedo - Confidential
      2    that meeting. I think that meeting was
      3    more -- you know, if I remember, if I
      4    recall well, like I said, the first meeting
      5    was really to have -- highlight the
      6    understanding, so they shared more
      7    documents.
      8            I think the second meeting, if I
      9    recall well, we really focused on the
      10   document that I was signing.
      11           So the document that I was
      12   signing of course were shared and
      13   everything else, but I don't recall at that
      14   point in time whether all the documents
      15   were shared or not. It may be or it may be
      16   not. I think the focus was really the
      17   document being signed at that point in
      18   time.


AZEVEDO, JOSE LUIZ - 01/24/2022
Page 102
 102 :17         (Deposition Exhibit 1.5, Document
      18      entitled "Janssen Pharmaceuticals, Inc.
      19      Unanimous Written Consent in Lieu of a
      20      Meeting of the Board of Directors,"
      21      dated 10/11/2021, Bates-stamped LTL
      22      0001079 through 1091, marked for
      23      identification, as of this date.)


AZEVEDO, JOSE LUIZ - 01/24/2022
Page 103
 103 :4            MS. D'AQUILA: For the record,
      5        this document is, as I mentioned, the
      6        fifth document in the closing binder
      7        that we received. It's labeled
      8        "Janssen Pharmaceutical Inc. Unanimous
      9        Written Consent in Lieu of a Meeting of
      10       the Board of Directors, October 11th,
      11       2021." And the Bates number on the
      12       first page is LTL_0001079.
      13   BY MS. D'AQUILA:
      14       Q. Do you recognize this document,
      15   Mr. Azevedo?
      16       A. I think -- again, it was a long
      17   time ago. I think that is the one that I
      18   may have signed the creation of the Newco,
      19   or Holdco. I believe that is the one, but
      20   again...
      21           MS. D'AQUILA: Deane, if you
      22       could scroll to the third page. The
      23       Bates number ends in 101.
      24           Great. Thank you.
      25   BY MS. D'AQUILA:
 104 :1           J. Azevedo - Confidential
      2        Q. Mr. Azevedo, is that your
      3    signature on this page?
      4        A. That is correct, yes.
      5        Q. Do you recall, how did you sign
      6    this document?
      7        A. I think that -- again, when I
      8    look at this, I think they sent the
      9    document, I print, I signed, I scanned, and
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     10   I sent back to them.
     11       Q. Do you recall approximately what
     12   time of day that you signed this document?
     13       A. I don't. I'm sorry.
     14       Q. As we saw on the first page of
     15   this document, it is dated October 11th.
     16           Do you recall whether you signed
     17   this document on October 11th?
     18       A. I don't recall. Probably, but I
     19   don't recall exactly the date. But if that
     20   is the date, I would assume that is when I
     21   signed the document. Because, you know, I
     22   don't have the dates or anything like that.
     23       Q. And I believe you said you sent
     24   it back to them.
     25           Who did you send the completed
105 :1           J. Azevedo - Confidential
     2    version of this document to?
     3        A. To the lawyers.
     4        Q. At J&J?
     5        A. Yes, internal lawyers of J&J,
     6    yes.
     7            MS. D'AQUILA: Deane, if you
     8        could please go back to the first page.
     9            (Document review.)
     10   BY MS. D'AQUILA:
     11       Q. So I'm looking at the first full
     12   paragraph under the heading "Incorporation
     13   of Currahee Holding Company Inc."
     14           And this paragraph starts,
     15   "Whereas, the corporation desired to form a
     16   New Jersey corporation named Currahee
     17   Holding Company Inc., Currahee Holding,
     18   which was formed on October 6th, 2021..."
     19           Do you see where I am reading,
     20   Mr. Azevedo?
     21       A. Can you repeat the question,
     22   Danielle?
     23       Q. Sure.
     24           I just read the first, about half
     25   of the first sentence of the paragraph, the
106 :1           J. Azevedo - Confidential
     2    first paragraph that starts "Whereas..."
     3            Do you see where I am reading?
     4        A. Yes, I see it.
     5        Q. Why did Janssen Pharmaceutical
     6    desire to form a New Jersey corporation
     7    named Currahee Holding Co?
     8            MR. STARNER: Objection.
     9        A. Why? You're asking me the
     10   question why?
     11       Q. That is correct.
     12           Why did Janssen Pharmaceutical
     13   desire to form a New Jersey corporation
     14   named Currahee Holding Company Inc.?
     15       A. So let me step back again, right.
     16           So again, I will say, right, I
     17   was a signatory of this document as part of
     18   my statutory role, but I believe this was
     19   -- my understanding when I talked to the
     20   lawyers and the need to understand the
     21   operation, that is one necessary step for
     22   the restructuring to create the LTL to
     23   really to address the talc litigation. So
     24   I believe this was one necessary step to do
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      25   that, so that is why.
 107 :1          J. Azevedo - Confidential
      2        Q. Is it correct that your
      3    understanding with regard to the desire to
      4    form Currahee Holding Co came entirely from
      5    in-house counsel at Johnson & Johnson?
      6            MR. STARNER: Objection.
      7        A. So I cannot answer that question.
      8        Q. Why can't you answer that
      9    question?
      10       A. Because I don't know the answer.
      11   Like I said, I have, I have -- I've been in
      12   contact with internal lawyers, so the
      13   internal lawyers conveyed that to me. But
      14   I was not part of the decision process and
      15   who was involved and who was advising and
      16   et cetera. So I cannot answer that
      17   question.
      18       Q. I'm just trying to make sure I'm
      19   understanding what you're saying, so
      20   forgive me.
      21           Is it fair to say, though, that
      22   your understanding came solely from the
      23   Johnson & Johnson in-house counsel.
      24           You're just saying you don't know
      25   where the Johnson & Johnson in-house
 108 :1          J. Azevedo - Confidential
      2    counsel necessarily got their information?
      3            MR. STARNER: Objection. Vague.
      4        Lacks foundation.
      5            You can answer if you understand.
      6        A. Yeah, that's my understanding.
      7    Yeah, exactly. I think my understanding
      8    and my connect was with Johnson & Johnson
      9    internal counsel. But I think your
      10   question was if the idea of the design,
      11   right? So I don't know who did participate
      12   and who -- if there are the involvement of
      13   external advisers or not, so I cannot
      14   answer that. But my understanding came
      15   through the internal lawyers, yes, and
      16   only.


AZEVEDO, JOSE LUIZ - 01/24/2022
Page 110
 110 :13      Q. Moving down now to the next
      14   "whereas" paragraph, the paragraph that
      15   starts with "Whereas under approval of the
      16   subscription agreement," this states,
      17   "Whereas the corporation desires to
      18   subscribe for one share of common stock,
      19   par value at $0.01 per share of Currahee
      20   Holdco, in consideration of which the
      21   corporation will deliver to Currahee Holdco
      22   one share of common stock, par value $0.01
      23   per share, of Johnson & Johnson Consumer
      24   Inc. "
      25           Do you see where I just read
 111 :1           J. Azevedo - Confidential
      2    from, Mr. Azevedo?
      3       A. Can you repeat the last part of
      4    the question? Sorry, Danielle.
      5       Q. Sure.
      6            I just wanted to see that you
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     7    were following along where I read from the
     8    document.
     9        A. Yes, I see it. Yes.
     10       Q. Why did the corporation desire to
     11   subscribe for one share of common stock of
     12   Currahee Holdco in consideration for one
     13   share of common stock of Johnson & Johnson
     14   Consumer Inc.?
     15           MR. STARNER: Objection.
     16           You can answer.
     17       A. Yeah, I'm not aware of the
     18   details and why that. You know, because
     19   again, as I said, I was not part of the --
     20   I was not an expert on the details of the
     21   operation and the shares and et cetera. I
     22   cannot answer. Sorry.
     23       Q. Why was Currahee Holding Company
     24   formed as a New Jersey company?
     25           MR. STARNER: Objection.
112 :1          J. Azevedo - Confidential
     2        A. I cannot -- I can't answer that.
     3    Like I said, I'm not an expert on shares
     4    and why.
     5            MS. D'AQUILA: Deane, if you
     6        could, please, go back to the third
     7        page of this document.
     8            Thank you so much.
     9            (Document review.)
     10   BY MS. D'AQUILA:
     11       Q. Mr. Azevedo, as we said before,
     12   we see your name and signature on this
     13   page, correct?
     14       A. Yes.
     15       Q. And underneath, there are two
     16   other names, Sarah Brennan and Randy Nixon?
     17       A. Yes.
     18       Q. Is it fair to say those are the
     19   two other board members of Janssen
     20   Pharmaceutical as of October 11th, 2021?
     21       A. I would say yes when I see the
     22   names, yes.
     23       Q. Who is Randy Nixon?
     24       A. I don't know. I know Sarah, like
     25   I said before. I don't know who is Randy.
113 :1          J. Azevedo - Confidential
     2    I believe he may be a lawyer, but I am not
     3    100 percent sure.
     4        Q. Have you ever had discussions
     5    with Randy Nixon during your tenure at
     6    Johnson & Johnson to your recollection?
     7        A. I don't recall, but I may have
     8    had, but I don't recall.
     9        Q. But it's fair to say you did not
     10   have any conversations with Randy Nixon
     11   with regard to the unanimous written
     12   consent that we are talking about right now
     13   in?
     14           MR. STARNER: Objection.
     15       A. That is correct. Like I said
     16   before, I just talked to the lawyers.
     17           MS. D'AQUILA: Deane, if you
     18       could, I'm trying to figure out which
     19       page number this is. It's Bates number
     20       ending 1086, so it would be either page
     21       6 or 7. Keep going. 8 maybe? This
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      22       one. Sorry. You're right there.
      23       Thank you.
      24           (Document review.)
      25   BY MS. D'AQUILA:
 114 :1          J. Azevedo - Confidential
      2        Q. Mr. Azevedo, do you see towards
      3    the bottom of the page the name Christopher
      4    Andrew under Article 7?
      5        A. Yes, I do.
      6        Q. Do you know who Christopher
      7    Andrew is?
      8        A. I believe he is a lawyer.
      9        Q. Who selected him as the board of
      10   director of Currahee Holding Co.
      11           MR. STARNER: Objection. Lacks
      12       foundation.
      13       A. Danielle, can you repeat the
      14   question? Sorry.
      15       Q. Yeah. I'll back up.
      16           So Article 7 on this page of the
      17   document, Bates number ending in 1086,
      18   Article 7 states, "The numbers of directors
      19   constituting the first board of directors
      20   is one, and the name and address of the
      21   person who is to serve as such director is
      22   Christopher Andrew."
      23           Do you see where I just read
      24   from?
      25       A. Yes, I do.
 115 :1          J. Azevedo - Confidential
      2        Q. And if we are looking at the top
      3    of this document, this is the Certificate
      4    of Incorporation for Currahee Holding Co.?
      5        A. Yes.
      6        Q. Who would determine that
      7    Christopher Andrew was going to serve as
      8    the first board of director for Currahee
      9    Holding Co?
      10           MR. STARNER: Objection.
      11       A. I don't know. I cannot answer
      12   the question.
      13       Q. It's fair to say that you did not
      14   make that determination?
      15       A. It is fair to say, yes, I did
      16   not.


AZEVEDO, JOSE LUIZ - 01/24/2022
Page 116
 116 :4        Q. Mr. Azevedo, did you make any
      5    revisions to the unanimous consent?
      6        A. No -- are you saying if I --
      7    (inaudible.)
      8           (Reporter clarification.)
      9           THE WITNESS: I'm asking a
      10       question to Danielle. Sorry.
      11       A. So are you saying if I made any
      12   revisions, if I suggest any changes to the
      13   document? That is your question?
      14       Q. Correct.
      15       A. No, I have not.
      16       Q. So you received the Janssen
      17   unanimous consent that we marked at
      18   Exhibit 1.5, and you signed it, correct?
      19          MR. STARNER: Objection.
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      20            You can answer.
      21        A. That is correct.
      22        Q. How many hours do you think you
      23   spent on phone calls, in meetings or
      24   otherwise, analyzing the corporate
      25   restructuring prior to signing the
 117 :1           J. Azevedo - Confidential
      2    unanimous consent?
      3             MR. STARNER: Objection.
      4         A. I would say maybe one or two
      5    hours.
      6         Q. Before you signed the Janssen
      7    unanimous consent, were you presented with
      8    any alternatives to the corporate
      9    restructuring?
      10            MR. STARNER: Objection.
      11            You can answer.
      12        A. I have not. But when I was
      13   talking to the lawyers, I think --
      14            MR. STARNER: Mr. Azevedo, I just
      15        instruct you not to reveal anything
      16        your lawyers may have told you. You
      17        can obviously respond with your general
      18        understanding.
      19            THE WITNESS: Yeah, okay.
      20        A. My general understanding is that
      21   all the other alternatives had been
      22   considered and there was, you know, the
      23   final, the best alternative to move
      24   forward. That is my understanding.
      25        Q. Were you provided with those
 118 :1           J. Azevedo - Confidential
      2    other alternatives?
      3             MR. STARNER: Objection.
      4         A. I didn't ask to, so I was not.
      5         Q. Before you signed the Janssen
      6    unanimous consent, were you provided with a
      7    fairness opinion regarding the corporate
      8    restructuring?
      9             MR. STARNER: Objection.
      10        A. What do you mean by the fairness
      11   opinion? What do you --
      12        Q. Are you aware of what a fairness
      13   opinion is in your experience as a
      14   businessperson at Johnson & Johnson?
      15        A. No, I am not.
      16        Q. After you executed the unanimous
      17   written consent, did you have any other
      18   involvement with the corporate
      19   restructuring?
      20            MR. STARNER: Objection.
      21        A. I have not.


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Page 119
 119 :16          MS. D'AQUILA: We will be marking
      17      this document as Exhibit 1.6. This is
      18      the sixth document in the closing
      19      binder that we received. The Bates
      20      number on the first page of this
      21      document is LTL_0001092.
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Page 119
 119 :23      Q. Mr. Azevedo, have you seen this
      24   document before?
      25      A. I cannot answer. I don't know.
 120 :1         J. Azevedo - Confidential
      2    Maybe it's the one that I signed? I don't
      3    remember.


AZEVEDO, JOSE LUIZ - 01/24/2022
Page 120
 120 :4        Q. So we can go to the signature
      5    page on this. It's the fifth page, I
      6    believe. You will see this was signed by
      7    Christopher Andrew.
      8            Do you see that?
      9        A. Yes.
      10       Q. So I will represent to you that
      11   your signature does not appear anywhere on
      12   this document.
      13           To your recollection, do you
      14   recall ever seeing this document before?
      15       A. I would say no, I don't recall
      16   having seen it.
      17           MS. D'AQUILA: And if you could,
      18       Deane, go to the very last page of this
      19       document.
      20           (Document review.)
      21   BY MS. D'AQUILA:
      22       Q. Do you see this is labeled
      23   Exhibit B to this document, and it's called
      24   "Officers of Currahee Holding Company Inc.,
      25   a New Jersey corporation"?
 121 :1          J. Azevedo - Confidential
      2        A. I can see that, yes.
      3        Q. Did you have any role in hiring
      4    any of these officers for Currahee Holding
      5    Company Inc.?
      6            MR. STARNER: Objection.
      7        A. I have not.
      8        Q. Were you aware that any of these
      9    individuals were going to be officers of
      10   Currahee Holding Company Inc. at the time
      11   you signed the unanimous consent for
      12   Janssen?
      13       A. I was not.


AZEVEDO, JOSE LUIZ - 01/24/2022
Page 147
 147 :2        Q. Hi, Mr. Azevedo. I'll be as
      3    short as I can be.
      4           So you were the VP of finance and
      5    CFO of Janssen North America from sometime
      6    in 2019 until approximately October of
      7    2021; is that correct?
      8        A. That is correct, yes.
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Page 148
 148 :13       Q. Did you have a general
      14   understanding during that time of the
      15   assets that Janssen Pharmaceutical had?
      16           MR. STARNER: Objection.
      17       A. Yeah, I would say yes.
      18       Q. And one of those assets was its
      19   equity interest in Johnson & Johnson
      20   Consumer Inc.?
      21       A. Yeah, I was aware that Janssen
      22   Pharmaceutical was underneath Johnson &
      23   Johnson.
      24       Q. During that time from 2019 until
      25   October 2021, did you have an understanding
 149 :1          J. Azevedo - Confidential
      2    of the approximate value of that asset to
      3    Janssen Pharmaceuticals?
      4        A. No, I have not. Like I said,
      5    these are statutory in the tax department
      6    and others are doing that incorporation.
      7    So I have an idea, you know, of the legal
      8    structuring, but I don't have all the
      9    details and et cetera.
      10       Q. Were there schedules, financial
      11   schedules for Janssen Pharmaceuticals that
      12   listed its equity interest in JJCI as an
      13   asset?
      14           MR. STARNER: Objection. Lacks
      15       foundation.
      16       A. Not that I would receive, because
      17   as I said, I had a managerial
      18   responsibility for the business. This was
      19   more of the legal structure and the tax
      20   structure and you have, I would say,
      21   experts in the enterprise that are looking
      22   at that.


AZEVEDO, JOSE LUIZ - 01/24/2022
Page 152
 152 :12       Q. Do you have an understanding
      13   prior to October 11th, 2021, whether
      14   Johnson & Johnson Consumer Inc. had a
      15   positive value as an asset?
      16           MR. STARNER: Objection. Vague.
      17       Lack of foundation.
      18       A. I'm not -- again, it would be
      19   speculation. I don't have -- I don't have
      20   access to the consumer financial
      21   informations, so I cannot answer your
      22   question.


AZEVEDO, JOSE LUIZ - 01/24/2022
Page 156
 156 :24       Q. Have you considered any forecasts
      25   relating to the restructuring?
 157 :1          J. Azevedo - Confidential
      2            MR. STARNER: Objection. Asked
      3        and answered.
      4        A. I have not.
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      5        Q. Would you consider any analysis
      6    relating to the solvency of any entities
      7    involved in the restructuring?
      8            MR. STARNER: Objection.
      9        A. I specifically would not.


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Page 166
 166 :20       Q. Okay. And are you aware of
      21   anybody at Janssen Pharmaceutical or J&J
      22   for that matter who evaluates the impact of
      23   the restructuring on a mesothelioma victim?
      24           MR. STARNER: Objection.
      25       A. It's a difficult question, but I
 167 :1          J. Azevedo - Confidential
      2    would say that my understanding talking to
      3    the lawyers, as I said before to Danielle,
      4    is that the experts in the company, they
      5    have weighed the different alternatives and
      6    they believe, right, that this was the best
      7    alternative for all the stakeholders,
      8    right. Not specifically one here, one
      9    there, but that is my understanding and
      10   that is why I was confirmed to sign that.
      11           MR. SATTERLY: Respectfully, I am
      12       going to move to strike that answer and
      13       just ask it a little bit differently.
      14   BY MR. SATTERLEY:
      15       Q. Can you tell me the names of
      16   anybody at either Janssen or Johnson &
      17   Johnson that had evaluated the impact of
      18   the restructuring on a mesothelioma victim?
      19           MR. STARNER: Objection.
      20       A. I cannot give you a name. I
      21   don't -- yeah.
      22       Q. And what you said, your previous
      23   answer, you mentioned Danielle.
      24           You are talking about Danielle
      25   Devine?
 168 :1          J. Azevedo - Confidential
      2        A. The lawyer, the first one that
      3    was asking me the questions, yes.
      4        Q. Oh, the lawyer. I'm sorry. I
      5    thought you meant -- do you know who
      6    Danielle Devine is?
      7        A. No, I don't.
      8        Q. Okay.
      9        A. Because what I am saying to you
      10   is that -- I was repeating what I told to
      11   Danielle, the first person that was asking
      12   the questions, right that --
      13       Q. My apologies.
      14       A. Yeah. Because for me to sign the
      15   document and talk to the lawyers, my
      16   understanding, right, is that all the
      17   alternatives had been analyzed and it was
      18   considered the best alternative to move
      19   forward.


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 168 :20      Q. Now I think this is pretty clear
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      21   based on your previous testimony, but you
      22   would agree that you did not participate in
      23   any long-arm's length negotiations with
      24   regards to the restructuring of
      25   October 2021, correct?
 169 :1          J. Azevedo - Confidential
      2           MR. STARNER: Objection. Lacks
      3       foundation. Calls for a legal
      4       conclusion.
      5       A. I specifically, if I have not --
      6    yeah, I have not participated with
      7    negotiations with the claimants or
      8    anything, no.
      9       Q. Okay. And you weren't present in
      10   any room or even in any Zoom meetings where
      11   there was an arm's length negotiation with
      12   regards to the restructuring regarding the
      13   various entities involved, correct?
      14          MR. STARNER: Objection.
      15      A. When you say if I was involved in
      16   arm's length negotiations with the other
      17   parties, that's what you're saying?
      18      Q. Yes.
      19      A. Yeah, the claimants, no, I was
      20   not.
      21      Q. Okay.
      22      A. No, I was not part of the
      23   negotiations.


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Page 175
 175 :12       Q. Following up on Mr. Satterley's
      13   questioning, was there any consideration of
      14   the effect of the restructuring on ovarian
      15   cancer claimants?
      16          MR. JONES: Object to foundation.
      17          MR. STARNER: Yeah, lack of
      18       foundation objection. Vague.
      19   BY MR. KAHN:
      20       Q. That you know of?
      21       A. So sorry. You're saying are
      22   there any consideration of the effect of
      23   the restructuring in the ovarian cancer?
      24   That is your question?
      25       Q. Yes, as to ovarian cancer
 176 :1          J. Azevedo - Confidential
      2    claimants.
      3        A. Not that I am aware. Like I said
      4    before, my understanding is that
      5    alternatives were considered what was the
      6    best one, but I don't know the specifics,
      7    and I don't know if, you know, each case
      8    specifically, right, so I cannot answer
      9    that.
      10       Q. And you don't have any details as
      11   to what those other alternatives were --
      12          (Simultaneous talking.)
      13       Q. You have no understanding as to
      14   what the other alternatives that were
      15   considered, do you?
      16          MR. STARNER: Objection. Lacks
      17       foundation. Mischaracterizes the
      18       testimony.
      19       A. So my understanding, Steve, is
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     20   that there were a lot of alternatives
     21   considered, but I cannot, as I said, go
     22   into details which ones and why this and
     23   that because I was not part of that.
     24       Q. All right. Now as the VP of
     25   finance and CFO of Janssen Pharmaceuticals
177 :1          J. Azevedo - Confidential
     2    Commercial, I think you said you have no
     3    oversight of the financial performance of
     4    JJCI; is that correct?
     5        A. That is correct. That's what I
     6    said.
     7        Q. Did anybody else at Janssen
     8    Pharmaceutical have responsibility for
     9    oversight of the financial performance of
     10   JJCI?
     11           MR. STARNER: Objection. Lacks
     12       foundation.
     13       A. I don't know. I can't answer
     14   that. Not that I am aware.
     15       Q. But would it be correct that just
     16   prior to the restructuring that Janssen
     17   Pharmaceutical was the sole shareholder of
     18   JJCI?
     19           MR. STARNER: Objection.
     20       Foundation.
     21       A. Can you repeat the question, sir?
     22       Q. Prior to the corporate
     23   restructuring, isn't it correct that
     24   Janssen Pharmaceutical was the sole
     25   shareholder of JJCI?
178 :1          J. Azevedo - Confidential
     2        A. I believe so.
     3        Q. And it did not, to your
     4    knowledge, oversee the financial
     5    performance of JJCI?
     6        A. Yes, I said that I didn't --
     7            MR. STARNER: Jose, hold on. I
     8        just want to object to the question.
     9            You can answer.
     10       A. I said that I did not have
     11   visibility. Like I told you, I cannot tell
     12   you who had or who had not. So I'm pretty
     13   sure that on an enterprise level, there are
     14   people that have that visibility. It's
     15   just not me.
     16       Q. When you say on the enterprise
     17   level, what do you mean?
     18       A. Enterprise at Johnson & Johnson
     19   in other levels, right, of the
     20   organization. People of course have
     21   visibility to JJCI, but it's not me. I
     22   don't know who are those people.
     23       Q. Do you know whether any J&J
     24   entity prepared or had prepared on its
     25   behalf an analysis of the fair market value
179 :1          J. Azevedo - Confidential
     2    of JJCI at any time?
     3            MR. STARNER: Objection.
     4        Foundation.
     5        A. I'm not aware. I didn't
     6    participate on that, so I don't know.
     7        Q. You haven't heard that any such
     8    document was prepared?
     9            MR. STARNER: Objection.
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     10       A. No.
     11       Q. Was one of the purposes of the
     12   corporate restructuring, to your
     13   understanding, to protect J&J from talc
     14   claims?
     15            MR. STARNER: Objection.
     16       Foundation.
     17            I just caution the witness not no
     18       disclose any communications he may have
     19       had with counsel.
     20            But with that, you know, you can
     21       answer the question if you understand
     22       it.
     23       A. My understanding, again, my
     24   understanding of the restructure was really
     25   to solve the issue in the most equitable
180 :1            J. Azevedo - Confidential
     2    and proper way for all the stakeholders,
     3    right? So that's my understanding of that,
     4    you know.
     5        Q. When you say that for all the
     6    stakeholders, you're including Johnson &
     7    Johnson, are you not?
     8             MR. STARNER: Objection.
     9        A. I include everyone, correct. The
     10   JJCI, the claimant, and everybody else.
     11       Q. Now you mentioned earlier when
     12   you were talking about your understanding
     13   of the restructuring that it was to solve
     14   the talc claims' current and future
     15   liabilities in a, quote, "fair and
     16   equitable," unquote, way.
     17            Do you recall that?
     18       A. I said, yeah, I said that the new
     19   company of course is going to -- is going
     20   to handle all the existing and future
     21   liabilities, yes. Yes.
     22       Q. In a quote "fair and
     23   equitable" --
     24       A. I did probably say that, yes.
     25       Q. Are those your words or had you
181 :1            J. Azevedo - Confidential
     2    seen that description of or heard that
     3    description from somebody else?
     4        A. That's my understanding.
     5             (Reporter clarification.)
     6        Q. Are those your words or had you
     7    seen that description of or heard that
     8    description from elsewhere?
     9             MR. STARNER: Objection.
     10   BY MR. KAHN:
     11       Q. I think your answer was, "It's my
     12   understanding."
     13            Where did you gain that
     14   understanding?
     15       A. Through the conversations with
     16   the lawyers.
     17       Q. So given to what you have
     18   testified to so far, would it be correct to
     19   say that you have no understanding as to
     20   whether JJCI just prior to the
     21   restructuring had any difficulty meeting
     22   its debts when due?
     23            MR. STARNER: Objection. Lacks
     24       foundation.
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      25       A. Yeah, again, I'm not involved on
 182 :1          J. Azevedo - Confidential
      2    that, right, on the day to day, on the
      3    financials of JJCI, so to say -- I cannot
      4    answer that question because I am not the
      5    right person to do it.
      6        Q. Okay. Have you ever heard from
      7    any source that as of that time, JJCI had
      8    difficulty meeting its debts when due?
      9            MR. STARNER: Objection. Lacks
      10       foundation.
      11       A. I have not heard about the
      12   difficulties to meet the debts when due.
      13   Like I said before, I heard the company was
      14   under a lot of financial constraints. So
      15   what does that mean? I don't know exactly.
      16   But I know that that is what I heard. That
      17   is what I understood from management
      18   meetings.
      19       Q. You understood from management
      20   meetings it's operating under financial
      21   constraints, but you don't know what those
      22   financial constraints --
      23       A. No, because again, I don't have
      24   visibility or work on Consumer, so I am not
      25   on the day to day, so I don't know the
 183 :1          J. Azevedo - Confidential
      2    implications. I don't know what is
      3    actually going on there. But that is the
      4    reason why.


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Page 183
 183 :5         Q. That's what you were told, but
      6    you don't know what it's based on?
      7         A. That's what I was told. And also
      8    if I -- and I believe, you know, my
      9    understanding as well, and this is public
      10   information, that in 2020, right, the
      11   company was losing money, the JJCI. And
      12   that is public information. The company
      13   was losing money because of the litigation
      14   costs and et cetera. That is my
      15   understanding, that it was public
      16   information. That is what I was told.
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   18 :23         Q. Good.
       24            Well, let's get started with your
       25    education, since graduating from high school;
   19 :1                 R. DICKINSON
       2     if you could tell me about that.
       3          A. Yes. I have an undergraduate
       4     degree from Slippery Rock University in
       5     finance, and a graduate degree from the
       6     University of Pittsburgh in finance and MIS.


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   19 :11         Q. And if you could take me through
       12    your employment history since getting your MIS
       13    to -- to today.
       14         A. Yes.
       15             MB- -- MBA in finance and MIS.
       16         Q. Oh, great.
       17             Okay. My apologies.
       18         A. I --
       19         Q. I don't want to take that away from
       20    you.
       21         A. Yeah, please.
       22             I started -- initially --
       23    initially, my career, a few years with Xerox
       24    Corporation in, you know, financial analyst
       25    position.
   20 :1                   R. DICKINSON
       2              And then I spent ten years with
       3     Aventus Pharmaceuticals, changed names a few
       4     times, but ended up being Aventus
       5     Pharmaceuticals.
       6              And then I joined Johnson & Johnson
       7     roughly in 2001.
       8              And I spent three years at Ortho
       9     Clinical Diagnostics within Johnson & Johnson,
       10    three years as the finance director at Medical
       11    Devices, roughly three years as the strategic
       12    planning director at Ethicon. And for the
       13    last 12 years prior to this role I was the
       14    strategic director, senior director/vice
       15    president of business development for Medical
       16    Devices, primarily acquisitions and
       17    divestitures.
       18             And currently I'm employed with J&J
       19    Services and seconded to LTL as the chief
       20    financial officer.


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   24 :3        Q. Okay.
       4            And were you familiar, while you
       5     were at J&J, with the talc litigation?
       6        A. I -- I was.
       7        Q. Okay.
       8            And how were you familiar with it?
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    9         A. In the normal course of -- of
    10   business, being a shareholder,
    11   understanding -- reading annual reports or,
    12   you know, any time that there was something in
    13   the news.
    14        Q. But you weren't in any -- well, I
    15   won't describe this properly.
    16            But in terms of internal
    17   information loops relating to talc litigation,
    18   updates, that type of thing, were you -- were
    19   you involved in those?
    20        A. I was not.
    21        Q. Okay.
    22            All right.
    23            I'm curious: When you -- who --
    24   how did you join J&J?
    25            Who hired you?
25 :1                  R. DICKINSON
    2         A. I joined Ortho Clinical
    3    Diagnostics. An individual named Joe Bondi
    4    hired me, and I was, you know, as I said, the
    5    financial director for Ortho Clinical
    6    Diagnostics.
    7         Q. Okay.
    8             And how -- how did it come to be
    9    that you moved from role to role?
    10            How did that -- how is that
    11   determined at J&J?
    12            Does someone just call you and say,
    13   "Rich," you know, "you would be good for this
    14   spot"?
    15            Or how -- how does that work
    16   internally?
    17        A. In my career, yes, that's -- that's
    18   typically how it worked.
    19        Q. Okay.
    20            So let's turn to your latest
    21   assignment or role, that is, at J&J Services.
    22            And, perhaps just generally, can
    23   you tell me when that started and how that
    24   came to be?
    25        A. Yeah. Late -- late September 2021,
26 :1                  R. DICKINSON
    2    I received a call from Mike Ullmann and Erik
    3    Haas, introducing LTL and the potential CFO
    4    position.
    5         Q. Okay.
    6             Do you recall -- when you say "late
    7    September," do you recall the date, or
    8    approximately the date?
    9         A. September 28th.
    10        Q. Okay.
    11            And that was a phone call from
    12   those two gentlemen?
    13        A. It was.
    14        Q. And as best you can, can you --
    15            (Simultaneous speaking.)
    16        A. It was a -- let me correct that.
    17   It was a Zoom -- a Zoom call.
    18        Q. Okay. Great.
    19            And let me just be -- one more
    20   ground rule. I apologize.
    21            Sometimes -- I like to speak,
    22   myself, so sometimes I'll jump in and I'll cut
    23   you off.
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    24             Just -- just tell me that you're
    25   still answering.
27 :1                   R. DICKINSON
    2              Or if you want to come back and
    3    answer a question more fully, again, you're --
    4    you're in charge today. So whatever I can do
    5    to -- to help you, just let me know.
    6              Okay?
    7          A. Thank you. I'm good.
    8          Q. Okay.
    9              So how did -- well, did they just
    10   send you an email and say, Let's have a Zoom
    11   call"?
    12             Or how did that come to be, that
    13   September 28th Zoom call?
    14         A. I think it was, "Hey, can we talk
    15   this afternoon" --
    16             (Simultaneous speaking.)
    17         Q. Okay.
    18         A. -- type of thing.
    19         Q. Okay.
    20             And prior to that initial reach-out
    21   from them, were you, you know, ensconced in
    22   your present position or -- or had you had
    23   plans to move on or retire or do anything like
    24   that?
    25         A. I was focused on my current
28 :1                   R. DICKINSON
    2    responsibilities.
    3          Q. Okay.
    4              So were you surprised when they
    5    reached out to you?
    6          A. I was -- yes, I was surprised by
    7    the phone call.
    8          Q. Okay.
    9              And had you had any interaction
    10   with Mr. Ullmann prior to that?
    11         A. Yes. I've known Mike.
    12         Q. Okay.
    13             How long have you known him?
    14         A. Multiple years, probably 12 or so
    15   years, just --
    16             (Simultaneous speaking.)
    17         Q. Okay.
    18         A. -- dealing with business
    19   development.
    20         Q. Okay.
    21             So in your day-to-day role at
    22   Medical Devices, there were occasions where
    23   you interacted directly with Mr. Ullmann?
    24         A. There were.
    25         Q. Okay.
29 :1                   R. DICKINSON
    2              And, again, could you just -- I
    3    have a feeling I -- I could guess, but can you
    4    tell me: Why was that?
    5              Did you have legal -- legal
    6    questions?
    7              Or why did you have interaction
    8    directly with Mr. Ullmann?
    9              MS. BROWN: And, Rich, let me just
    10         jump in.
    11             Certainly you can answer that
    12         question in terms of the subject of your
    13         interactions with Mr. Ullmann, but I'll
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    14         caution you not to reveal --
    15             THE WITNESS: Yes.
    16             MS. BROWN: -- any specific
    17         conversations in which you may have been
    18         requesting legal advice or Mr. Ullmann
    19         may have been providing it.
    20             With that, you can answer.
    21             THE WITNESS: They were, in
    22         general, questions as it related to the
    23         business development projects I was
    24         working on.
    25             MR. JONAS: Okay.
30 :1                   R. DICKINSON
    2          Q. (BY MR. JONAS) And was he -- were
    3    there other lawyers that you had more --
    4    inside J&J that you had more day-to-day
    5    contact than Mr. Ullmann, or was he the one
    6    you would go to with questions, et cetera?
    7          A. There were multiple lawyers,
    8    depending on who was on the project.
    9          Q. Okay.
    10             How about Mr. Haas?
    11             Had you ever had any interaction
    12   prior to him or them reaching out to you on
    13   September 28th, with Mr. Haas?
    14         A. Yes.
    15         Q. And what was the nature of those
    16   interactions?
    17         A. Business development dealings.
    18         Q. Do you know what Mr. Haas's title
    19   or role was?
    20         A. I don't specifically know his role,
    21   title, but chief litigation -- liti- -- I know
    22   he's in litigation.
    23         Q. That's why I --
    24             (Simultaneous speaking.)
    25         A. -- (inaudible) --
31 :1                   R. DICKINSON
    2          Q. Yeah. That's why I'm asking.
    3              When you had interactions with
    4    Mr. Haas prior to September 8th (sic), was it
    5    in connection with litigation?
    6          A. It had to deal with the projects
    7    that I was dealing with.
    8          Q. Okay.
    9              But, more specifically, were the --
    10   those projects you were dealing with, were
    11   there litigation issues that required you to
    12   reach out to Mr. Haas?
    13         A. Likely, but I can't recall
    14   exactly --
    15             (Simultaneous speaking.)
    16         Q. Okay.
    17         A. -- every conversation or dealings
    18   with him.
    19         Q. Okay.
    20             And -- and I'm sure you -- you know
    21   this is coming, but we're going to, perhaps a
    22   little painfully -- but it's important to me,
    23   so we're going to go through this
    24   step-by-step.
    25             So --
32 :1                   R. DICKINSON
    2              (Simultaneous speaking.)
    3          A. Sure.
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       4          Q. Great.
       5              So September 28th, you get an
       6     invite, I guess, or a call to a Zoom meeting.
       7              Did they tell you -- and -- and,
       8     again, was that a call or just an email showed
       9     up inviting you to the Zoom meeting?
       10         A. It was an email from Mike, I
       11    believe, in the morning that just said, "Hey,
       12    can we talk later today?"
       13         Q. Okay.
       14             And then do you recall what time it
       15    was that you had the Zoom call?
       16         A. It was roughly 4:00 o'clock,
       17    sometime in the afternoon.
       18         Q. Okay.
       19             And, if you could, describe for me
       20    that tele- -- that Zoom call.
       21         A. Yes.
       22             Well, first off, I just want to
       23    clarify one thing: I was surprised by the
       24    call with regard to the -- you know, I had no,
       25    you know, pre-information or preexisting
   33 :1                   R. DICKINSON
       2     information with regard to the contemplated,
       3     you know, plans for either restructuring or,
       4     you know, eventually LTL.
       5              I was not surprised, once I had
       6     learned of that -- of an offer position or the
       7     potential of a CFO.
       8              It was in general terms with regard
       9     to, "Hey, well, J&J, right, was, you know,
       10    contemplating financial distress, you know,
       11    that J&JCI, you know, potentially, were -- was
       12    under, and introduction on the CFO role.
       13             It was -- and most importantly it
       14    was, "Hey, you know, how's the CFO position?"
       15             Right?
       16             "You'll have -- not all the
       17    decisions are going to be made -- are made.
       18    You guys have, you know, full control over
       19    LTL."
       20             And, you know, that was it.
       21         Q. And you -- you used the words
       22    "LTL." So in that call they were already
       23    using the -- the name LTL?
       24         A. I don't recall if they were using
       25    the words "LTL," but, you know, a new entity,
   34 :1                   R. DICKINSON
       2     new entity structure.
       3          Q. Okay.
       4              And what did they tell you about
       5     the new --
       6              MR. JONAS: Strike that.
       7          Q. (BY MR. JONAS) You said that -- I
       8     think you -- you specifically said "financial
       9     distress of JJCI."
       10             Did I -- is that correct?
       11         A. Correct.
       12         Q. And how did they describe the
       13    financial distress of JJCI to you?


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   34 :20           THE WITNESS: Yeah.
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       21             My understanding from the facts
       22        that were related to me was that, you
       23        know, over the last five or so years
       24        Johnson & Johnson Consumer had spent
       25        roughly, you know, a billion dollars in
   35 :1                  R. DICKINSON
       2         defense of litigation, talc-related
       3         claims, an additional roughly three and
       4         a half billion with regard to
       5         settlements and verdicts.
       6              And that was primarily the -- the
       7         discussion, along with the number of
       8         cases, you know, that, you know, we were
       9         litigating over the last five years; and
       10        how many cases, you know, out of, you
       11        know, millions that that was -- or
       12        thousands that that was, kind of,
       13        representative of.


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   35 :15           Can we get a read-back of the
       16        question -- or the answer, please?
       17           Just a read-back of the answer.
       18           Thank you.


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   40 :12         Q. (BY MR. JONAS) And what did they
       13    tell you about that new entity?
       14         A. What was told to me was, this is --
       15    the facts that were told to me is that Johnson
       16    & Johnson Consumer was under financial
       17    distress, you know, based on the billion
       18    dollars in -- in costs over the last five
       19    years, the verdicts and settlements, and by
       20    what was potentially contemplated, which was
       21    to be voted on by the new entity's board, that
       22    the resolution -- the intention or the
       23    contemplation is a complete resolution of the
       24    talc-related litigation.
       25         Q. Okay.
   41 :1                   R. DICKINSON
       2              And how did you -- more
       3     practically, how did you understand, just
       4     setting up a new entity that you were going to
       5     be CFO of -- how was that going to resolve the
       6     talc liabilities?
       7          A. My understanding was that through
       8     the Bankruptcy Court, and that was -- there
       9     was no other alternatives, based on the facts
       10    that I went through, is that there was going
       11    to be potentially a fair resolution for
       12    current and future claimants.


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   42 :5            And how -- how did you understand
       6     that was going to resolve the talc liability?
       7            How was that going to happen?
       8         A. My understanding, through the
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      9      process that was contemplated and the
      10     decisions of the LTL board through the
      11     Bankruptcy Court, that there would be a
      12     complete resolution of talc-related
      13     litigation --


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   44 :22            The facts, as I understood them,
       23        was that there was a -- what was
       24        contemplated was a restructuring that
       25        initially would result into a new
   45 :1                  R. DICKINSON
       2         entity, which turned out to be LTL.
       3             And that was -- that -- those were
       4         the facts; and that the liability for
       5         talc-related claims would go from Old
       6         JJCI to LTL.
       7             Those are the facts as I understand
       8         it.
       9             But there also would be a funding
       10        agreement in place, et cetera, that
       11        once -- once, you know, LTL and the
       12        bankruptcy was formed, then that was,
       13        you know, fully in place.


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   48 :9         Q. Did you have an understanding after
       10    that first Zoom call that a bankruptcy of the
       11    new entity would be fundamental to a
       12    resolution of the talc claims?
       13        A. It was -- it was contemplated.
       14             But over a period of time, either
       15    through reviewing of documents, my own
       16    questions, my own professional experience,
       17    that's how I came to the conclusion that
       18    bankruptcy was the best -- (noise
       19    interruption) -- sorry about that -- the best
       20    alternative path.


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   49 :24             Did you -- did they tell you how
       25    long the planning had been in -- in the works
   50 :1                   R. DICKINSON
       2     for this resolution of talc liabilities?
       3          A. They did not.
       4          Q. Okay.
       5              Did they --
       6              (Simultaneous speaking.)
       7          A. But I --
       8          Q. -- tell you -- I'm sorry. Go
       9     ahead.
       10         A. No. Go ahead.
       11         Q. Did they tell you who else was


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   61 :10            What happened next?
       11         A. Over the next week or two it was a
       12    fair amount of discussions, reviewing of the
       13    informational brief, or drafts of it, the
       14    first-day pleadings, and discussions, whether
       15    they occurred in -- via official calendar,
       16    Outlooks, or either phone calls or
       17    discussions.


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   70 :3             And were there other financial
       4     materials or -- or other materials or
       5     documents that you recalled reviewing in the
       6     lead-up to LTL filing bankruptcy?
       7         A. You know, once again, the first-day
       8     declarations. Primarily, you know, it was,
       9     kind of, the funding agreement, you know,
       10    generally aware of; and, you know, of course,
       11    the RAM projections.


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   72 :14         Q. Okay.
       15             So up until the time of the filing,
       16    since you spent a lot of time getting up to
       17    speed, what was your understanding of how the
       18    talc liabilities would be resolved in, I think
       19    you said, a fair manner for talc claimants?
       20             How was that going to happen?
       21         A. My understanding is that once we
       22    filed for bankruptcy -- and that was a
       23    board -- board decision -- that the cases
       24    automatically get -- get stayed, and
       25    ultimately there would be a trust set up by
   73 :1                   R. DICKINSON
       2     the court.
       3              And through a -- you know, that
       4     trust distribution process, you know, all
       5     legitimate claims, based on some criteria,
       6     would go through that process to -- for
       7     resolution -- a complete resolution of current
       8     and future --
       9              (Simultaneous speaking.)
       10         Q. Okay.
       11         A. -- claims.
       12         Q. Was -- was it your understanding
       13    that, from the point of the bankruptcy
       14    forward, JJCI and J&J, the parent -- or people
       15    call it the apex company -- that those --
       16    those entities would be protected from talc
       17    liability?
       18             MS. BROWN: I object. Vague.
       19             You can answer if you understand,
       20         Mr. Dickinson.
       21             THE WITNESS: My understanding is
       22         that the responsibility of talc-related
       23         claims was LTL's responsibility, through
       24         a funding agreement up to the value of
       25         JJCI prior to a restructuring; that that
   74 :1                   R. DICKINSON
       2          funding agreement, which is a co-funding
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      3          agreement between JJ- -- J&J and JCI,
      4          you know, would stand behind, you know,
      5          whatever talc-related, you know,
      6          settlement, you know, was decided upon
      7          by the court from LTL.
      8             That's my understanding.


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   75 :10         Q. (BY MR. JONAS) No. No. Well, I
       11    understand that.
       12              But -- but you've said a few times
       13    that J&J and J&J -- JJCI would be responsible
       14    up to the value of JJCI at the time of the
       15    bankruptcy filing.
       16              Is that -- have I got that right?
       17              Is that what you said?
       18         A. That's what I can speak to, yes.
       19         Q. Okay.
       20              So what was the value?
       21              What -- what is that value, the
       22    value of JJCI at the time of the filing?
       23         A. I know that J& -- JJCI is a
       24    multibillion dollar company. I don't have
       25    that value, nor was I involved in that
   76 :1                    R. DICKINSON
       2     determination of value.
       3          Q. So let me -- let me see if I -- let
       4     me just make sure I understand this.
       5               As the CFO of this new entity, you
       6     said that the new entity, LTL, would be
       7     responsible for all the talc liability.
       8               Right?
       9          A. That is correct.
       10         Q. Okay.
       11              But the -- the funding of those
       12    liabilities would be by JJ -- J&J and JJCI, up
       13    to the value of JJCI, right?
       14         A. That was my understanding, yes.
       15         Q. Okay.
       16              But you didn't know the value of
       17    JJCI?
       18         A. I do not.
       19         Q. As the -- as a CFO of a company
       20    that's taking on liabilities, I guess you
       21    didn't think it was important to know what
       22    the -- the counterparties to the funding
       23    agreement would have to pay?
       24              MS. BROWN: I object. Misstates
       25         testimony.
   77 :1                    R. DICKINSON
       2               THE WITNESS: Yes, I didn't say
       3          that.
       4               In the -- in the funding agreement
       5          there is a provision, and at some point
       6          in time when that value is needed to be
       7          known, that there's a mechanism to
       8          determine that value.
       9          Q. (BY MR. JONAS) And you -- you
       10    didn't ask any -- you didn't say, "Hey, what
       11    is that value?"
       12         A. I know J&JCI to be a multibillion
       13    dollar company, and I know there was a
       14    provision to determine that value at -- at an
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      15     appropriate time.


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   78 :9          Q. (BY MR. JONAS) So let me ask you,
       10    then: What was -- what -- at the time of the
       11    bankruptcy filing, what was your understanding
       12    of the liabilities of LTL?
       13         A. The liabilities of LTL is the
       14    costs, any appropriate costs with regard to
       15    the litigation and, you know, any potential
       16    settlement that comes from the bankruptcy
       17    filing.
       18         Q. Okay.
       19             And it had no other liability?
       20         A. You would have to refer to the --
       21    the -- you know, that's a better question
       22    asked of the Legal team than me.
       23             But my general understanding is
       24    expenses and the settlement.
       25         Q. Okay.
   79 :1                   R. DICKINSON
       2              You -- you think asking about a
       3     company's liabilities, the question is better
       4     made to lawyers than the chief financial
       5     officer of that company?
       6              Is that what you're saying?
       7          A. I do. It's -- it's -- it's
       8     speculation and, I mean, my general
       9     understanding -- I'm not a lawyer, I'm not a
       10    legal expert -- I know that it's legitimate
       11    expenses with regard to talc litigation and,
       12    you know, any potential future settlement
       13    decided by the court.


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   80 :13        Q. (BY MR. JONAS) At the time of the
       14    LTL filing for bankruptcy, what was your
       15    understanding of the assets of LTL?
       16        A. The assets of LTL, of course, are
       17    the 2 billion, call it prepayment or the
       18    qualified settling -- I think it's called QSF,
       19    and the RAM assets that were allocated to the
       20    business.


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   81 :5             Do you recall if there were any
       6     other assets at the time of the filing?
       7         A. $6 million in cash.


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   83 :12        Q. Okay.
       13            And when did you first learn about
       14    the $2 billion QSF?
       15        A. I think within -- you know, within
       16    the first, you know, several days.
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       17         Q. Okay.
       18             And was -- was that something that
       19    you -- you negotiated, that you were involved
       20    in negotiating?
       21         A. I -- I was not.
       22         Q. Okay.
       23             And when you became CFO, did you
       24    say, "Gee, I'd like more than 2 billion. I'm
       25    CFO of this company. I'd like more than
   84 :1                    R. DICKINSON
       2     $2 billion"?
       3              Did you --
       4              (Simultaneous speaking.)
       5          A. I --
       6          Q. -- ever do that?
       7          A. I did not.
       8          Q. Okay.
       9              Why not?
       10         A. It's -- I don't know if 2 billion
       11    is -- that's the right figure or not the right
       12    figure.
       13             We'll go through the process. The
       14    settlement fund or the QSF fund is -- as my
       15    understanding, is up to the value of JJCI, and
       16    I believed that the two billion is a sign of
       17    good faith and a down payment.


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   86 :12             And what about in your role -- what
       13    are your -- what are your responsibilities or
       14    your duties in your role as a director or a
       15    manager -- a manager on the board of managers?
       16         A. Is to ensure the decisions we're
       17    making and whatever decisions we'll make in
       18    the future are, you know, supporting our
       19    purpose.
       20         Q. Which is what?
       21         A. Fair and equitable resolution of
       22    talc-related litigation.


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Page 88
   88 :12       Q. (BY MR. JONAS) Do you have any
       13    experience with bankruptcy?
       14       A. I do not.
       15       Q. Okay.
       16           You've never been involved with a
       17    company that was in bankruptcy?
       18       A. I was not.


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   89 :19       Q. Okay.
       20           And did you -- do you know who
       21    negotiated the funding agreement?
       22       A. I do not.
       23       Q. You weren't involved in that?
       24       A. I was not.
       25       Q. Okay.
   90 :1                R. DICKINSON
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       2            Do you know if it was negotiated at
       3     all?
       4          A. I do not.
       5          Q. Have you had any -- did you ever
       6     ask anybody, like, "Hey, this is a critical
       7     document for us. Who negotiated this?"
       8          A. I've read the funding agreement and
       9     it looks reasonable and it looks sufficient
       10    and appropriate to achieve our stated purpose.
       11         Q. And -- and what analysis did you do
       12    to reach that conclusion?
       13         A. The funding agreement is an
       14    unconditional funding agreement, and I
       15    understand that there will be professional
       16    fees and a potential settlement, and at some
       17    point in time that value can be determined.
       18         Q. Okay.
       19             I guess, just to cut to the chase,
       20    Mr. Dickinson, I'm trying to figure out what
       21    would happen if the claims exceeded the value
       22    of JJCI.
       23             How would those be resolved?
       24             MS. BROWN: I object. It calls for
       25         speculation and lacks foundation.
   91 :1                   R. DICKINSON
       2              THE WITNESS: Yeah.
       3              Listen, it's speculating. I know
       4          that Johnson & Johnson Consumer is a
       5          multibillion dollar corporation. We
       6          have an unconditional funding agreement,
       7          and -- up to that value, and I believe
       8          that we'll be able to satisfy our
       9          obligations.


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   91 :21             You -- you answered the last
       22    question and you said you were satisfied that
       23    the funding agreement, et cetera, was
       24    sufficient for LTL to be -- to -- to be able
       25    to meet its obligations, I think you said.
   92 :1                  R. DICKINSON
       2              And so now I'm focusing on the
       3     obligations side, the liabilities side, of the
       4     LTL balance sheet, if you will, and I just
       5     want to know what your understanding of the
       6     total -- the aggregate total of those -- of
       7     that amount was.
       8          A. I can only answer to my
       9     understanding.
       10             My understanding is that we spent
       11    roughly a billion dollars over the last five
       12    years with litigation costs, and three and a
       13    half billion in either settlements and
       14    verdicts.
       15             From a future standpoint, you know,
       16    I didn't have a -- I don't have a projection
       17    with regard to what those expenses and
       18    settlements or verdicts would be, but there is
       19    no reason to believe that, you know, those
       20    won't continue in the future.
       21         Q. Yeah. Okay. And I accept that --
       22    I'm sure they'll continue in the future.
       23             But how -- how did you reach a
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       24    conclusion that the arrangements you had in
       25    place under the funding agreement were
   93 :1                   R. DICKINSON
       2     satisfactory from -- from, if you will, an
       3     asset side of the balance sheet, when you
       4     didn't know or even have any understanding of
       5     what the total liabilities were -- the talc
       6     liabilities were?
       7               MS. BROWN: Objection. Misstates
       8          testimony.
       9               THE WITNESS: Yes.
       10              I understood from our funding
       11         agreement and the wild and unpredictable
       12         claims in the past, the -- and the
       13         expenses, that going forward through the
       14         bankruptcy system, that -- and assuming
       15         that -- not assuming -- knowing that
       16         JJCI is a multibillion dollar company,
       17         that, you know, within that amount, that
       18         it would be appropriate.
       19              But I can't speculate whether, you
       20         know -- what that amount would be in the
       21         future.


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   94 :14             With regard to, you know, the
       15         potential future costs, my understanding
       16         is that it's a multibillion dollar
       17         company and through the funding
       18         agreement, that we'll reach, you know --
       19         that we'll be able to satisfy our
       20         obligations.
       21             MR. JONAS: Okay.
       22         Q. (BY MR. JONAS) Did anybody give
       23    you any sort of materials or analysis relating
       24    to -- relating to projections of future talc
       25    liability?
   95 :1                    R. DICKINSON
       2          A. No.
       3          Q. Okay.
       4              And you didn't ask for anything
       5     like that?
       6          A. I -- I asked, I believe, "Hey, was
       7     there any way to predict future talc
       8     liability?"
       9              And the answer is, "No."
       10             But once again, I understood from
       11    the wild and unpredictable verdicts that were
       12    first asked, and continue to ask, and awarded
       13    that there was no reason to believe that
       14    wouldn't continue.
       15         Q. Did you ask anybody approximately
       16    how much J- -- either JJCI or J&J were paying
       17    on -- an account of certain claims?
       18             For example, on an ovarian cancer
       19    claim, when they settled those, how much they
       20    paid?
       21         A. I did not.


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 101 :13              And what's your role with RAM?
      14          A. I'm the chief financial officer,
      15     chief -- or the treasurer.
      16          Q. Okay.
      17          A. They're one and the same.
      18          Q. Okay.
      19              And RAM -- at the time of the LTL
      20     filing, RAM had, I think it's four royalty
      21     streams.
      22              Is that right?
      23          A. That is correct.
      24          Q. Okay.
      25              And were you involved in the
 102 :1                    R. DICKINSON
      2      negotiation of those royalty arrangements,
      3      those stream arrangements?
      4           A. I was not.
      5           Q. Okay.
      6               And were those just presented to
      7      you as that's what's going into RAM?
      8               Or how did that come to be?
      9           A. I was informed that, you know, that
      10     was an asset that was allocated to the RAM
      11     business from JJCI.


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Page 103
 103 :17         Q. And so RAM executed agreements that
      18     would provide it with a royalty stream.
      19             Is that fair?
      20         A. RAM and -- and whoever had those
      21     royalty streams within JJCI, yes.
      22         Q. Okay. Okay.
      23             And do you know who the -- on those
      24     four royalty agreements, do you know who the
      25     counterparties are, specifically?
 104 :1                   R. DICKINSON
      2          A. I do.
      3          Q. Okay.
      4              And who are they?
      5              THE WITNESS: Alli, am I safe to --
      6          to divulge who those royalty streams are
      7          with?
      8              MS. BROWN: In terms of the -- the
      9          RAM, Rich?
      10             THE WITNESS: Yes.
      11             MS. BROWN: That's fine. Sure.
      12             Thank you.
      13             THE WITNESS: Yeah.
      14             So the products are Lactaid,
      15         Rogaine, Tena and Mylanta, Mylicon.


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Page 107
 107 :20             And as -- as CFO of RAM, did you
      21     negotiate the loan agreement with J&J?
      22         A. I did not.
      23         Q. Okay.
      24             Who at RAM negotiated the loan
      25     agreement with J&J?
 108 :1                  R. DICKINSON
      2          A. That was prior to the establishment
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      3      of RAM, with regard to the agreement.
      4              I understand the agreement. I just
      5      don't -- and it's appropriate and reasonable.
      6      I wasn't part of the negotiation up front, or
      7      the establishment of it.


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 113 :17             Can you tell me if you're annualize
      18     salary as -- in the offer you ultimately
      19     signed was more or less than your salary
      20     immediately prior to accepting this position?
      21         A. It was roughly the same.


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 116 :23         Q. (BY MR. JONAS) Prior to accepting
      24     this role, in your prior role did you have a
      25     bonus target?
 117 :1                    R. DICKINSON
      2          A. Yes.
      3          Q. Okay.
      4              And is the -- the amount of this
      5      bonus target substantially similar to the
      6      prior one?
      7          A. Correct.
      8          Q. Okay.
      9              And then there is also here -- the
      10     next blackout is "...long-term incentive
      11     target is..." percentage of "base salary."
      12             Do you have a long-term incentive
      13     target bonus in your -- in your immediately
      14     prior role?
      15         A. Yes.
      16         Q. And is this substantially about the
      17     same?
      18         A. Yes.


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 117 :20              And then there's -- the next
      21     blackout refers to: "In addition...you will
      22     be eligible for a retention bonus in the" ...
      23     "gross amount of" -- blank.
      24              Do you have a retention bonus like
      25     this -- did you have a retention bonus like
 118 :1                   R. DICKINSON
      2      this in connection with your prior role at
      3      J&J?
      4          A. I did not.
      5          Q. Okay.
      6               So this is -- this is a new form of
      7      compensation for you?
      8          A. That is correct.


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 146 :7         Q. (BY MR. JONAS) And since you
      8      assumed your role at LTL, have you authorized
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      9      the retention of any firm to value potential
      10     legacy talc liabilities?
      11         A. I -- I have not.


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 147 :5          Q. (BY MR. JONAS) So looking at
      6      Exhibit 21, Mr. Dickinson, are you aware that
      7      LTL has retained Bates White to value
      8      potential legacy talc liabilities?
      9              MS. BROWN: I object. Lacks
      10         foundation. Calls for speculation.
      11             THE WITNESS: No.


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 149 :18              You said that, in connection with
      19     existing talc liability, you were aware of the
      20     billion dollar in costs --
      21              (Simultaneous speaking.)
      22          A. Yes.
      23          Q. -- correct?
      24              You were aware of, I think you
      25     said, something akin to three and a half-odd
 150 :1                   R. DICKINSON
      2      million (sic) dollars in settlements,
      3      verdicts, judgments that --
      4               (Simultaneous speaking.)
      5           A. Three and --
      6           Q. -- were made, correct?
      7           A. Three and a half billion, yes.


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 150 :11               I'm just wondering: Beyond that,
      12     on a financial basis, did you have any further
      13     knowledge about talc liabilities -- J&J talc
      14     liabilities?
      15          A. As I -- as I testified earlier with
      16     regard to my own general knowledge of -- as,
      17     you know, a curious stockholder, and
      18     knowing -- reading the annual report, I knew
      19     generally what the costs and expenses were
      20     from those -- from that report.
      21               But other than that, no.
      22          Q. Okay.
      23               So this type of -- what we're
      24     looking at here in terms of these detailed
      25     gross product liability balances for the
 151 :1                     R. DICKINSON
      2      balance from 2020, and then through 2021,
      3      relating to talc, this kind of detailed
      4      information you were not provided with prior
      5      to LTL filing bankruptcy.
      6           A. That is correct.
      7           Q. Okay.
      8                Thank you.
      9                MR. JONAS: Skip that.
      10               So now let's go to what's
      11          previously been marked as Exhibit 23.
      12               (Exhibit No. 23 Previously Marked.)
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      13         Q. (BY MR. JONAS) And Exhibit 23, at
      14     the top you'll see it says, "Minutes of Board
      15     of Managers, LTL Management, LLC," and it
      16     refers to the board meeting on October 14,
      17     2021.
      18             Do you see that?
      19         A. I do.
      20         Q. And -- and I -- we're happy to give
      21     you control of this, but I'm guessing you're
      22     pretty familiar with this.
      23             But let me ask: Have you seen
      24     these minutes before?
      25         A. I have.


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 155 :22               I think you've said that one of the
      23     purposes of the bankruptcy, or LTL, was to
      24     treat talc claimants fairly.
      25               Have I got that right?
 156 :1                      R. DICKINSON
      2            A. I -- I believe what I said is fair
      3      and equitable resolution to the talc-related
      4      liabilities litigation.
      5            Q. And what -- what was it about
      6      bankruptcy that made you conclude that that
      7      would help effect a -- a fair and equitable
      8      resolution of talc liability litigation?
      9            A. My understanding of that is a few
      10     things -- was a few things.
      11               One is that old JJCI was on under
      12     financial distress due to the wild and
      13     unpredictable settlements and claims; two, the
      14     costs to defend; and as far as claimants,
      15     there was uncertainty, there was delays, and
      16     the same wild and unpredictable verdicts for a
      17     select few versus any legitimate claims.
      18               And bankruptcy allowed for a
      19     complete global resolution of those claims.
      20     And the benefit to LTL was, of course, a
      21     complete global resolution.
      22               And the benefit to claimants would
      23     be to eliminate that delay on -- in
      24     uncertainty, and it would make available a
      25     streamlined process through a trust
 157 :1                      R. DICKINSON
      2      distribution process.
      3                That was -- that was generally my
      4      understanding.
      5                And, secondly, my understanding is
      6      that any alternatives to that was not a
      7      feasible alternative.
      8            Q. And it was not feasible why?
      9                As to your understanding, why was
      10     it not feasible?
      11           A. My understanding as to why is that,
      12     from an insurance -- and I'm not an expert.
      13     You'll have to ask a legal person, you know,
      14     the specifics.
      15               But -- it's not feasible from --
      16     if -- repeat the question, just to make sure
      17     I'm...
      18           Q. Sure.
      19               You -- you said that -- I think you
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      20     said -- or something like alternatives to
      21     bankruptcy were not feasible, and I just want
      22     to understand why you say alternatives were
      23     not feasible.
      24         A. Yeah.
      25             So, the alternative is stay as you
 158 :1                   R. DICKINSON
      2      go, right, stay the course.
      3              Out of approximately 40,000 cases,
      4      we've tried, I think the O-N was -- number was
      5      40 cases, right?
      6              So I had asked the question: Was
      7      there any ability for us to manage more than a
      8      handful?
      9              You know, I think the answer came
      10     back as we could legitimately handle 10 a
      11     year, right?
      12             Two is that the system today only
      13     accounts for current claims, not future
      14     claims.
      15             Insurance pathways weren't going to
      16     work and -- you know.
      17             So from that understanding -- and
      18     that was a pretty big understanding -- is that
      19     bankruptcy was the only option.


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 158 :25          Q. (BY MR. JONAS) (Continuing) -- the
 159 :1                     R. DICKINSON
      2      sole motivation for LTL to file bankruptcy was
      3      to benefit claimants?
      4           A. I -- I said the -- I did not say
      5      "the sole reason."
      6               I said the reason for bankruptcy
      7      was a global resolution for all parties as it
      8      relates to LTL and claimants.
      9           Q. And what -- what did you understand
      10     the benefits to either LTL, JJCI or J&J to be
      11     in filing bankruptcy?
      12          A. Pure and simple: Global resolution
      13     of, you know, all current and future claims,
      14     you know.
      15          Q. Okay.
      16          A. And, you know -- and an avoidance
      17     of, you know, spending 80- -- you know, an
      18     additional 80-something years litigating this
      19     for claimants, you know, eliminate the delays
      20     of uncertain -- of litigation, the
      21     uncertainty, and they would be able to follow
      22     a streamlined process.


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 172 :19         Q. (BY MR. JONAS) Bankruptcy of LTL
      20     was one resolution strategy, correct,
      21     Mr. Dickinson?
      22         A. Yes.
      23               I would push back on "strategy" and
      24     just -- it was an alternative.
      25         Q. Okay.
 173 :1                    R. DICKINSON
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      2           A. One alternative.
      3           Q. And I just -- I don't want to
      4      belabor it, but I just want to make sure I
      5      understand what your understanding was at the
      6      time of the other alternatives, if there were
      7      more than one, or what the other alternatives
      8      were.
      9           A. I think I -- I mentioned earlier --
      10     and I'm pretty sure I did mention earlier --
      11     was stay the course, which was untenable with
      12     regard to, you know, approximately
      13     40,000 cases, hearing in totality around
      14     40 cases over the last four years; the wild
      15     and unpredictable settlements.
      16              Insurance options, you know,
      17     weren't feasible through Imerys. That option
      18     wasn't feasible.
      19              And, you know, even staying the
      20     course -- I'll go back to that -- it didn't
      21     have any resolution with regard to future
      22     claimants, other than litigating this for the
      23     next, you know, 80 or some-odd years, due to
      24     the latency period of the disease.
      25              So my understanding of -- that was
 174 :1                    R. DICKINSON
      2      my general understanding of the options.
      3               And the bankruptcy option or
      4      alternative was the only one, in my mind and,
      5      I believe, the board's mind that, you know,
      6      was feasible.


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 176 :17         Q. And so had you done your own
      18     valuation of JJCI?
      19         A. I did not.


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 176 :22             So how -- how have you arrived at
      23     that $60 billion -- your understanding of a
      24     $60 billion valuation?
      25          A. How?
 177 :1                   R. DICKINSON
      2              Just over a period of time and
      3      knowing, you know, financials.
      4              But, once again, it wasn't, you
      5      know -- it wasn't exact knowledge or any
      6      calculation I have ever done.
      7           Q. Okay.
      8              But would you agree with me that --
      9      that one -- that a critical part of the
      10     funding agreement is that J&J and JJCI will
      11     provide funding up to the value of JJCI?
      12          A. That is correct. Prior to the
      13     restructuring, is my understanding.
      14          Q. Okay.
      15             And as far as you know, up through
      16     the time that LTL filed bankruptcy, in -- in
      17     all your meetings with Mr. Kim and Mr. Deyo
      18     and Mr. Wuesthoff and other Jones Day people
      19     and, et cetera, that -- did that ever come up
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      20     at all?
      21          A. We never discussed it, or at least,
      22     you know, in my presence.
      23          Q. Okay.
      24              Okay.
      25          A. I know that there was an
 178 :1                   R. DICKINSON
      2      appropriate period of time that we may have to
      3      calculate that value, and that will -- you
      4      know, that will be an appropriate period of
      5      time.


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 181 :22          Q. (BY MR. JONAS) One of your
      23     responsibilities as CFO was to prepare and
      24     sign the schedules of assets and liabilities
      25     for LTL correct?
 182 :1                    R. DICKINSON
      2           A. Correct.
      3           Q. Okay.
      4               And I have just a few questions for
      5      you, particularly --
      6               UNIDENTIFIED SPEAKER 1: And this
      7           is a lot earlier.
      8               MR. JONAS: I'm sorry?
      9               UNIDENTIFIED SPEAKER 2: I think
      10          someone is not on mute.
      11              MR. JONAS: Okay.
      12              If folks not speaking could mute,
      13          please.
      14              Thank you.
      15          Q. (BY MR. JONAS) So just to
      16     orientate you, I'll just let you know this was
      17     something that was filed -- you signed, and
      18     that was filed on December 6th, 2021.
      19              And as you've already said, this is
      20     something you're responsible for.
      21              Just a few questions before we turn
      22     to the document.
      23              Are you familiar with the Ingham,
      24     I-n-g-h-a-m, talc liability case in which J&J
      25     and related parties were defendants?
 183 :1                    R. DICKINSON
      2               Have you heard that?
      3           A. Yes.
      4           Q. Okay.
      5               And what's your understanding of
      6      the Ingham case?
      7           A. Generally -- general understanding
      8      is that the Ingham case -- 22 plaintiffs,
      9      St. Louis, Missouri, and the initial verdict
      10     was, I believe, 4.7 billion, and 550 million
      11     compensatory.
      12              That was subsequently reduced by
      13     the Supreme -- Missouri Supreme Court, and
      14     ultimately -- neither by the U.S. Supreme
      15     Court.
      16              Outside of that, you would have to
      17     refer to someone else for -- for the
      18     specifics. But that's my general
      19     understanding.
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 189 :16              So -- well, tell me -- you
      17     mentioned it: Why did it go from -- to use
      18     your words, why did it go from Texas to North
      19     Carolina?
      20          A. I don't know that.
      21          Q. You -- were you aware of it when it
      22     happened?
      23          A. I was aware of it when it happened.
      24     I don't know why it happened.
      25          Q. And you didn't ask anybody?
 190 :1                    R. DICKINSON
      2           A. I didn't ask anybody. I just know
      3      that -- I just know that it was an appropriate
      4      jurisdiction.
      5           Q. How did you know that?
      6           A. That was relayed to me.
      7           Q. Who relayed that to you?
      8           A. I can't recall.


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Page 196
 196 :25            MR. JONAS: Then let's look at the
 197 :1                 R. DICKINSON
      2          next exhibit, which will be 1.24.
      3             (Exhibit No. 1.24 Previously
      4          Marked.)


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Page 197
 197 :8          Q. (BY MR. JONAS) This is a "Plan of
      9      Divisional Merger," dated October 12th.
      10             And -- and I'll just represent to
      11     you -- and I'll be happy to have you take a
      12     look at it -- this is the document by which
      13     Chenango Zero, LLC, basically split into
      14     Chenango One, LLC, and Chenango Two, LLC.
      15             And I just -- have you seen this
      16     document before?
      17         A. I believe I have, yes.


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Page 198
 198 :12          Q. (BY MR. JONAS) You'll see, if you
      13     were to scroll through this, this document --
      14     and then we're going to take a look at another
      15     document in a minute, the schedules -- provide
      16     all the detail for the split of Chenango Zero
      17     into Chenango One and Chenango Two, both
      18     liabilities, assets, et cetera.
      19               I'm just curious whether you were
      20     involved in any of the decision-making
      21     relating to this particular plan of divisional
      22     merger?
      23          A. I was not.
      24          Q. Okay.
      25               So this was something that, again,
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 199 :1                    R. DICKINSON
      2      you might have reviewed, but it was presented
      3      to you as -- as -- I mean, you didn't have an
      4      opportunity to provide any input.
      5          A. I -- I was not part of it.
      6          Q. Okay.
      7              And so I take it you don't know why
      8      certain assets or certain liabilities went
      9      either to Chenango One or to Chenango Two.
      10         A. That is correct.


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Page 199
 199 :18         Q. (BY MR. JONAS) Just one question
      19     on the document we looked at before, that is,
      20     the split of Chenango Zero.
      21             Do you know who was involved in the
      22     details relating to that, that divisional
      23     merger?
      24         A. I do not.


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Page 200
 200 :3              Well, let's look at Exhibit 1.31.
      4              This is a "Divisional Merger
      5      Support Agreement" between Chenango One, the
      6      entity at which you're on the board, and
      7      Chenango Two.
      8              Have you seen this before?
      9          A. I have.
      10         Q. And I take it, it was in the
      11     lead-up period?
      12         A. Correct.
      13         Q. Okay.
      14             And were you involved in the -- the
      15     details relating to this agreement?
      16         A. I was not.
      17         Q. Okay.
      18             So I take it you weren't involved
      19     in any of the negotiation of this agreement?
      20         A. I was not involved.
      21         Q. Okay.
      22             Do you know who negotiated this
      23     agreement between Chenango One, the entity at
      24     which you're a board member, and Chenango Two?
      25         A. I do not.


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Page 201
 201 :17          Q. (BY MR. JONAS) This document,
      18     Exhibit 1.32, is titled "Services Agreement."
      19     It's between, as you'll see, Johnson & Johnson
      20     Services, Inc., and Chenango One, LLC.
      21              And, again, I'll just represent to
      22     you it's a docu- -- an agreement whereby
      23     Johnson & Johnson provides certain services to
      24     Chenango One.
      25              Have -- I take it you've seen this
 202 :1                  R. DICKINSON
      2      during the lead-up period?
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      3          A. Yes.


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Page 202
 202 :17         Q. (BY MR. JONAS) So I take it --
      18     were -- were you involved in any of the
      19     details of putting together the Services
      20     Agreement?
      21         A. I was not.
      22         Q. And I take it you were not involved
      23     in any of the negotiations relating to the
      24     Services Agreement.
      25         A. I was not.
 203 :1                  R. DICKINSON
      2          Q. Do you know who negotiated the
      3      Services Agreement?
      4          A. I do not.


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Page 203
 203 :6               MR. JONAS: And if we go to
      7           Document 1.33. That's 1.33.
      8               (Exhibit No. 1.33 Previously
      9           Marked.)
      10          Q. (BY MR. JONAS) Mr. Dickinson,
      11     Document 1.33 -- Exhibit 1.33 is a
      12     secondment -- I always say "secundment"
      13     (phonetics), but I don't know what's
      14     pronounced correctly.
      15              So I'll say it's a secondment
      16     agreement between Johnson & Johnson Services,
      17     Inc., and Chenango One, LLC.
      18              Did you see this in the lead-up
      19     period?
      20          A. Do you mind if you give me the
      21     access again?
      22          Q. Sure.


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 204 :12            So now I'll ask you: Did you see
      13     this document or a version of this document in
      14     the lead-up period?
      15         A. Yes.


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Page 204
 204 :17             And I take it you were not involved
      18     in any of the details of this particular
      19     document.
      20          A. Correct.
      21          Q. And I take it you were not involved
      22     in the negotiation of this particular
      23     document.
      24          A. Correct.
      25          Q. And I take it you don't know who
 205 :1                  R. DICKINSON
      2      negotiated this document.
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      3          A. That is correct.


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 207 :8           Q. (BY MR. JONAS) This lists the
      9      documents we looked at -- or some of the
      10     documents we looked at, what are referred to
      11     here as the intercompany agreements, right?
      12          A. Yes.
      13          Q. And you're signing here was to sign
      14     for approval as a board member of Chenango
      15     One, for the company to go forward with those
      16     agreements, right?
      17          A. That is true.


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Page 209
 209 :7          Q. (BY MR. JONAS) And you'll see it
      8      says, "Amended and Restated Funding
      9      Agreement." And it was among Johnson &
      10     Johnson, Johnson & Johnson Consumer, Inc., and
      11     LTL Management LLC.
      12             Is this the funding agreement that
      13     you mentioned earlier whereby LTL can borrow
      14     funds from J&J or JJCI?
      15         A. I push back on your notion -- or
      16     your wording of "borrow funds."
      17             It can access funds for the
      18     appropriate use of LTL's business and --
      19     including the settlement.
      20         Q. Okay.
      21             MR. JONAS: Hold on one second.
      22             Okay. Fair enough.
      23         Q. (BY MR. JONAS) And -- and, again,
      24     I don't want to go over all -- all the old
      25     ground, but you -- you were not involved in
 210 :1                   R. DICKINSON
      2      any detailed way in the preparation and
      3      negotiation of this document.
      4          A. I was not.
      5          Q. And you don't know who was?
      6          A. I do not.
      7          Q. Okay.
      8              And this -- this was presented --
      9      and I don't mean to be pejorative, but it was
      10     presented to you as kind of a done deal.
      11             When you saw this it was completed
      12     already, correct?
      13         A. The funding agreement was
      14     contemplated. I don't know exactly when it
      15     went into effect. It was contemplated and it
      16     looked completely reasonable to me, and
      17     appropriate, to satisfy the business dealings
      18     of LTL.


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Page 211
 211 :24            With respect to the amended and
      25     restated merger support agreement, services
 212 :1                 R. DICKINSON
      2      agreement, and services agreement -- let's
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      3      just start with those -- secondment agreement,
      4      we have looked at a series of those relating
      5      to Chenango One, and they were -- they were
      6      not amended and restated. They were the
      7      initial agreements.
      8               They then were amended and restated
      9      relating to LTL. And in each case, in the
      10     initial agreements you said you had not been
      11     involved in their preparation, their
      12     negotiation. You didn't know who had prepared
      13     those and negotiated those.
      14              I just want to know, as to the
      15     extent they were then amended and restated for
      16     LTL, would your answers be the same?
      17          A. Yes.


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Page 214
 214 :3                 (Exhibit No. 1.66 Previously
      4            Marked.)
      5            Q. (BY MR. JONAS) So this is a
      6      document referenced, "Purchase and Sale
      7      Agreement," dated as of October 11th, 2021,
      8      between McNeil Nutritionals, LLC, and Royalty
      9      A&M LLC.
      10                Again, we can give you control of
      11     this.
      12                And in the closing binders provided
      13     to us, I think by Jones Day, there are, in
      14     fact, four of these royalty-type agreements.
      15     This is the first one.
      16                And I just have a few questions
      17     about these. We've talked about these briefly
      18     before, but I want to make sure I've got the
      19     right document.
      20                So if you need to take a look at
      21     it, I -- just for example, I want to show you
      22     these and see if you're familiar with these
      23     particular documents, and if you've seen them
      24     before.
      25           A. I am familiar with these documents.
 215 :1                     R. DICKINSON
      2            Q. Okay.
      3                 And I'll represent to you each of
      4      these was signed by Royalty -- by
      5      Mr. Wuesthoff at the time, for Royalty A&M
      6      LLC.
      7                 But were you involved in the
      8      negotiation of these -- when I say "these,"
      9      I'm referring to all -- all four of these,
      10     these initial funding agreements -- royalty
      11     agreements.
      12                Were you involved in the
      13     negotiation of these?
      14           A. I was not.
      15           Q. Do you know how the particular
      16     prices that were to be paid by LTL -- how
      17     those were arrived at?
      18           A. I did not -- I do not.


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 218 :20         Q. Can you describe for me the -- the
      21     RAM business?
      22             And, again, I apologize, but as I
      23     understand it you're buying these streams of
      24     royalty payments.
      25             Is that fair?
 219 :1                   R. DICKINSON
      2          A. Yes. Royalty monetization is --
      3      someone holds the intellectual property of --
      4          Q. Uh-huh.
      5          A. -- a product, and you call that the
      6      ingredient.
      7              Someone else markets a product that
      8      uses that ingredient.
      9              In exchange for that use of the
      10     ingredient -- ingredient, which is the
      11     intellectual property, you get anywhere from
      12     four to eight percent royalty arrangement to
      13     be paid over a period of time. That's
      14     essentially what a royalty monetization
      15     business is.


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Page 219
 219 :23          Q. (BY MR. JONAS) RAM itself doesn't
      24     have any ingredients that it --
      25              (Simultaneous speaking.)
 220 :1                    R. DICKINSON
      2           A. RAM does not hold the intellectual
      3      property of the four current royalty streams
      4      we have, mostly for administrative purposes.
      5      It takes a long time to administer these
      6      royalty arrangements.
      7               We have the most important part,
      8      which is the financials.
      9           Q. Yeah.
      10              When you say "the financials,"
      11     so -- and, again, I apologize because this is
      12     new to me.
      13              But -- so RAM has bought the
      14     royalty stream that -- that the ingredient
      15     maker had with the -- the marketer.
      16              Is that fair to say?
      17          A. The -- it was allocated -- royalty
      18     streams were allocated to RAM and RAM
      19     receives, on a quarterly basis, approximately
      20     $14 million for the royalty streams.


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Page 230
 230 :6           Q. And prior to your secondment to LTL
      7      by Johnson & Johnson, you didn't have any role
      8      in managing Johnson & Johnson's asbestos talc
      9      litigation, did you?
      10          A. I did not.
      11          Q. And you didn't have any role in
      12     valuing that litigation, right?
      13          A. I did not.
      14          Q. You didn't have any role in
      15     evaluating the merits of any case, right?
      16          A. I did not.
      17          Q. And you didn't have any role in
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      18     resolving any talc litigation case, correct?
      19         A. I did not.


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Page 232
 232 :12          Q. (BY MR. KUTCHER) At the time that
      13     you voted to authorize the filing of LTL's
      14     bankruptcy, did you know by year how much
      15     Johnson & Johnson Consumer, Inc., had spent in
      16     legal fees related to the talc litigation?
      17          A. I did not.
      18          Q. Did you -- am I correct that you
      19     also understood that Johnson & Johnson
      20     Consumer, Inc., had spent approximately three
      21     and a half billion dollars over the last five
      22     years settling cases or paying verdicts?
      23              Is that right?
      24          A. Generally, I understood that, yes.
      25          Q. And same question: At the time
 233 :1                    R. DICKINSON
      2      that you voted to authorize LTL to file
      3      bankruptcy, did you understand how much of
      4      those expenses were paid each year during the
      5      five years by Johnson & Johnson Consumer,
      6      Inc.?
      7           A. I did not.


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 236 :14          Q. Okay.
      15              And did you have an understanding
      16     of whether the amounts that Johnson & Johnson
      17     had paid, either in settlements or verdicts,
      18     were -- was -- had decreased between 2020 and
      19     2021?
      20          A. I -- I -- that is not my
      21     understanding.
      22              My understanding is that, you
      23     know -- I had no reason to believe that
      24     anything was decreasing.
      25              Cases were increasing from 46 to
 237 :1                     R. DICKINSON
      2      approximately 4- -- 5,000 in 2017. 2019, the
      3      cases were over -- you know, nearly 10,000.
      4      And 2021, the cases -- and I'm respectfully
      5      calling them cases -- were 13- -- 13,000 at
      6      the time -- at the time -- time of the
      7      restructuring.
      8               From a dollar standpoint, the wild
      9      and unpredictable verdicts, a billion dollars
      10     in expenses and, you know, well over
      11     3 million (sic) with regards to settlements
      12     and verdicts.
      13          Q. Mr. Dickinson, with respect to
      14     Johnson & Johnson Consumer, Inc., did you have
      15     any understanding of whether it, at the time
      16     of the restructuring, was able to meet its
      17     financial obligations?
      18          A. Repeat that. Repeat that question.
      19          Q. Did you have any understanding, at
      20     the time that -- of the restructuring that
      21     Johnson & Johnson Consumer, Inc., was not able
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      22     to meet its financial obligations?
      23         A. I don't have any -- I don't have
      24     knowledge with regard to, you know -- it's
      25     not -- not part of my job or not part of my,
 238 :1                   R. DICKINSON
      2      you know, segment to understand what J&JCI
      3      could do with regard to its financial
      4      obligations.
      5              It has a lot of financial
      6      obligations.


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 244 :7           Q. You understand that the funding
      8      agreement allowed -- or permits LTL to request
      9      payment for certain funds from Johnson &
      10     Johnson and Johnson & Johnson Consumer, Inc.,
      11     correct?
      12          A. That's my understanding, yes.
      13          Q. And I think you testified earlier
      14     that you understood those requests could go
      15     all the way up to the value of JJCI
      16     immediately prior to the restructuring.
      17              Is that right?
      18          A. That is my understanding, yes.
      19          Q. And you also understand,
      20     Mr. Dickinson, that LTL could access those
      21     funds prior to going into bankruptcy or during
      22     bankruptcy, correct?
      23          A. Whenever the -- whatever it took
      24     into -- whatever it was placed as an
      25     executable agreement, that's when I know that
 245 :1                    R. DICKINSON
      2      we could utilize those funds.
      3           Q. So I guess my question is: On
      4      October 14th of 2021, when you voted to put
      5      LTL into bankruptcy, did you understand that
      6      at that time, prior to bankruptcy, LTL had
      7      access to the funds that were contemplated in
      8      the funding agreement?
      9           A. I understood that LTL had funds. I
      10     wasn't think of the specific days. I just
      11     know that in order to conduct our business, we
      12     had access to those funds. I wasn't -- you
      13     know, the days, you know, didn't come into
      14     play.
      15          Q. Right.
      16              So LTL could access those funds
      17     whether or not LTL was in bankruptcy, correct?
      18          A. If you're going to show me -- if
      19     you want to show me a document that you're
      20     referring to, I'm happy to look at it.
      21              But, once again, I understood that
      22     the funding generally -- it's a better
      23     question to ask a legal person. But I
      24     understood that the funding agreement allowed
      25     us to conduct our business.


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 248 :25         Q. Okay.
 249 :1                R. DICKINSON
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      2             Let me -- let me ask you this: On
      3      October 14th of 2021, did you understand what
      4      assets LTL held?
      5          A. Yes.
      6          Q. Was one of those assets the funding
      7      agreement?
      8          A. On October 14th, I understood, yes,
      9      the funding agreement was in place.
      10         Q. Okay.
      11            And when you voted to put LTL into
      12     bankruptcy, was that based on your
      13     understanding that LTL had access to the
      14     funding -- the funds that were contemplated by
      15     the funding agreement?
      16         A. Yes.


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 252 :16         Q. So am I right that a permitted
      17     funding use in this agreement is the payment
      18     of all costs and expenses of the payee when
      19     there is no proceeding under the Bankruptcy
      20     Code?
      21         A. I'll have to refer to lawyers for
      22     the actual text. I'm not -- I'm not a lawyer.
      23         Q. Okay.
      24             So I'll go back to my questions
      25     that I was asking before.


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 256 :11         Q. (BY MR. KUTCHER) It's a simple
      12     question.
      13             Did you understand, at the time of
      14     the bankruptcy, that these funds were
      15     available whether LTL went in or not?
      16         A. I think I answer -- I think I
      17     answered the question already.


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 262 :21             Before voting to put LTL into
      22     bankruptcy, did you think it was important to
      23     understand the value of the assets of LTL?
      24         A. No.
      25         Q. Did you think it was important to
 263 :1                   R. DICKINSON
      2      understand the value of the liabilities of LTL
      3      before voting to put LTL into bankruptcy?
      4          A. I think I answered that question,
      5      as well.
      6              With regard to the liabilities of
      7      LTL, in allowing an unpredictable verdict
      8      there was no way to foresee a -- a definitive
      9      projection on what the liabilities in the
      10     future would be.


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 292 :25          Q. (BY MR. SATTERLEY) Sir, if you've
 293 :1                   R. DICKINSON
      2      not evaluated the merits of any specific case,
      3      how do you know that a verdict is wild?
      4           A. The wild and unpredictable nature
      5      of it is based on some knowledge that I do
      6      have with regard to, you know, the Ingham
      7      verdict.
      8               For seemingly the same disease
      9      state, some people receive astronomical
      10     amounts, some people receive zero.
      11              For the case in 2001, the
      12     incongruity of the -- there were two cases.
      13     One, I believe it was $27 million, and the
      14     compensatory and the punitive were completely
      15     reversed.
      16              And that is, you know, the extent
      17     of my knowledge with regard to the wild and
      18     unpredictable nature of those verdicts.


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 312 :22         Q. (BY MR. SATTERLEY) The -- I think
      23     I heard from your testimony with Mr. Jonas
      24     that you did not participate in any arm's
      25     length negotiations regarding any of the
 313 :1                  R. DICKINSON
      2      restructuring agreements.
      3              Correct?
      4          A. That is correct.
      5          Q. And you weren't made privy, or you
      6      weren't even told specifics, of how any arm's
      7      length negotiations occurred for any of the
      8      restructuring documents, right?
      9              MS. BROWN: Asked and answered this
      10         morning. I object.
      11             MR. SATTERLEY: Go ahead, sir.
      12         Q. (BY MR. SATTERLEY) That's true?
      13         A. I was not told of any prior to them
      14     being put in place.


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 318 :17             One last -- one last area.
      18             Did -- did you learn and have an
      19     understanding that one of the benefits of the
      20     LTL filing would be to -- one of the benefits
      21     would be to stop verdicts?
      22             Right?
      23             These wild and unpredictable
      24     verdicts.
      25             That would be one of the benefits,
 319 :1                   R. DICKINSON
      2      right?
      3              MS. BROWN: Lacks foundation.
      4              THE WITNESS: I think I answered.
      5          The reason we filed bankruptcy --
      6          bankruptcy was for -- to reach a fair
      7          and equitable resolution, and the
      8          stay -- the -- an automatic stay was an
      9          outcome of that process.
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 332 :19            MR. DINE: If we could put the
      20         board minutes, Exhibit 23, up on the
      21         screen, please.


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Page 333
 333 :7           Q. (BY MR. DINE) And looking on
      8      Page 19186, there's a heading, "Review of the
      9      Company's Assets and History with Talc-related
      10     Liabilities."
      11              Do you see that?
      12          A. I do.
      13          Q. And then the -- the -- the third
      14     sentence of that states: "Mr. Kim then
      15     reviewed the company's history with
      16     talc-related liabilities."
      17              Do you see that sentence?
      18          A. Yes.
      19          Q. And is that an accurate statement?
      20          A. Yes.
      21          Q. And this second -- the next
      22     sentence says: "Mr. Kim's presentation
      23     addressed, among other things, the" -- "the
      24     use of talc in products of the company's
      25     predecessors, the evolution of talc-related
 334 :1                    R. DICKINSON
      2      lawsuits in the tort system, the experience of
      3      company's predecessors in the tort system,
      4      challenged faced by the company's predecessors
      5      in the court system, and historical and
      6      forecasted costs and expenses of the company's
      7      predecessors and the company, respectively,
      8      associated with talc-related lawsuits."
      9               Is -- is that an accurate
      10     statement?
      11          A. Yes. That's my understanding, it's
      12     an accurate statement.
      13          Q. And so Mr. Kim presented forecasted
      14     costs and expenses of the company's
      15     predecessors and the company associated with
      16     talc-related lawsuits?
      17          A. Well, it's -- it's a look back,
      18     right?
      19              So it's, in general, the costs
      20     and -- you know, it's the same conversation I
      21     had earlier or the same answer I had earlier.
      22     It referred to the costs of approximately a
      23     billion, and the three and a half billion
      24     dollars' worth -- required for verdicts and
      25     settlements.
 335 :1                    R. DICKINSON
      2           Q. But it did not say: In the coming
      3      years we expect to pay X amount of money out
      4      in verdicts to talc claimants.
      5           A. No.


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 336 :12          Q. (BY MR. DINE) Did you have any
      13     factual basis to believe that the value of
      14     JJCI would be insufficient to pay talc
      15     liabilities going forward?
      16               MS. BROWN: Same objection.
      17               THE WITNESS: Yeah.
      18               That's a hypothetical. I didn't
      19          know what -- you know, obviously, we
      20          didn't know -- we don't know what any
      21          future liabilities would be, so that
      22          wasn't even in the question.


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 338 :17         Q. (BY MR. DINE) I think the
      18     question, then, is: Was the existence of the
      19     funding agreement considered with respect
      20     specifically to LTL's ability to satisfy
      21     judgments against -- or judgments against it,
      22     or settlements with talc claimants, going
      23     forward?
      24         A. That was not discussed as an
      25     alternative, nor does it take away the fact
 339 :1                  R. DICKINSON
      2      that the wild and unpredictable verdicts that
      3      old JJCI experienced a number of cases that we
      4      would be able to litigate in a year's time
      5      period, and the costs would be eliminated.
      6              So it wasn't discussed and it
      7      wasn't an option.


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 339 :16         Q. (BY MR. DINE) Did any person ever
      17     instruct you about the manner in which you
      18     needed to carry out those duties, as far as
      19     duties of prudence or care?
      20         A. No one instructed me how to operate
      21     in my job, nor would J&J ever put me in a
      22     position of instructing me how to operate in
      23     my job.


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Page 340
 340 :7          Q. Did any person ever instruct you
      8      that you have a duty of loyalty to LTL
      9      specifically?
      10             MS. BROWN: Objection. Calls for a
      11         legal --
      12             (Simultaneous speaking.)
      13         Q. (BY MR. DINE) As a --
      14             MS. BROWN: -- opinion.
      15             THE WITNESS: -- (inaudible) --
      16         Q. (BY MR. DINE) -- board member.
      17             MS. BROWN: I -- I object. Calls
      18         for speculation. Legal conclusion.
      19             MR. DINE: You can answer the
      20         question.
      21             THE WITNESS: I said no.
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Page 346
 346 :12          Q. Did you understand whether or not
      13     Mr. Deyo had any relationship with Johnson &
      14     Johnson or any of its subsidiaries or
      15     affiliates?
      16          A. Mr. Deyo is a former J&J employee,
      17     and outside of, you know, the specific details
      18     of his relationships, it's a question better
      19     asked of somebody else.
      20              But I generally knew of -- that he
      21     was -- you know, Russ is a former employee,
      22     that as it relates to LTL he's been a board --
      23     board member, and he was going to receive
      24     compensation.


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 347 :19            MR. DINE: Can we bring up
      20         Exhibit 1.32, please.


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Page 348
 348 :3          Q. (BY MR. DINE) Mr. Dickinson, you
      4      testified that you had the same email address
      5      now as you did prior to your appointment to
      6      the board and as chief financial officer of
      7      LTL.
      8              Correct?
      9          A. That is correct.
      10         Q. And so your email is on Johnson &
      11     Johnson's servers?
      12         A. Yes, it is.
      13         Q. And the same is true of
      14     Mr. Wuesthoff's email.
      15         A. I can speak to my email. I can't
      16     speak to anybody else's email.
      17         Q. So if your email is on Johnson &
      18     Johnson's servers, can Johnson & Johnson's IT
      19     system administers read your email?
      20             MS. BROWN: Objection. Foundation.
      21         Speculation.
      22             MR. DINE: You can answer if you
      23         know.
      24             THE WITNESS: I do not know.


DICKINSON, RICHARD - 01/26/2022
Page 350
 350 :20         Q. (BY MR. DINE) Mr. Dickinson, as
      21     chief financial officer of LTL, does LTL have
      22     an accounting system?
      23         A. We're -- I'm a band of one, and we
      24     don't have an accounting system. We utilize
      25     the -- through the services agreement, the
 351 :1                  R. DICKINSON
      2      services of Treasury and the Financial Team.
      3          Q. So LTL does not have its own
      4      accounting system; it relies on Johnson &
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      5      Johnson's accounting system.
      6         A. Currently, that is correct.


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 351 :18             MR. DINE: Could we bring up
      19         Exhibit 66, please.
      20         Q. (BY MR. DINE) Mr. Dickinson, you
      21     recognize this document, correct?
      22         A. I do.
      23         Q. And you edited this document,
      24     correct?
      25         A. I was part of editing it, correct.
 352 :1                   R. DICKINSON
      2          Q. You were one of the editors of the
      3      document?
      4          A. Correct.


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Page 352
 352 :11           Q. (BY MR. DINE) If you could look at
      12     the fourth paragraph, starting, "In his
      13     current role..."
      14           A. Yeah.
      15           Q. Okay.
      16               That sentence says -- that first
      17     sentence starts: "In his current role, Rich
      18     has been" -- "has led/been instrumental in the
      19     execution of multiple divestitures across
      20     J&J."
      21               What -- what is -- how do you
      22     define divestiture?
      23           A. A divestiture is a selling of an
      24     asset that is currently within J&J to another
      25     entity.
 353 :1                    R. DICKINSON
      2            Q. Was the creation of LTL a
      3      divestiture?
      4            A. The creation of LTL --
      5                (Simultaneous speaking.)
      6                MS. BROWN: I object. That calls
      7            for a legal conclusion.
      8            Q. (BY MR. DINE) I'm asking: Within
      9      your definition of "divestiture," was the
      10     creation of LTL a divestiture?
      11           A. And -- and I'm not a legal expert.
      12     It's a better question to ask somebody else.
      13               But my understanding is it's not a
      14     divestiture. It's completely something
      15     different.
      16           Q. Why is it different?
      17           A. Once again, I'm not a legal expert.
      18     It's --
      19               (Simultaneous speaking.)
      20           Q. Let me --
      21               MS. BROWN: Please don't --
      22           Q. (BY MR. DINE) -- interrupt --
      23               MS. BROWN: -- please don't --
      24           Q. (BY MR. DINE) I'm asking --
      25               MS. BROWN: -- please interrupt
 354 :1                    R. DICKINSON
      2            him. Let him finish his answer.
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      3              MR. DINE: I know.
      4              THE WITNESS: The creation of LTL
      5          was simply to reach a fair and equitable
      6          resolution of the talc-related --
      7          -related litigation in front of old JJCI
      8          and now LTL. It had nothing to do with
      9          divestitures or my past experience.


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 355 :7          Q. (BY MR. DINE) Let -- let me -- let
      8      me go through them in specific. It may be
      9      easier.
      10             Advanced Sterilization Products,
      11     that was the sale of a business to Forta for
      12     $2.8 billion, correct?
      13         A. That is correct.
      14         Q. And that sale to Forta was
      15     negotiated with Forta, correct?
      16         A. Correct.
      17         Q. I imagine Forta tried to drive a
      18     hard bargain, correct?
      19             MS. BROWN: Objection. Vague.
      20             THE WITNESS: Yeah.
      21             It was a fair -- a fair resolution
      22         of a transaction.
      23         Q. (BY MR. DINE) So Johnson & Johnson
      24     didn't say -- simply say to Forta, "You will
      25     buy this for $2.8 billion," correct?
 356 :1                   R. DICKINSON
      2          A. That's not how it worked.
      3          Q. Okay.
      4              Codman Neurosurgery, that was a
      5      sale to Integra Life Sciences Holdings, and
      6      that was about $1.045 billion, correct?
      7          A. My recollection is that that's
      8      approximately accurate, yes.


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Page 356
 356 :20          Q. (BY MR. DINE) Integra Life
      21     Sciences negotiated with Johnson & Johnson
      22     concerning the sale of Codman Neurosurgery,
      23     correct?
      24          A. That every -- every divestiture is
      25     negotiated between an acquirer and the
 357 :1                    R. DICKINSON
      2      divesting party.
      3           Q. You have a number -- looking at the
      4      LTL transaction -- and I understand your
      5      answer to my question.
      6               Who -- was there a counterparty in
      7      the LT- -- in the LTL corporate restructuring?
      8           A. That's a -- it's a vague question.
      9      The LTL was created from old JJCI to -- with
      10     the purpose of a fair and equitable resolution
      11     for the interested parties, claimants and LTL.
      12     It had -- it had nothing to do with a
      13     divestiture or business development
      14     transaction.
      15          Q. Right.
      16              But there was a series of corporate
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      17     transactions that created LTL, correct?
      18         A. There -- there was restructurings
      19     that initially occurred, yes.


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 357 :23          Q. (BY MR. DINE) The creation of LTL
      24     included assigning all talc liability of old
      25     JJCI to LTL, and almost all the operating
 358 :1                   R. DICKINSON
      2      assets of old JJCI to new JJCI, correct?
      3           A. That is my understanding.
      4           Q. Would you consider the transaction,
      5      splitting the assets and liabilities of old
      6      JJCI, to be a divestiture?
      7           A. No.
      8           Q. And who was looking out for the
      9      interests of LTL in this transaction?
      10              MS. BROWN: Objection. Vague.
      11              THE WITNESS: That's -- I think
      12          that's a legal question. That's not a
      13          financial question.
      14              I answered the question with regard
      15          to why LTL was created.


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 360 :20          Q. And in any of the divestitures
      21     listed -- listed in Exhibit 66, was there a
      22     document like the funding agreement?
      23          A. It's completely a different -- it's
      24     completely different with regard to the
      25     purpose and the transaction, and so it's
 361 :1                    R. DICKINSON
      2      apples and oranges; not a relevant question.
      3           Q. The answer is "no"?
      4           A. Yeah, there's no funding
      5      arrangement that occurs with regard to
      6      divestitures.


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 364 :7               So other than the J&J 2020 annual
      8      report and the informational brief for the
      9      bankruptcy filing and the first-day pleadings
      10     for the bankruptcy filing, is it correct that
      11     you did not review any other specific
      12     documents in forming your opinion that Johnson
      13     & Johnson Consumer was in financial distress
      14     before its restructuring?
      15              Correct?
      16          A. Those were the documents that I
      17     primarily relied upon.
      18          Q. Okay.
      19              And you can't identify any other
      20     specific documents that you relied upon at
      21     this time, correct?
      22          A. I cannot, except for the PowerPoint
      23     presentation that was, you know, provided to
      24     me and that we went through.
      25          Q. Okay.
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 365 :1                 R. DICKINSON
      2          A. Other than -- there were multiple
      3      discussions. There was my own professional
      4      judgment leading me to that conclusion.
      5          Q. Okay.


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Page 401
 401 :5         Q. (BY MR. BLOCK) When LTL filed for
      6      bankruptcy, did it have any overdue debts?
      7             MS. BROWN: I object as vague.
      8             THE WITNESS: No, we didn't. We
      9         didn't have any, you know, debts, you
      10        know, on our books and records.
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GOODRIDGE, MICHELLE


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    7 :22     MICHELLE GOODRIDGE
       23    of lawful age, being produced, sworn and examined
       24    on the part of the Talc Creditor Committee, and
       25    after responding 'Yes' to the oath administered
    8 :1     by the court reporter, deposes and says:


GOODRIDGE, MICHELLE - 12/20/2021
Page 8
    8 :7    Q: Okay. Tell the court reporter your
       8    name, ma'am.
       9    A: Michelle Goodridge.
       10   Q: You are the president of Johnson &
       11   Johnson Consumer, Inc.?
       12   A: Yes, I am.
       13   Q: How many years have you been
       14   president of Johnson & Johnson Consumer, Inc.?
       15   A: That's a good question. I don't have
       16   the exact years, but I have been at Johnson &
       17   Johnson for 24 years and I have been serving in
       18   that capacity for -- certainly in this current
       19   role for over two and a half years, approximately
       20   there.


GOODRIDGE, MICHELLE - 12/20/2021
Page 13
   13 :23   Q: All right. So the business situation
       24   that we are here to discuss is the 2021 corporate
       25   reorganization that JJCI engaged in October.
   14 :1    Are you familiar with that
       2    transaction?
       3    A: I am familiar with the transaction at
       4    hand, yes.


GOODRIDGE, MICHELLE - 12/20/2021
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   17 :23   Q: Okay. Now, I take it -- I understood
       24   from your LinkedIn profile you came up through
       25   the marketing side of the J&J business; is that
   18 :1    right?
       2    A: Yes. I grew up in the marketing side
       3    of our business, yes.


GOODRIDGE, MICHELLE - 12/20/2021
Page 18
   18 :18   Q: All right. But -- okay. This year,
       19   you are president of the company, how many
       20   hundreds of millions of dollars is Johnson &
       21   Johnson Consumer, Inc., going to spend this year
       22   on advertising Johnson & Johnson Consumer, Inc.,
       23   brands --
       24   MS. BROWN: Objection to the form.
       25   BY MR. GLASSER:
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19 :1    Q: -- directly? I don't need it to the
    2     penny.
    3    A: Well, that's good because I don't
    4     know it to the penny. I know that we spend a
    5     significant amount of money marketing but also,
    6     you know, educating consumers on our products.
    7     And I don't actually know the exact number.
    8    Q: All right. I don't want the exact
    9     number.
    10    What's the significant amount of
    11    money?
    12   A: I think my -- again, I have
    13    responsibility -- operating responsibility for a
    14    certain portion of our business, not all, so I am
    15    not the best person to answer that question. I'm
    16    sure our finance folks can give you an exact
    17    number.
    18   Q: I don't want to be fobbed off on the
    19    finance folks. I just want you to tell me, as
    20    president of the company, do you even have the
    21    remotest idea how much you are going to spend
    22    this year on advertising the Johnson & Johnson
    23    brands?
    24   MS. BROWN: I object to the
    25    argumentative portion of that question.
20 :1    THE WITNESS: Sure. Well, one, I
    2     just want to clarify we have many brands, not
    3     just one Johnson & Johnson brand. So we market
    4     across a series of products across an entire
    5     portfolio. So, therefore, it's very difficult
    6     for me to put one number out there for you.
    7    BY MR. GLASSER:
    8    Q: All right. Is it more than $1?
    9    A: Yes, it is more than $1.
    10   Q: Is it more than a million dollars?
    11   A: It depends on what you are asking
    12    for. But for most of our products, yes.
    13   Q: Okay. Is it more than a hundred
    14    million a year in gross? You're the president.
    15   A: I am the president, but I'm also --
    16    you are asking a very broad question. And,
    17    again, as I stated, we market a whole series of
    18    brands and products and every single one of them
    19    has a different budget every year.
    20   Q: All right. I'm -- really, these are
    21    totally simple non-trick questions.
    22    Is it fair to say Johnson & Johnson
    23    over the years -- Johnson & Johnson Consumer,
    24    Inc., over the years has literally spent at
    25    least -- over the last ten years has probably
21 :1     spent at least a billion dollars on advertising
    2     Johnson & Johnson branded products?
    3    MS. BROWN: And, again, I object to
    4     the argumentative portion and the speech.
    5    THE WITNESS: Again, as I stated, we
    6     market many brands, many products with different
    7     budgets over the years and it would not be
    8     responsible for me to give you an exact number
    9     when I don't have that in front of me.
    10   BY MR. GLASSER:
    11   Q: I have clearly not asked you for an
    12    exact number.
    13    Is it more than 500 million?
    14   MS. BROWN: I object to this. Asked
    15    and answered several times now.
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       16   THE WITNESS: Again, I can't answer
       17    to the specifics. Again, we market across many
       18    brands over many years. And, again, that number
       19    we could find out for you separately.
       20   BY MR. GLASSER:
       21   Q: I don't want -- you're the president
       22    of the company.
       23    You don't have any idea within a
       24    hundred or $200 million how much a year you spend
       25    on marketing the brand Johnson & Johnson?
   22 :1    MS. BROWN: I object, again, to the
       2     argumentative nature and asked and answered
       3     several times.
       4    THE WITNESS: I just want to clarify,
       5     we don't market one brand, as you stated, J&J
       6     brand. We market a series of brands and products
       7     as part of Johnson & Johnson and all of them have
       8     a very different budget every year.


GOODRIDGE, MICHELLE - 12/20/2021
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   22 :15   Q: Does the Johnson & Johnson name have
       16    any value?
       17   MS. BROWN: Objection to the form.
       18   BY MR. GLASSER:
       19   Q: Monetary value?
       20   MS. BROWN: Objection to the form.
       21   THE WITNESS: Again, I can't tell you
       22    if the J&J brand has monetary value. I know it's
       23    an important brand for consumers.
       24   BY MR. GLASSER:
       25   Q: So even though you came up through
   23 :1     the marketing side of the business and even
       2     though you are the president of the consumer
       3     business, you don't know if the Johnson & Johnson
       4     name has any value?
       5    MS. BROWN: Well, I object. It
       6     completely misstates her testimony.
       7    THE WITNESS: As I stated, the J- --
       8     I can tell you that the Johnson & Johnson brand
       9     has importance to consumers.
       10    And, again, as I stated, J&J has many
       11    brands and many products, not one Johnson &
       12    Johnson brand.
       13      (Whereupon, Exhibit No. 1.11 was
       14      marked.)
       15   MR. GLASSER: All right. I want to
       16    show you Exhibit 1.11 which is an agreement and
       17    plan and merger between Old Johnson & Johnson
       18    Consumer, Inc., and a company called Chenango
       19    Zero. I'm going to put it in the index, but it's
       20    only a few pages, so we will just put it up on
       21    the screen.


GOODRIDGE, MICHELLE - 12/20/2021
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   24 :23   Q: That's fine. So you recognize this
       24   agreement and plan of merger between Johnson &
       25   Johnson Consumer, Inc., and Chenango Zero, a
   25 :1    Texas limited liability company, don't you,
       2    Ms. Goodridge?
       3    A: I do. I recall it, yes.
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      4     Q: All right. And you know -- and you
      5     are the president of Chenango Zero and the
      6     president of Johnson & Johnson Consumer, Inc.; is
      7     that correct?
      8     A: Yes.
      9     Q: Okay. When did you first learn you
      10    were president of Chenango Zero?
      11    A: I first learned that I was president
      12    of Chenango Zero, from what I recall, through
      13    some meetings with my lawyers regarding this
      14    transaction.
      15    Q: I asked you when was that.
      16    A: From what I recall, in early October.


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   25 :20   Q: All right. So this is dated
       21    October 12.
       22    How many days before October 12 did
       23    you first learn you were president of Chenango
       24    Zero?
       25   MS. BROWN: I object to the form,
   26 :1     misstates her testimony.
       2    THE WITNESS: I don't remember the
       3     exact days. I would say a week or two before,
       4     approximately. Early October.


GOODRIDGE, MICHELLE - 12/20/2021
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   27 :14   Q: Yes. I asked you when did you first
       15   learn you were going to be president of Chenango
       16   Zero.
       17   You told me it was probably within a
       18   week of October 12, but it could have been
       19   earlier in October; right?
       20   Do you remember that question and
       21   answer?
       22   A: I remember I said early October,
       23   yeah.
       24   Q: All right. And you told me about a
       25   meeting with your lawyer.
   28 :1    A: Yes.
       2    Q: And I'm saying, was there one meeting
       3    or more than one meeting before the -- with you
       4    personally before this transaction went down?
       5    A: I had several meetings with the
       6    lawyers from what I recall.
       7    Q: All right. I'm saying before the
       8    transaction went down, so you are saying in
       9    October you had several meetings.
       10   How many?
       11   A: In early October. I don't remember
       12   specifically, a handful of meetings, three or
       13   four. I don't remember exactly.
       14   Q: All right. Were lawyers present at
       15   every single meeting?
       16   A: Lawyers were present in all the
       17   discussions, yes.


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   30 :3    Q: Okay. Who informed you you were
       4    going to be president of Chenango Zero?
       5    A: From what I recall, I learned about
       6    it from one of our lawyers named Chris Andrew.


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   31 :11   Q: All right. On the day of October 12,
       12   were you delivered signature pages or the actual
       13   entire documents to sign?
       14   A: I don't recall the specific timing,
       15   but I remember reviewing the -- I had the entire
       16   document before signing and we reviewed the
       17   document.
       18   Q: With those lawyers in those meetings
       19   in October?
       20   A: Well, to be clear, I reviewed it
       21   with -- Chris Andrew was one of the lawyers that
       22   I reviewed it with.


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   34 :14   Q: Okay. So here's my precise question.
       15   As president of Chenango Zero,
       16   Ms. Goodridge, you proposed zero changes to this
       17   document before you signed it; correct?
       18   A: Again, I can only speak to the
       19   document I signed. When I signed this document,
       20   I did not have any changes at that moment when I
       21   signed it.
       22   Q: Okay. And you didn't have any
       23   changes on behalf of Johnson & Johnson Consumer,
       24   Inc., when you signed it; correct?
       25   A: I can only speak to the timing of
   35 :1    the -- when I signed the document and reviewed
       2    the document, at that point in time, I had no
       3    changes to the document.
       4    Q: Well, let's be clear.
       5    You personally, Ms. Goodridge -- we
       6    are going to go through about 20 -- maybe 30
       7    documents you signed.
       8    Isn't it true that you didn't propose
       9    a change of a single word in any of those
       10   documents?
       11   A: I can only state that in my
       12   interactions with the document which as I
       13   reviewed them extensively with our lawyer, I
       14   signed on behalf of our corporation, and I don't
       15   recall making specific changes to any documents
       16   at that point in time.
       17   Q: At any point in time; isn't that
       18   true?
       19   You first learned about these
       20   documents in October of 2021; correct?
       21   A: I learned about the documents in
       22   early October.
       23   Q: And from that time until the time you
       24   signed, you proposed zero changes to any of them;
       25   isn't that true? You personally proposed zero
   36 :1    changes to any of them?
       2    A: From what I recall, I don't remember
       3    proposing any changes. I know I reviewed it
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      4      extensively with my lawyers before signing.


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   36 :11   Q: Ms. Goodridge, you recognize
       12   Exhibit 1.17 as a written consent in lieu of
       13   meeting that you signed; isn't that right? On
       14   behalf of --
       15   A: I agree that is the document that we
       16   are looking at.
       17   MR. GLASSER: I'm sorry. Do you
       18   recognize -- let's show her her signature on
       19   page 2.
       20   BY MR. GLASSER:
       21   Q: Do you recognize that as your
       22   signature, Ms. Goodridge?
       23   A: I do.
       24   Q: On behalf of a company called
       25   Currahee Holding Company, Inc.?
   37 :1    A: Yes, I do.


GOODRIDGE, MICHELLE - 12/20/2021
Page 38
   38 :4    Q: By the way, do you know what a
       5    Chenango is?
       6    A: Are you asking from me a definition?
       7    I'm sorry. Could you restate the question?
       8    Q: Well, you are the president of
       9    Chenango Zero; right?
       10   A: I am the president of Chenango Zero.
       11   Q: What's a Chenango?
       12   A: I know -- I can only tell you what I
       13   know which is it's the name of this entity. I
       14   don't -- there may be other definitions, but I
       15   can't answer that.
       16   Q: You weren't involved in choosing the
       17   names?
       18   A: I was not involved in choosing the
       19   name which is not unusual.


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Page 40
   40 :23   Q: All right. Well, I tell you what
       24    then, can you give me a business reason Johnson &
       25    Johnson Consumer, Inc., a company that had spent
   41 :1     some substantial amount of money, although you
       2     don't know the amount establishing its name in
       3     the consumer market, would want to become
       4     Chenango Zero, a thing you don't know the meaning
       5     of?
       6    MS. BROWN: Objection to the form of
       7     the question, argumentative.
       8    THE WITNESS: Could you restate the
       9     question, please?
       10   BY MR. GLASSER:
       11   Q: Yeah. Give me the business reason
       12    Johnson & Johnson Consumer, Inc., would want to
       13    change its name to Chenango Zero.
       14   MS. BROWN: Objection to the form.
       15   THE WITNESS: Again, I can't speak
       16    to -- I'm not a lawyer. You know, I think I'm
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       17    not privy to all the details. My under- -- I
       18    understand that there were important reasons,
       19    business reasons, to conduct the transactions
       20    that I'm aware of that day which included Johnson
       21    & Johnson Consumer, Inc., merging into Chenango
       22    Zero.
       23   BY MR. GLASSER:
       24   Q: Okay. Tell me a business reason a
       25    company that had spent, in your words, a
   42 :1     substantial amount of money over the prior decade
       2     advertising its name would want to change it to
       3     Chenango Zero.
       4    MS. BROWN: Objection to the form.
       5    THE WITNESS: Well, two things. One
       6     is I want to be clear I didn't say before that we
       7     spent substantial money advertising the J&J name.
       8     We market a bunch of products. I just want to
       9     clarify that for the record.
       10    And then, two, that I understand that
       11    for -- again, I can't speak to the legalities of
       12    how the transactions work. You can defer to our
       13    lawyers for that. I think they are in a better
       14    position to answer that.
       15    I can under -- I can only tell you
       16    what the ultimate intent or purpose was for the
       17    business transactions that -- where I was
       18    involved.
       19   BY MR. GLASSER:
       20   Q: Okay. So let me see if I can break
       21    down your lengthy answer.
       22    You never had a businessperson to
       23    businessperson meeting outside the presence of a
       24    lawyer to discuss a business purpose for this
       25    transaction; correct?
   43 :1    A: Well, let me answer in two parts.
       2     One is I did not have a businessperson to
       3     businessperson discussion about this transaction
       4     when I was signing it.
       5     Second is I do believe there is a
       6     business purpose in the transaction that's a
       7     separate point.
       8    Q: Okay. But my question to you was not
       9     about the -- it's what's the business purpose for
       10    abandoning the name Johnson & Johnson and
       11    becoming Chenango Zero?
       12    What's the business purpose for that
       13    from a businessperson's perspective?
       14   A: Well, again, you know, I'm
       15    not going -- I can't speak to that. I think we
       16    can defer to our lawyers.
       17    But I -- again, the transactions and
       18    the names, again, I'm not in the best position to
       19    speak to that.


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Page 44
   44 :17   Q: All right. So in agreeing to it,
       18   you, Ms. Goodridge, were relying on advice of
       19   counsel?
       20   A: When signing this document, yes. And
       21   that would not be unusual that it was under
       22   advisement of my lawyer.
       23   MR. GLASSER: Let's go to
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      24     Exhibit 1.19.


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   45 :3    Q: Just so we can get it into evidence
       4    since everything is not agreed to be authentic,
       5    this is, in fact, the consent of the sole member
       6    that you signed on page 2.
       7    Is that your signature on page 2?
       8    A: It is.


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Page 46
   46 :5    MR. GLASSER: Okay. Let's go to
       6    Exhibit 1.34.


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Page 46
   46 :20   Q: All right. Is that your -- is that
       21   your signature, Ms. Goodridge?
       22   A: Yes, that is my signature.


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Page 48
   48 :9    Q: I'm saying, did you authorize the
       10   division of the company you were president of,
       11   Chenango Zero, into two other companies.
       12   A: So what I recall is I do recall a
       13   transaction where Chenango Zero was divided into
       14   Chenango One and Chenango Two.


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Page 49
   49 :8    Q: Well, let me ask you this -- let me
       9    do it this way then.
       10   Is it true that you never had a
       11   discussion outside the presence of lawyers about
       12   why Chenango One -- Chenango Zero needed to
       13   divide into Chenango One and Chenango Two?
       14   A: What I recall is having the
       15   conversation only with my lawyer about that
       16   transaction.


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Page 50
   50 :17   Q: That's not what I asked you, ma'am.
       18   I didn't ask that.
       19   I said did you have a conversation
       20   with a nonlawyer businessperson about -- prior to
       21   doing it outside the presence of lawyers to
       22   discuss a business purpose for this transaction?
       23   A: I did not have any discussions with
       24   business -- from a businessperson to
       25   businessperson perspective about the specific
   51 :1    transaction.
       2    Q: All right. So as per the decision to
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      3     make Johnson & Johnson Consumer, Inc., into
      4     Chenango Zero, likewise, the decision to divide
      5     it into Chenango One and Chenango Two was -- your
      6     agreement with that was based on advice of
      7     counsel?
      8     A: My agreement to sign the document was
      9     based on my discussions with my lawyers, yes.
      10    Q: So you were relying on advice of
      11    counsel to make that decision?
      12    A: Yes, which is not unusual. I was
      13    under advisement by my lawyers. I do under- --
      14    also was aware that this was -- there was a team
      15    that was involved in understanding the options
      16    and the best path forward and I was relying on
      17    that process as well.


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Page 53
   53 :13   MR. GLASSER: Okay. All right.
       14   Let's go to Exhibit 1.20, the funding agreement.


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Page 55
   55 :25   Q: And on page 17, there's your two
   56 :1    signatures; right?
       2    A: I see my two signatures, yes.


GOODRIDGE, MICHELLE - 12/20/2021
Page 56
   56 :5    Q: That Michelle Ryan signed on behalf
       6    of Johnson & Johnson.
       7    A: I see that, yes.


GOODRIDGE, MICHELLE - 12/20/2021
Page 56
   56 :22   Q: All right. So you did not sit down
       23   at the bargaining table with Michelle Ryan and
       24   bargain this document; correct?
       25   A: I can't speak to what you are
   57 :1    referencing. I can only speak to the discussions
       2    I had when I signed the document.
       3    Q: Right. And we already established
       4    you didn't change any words in any document, so
       5    you did not negotiate this with Michelle Ryan;
       6    correct?
       7    A: Two separate points there, but I
       8    can't speak to the negotiation with Michelle
       9    Ryan. I was -- I'm not part of that discussion.
       10   The first part of that is a separate
       11   question, if you want to restate the question
       12   just to make sure I understood it.


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Page 59
   59 :11   BY MR. GLASSER:
       12   Q: So we already established you
       13   personally didn't negotiate with Michelle Ryan;
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      14    true?
      15    A: I personally did not. I think you
      16    are -- it's a broad question. I'm not -- I don't
      17    feel like I can answer that, but I didn't have a
      18    discussion with Michelle Ryan.


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Page 61
   61 :6    Q: Okay. And you are telling me that
       7    you, therefore, personally never had a
       8    businessperson to businessperson discussion away
       9    from lawyers about the business purpose of this
       10   agreement; true?
       11   A: Just -- again, just to clarify, so
       12   in -- for this agreement, you are referring to
       13   the funding agreement specifically?
       14   Q: Correct.
       15   A: I did not have a businessperson to
       16   businessperson discussion about the agreement. I
       17   had a discussion with our lawyers.
       18   Q: All right. And, therefore, when you
       19   agreed to this on behalf of Johnson & Johnson
       20   Consumer, Inc., you were doing it based on advice
       21   of counsel?
       22   A: I was signing this based on advice
       23   from counsel, yes, and after discussion and
       24   extensive review.
       25     (Whereupon, Exhibit No. 1.52 was
   62 :1      marked.)
       2    MR. GLASSER: Okay. Now let's go to
       3    the amended and restated funding agreement,
       4    Exhibit 1.52 and we will put it in your index.
       5    Can you pull up the first paragraph
       6    and the signature page and show her her
       7    signature? You can blow up the first paragraph
       8    so she just sees what it is and her signature
       9    page.


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Page 62
   62 :24   Q: Okay. You agree --
       25   A: Okay.
   63 :1    Q: -- this is the amended and restated
       2    funding agreement that you signed?
       3    A: I do.


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Page 64
   64 :23   Q: All right. I think the first
       24    sentence basically says in plain English that the
       25    payors are going to give the payee money for
   65 :1     permitted funding use.
       2     Do you agree?
       3    MS. BROWN: Objection to the form.
       4    THE WITNESS: Again, my understanding
       5     as I read the document here is the payors are
       6     agreeing. Again, as I defer to the document
       7     here, it says exactly in the document what the
       8     payors are obligated for in terms of payments to
       9     the payee.
       10   BY MR. GLASSER:
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      11    Q: For, quote, the defined term
      12    permitted funding use; right?
      13    A: Yes, for permitted funding use.


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Page 65
   65 :21    Okay. And you agree the payee under
       22    this amended and restated funding agreement is
       23    LTL Management; right?
       24   A: That is my understanding.
       25   Q: All right. Great. And so what this
   66 :1     basically says -- my understanding of this, you
       2     tell me if you agree, is basically it says the
       3     payors -- a permitted funding use is basically
       4     the day-to-day normal operation of the business
       5     of LTL, do you agree, when there is no proceeding
       6     under the bankruptcy code?
       7     When it's not in bankruptcy, it's
       8     normal operating expenses of its business?
       9    A: Again, I can only state what's
       10    actually stated in the document which is all --
       11   Q: Where it says --
       12   MS. BROWN: Let her finish, please.
       13   THE WITNESS: -- costs and expenses
       14    are according to the normal course of its
       15    business.
       16   BY MR. GLASSER:
       17   Q: All right. So what's your
       18    understanding of that?
       19   A: Exactly as it's stated, in the normal
       20    course of its business, all costs and expenses.
       21   Q: All right. In the 27 years you have
       22    been a business executive, have you ever seen an
       23    agreement like this before?
       24   MS. BROWN: Objection to the form.
       25   THE WITNESS: Again, I see a lot of
   67 :1     different business transactions. They are all
       2     different. I haven't seen this exact one. But I
       3     have been involved in so many different ones.


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Page 69
   69 :22   Q: You sitting here cannot identify by
       23    name another transaction or business deal where a
       24    similar concept was employed?
       25   MS. BROWN: Object to the form.
   70 :1    THE WITNESS: Again, I have been
       2     involved in different transactions, but I can't
       3     recall any -- again, every single business
       4     transaction is unique and different, so --
       5    BY MR. GLASSER:
       6    Q: And you can't recall --


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Page 70
   70 :11   A: As I was saying, I have been involved
       12   in different transactions. They are all
       13   completely unique. So I can't make a correlation
       14   or draw any generalization of the ones I can
       15   recall.
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   71 :7    Q: What's your understanding of what
       8     B -- what B covers?
       9    MS. BROWN: Objection to the form.
       10   THE WITNESS: My understanding would
       11    be exactly as it's stated in the document.
       12   BY MR. GLASSER:
       13   Q: Okay. So A covers all the costs of
       14    operating the business outside bankruptcy and B
       15    covers all the costs of operating inside
       16    bankruptcy; is that your understanding?
       17   MS. BROWN: Same objection.
       18   THE WITNESS: I can only defer to
       19    what's written in the contract -- I mean, the
       20    document here. And so are you asking a specific
       21    interpretation? I can only defer to what's
       22    exactly here in the contract.
       23   BY MR. GLASSER:
       24   Q: I'm just saying, is it your
       25    understanding that Johnson & Johnson Consumer,
   72 :1     Inc., the company of which you are president, is
       2     going to pay all the costs of LTL in its
       3     bankruptcy case pursuant to B here?
       4    MS. BROWN: Objection to the form.
       5    THE WITNESS: Again, as I relate --
       6     as related to the document that's in front of me,
       7     I can only state, you know, what's in the
       8     document itself and what my --
       9    BY MR. GLASSER:
       10   Q: What --
       11   A: -- understanding is. If you can let
       12    me finish. Sorry.
       13    Which is that the payment of any and
       14    all costs of the payee incurred during bankruptcy
       15    case would be incurred -- would be provided by
       16    the payors.
       17   Q: Okay. Great.
       18   A: That's my understanding as stated in
       19    the document here.


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Page 74
   74 :8    Q: Well, you cannot out of your own
       9     personal knowledge identify for me a single other
       10    transaction by name with this feature sitting
       11    here today; isn't that true?
       12   MS. BROWN: Objection to the form.
       13   THE WITNESS: Well, as I sit here,
       14    again, I can't recall everything, but I can't
       15    recall a transaction with this specific detail, I
       16    guess.
       17    But, again, I can't recall the
       18    details. And I'm not a lawyer. I'm not in
       19    business development. So it would be normal for
       20    me not to understand all the details of every
       21    agreement I signed.
       22   MR. GLASSER: Let's go -- let's pull
       23    up Exhibit 2, please.
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   76 :16   Q: I think you'll recognize Exhibit 2,
       17   Ms. Goodridge. So I have here Johnson &
       18   Johnson's form 10-Q filed with the Security and
       19   Exchange Commission in October of 2021.
       20   You are familiar with forms like
       21   this; right, Ms. Goodridge?
       22   A: Generally speaking.
       23   Q: Yeah.
       24   A: I'm not an expert.
       25   Q: Right. But as president of one of
   77 :1    the big sectors of this company, you are familiar
       2    with the obligation of companies -- with
       3    Johnson & Johnson's obligation to report to the
       4    Security and Exchange Commission on a quarterly
       5    basis its results; right?
       6    A: Absolutely, I understand that.
       7    And could you refer me to which
       8    document where this is located just to make sure
       9    we are on the same page?
       10   Q: Yeah. Right now it's just on the
       11   screen, but we can put it in your index.
       12   But I just want to know if you know
       13   what a Form 10-Q is. It's a filing with the
       14   Security and Exchange Commission that you're
       15   personally familiar with in terms of the company
       16   generally doing; right?
       17   A: I understand the general role of it,
       18   yes, absolutely.


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Page 80
   80 :10   Q: And in this instance as of October 3,
       11    2021, Johnson & Johnson on a consolidated basis
       12    is reporting 17.6 -- more than $17.6 billion of
       13    cash and cash equivalents; isn't that true?
       14   A: Yeah. I can only refer to what I'm
       15    looking at on the document, but that is what the
       16    document is referring to -- saying -- stating.
       17   Q: And for marketable securities,
       18    $13.397 billion; isn't that true?
       19   A: That's what I see on this particular
       20    document.
       21   Q: So it's fair to say that as of
       22    October 3rd, 2021, Johnson & Johnson on a
       23    consolidated balance sheet basis had more than
       24    $31 billion of cash, cash equivalents, and
       25    marketable securities; isn't that true?
   81 :1    MS. BROWN: Objection to the form.
       2    THE WITNESS: I can only refer to
       3     what's in front of me which is -- which states
       4     what the cash and cash equivalents and marketable
       5     securities are.
       6    BY MR. GLASSER:
       7    Q: And if you add those two numbers
       8     together, you are above $31 billion; isn't that
       9     true?
       10   A: Yes.
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   83 :10   Q: So as of October 3rd, 2021, the
       11    company also had $10 billion of available
       12    borrowing under that credit facility; isn't that
       13    correct?
       14   MS. BROWN: Objection to the --
       15    objection to the form.
       16   THE WITNESS: On this -- what is
       17    exactly in the document here as stated which is
       18    that in September of 2021 that the company
       19    secured a 364-day credit facility -- took credit
       20    available to the company approximating 10
       21    billion.
       22   BY MR. GLASSER:
       23   Q: Okay. So 31 plus 10 is 41; right?
       24   A: If you are just doing the math of 31
       25    plus 10, yes, I would agree.
   84 :1    Q: All right. So as of the time you
       2     learned about this transaction to cause a
       3     divisive merger, the most recent public filings
       4     of Johnson & Johnson indicated more than
       5     $41 billion of available liquidity; isn't that
       6     true?
       7    MS. BROWN: Objection to the form,
       8     foundation.
       9    THE WITNESS: Well, I'm not an expert
       10    on financial terms, so could you restate the
       11    question?
       12   BY MR. GLASSER:
       13   Q: Well, $31 billion of cash plus
       14    $10 billion of credit is $41 billion of available
       15    liquidity; correct?
       16   MS. BROWN: Objection, form,
       17    foundation.
       18   THE WITNESS: I'd agree that we
       19    looked at the -- the document that you just
       20    shared with me had that 31 in cash and the 10
       21    billion in credit.
       22    I am not a financial expert, so I
       23    can't -- I don't know what you mean by liquidity.
       24    But I -- those are the facts that I can defer to
       25    as stated in the document.
   85 :1    MR. GLASSER: Okay. Now let's go


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Page 85
   85 :9    Q: All right. So now we know that the
       10   payor -- payors Johnson & Johnson, Johnson &
       11   Johnson Consumer, Inc., with $41 billion in
       12   available liquidity have agreed under Section 2.A
       13   to fund all LTL's costs and expenses in the
       14   normal course of business; right?
       15   We already had those questions and
       16   answers. Do you remember that?
       17   A: Well, I remember the specific
       18   questions and answers related to the paragraphs
       19   in this funding agreement. Yes.
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Page 86
   86 :11   Q: Okay. Explain to the Court how a
       12    company with access to $41 billion in available
       13    liquidity is in financial distress.
       14   MS. BROWN: Objection to the form.
       15   THE WITNESS: Well, I can -- all I
       16    can say is what my understanding is, that the
       17    payee in this case that we are referring to as
       18    LTL and my understanding as officer of J&J
       19    Consumer, Inc., is that the payee and previously
       20    Johnson & Johnson Consumer, Inc., was under
       21    significant hardship as related specifically to
       22    the talc litigation. So I don't agree with your
       23    original statement.


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Page 91
   91 :7    Q: Do you see that, the middle of the
       8     page, 1.5 billion and 1.2 billion in fiscal
       9     nine months of 2021 and 2020. Litigation expense
       10    in both periods is primarily related to talc.
       11    Do you see that?
       12   A: I do. I see that statement.
       13   Q: All right. So it's not exclusively
       14    related to talc.
       15    Do you agree with that?
       16   MS. BROWN: Objection to form.
       17   THE WITNESS: All I can see is what's
       18    stated there which says that it's primarily
       19    related to talc.
       20   BY MR. GLASSER:
       21   Q: Right. And you do agree that fiscal
       22    nine months means the whole cost for the nine --
       23    first nine months of 2021 is 1.5 billion?
       24   A: All I can refer to is what's exactly
       25    in the document which is 1.5 billion for 2021
   92 :1     fiscal nine months of litigation expenses.
       2    Q: Great. Is 1.5 billion a smaller
       3     number than 41 billion?
       4    A: Is 1.5 billion smaller than? Yes, it
       5     is smaller -- it is an absolute smaller number
       6     than 41, yes.


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Page 93
   93 :8    Q: Yes. I'd like you to explain to the
       9     Court how a company with access to $41 billion in
       10    liquidity whose entire cost for all litigation of
       11    every kind before the division was 1.5 billion is
       12    in financial distress.
       13   MS. BROWN: Objection to the form,
       14    calls for speculation.
       15   THE WITNESS: Well, I can't comment
       16    on your specific statement. But what I can tell
       17    you is what I understand which is that our --
       18    the -- for JJ Consumer, Inc., which is where I
       19    play a role that -- you know, again, I wasn't
       20    involved in the day to day of talk.
       21    But I was very much under the clear
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    22    understanding that the talc liability was a
    23    significant financial constraint and concern for
    24    the company and it was causing significant
    25    financial constraint, hardship, resource
94 :1     constraints, potential reputational damage.
    2     And so that's what I can speak to
    3     when I think -- I don't know what you are
    4     referring to as financial distress. But when I
    5     think about financial distress, those are all
    6     aspects of financial distress that I was under
    7     the understanding that we were involved in.
    8    BY MR. GLASSER:
    9    Q: All right. So let's break it down.
    10    The company reported in the Consumer
    11    Health segment that while it's not exclusively
    12    related to talc, its talc-related costs were
    13    1.5 billion for the prior nine months.
    14    That's a concrete fact; right?
    15    That's a number? That's an ascertainable fact;
    16    agreed?
    17   A: I can only speak to the number that
    18    was reflected in the document you shared.
    19   Q: Okay. You are unaware of any other
    20    higher number that you've ever seen; correct?
    21   MS. BROWN: Objection, calls for
    22    speculation.
    23   THE WITNESS: I can't speak to that.
    24    What -- can you state the question again? I'm
    25    not sure what you are asking.
95 :1    BY MR. GLASSER:
    2    Q: Well, the publicly reported number
    3     for the financial constraint coming out of
    4     litigation is 1.5 billion for the first
    5     nine months.
    6     I'm asking you as the president of
    7     the company, are you aware of any other number?
    8    MS. BROWN: Objection, lacks
    9     foundation.
    10   THE WITNESS: So I can't speak to --
    11    I mean, I'm not the finance leader at this
    12    organization. But what I can speak to is my
    13    understanding as a business leader of what the
    14    financial hardship was on our business related to
    15    talc which was not only the number that is on
    16    that document.
    17   BY MR. GLASSER:
    18   Q: All right. Which businessperson away
    19    from a lawyer did you have that conversation?
    20   A: Well, as part of the operating
    21    company for Johnson & Johnson Consumer, Inc., you
    22    know, as a business leader of that group, we are
    23    all under the understanding of what the talc
    24    litigation was causing in terms of financial
    25    hardship.
96 :1    Q: Okay. Give me an example of a
    2     business investment you did not make in the last
    3     six months because of talc.
    4    MS. BROWN: Objection to the form,
    5     foundation, speculation.
    6    THE WITNESS: Can you restate the
    7     question, please?
    8    BY MR. GLASSER:
    9    Q: Identify for me one business
    10    investment that you did not make in Consumer
    11    Health because of resource constraints imposed by
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       12    talc.
       13   MS. BROWN: Same objection.
       14   THE WITNESS: Okay. Well, you know,
       15    I can only tell you what I know. As a business
       16    leader, I was not involved in the day-to-day
       17    management of the talc litigation, so I can't
       18    speak to that. I'm not involved in the day to
       19    day of our talc business.
       20    I can tell you as a business leader
       21    across the U.S., that we were making tradeoff
       22    decisions all the time in a resource constrained
       23    environment. And the talc litigation was
       24    significant constraint to us and we made
       25    significant tradeoffs, but I can't -- it's not
   97 :1     just one answer. It's not a black-and-white
       2     situation.
       3    BY MR. GLASSER:
       4    Q: So you can't identify a specific
       5     business decision that you turned down because of
       6     talc in the last six months?
       7    MS. BROWN: Objection, misstates
       8     testimony.
       9    THE WITNESS: Well, I didn't say that
       10    exactly. What I said is we made tradeoff
       11    decisions all the time when we are in a
       12    constrained position.
       13    I am very aware of decisions we made
       14    where we could not move forward because of a
       15    constrained P&L. I am aware of many decisions we
       16    have made because we are constrained.
       17   BY MR. GLASSER:
       18   Q: Okay. Give me one example.
       19   A: Again, just to clarify, the context
       20    of my comment is in the context of making
       21    tradeoff decisions when we are financially
       22    constrained.
       23    Examples of that would include media
       24    investments that we want to make to support our
       25    business that we did not make, resource
   98 :1     investments that we wanted to make that we could
       2     not make. Those are examples and not limited to
       3     those examples.
       4    Q: All right. Give me -- you got to be
       5     more concrete.
       6     What media investment did you want to
       7     make you couldn't afford to make because of talc?
       8    MS. BROWN: Objection to the form of
       9     the question.
       10   THE WITNESS: Well, there are
       11    multiple media investments across different
       12    businesses that we wanted to make.
       13   BY MR. GLASSER:
       14   Q: Name one.
       15   A: Well, I can give you some examples of
       16    ones.
       17   Q: Go ahead.
       18   A: Again, it's not specific to any one.
       19    There are a much broader set of decisions that we
       20    make when it's related to our P&L every year.


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Page 99
   99 :8    Q: Oh, okay. All right. Well, in the
       9    first nine months of 2021, did J&J Consumer
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      10    Health grow?
      11    A: I can tell you that parts of
      12    Johnson & Johnson Consumer, Inc., grew and parts
      13    of Johnson & Johnson Consumer, Inc., did not
      14    grow.
      15    Q: Overall did it grow?
      16    A: Overall it grew in a small amount.
      17    But, again, there are puts and takes to that and
      18    I don't know where the year will end up yet.


GOODRIDGE, MICHELLE - 12/20/2021
Page 107
 107 :10    Q: And we have already established that
      11     your assent to it was based on advice of counsel;
      12     right?
      13    MS. BROWN: Objection to the form.
      14    THE WITNESS: Again, what I can share
      15     is I walked through and reviewed the purpose and
      16     intent of the documents that I was signing and
      17     that was under advisement of my legal counsel.
      18     Yes.


GOODRIDGE, MICHELLE - 12/20/2021
Page 108
 108 :12    Q: You see that right there?
      13    JJCI that you were president of on
      14    October 12; right?
      15    A: Yes, I see that.
      16    Q: Okay. What law firm represented Old
      17    JJCI in the transaction where it merged with
      18    Chenango Zero?
      19    A: I don't know.


GOODRIDGE, MICHELLE - 12/20/2021
Page 111
 111 :12    Q: Okay. I don't want to grind through
      13    that. Okay. I just want to ask you a simple
      14    question.
      15    As of the day you signed this, what
      16    was the fair market value of JJCI's assets?
      17    A: When I signed it, I don't know the
      18    precise value of the market -- the assets.
      19    Q: Okay. Did you ask anyone to find
      20    that for you before you signed this?
      21    A: No, I did not ask anyone to find it.
      22    I didn't need -- I didn't feel like I needed to.
      23    Q: Okay. Before you signed this
      24    agreement, did you ascertain the fair market
      25    value of JJCI's then existing liabilities?
 112 :1     A: No, I did not.
      2     Q: Did you ask -- did you ask anyone to
      3     find that for you before you signed this
      4     agreement?
      5     A: I did not ask anyone at that time.
      6     But I also am very aware that there is a constant
      7     view, let's call it a statement, and assessment
      8     of what the JJCI market value is at any point in
      9     time. So I was very aware that it existed and is
      10    constantly evaluated.
      11    Q: Great. As of October 12, 2021, what
      12    is the JJCI value?
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      13    A: I don't remember. I don't know.
      14    Q: Did you ask anyone to figure it out?
      15    MS. BROWN: Asked and answered.
      16    THE WITNESS: I did not ask anyone at
      17     that time to figure it out but I did not feel
      18     like I needed to.


GOODRIDGE, MICHELLE - 12/20/2021
Page 114
 114 :1     Q: All right. What's your last
      2      understanding of the JJCI value?
      3     A: I don't -- I can't answer that as a
      4      specific question because there is -- it's a
      5      number that is a market value that I wouldn't be
      6      able to answer a specific number on.
      7     Q: So it's fair to say that you signed
      8      this agreement without knowing what the JJCI
      9      value is?
      10    A: No --
      11    MS. BROWN: Objection, assumes --
      12    THE WITNESS: -- I did not say that.
      13    BY MR. GLASSER:
      14    Q: Okay. What is it?
      15    THE WITNESS: Sorry, Alli.
      16    MS. BROWN: No, it's okay.
      17    THE WITNESS: I said that I don't
      18     have a specific number, but I understand what the
      19     JJCI value is in terms of how to -- how we would
      20     calculate that, where it would be available, but
      21     I don't -- and it would not be unusual for me not
      22     to know what the exact number is.
      23    BY MR. GLASSER:
      24    Q: Okay. I don't want the exact number.
      25     Give me the directional number. I'm okay. You
 115 :1      can miss by a few billion.
      2      What's the number?
      3     A: No, I don't -- I'm not comfortable
      4      missing by a few billion. I apologize.
      5      But you could ask our -- you can ask
      6      our financial leaders for what an appropriate
      7      market value is based on their calculation at a
      8      specific time. I'm sure they would be in a much
      9      better position to answer that than me.


GOODRIDGE, MICHELLE - 12/20/2021
Page 115
 115 :23    Q: What is your understanding of the
      24     JJCI value even if somebody else may have a
      25     different understanding?
 116 :1     MS. BROWN: Objection, asked and
      2      answered.
      3     THE WITNESS: I think I stated it
      4      before that I understand what the JJCI value
      5      means when I signed this document. But I don't
      6      have a specific number and I wouldn't want to
      7      state a number that's not accurate.


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Page 119
 119 :15    MR. GLASSER: Okay. Let's go to
      16    Exhibit 1.57, an amended and restated commitment
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      17    and loan agreement.
      18      (Whereupon, Exhibit No. 1.57 was
      19      marked.)
      20    BY MR. GLASSER:
      21    Q: Okay. Do you recognize this amended
      22    and restated commitment and loan agreement dated
      23    October 12, 2021, between Johnson & Johnson and
      24    Johnson & Johnson Consumer, Inc., that you signed
      25    on page 12?
 120 :1     A: Okay. Yes, I see the document. I
      2     recall the document.


GOODRIDGE, MICHELLE - 12/20/2021
Page 120
 120 :17    Q: Right. I'm not asking about this
      18    one.
      19    I'm saying prior to this loan
      20    agreement being entered, are you aware of any
      21    other master loan agreement or loan agreement
      22    between Old JJCI and Johnson & Johnson, the apex
      23    company, away from this reorganization?
      24    A: I am not aware of any agreements, but
      25    that doesn't mean that I would be privy to that,
 121 :1     so I may not be in the position to know that.


GOODRIDGE, MICHELLE - 12/20/2021
Page 125
 125 :3     Q: Yes. What was the business need for
      4      the loan agreement that you and I just looked at
      5      if it's a true statement that Johnson & Johnson
      6      Consumer, Inc., has access to its own cash?
      7     MS. BROWN: Objection, foundation,
      8      speculation.
      9     THE WITNESS: Again, I don't know
      10     exactly which question you are asking me. Is
      11     there something specific to the agreement that
      12     you are asking me to look at?
      13    BY MR. GLASSER:
      14    Q: I'm trying to get you to articulate a
      15     single business reason for this loan agreement.
      16    A: Again, I'm not a lawyer. I'm not in
      17     the finance department. I don't know how the
      18     intricacies work. I understand the overall
      19     premise and intent of the transactions that day.
      20     But if you are asking me a specific
      21     question about cash flow and other things, I'm
      22     not in the best position to answer that.
      23    Q: Why would Johnson & Johnson Consumer,
      24     Inc., need a loan agreement if it has the power
      25     to either use its own cash or call the cash if
 126 :1      need be?
      2     MS. BROWN: Objection, foundation,
      3      speculation.
      4     THE WITNESS: Well, are you
      5      referring -- is there something specific to the
      6      agreement that you are asking a question about?
      7     BY MR. GLASSER:
      8     Q: Its existence. I'm trying to figure
      9      out the business rationale for the existence of
      10     an agreement like this.
      11     Do you know one?
      12    A: Well, again, I mean, I'm not in the
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      13     best position -- again, I'm not a lawyer. I
      14     don't understand -- I may not understand the
      15     specific details behind each agreement.
      16     But if there is a specific question
      17     about the specific agreement, maybe we can defer
      18     to the document.


GOODRIDGE, MICHELLE - 12/20/2021
Page 130
 130 :6     Q: Have you ever one time asked somebody
      7     in your company what is the average cost of the
      8     medical care for an ovarian cancer case?
      9     MS. BROWN: That's been asked and
      10    answered. It lacks foundation and calls for
      11    speculation.
      12    BY MR. GLASSER:
      13    Q: You can answer the question.
      14    A: I have not asked that specific
      15    question, no.


GOODRIDGE, MICHELLE - 12/20/2021
Page 130
 130 :22    Q: Have you ever asked what is the
      23    average cost of care for a mesothelioma case?
      24    MS. BROWN: All the same objections.
      25    BY MR. GLASSER:
 131 :1     Q: Have you ever asked that?
      2     A: Have I asked the specific question?
      3     No.


GOODRIDGE, MICHELLE - 12/20/2021
Page 132
 132 :18    Q: Okay. Have you ever tried to figure
      19     out in your own mind what it is you put on LTL,
      20     the aggregate amount of all the talc-related
      21     liability? Did you ever try and figure out what
      22     that was?
      23    MS. BROWN: Objection to the form,
      24     foundation.
      25    THE WITNESS: No. I personally did
 133 :1      not try to do the specific math of what that was,
      2      nor would I be in the position to do so
      3      accurately and I would depend on others to do so,
      4      but it was not my obligation or my duty.


GOODRIDGE, MICHELLE - 12/20/2021
Page 142
 142 :22    Q: If somebody underneath you in the
      23    chain of command wanted to spend, say, for
      24    example, $2 billion, would you expect to know
      25    about it?
 143 :1     A: If someone wanted to spend 2 billion,
      2     I would definitely assume that I would see that
      3     before it was agreed to.
      4     MR. GLASSER: Let's go to
      5     Exhibit 1.24.
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GOODRIDGE, MICHELLE - 12/20/2021
Page 144
 144 :1     Q: Okay. Great. Again, this you first
      2     saw in that early October meeting; right?
      3     A: Yes.
      4     Q: And it was explained to you by Chris
      5     Andrew; right?
      6     A: It was explained to me by Chris
      7     Andrew, yes.


GOODRIDGE, MICHELLE - 12/20/2021
Page 148
 148 :22    Q: Did you -- before you divided and
      23     created LTL as the president of JJCI, did you ask
      24     to see a pro forma balance sheet for LTL after
      25     the division?
 149 :1     MS. BROWN: Objection, form,
      2      foundation.
      3     THE WITNESS: After the division, I
      4      did not specifically ask to see a pro forma
      5      statement, no.
      6     BY MR. GLASSER:
      7     Q: Again, I'm saying prior to creating
      8      LTL and giving it all the talc liabilities, you
      9      never asked to see a pro forma balance sheet?
      10    A: I didn't make the specific request,
      11     but I think we could defer to the documents for
      12     all the necessary information or to the experts
      13     involved.
      14    Q: All right. And prior to creating
      15     LTL, you didn't ask to see any pro forma income
      16     statements of what the new entity would look like
      17     on a pro forma basis; isn't that correct?
      18    A: Again, I didn't make that specific
      19     request. But, again, we could defer to the
      20     documents and to the experts for all the details.
      21    Q: Prior to creating LTL and assigning
      22     it the sum of all the talc liabilities, you
      23     didn't ask to see a pro forma statement of cash
      24     flow that it would, in fact, operate; correct?
      25    A: I specifically -- I didn't
 150 :1      specifically ask to see a certain document but I
      2      know I reviewed multiple documents.
      3      And, again, I would defer to the
      4      agreements and I would defer to the lawyers and
      5      the experts that were involved for the detail.


GOODRIDGE, MICHELLE - 12/20/2021
Page 150
 150 :11    Q: Among the documents you reviewed in
      12    October of 2021 prior to agreeing to this deal,
      13    did you see any pro forma financial statements
      14    for LTL giving effect to the division?
      15    A: You know, I'm trying to recall. I
      16    reviewed many documents that day, so I don't
      17    know -- I don't recall which specific documents I
      18    reviewed or not. So if there is a specific
      19    document that you are calling on, I'm sure I
      20    could -- I would like the opportunity to review
      21    that before I address it.
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      22    Q: So sitting here today, you have no
      23    specific recollection of having been shown any
      24    pro forma financial statements for the future
      25    LTL?
 151 :1     A: You know, again, I reviewed many
      2     documents that day, so I don't recall exactly
      3     which ones. But we could defer to the agreements
      4     that I have in front of me, all the ones that I
      5     reviewed and signed. I'm happy to look through
      6     that and to understand exactly what I -- was
      7     reviewed that day.
      8     Q: But you have no memory of having
      9     reviewed any pro forma financial statements for
      10    the newly created entity carrying the weight of
      11    the talc liabilities; correct?
      12    A: Well, I just want to clarify. I'm
      13    not saying I didn't see it for sure. I don't
      14    recall exactly which documents. I know I
      15    reviewed documents around LTL, but I don't
      16    remember exactly what they were.
      17    Q: All right. Let's go --
      18    A: And, again, we can defer to the
      19    documents that I signed. I know that I reviewed
      20    those extensively.


GOODRIDGE, MICHELLE - 12/20/2021
Page 156
 156 :1     Q: Isn't it true, Ms. Goodridge, that if
      2      a settlement agreement has a future obligation
      3      for JJCI, we could ascertain that by reading the
      4      agreement?
      5     MS. BROWN: Objection, calls for
      6      speculation, lacks foundation.
      7     THE WITNESS: I don't know because
      8      I'm not involved with those settlement
      9      agreements.
      10    BY MR. GLASSER:
      11    Q: Is the normal way --
      12    A: I'm not the right person to ask.
      13    Q: Is the normal way that you determine
      14     what a contract says by reading it?
      15    MS. BROWN: Same objection.
      16    THE WITNESS: I'm sorry. I'm not
      17     sure what you are asking me.
      18    BY MR. GLASSER:
      19    Q: Has it been your common experience in
      20     27 years of business that to learn what a
      21     contract provides, reading it is helpful?
      22    A: I would just -- I can -- I can't
      23     comment on the settlement contracts that are in
      24     front of me here.
      25     I do think in general reading the
 157 :1      contracts as stated are helpful to understand the
      2      construct of what the contract's intent is.
      3     Q: All right. So to determine the
      4      future obligations of Johnson & Johnson, the apex
      5      company, under these assigned settlement
      6      agreements, one could read them to determine
      7      that; agreed?
      8     MS. BROWN: Asked and answered. I
      9      object.
      10    THE WITNESS: Again, I am not the
      11     right person to address it. I don't even feel
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      12     comfortable addressing a comment on that.


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Page 162
 162 :2     THE WITNESS: I don't know.
      3     BY MR. GLASSER:
      4     Q: So deciding litigation settlements
      5      with JJCI's money is outside your chain of
      6      command; isn't that true?
      7     MS. BROWN: I object to the form of
      8      that question. It's argumentative.
      9     THE WITNESS: I didn't say that. But
      10     I was not involved specifically in the
      11     specific -- the specific litigation that you are
      12     talking about.
      13    BY MR. GLASSER:
      14    Q: Well, they were clearly
      15     accomplished -- these settlement agreements were
      16     clearly accomplished without your authority;
      17     isn't that true?
      18    A: I didn't say that. I just said that
      19     I was not involved in any of the specifics of
      20     what you described.
      21    Q: Well, if you didn't sign the
      22     settlement agreement, you didn't read the
      23     settlement agreement, you weren't involved in any
      24     way, shape, or form, how in the world were you
      25     exercising any authority as president of JJCI in
 163 :1      entering the settlement agreements?
      2     MS. BROWN: Well, that lacks
      3      foundation.
      4     THE WITNESS: Again, I can't speak to
      5      the legalities of the authorities of who is
      6      involved and not involved. I can tell you that I
      7      wasn't involved in the settlement contracts.
      8     BY MR. GLASSER:
      9     Q: All right. How many --
      10    A: And I don't know who was.
      11    MS. BROWN: Let her finish her
      12     answer, please, Counsel.
      13    BY MR. GLASSER:
      14    Q: How many cases have been settled?
      15     How many talc cancer cases have already been
      16     settled prior to the division?
      17    MS. BROWN: I object, lacks
      18     foundation.
      19    THE WITNESS: I don't know.
      20    BY MR. GLASSER:
      21    Q: Is it more than 2,000?
      22    MS. BROWN: Same objection.
      23    THE WITNESS: As I stated, I don't
      24     know.
      25    BY MR. GLASSER:
 164 :1     Q: Is it more than ten?
      2     MS. BROWN: Same objection.
      3     THE WITNESS: As I stated, I don't
      4      know.


GOODRIDGE, MICHELLE - 12/20/2021
Page 172
 172 :21    Q: Have you ever met Mr. Wuesthoff?
      22    A: In my previous roles at Johnson &
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      23    Johnson, I have met Mr. Wuesthoff before, yes.
      24    Q: Did you ever meet him in connection
      25    with this transaction?
 173 :1     A: I did not.
      2     Q: Did you ever meet with Mr. Dickinson
      3     who is the CFO of LTL that you put in in
      4     connection with this transaction?
      5     A: I did not.
      6     Q: Did you ever meet with Mr. Dayo, the
      7     third manager of LTL in connection with this
      8     transaction before you put him in the job?
      9     A: I did not.
      10    Q: So it's fair to say that you did not
      11    discuss roles and responsibilities with any of
      12    those three people before you put them in their
      13    positions?
      14    A: I personally did not, no.


GOODRIDGE, MICHELLE - 12/20/2021
Page 176
 176 :8     Q: Ms. Goodridge, did you determine this
      9     case -- this transaction should occur in Texas?
      10    A: Are you referring specifically to the
      11    Chenango transaction?
      12    Q: Correct.
      13    A: I was involved in signing for that
      14    entity be constructed in Texas. I was not
      15    involved in the details of the options that were
      16    assessed which I defer to the lawyers for more
      17    details.
      18    Q: So you had to rely on counsel for
      19    that choice?
      20    A: I relied in this particular case when
      21    signing it to counsel.
      22    MR. GLASSER: All right. Let's pull
      23    up the amended and restated divisional merger
      24    support agreement, 1.53.
      25      (Whereupon, Exhibit No. 1.53 was
 177 :1       marked.)
      2     BY MR. GLASSER:
      3     Q: All right. So this is an amended and
      4     restated divisional merger support agreement
      5     between JJCI and LTL. Okay?
      6     A: Okay.
      7     Q: So you signed it on, I guess, the
      8     fourth page -- sorry. Four, five -- sorry, fifth
      9     page, PDF page 7.
      10    Is that your signature?
      11    A: Yes.


GOODRIDGE, MICHELLE - 12/20/2021
Page 179
 179 :7     Q: Well, do you under- -- do you have an
      8      independent understanding of why this transaction
      9      was structured so as to assign the insurance to
      10     LTL but leave all the power and authority to
      11     prosecute the insurance at JJCI? Was that ever
      12     explained to you?
      13    MS. BROWN: Objection, lacks
      14     foundation.
      15    THE WITNESS: Again, I'm not an
      16     expert in that area, nor would I even try to even
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      17    basically explain your question. But I would
      18    defer to our lawyers and our other experts to,
      19    you know, help understand like the structure of
      20    how that works.
      21    BY MR. GLASSER:
      22    Q: All right. So that structuring is
      23    something you again relied on advice of counsel.
      24    You didn't make an independent
      25    business decision that that was the right thing
 180 :1     to do; right?
      2     A: No. In my role, I regularly rely on
      3     experts and lawyers in matters where there is an
      4     expertise like this. And in this case, I relied
      5     on our counsel and obviously any previous
      6     discussions to arrive at that.


GOODRIDGE, MICHELLE - 12/20/2021
Page 189
 189 :7     Q: Okay. Why didn't you guys just put
      8      JJCI into bankruptcy?
      9     MS. BROWN: Objection, foundation,
      10     speculation.
      11    THE WITNESS: Sorry. I'm not in a
      12     position to answer that. Maybe we could defer to
      13     the lawyers on the constructs of that.
      14    BY MR. GLASSER:
      15    Q: Did you ever have a conversation with
      16     anybody ever about that idea?
      17    A: I'm not sure which idea you are
      18     referencing.
      19    Q: Putting JJCI itself into bankruptcy.
      20    A: I can't -- again, I'm not in a
      21     position to speak to that. I'm not a lawyer. I
      22     was not involved in the options of what made most
      23     sense. Again, I would defer to my lawyers for
      24     those questions.
      25    Q: Okay. I'm asking you a very
 190 :1      different question.
      2      Did you, Michelle Goodridge, ever
      3      have a conversation with anybody at Johnson &
      4      Johnson about why we are not putting Johnson &
      5      Johnson Consumer, Inc., into bankruptcy?
      6     MS. BROWN: Objection, asked and
      7      answered.
      8     THE WITNESS: As I said, I was not
      9      involved in the details of those discussions.
      10    BY MR. GLASSER:
      11    Q: Okay. Well, I'm asking you, is it
      12     also true that you never even had that discussion
      13     with your lawyer?
      14    MS. BROWN: Well, hang on a second.
      15     I don't want you to reveal any specific
      16     discussions you had with counsel, Ms. Goodridge,
      17     but you are certainly able to answer the question
      18     as to your general understanding or your
      19     knowledge of the particular facts that allowed
      20     you to fulfill your role here as JJCI president.
      21    BY MR. GLASSER:
      22    Q: No, hang on. I'm asking a yes or no.
      23     If the answer is you never had the conversation,
      24     then you surely never got legal advice on it.
      25     So did you ever have that
 191 :1      conversation why don't we put JJCI in bankruptcy?
      2     MS. BROWN: Asked and answered.
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      3     THE WITNESS: As I stated before, I
      4      was not involved in that specific discussion.
      5     BY MR. GLASSER:
      6     Q: So the answer is, no, I, Michelle
      7      Goodridge, was never subject to a discussion like
      8      that ever anywhere with anyone?
      9     A: No. I was answering specifically the
      10     question you asked about JJCI and bankruptcy. I
      11     was not involved in any of those discussions
      12     myself personally.
      13    Q: Right. So you personally never had
      14     such a discussion with any human being?
      15    A: About that specific statement, no.


GOODRIDGE, MICHELLE - 12/20/2021
Page 199
 199 :25    Q: So in those conversations you had in
 200 :1     early October, the discussion -- there was a
      2     discussion around LTL filing bankruptcy; correct?
      3     A: Again, my understanding was that that
      4     was a likely outcome as the next step, but that's
      5     my understanding of it. That's it.


GOODRIDGE, MICHELLE - 12/20/2021
Page 200
 200 :22    Q: So you are going to telling the Court
      23     honestly coming out of the meetings with
      24     Mr. Andrews, you didn't -- you didn't think there
      25     was essentially a hundred percent chance LTL was
 201 :1      filing bankruptcy?
      2     MS. BROWN: She literally answered
      3      that question three times. I object, asked and
      4      answered.
      5     BY MR. GLASSER:
      6     Q: There was some confusion coming out
      7      of the meeting whether it would actually go
      8      bankrupt?
      9     MS. BROWN: She already answered
      10     that.
      11    BY MR. GLASSER:
      12    Q: What's your answer?
      13    A: I didn't say there was any confusion.
      14     I said that it was -- my understanding was it was
      15     a likely outcome.
      16    Q: Wasn't it your understanding that is
      17     what was going to happen?
      18    MS. BROWN: Objection, asked and
      19     answered.
      20    THE WITNESS: I already answered the
      21     question the way I understood it.
      22    MR. GLASSER: Let's go to
      23     Exhibit 1.65.
      24       (Whereupon, Exhibit No. 1.65 was
      25       marked.)
 202 :1     BY MR. GLASSER:
      2     Q: Okay. This is the operating
      3      agreement of a company called Royalty A&M and you
      4      will see that you signed it on page 15.
      5      Is that your signature,
      6      Ms. Goodridge?
      7     A: Yes, it is.
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GOODRIDGE, MICHELLE - 12/20/2021
Page 203
 203 :19    Q: Did you receive a briefing covering
      20    why it was going to be a North Carolina company?
      21    A: Based on my conversations with Chris
      22    Andrew, I understood that was where the entity
      23    would be structured. But I don't have -- again,
      24    I'm not a lawyer and I would defer to them for
      25    the details of why North Carolina.
 204 :1     Q: So you have no understanding of what
      2     relation Royalty A&M had to North Carolina?
      3     A: My understanding is that Royalty A&M,
      4     LLC, was established in North Carolina.
      5     Q: Why?
      6     A: That's the basis of my understanding.
      7     I'm sure the lawyers would have a better answer
      8     of why.
      9     Q: So you relied on advice of counsel to
      10    make it a North Carolina entity as opposed to any
      11    other state?
      12    A: I --
      13    MS. BROWN: I object, foundation.
      14    BY MR. GLASSER:
      15    Q: The answer is I did; right?
      16    A: I relied on my discussions with Chris
      17    Andrew and the counsel from Chris Andrew.


GOODRIDGE, MICHELLE - 12/20/2021
Page 208
 208 :23    MR. GLASSER: Let's go to
      24    Exhibit 1.66.
      25      (Whereupon, Exhibit No. 1.66 was
 209 :1       marked.)
      2     BY MR. GLASSER:
      3     Q: This is a purchase and sale agreement
      4     between a company called McNeil Nutritional LLC
      5     and Royalty A&M LLC. Do you see that?
      6     A: I do.
      7     Q: And you signed this on page 31, so if
      8     you want to look and see your signature.
      9     You are apparently the president of
      10    McNeil Nutritionals, LLC, Ms. Goodridge. Okay?
      11    A: Yes, I am.
      12    Q: All right. I take it you did not sit
      13    down and negotiate this purchase and sale
      14    agreement between McNeil and Royalty A&M?
      15    A: Well, in answer to your question, I
      16    did not personally sit down and negotiate this
      17    agreement, but I'm aware of the agreement and
      18    what I signed on that day.


GOODRIDGE, MICHELLE - 12/20/2021
Page 210
 210 :8     Q: All right. So you don't know who
      9     negotiated the purchase price in this agreement?
      10    A: I am personally not aware of that --
      11    the answer to that specific question.
      12    Q: You don't know when it was
      13    negotiated?
      14    A: I am not aware. Again, I'm not the
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      15     best person to ask. I don't know the answer to
      16     that.


GOODRIDGE, MICHELLE - 12/20/2021
Page 214
 214 :20    Q: So you signed it based on advice of
      21    counsel?
      22    A: I signed it based on my understanding
      23    of the agreement, my understanding of the purpose
      24    intent, and my comfort level of that, as well as
      25    based on information provided by my counsel.
 215 :1     Q: All right. What did Chris Andrew


GOODRIDGE, MICHELLE - 12/20/2021
Page 230
 230 :20    Q: Now, we have reviewed, you know, lots
      21    of paper today about the 2021 corporate
      22    reorganization, but some things aren't in the
      23    papers, so I want to ask you about them. Okay?
      24    A: Okay.
      25    Q: Why was this done in October?
 231 :1     A: I don't know. I would defer to my
      2     legal counsel and other experts involved. I
      3     don't know why.
      4     Q: Did anybody tell you why you wanted
      5     to get it accomplished in October?
      6     A: Again, I didn't have any specific
      7     conversations about why October.
      8     Q: Okay. Why was it done so fast in
      9     only two days?
      10    A: And I'm not a lawyer and I don't --
      11    I'm not in a position to answer that question.


GOODRIDGE, MICHELLE - 12/20/2021
Page 248
 248 :15    Q: Are you aware that LTL has asserted a
      16     right to stay all the lawsuits pending against it
      17     on account of the bankruptcy?
      18    MS. BROWN: Objection, foundation.
      19    THE WITNESS: I can only give you my
      20     understanding. Again, not as a lawyer and not as
      21     someone involved with LTL is that that -- with
      22     bankruptcy there is a pause of the cases. That's
      23     my only -- my understanding, but I can't give you
      24     more details to that. I would defer to my
      25     lawyers.
 249 :1     BY MR. GLASSER:
      2     Q: And did you have that understanding
      3      when you signed these documents?
      4     A: As I stated before, I understood that
      5      bankruptcy was a likely outcome and I understood
      6      that one component of bankruptcy was a pause in
      7      the cases.


GOODRIDGE, MICHELLE - 12/20/2021
Page 249
 249 :20    Q: Well, since the 39,000 cancer victims
      21    cases have been stayed, but people with other
      22    unsecured cases have not been stayed, would it be
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      23    fair to say the cancer victims are in a worse
      24    position than they were before the transaction
      25    having to do with their ability to prosecute
 250 :1     their lawsuit?
      2     MS. BROWN: I object. It misstates
      3     the evidence and it lacks foundation and calls
      4     for speculation.
      5     BY MR. GLASSER:
      6     Q: Who is better off, somebody who
      7     didn't have a stay or somebody whose case has
      8     stayed?
      9     MS. BROWN: I object, foundation,
      10    speculation.
      11    BY MR. GLASSER:
      12    Q: Ms. Goodridge, you can answer.
      13    A: Well, I can only answer what I'm
      14    comfortable answering which is that I don't think
      15    those are relevant comparisons in my
      16    understanding of it, I mean, in just my sense of
      17    the question.
      18    And I can tell you my understanding
      19    of the purpose and intent of what LTL was to do
      20    was actually to provide a fair and equitable
      21    resolution for plaintiffs for talc litigation.
      22    And that's my understanding. That's -- I can't
      23    comment on your other comparisons.


GOODRIDGE, MICHELLE - 12/20/2021
Page 253
 253 :1     Q: Is there anything in the funding
      2     agreement where JJCI pledges not to do a further
      3     divisional merger leaving the funding agreement
      4     with Old/New JJCI with a lot less assets?
      5     MS. BROWN: I object. The question
      6     makes no sense. It lacks foundation and it calls
      7     for speculation.
      8     BY MR. GLASSER:
      9     Q: You can answer.
      10    A: I don't feel comfortable answering --
      11    I know. But I don't feel comfortable answering
      12    that question as stated.


GOODRIDGE, MICHELLE - 12/20/2021
Page 254
 254 :1     Q: As president of JJCI, have you signed
      2      any document pledging not to do any more divisive
      3      mergers?
      4     MS. BROWN: Objection, foundation,
      5      assumes facts.
      6     THE WITNESS: You know, I don't --
      7      have I signed any documents? Can you repeat that
      8      part again because that is a complicated
      9      question.
      10    BY MR. GLASSER:
      11    Q: Have you signed any agreement on
      12     behalf of New JJCI pledging not to do any more
      13     divisive mergers?
      14    A: Again, I would defer to my lawyers
      15     for the details. From my recollection, I mean, I
      16     only can speak to what I signed regarding this
      17     transaction. I'm not aware or I can't recall any
      18     specific agreement relating to what you are
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      19     saying. But, again, I would defer to my lawyers
      20     because I might not remember that. But I don't
      21     recall as we sit here.


GOODRIDGE, MICHELLE - 12/20/2021
Page 310
 310 :11    Q: Well, what was the intent of the
      12     creation of LTL based upon your understanding?
      13    A: From my understanding and upon review
      14     of the documents and review of the different
      15     transactions, my understanding was that the
      16     intent and purpose was to provide a more fair,
      17     efficient, and equitable resolution of the talc
      18     litigation both current and future.
      19    Q: And who told you that bankruptcy
      20     would be a more fair, efficient, and equitable
      21     way of handling the talc cases as compared to the
      22     civil litigation? Who told you that?
      23    MS. BROWN: Objection. That
      24     misstates her testimony and lacks foundation.
      25    THE WITNESS: Okay. So what I shared
 311 :1      was -- I only can share what I understood.
      2      What I understood is that the
      3      creation of LTL was to provide what I mentioned
      4      which is a more fair resolution of the talc
      5      litigation. Separate from that --


GOODRIDGE, MICHELLE - 12/20/2021
Page 311
 311 :11    A: Then I will answer separate from
      12    that, I was under the understanding that
      13    bankruptcy would be a likely outcome from the
      14    transactions.
      15    And I was informed of this through my
      16    discussions with Chris Andrew.
      17    Q: So other than Attorney Chris Andrew,
      18    did anyone else tell you that an LTL bankruptcy
      19    filing would create a more fair and equitable
      20    resolution of the talc litigation?
      21    A: One is I didn't say those exact
      22    words. I just want to clarify. But, two, my
      23    discussions -- my understanding of the structure
      24    and the intent of the restructuring was through
      25    Chris Andrew.
 312 :1     Q: Okay. Other than Chris Andrew --
      2     other than what Chris Andrew told you, do you
      3     have any other basis for the statement you made
      4     that the LTL bankruptcy filing would be a more
      5     fair and equitable way to resolve talc cases?
      6     A: Again, I just want to clarify that I
      7     am separating those two comments because that's
      8     not -- my understanding was that LTL was created
      9     for the resolution of the talc litigation,
      10    period. Separately, that that bankruptcy was the
      11    likely outcome and process that could occur.
      12    So, again, I'm not a lawyer. I --
      13    it's -- I don't want to comment on sort of the
      14    relationship between the two and I don't think
      15    I'm in a good position to do that.
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GOODRIDGE, MICHELLE - 12/20/2021
Page 312
 312 :20    Q: Okay. I wrote down your words,
      21    quote, LTL was created for the resolution of the
      22    talc litigation, period.
      23    You heard your words in the last
      24    answer; correct?
      25    A: I heard my words, yes.
 313 :1     Q: Okay. Who told you that?
      2     A: That was my understanding from my
      3     discussions within -- when I was reviewing the
      4     documents.


GOODRIDGE, MICHELLE - 12/20/2021
Page 314
 314 :14    Q: Who told you that other than Chris
      15     Andrew? Did anyone else other than Chris Andrew
      16     tell you that, yes or no?
      17    MS. BROWN: Objection.
      18    THE WITNESS: When I was signing the
      19     documents and reviewing the documents, no one
      20     else told me that other than Chris Andrew.


GOODRIDGE, MICHELLE - 12/20/2021
Page 325
 325 :2     Q: So, again, in this memo, it says
      3     that -- we are looking on the screen -- that the
      4     commercial capabilities are expected to continue
      5     through New JJCI upon consummation of the
      6     restructuring without interruption.
      7     Do you see that?
      8     A: I do.
      9     Q: And is that exactly what has
      10    happened, that JJCI, the company that you are
      11    president of, has been able to continue business
      12    as usual without any commercial interruption
      13    since the filing of the LTL bankruptcy on
      14    October 14, 2021? Is that correct?
      15    A: Well, again, as you know, J&J
      16    Consumer, the Global Consumer company is very
      17    big, so I can't speak to every aspect of it.
      18    But in general I think that J&J
      19    Consumer, Inc., from my -- where I sit from the
      20    realm of responsibility I have has been able to
      21    continue operating without interruption.


GOODRIDGE, MICHELLE - 12/20/2021
Page 338
 338 :11    Q: And how do you know it would be more
      12    fair and equitable?
      13    A: Well, I can only tell you what I
      14    understood through my conversations. And my
      15    understanding was that it was created -- there
      16    are different aspects to it, but that it would
      17    be -- it's created so that we could manage and
      18    resolve all the talc litigation which is both
      19    current and future and that there were aspects
      20    like the funding agreement that helped enable
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     21   that fair and -- fair and equitable resolution of
     22   those litigation costs.
     23   Q: What was the basis for your
     24   understanding that when you signed the documents,
     25   that the LTL bankruptcy would result in a fair
339 :1    and equitable way of resolving all the talc cases
     2    against JJCI? What was the basis of your
     3    understanding?
     4    A: The basis of my understanding --
     5    Q: Yes.
     6    A: -- were a combination -- I'm just
     7    trying to answer the question. The basis of my
     8    understanding was a combination of understanding
     9    the documents and the details of the agreements
     10   that I was -- that I was privy to in signing as
     11   well as an explanation of the agreements from my
     12   lawyer Chris Andrew.
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KAPLAN, DAVID


KAPLAN, DAVID - 02/11/2022
Page 13
   13 :18              Do you understand that last
       19   fall, Johnson & Johnson undertook a corporate
       20   restructuring that resulted in the creation of
       21   a company called "Legacy Talc Litigation?"


KAPLAN, DAVID - 02/11/2022
Page 13
   13 :23      A. Yes.
       24      Q. And do you understand that
       25   Johnson & Johnson and Johnson & Johnson's
   14 :1    consumer health subsidiaries, Talc
       2    Liabilities, were placed into that newly
       3    created company, Legacy Talc Litigation?
       4       A. Yes.


KAPLAN, DAVID - 02/11/2022
Page 14
   14 :7        Q. And if I use the shorthand, "LTL,"
       8    for Legacy Talc Litigation, do you understand
       9    what I'm referring to?
       10       A. Yes.
       11       Q. And do you understand that LTL filed
       12   for bankruptcy?
       13       A. Yes.


KAPLAN, DAVID - 02/11/2022
Page 17
   17 :2        Q. And have you been the Director of
       3    Corporate Ratings Healthcare, at Standard and
       4    Poor's, for the last 14 years?
       5        A. No. So, my current role is
       6    director. And I've been at Standard and
       7    Poor's, in the Credit Ratings Department, for
       8    14 years. But I've not been director for the
       9    full 14 years.
       10       Q. And for how long have you been
       11   director?
       12       A. I don't recall, offhand. But it's
       13   a -- a good number of years.
       14       Q. Okay. At least three or four years?
       15   Is that fair?
       16       A. Yes.
       17       Q. And what is your role as a Director
       18   of Corporate Ratings, Healthcare?
       19       A. So, the department that I work in,
       20   Corporate Ratings, we establish a grading
       21   system, like Triple A, for -- which is an
       22   evaluation of credit risk. The risk that a
       23   company will go bankrupt.
       24           My -- in my role, I focus currently,
       25   primarily on pharmaceutical companies, but
   18 :1    also, other types of healthcare companies like
       2    medical device, or healthcare service
       3    companies.
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       4            And I have a group of more junior
       5    analysts who don't report directly to me, but
       6    are on my team. Kind of a dotted line. And
       7    I'm responsible for their work, and quality
       8    control training, et cetera.
       9        Q. Got it. Thank you. Do you have
       10   responsibility for covering Johnson & Johnson
       11   in your role?
       12       A. Yes.
       13       Q. And for how long have you been
       14   covering Johnson & Johnson?
       15       A. I think it was since 2019 was when I
       16   picked up coverage from a colleague.
       17       Q. And does your coverage of
       18   Johnson & Johnson include Johnson & Johnson
       19   subsidiaries?
       20       A. Yes. I mean, I -- well, to clarify,
       21   our rating is on the parent, but the -- the
       22   activities of the subsidiaries influence the
       23   credit rating of the parent.
       24           So, if it's related to the
       25   creditworthiness of the overall entity, then
   19 :1    yes. You know, it gets technical when we
       2    think about how we rate different entities
       3    within a group.
       4            But, generally, they have a single
       5    family rating that reflects the comprehensive
       6    activities of the entities that are part of
       7    the group which is backing the
       8    creditworthiness of the parent.


KAPLAN, DAVID - 02/11/2022
Page 20
   20 :20       Q. Got it. And in the course of
       21   covering Johnson & Johnson as part of your
       22   role at Standard and Poor's, do you
       23   communicate with people at the company?
       24       A. Yes.
       25       Q. And who are the principal people
   21 :1    that you communicated with from 19 -- 2019 to
       2    the present?
       3        A. So, we -- we typically try to
       4    schedule a meeting annually, that involves a
       5    large group of analysts or a group of analysts
       6    from my team, Standard and Poor's credit
       7    ratings group.
       8            May be three to half a dozen, or
       9    sometimes more. And on JNJ side, there will
       10   also be, kind of a handful of people. Often
       11   the treasurer; some people from investor
       12   relations. Sometimes the CFO. Sometimes
       13   legal folks, if it's -- we have some questions
       14   about legal matters.
       15           And then, there is kind of an annual
       16   thing. And the company will share with us
       17   forecasts and other information that maybe
       18   sometimes is not shared publicly. So it's
       19   kind of confidential information.
       20           And then we also kind of maintain a
       21   single person who is our primary contact.
       22   That was Michelle Ryan, for the last couple
       23   years. It's recently switched to
       24   Duane Van Arsdale, I believe is the name of
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      25    the individual, who is the treasurer.


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   22 :8         Q. And as the director on that account,
       9    if that's the right terminology, were you the
       10   principal point of contact with Michelle Ryan,
       11   during the period that she was the point
       12   person at JNJ?
       13        A. I was the primary point person, with
       14   the exception of a short period of leave in
       15   September and October of 2021. I would say
       16   yeah.
       17            It's not always the director who's
       18   the primary point of contact. Typically,
       19   names that are credits that are larger and
       20   more complex, are allocated to directors to be
       21   the primary analyst.
       22            Companies that are smaller and less
       23   complicated are often -- associates are the
       24   primary point of contact.
       25            So it's not -- the role -- the title
   23 :1    is not necessarily for that role. But yes, to
       2    your original -- I guess to the key question,
       3    I am the primary point of contact with the
       4    company on JNJ.
       5         Q. And how often would you have
       6    telephone calls with Michelle Ryan in, let's
       7    say, 2020 and 2021?
       8         A. So, again, it could vary. If
       9    everything is very stable, it could be, you
       10   know, just when a company issues debt. So
       11   maybe once a year, aside from the annual
       12   meeting.
       13            In the case of Johnson & Johnson,
       14   there were various developments, so it was
       15   more frequent. It's hard for me to say
       16   whether it was twice a year or four or five
       17   times a year. Just don't recall.
       18        Q. Somewhere in that range?
       19        A. Yes.
       20        Q. And when you did have telephone
       21   calls with Michelle Ryan, how did you record
       22   the substance of those telephone calls?
       23        A. If the conversations are
       24   substantive, the practice is --
       25                 MR. STARNER: I may object
   24 :1         occasionally. Just give me a moment.
       2             Obviously, you can answer the
       3         question, if you understand, after that.
       4         But if you just give me one second, so --
       5         if you don't mind. Thank you.
       6             Go ahead.
       7                  THE WITNESS: Sure.
       8             Yeah. Our practice is to take
       9         written notes if they are substantive
       10        matters that, you know, wouldn't be
       11        documented.
       12            So, for example, if a company plans
       13        on issuing debt, you might just take a
       14        few notes. But then, when the issuance
       15        is -- when you publish your note,
       16        everything is there, so there is nothing
       17        really that is meaningful or material,
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       18       that needs to be recorded.
       19           But if there's notes that are
       20       meaningful, the practice -- the practice
       21       in the organization and the department is
       22       to save them into a specific depository
       23       for the record.
       24           We are a regulated entity. And so,
       25       we are required to save the material
   25 :1        information we gather, as part of that
       2        rating analysis.
       3    BY MR. SHAPIRO:
       4        Q. And what is the name of that system
       5    where you maintain your notes?
       6        A. We refer to it as "RDR."
       7        Q. RDR. And what does "RDR" stand for?
       8        A. Probably something like "rating
       9    depository" -- yeah. We use a lot of
       10   acronyms.
       11       Q. We can call it "RDR." And is -- and
       12   is RDR a database of notes that the S&P
       13   analyst take to record the conversations that
       14   they have with the companies that they cover?
       15               MR. STARNER: Objection.
       16           You can answer.
       17       A. It's a system where those documents
       18   are saved. We often use, kind of, the
       19   administrative assistants to help file it
       20   there. Yes.


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   26 :10       Q. Let me ask you the question this
       11   way. Do you rely on those notes in the course
       12   of developing ratings for the companies that
       13   you cover?
       14       A. Certainly, those are an input that
       15   go into it. And we'll refer back to it.
       16       Q. And do you rely on those notes for
       17   the purpose of preparing the reports that S&P
       18   prepares?
       19       A. We could. Certainly, yeah.
       20       Q. And -- and in the course of your
       21   career at S&P, have you always intended for
       22   those notes to be as accurate as possible?
       23       A. They are shorthand. But they are
       24   supposed to be a reference for -- at least for
       25   me, to be able to decipher what I was thinking
       26
       27
   27 :1    or hearing.
       2           I guess that is to say that, they
       3    are not edited, or they are usually drafted as
       4    the conversation is going.
       5           So there is a little bit of a --
       6    there is a looseness in the note-taking that's
       7    obviously not going to be present in something
       8    we would publish, or even something that we
       9    would share with a committee, like a -- a
       10   package for others to review.
       11          They are really not generally
       12   reviewed by anyone else. So, you know, if
       13   they have a grocery list on the side, that
       14   wouldn't be a problem.
       15              MR. SHAPIRO: Let me mark as
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       16       Exhibit 384, a document that's Bates
       17       stamped SPG100 -- or "SPGI0001078_001"
       18       through "002."
       19           And for the videographer, it's tab C
       20       in the binder. You can put that on the
       21       screen.
       22      (Exhibit 384 marked for identification)
       23   BY MR. SHAPIRO:
       24       Q. Mr. Kaplan, do you have the ability
       25   to control the notes? To control the screen
   28 :1    to go through it?
       2        A. Yes.
       3        Q. Okay. Let me know when you've had a
       4    chance to review them.
       5                [Witness perused document.]
       6        A. Okay.
       7        Q. Do you recognize these as your
       8    notes, Mr. Kaplan?
       9        A. I recognize these as mine. This
       10   would not be -- these are not notes that were
       11   taken during a conversation with the company.
       12           This would be notes that I drafted
       13   for our conversation with my colleagues to
       14   discuss the rating on JNJ, or the outlook on
       15   JNJ. In addition to having a rating, we also
       16   have an outlook which could be stable,
       17   positive or negative.
       18           So, this was October of 2020. This
       19   was, I guess, an internal conversation we had
       20   scheduled to discuss JNJ's rating and some of
       21   the developments.
       22       Q. Are these notes that you prepared in
       23   advance of the internal conversation?
       24       A. Yes.


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   30 :1        Q. That's okay. And what was the
       2    purpose of the meeting?
       3        A. So, based on, you know, the
       4    contents, there were two legal matters that
       5    were facing Johnson & Johnson, that seemed to
       6    be -- had reached the point where the
       7    liability could be material.
       8            And so, we were discussing whether
       9    this has, or should have an influence on the
       10   rating or the rating outlook.
       11       Q. And what was the source of the
       12   information that you included in these notes?
       13       A. So, it could be conversations we had
       14   with the company. It could be information we
       15   digested from media sources we viewed as
       16   reliable.
       17           It could be information that the
       18   company had shared publicly with investors, or
       19   had put in its SEC filings, like its 10K or
       20   10Q.
       21           You know, we kind of gathered from
       22   multiple sources.
       23       Q. Okay. I want to ask you, if we can
       24   scroll up. I guess I can't control it. Let
       25   me -- let's scroll up to the part that says,
   31 :1    "Talc settlements."
       2                Do you see the section at the
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    3    bottom of the page, which is Bates stamped --
    4    I guess it's the first page, "001," which
    5    says, "Talc settlements?"
    6                You're there, Mr. Kaplan? If
    7    you scroll down.
    8         A. Sure.
    9         Q. Do you see that the first sentence
    10   says:
    11               "Company has capitulated on
    12   talc, talcum powder/baby powder litigation
    13   settlements in contrast to fiercely litigating
    14   that."
    15               Do you see that?
    16        A. Yes.
    17        Q. And is that based on a conversation
    18   you had with Michelle Ryan?
    19        A. That would have been my -- my view.
    20   So the term, "capitulated," in particular, is
    21   just a word that came to me. But it's -- this
    22   is my interpretation of the events that I'm
    23   observing.
    24            So, I doubt that the company would
    25   have said that to me, specifically. But the
32 :1    company, in my experience, has been -- has
    2    taken the strategy -- and I believe
    3    Michelle Ryan had mentioned this -- of, you
    4    know, of generally being very assertive in
    5    litigating claims.
    6             Michelle had expressed that J --
    7    that the company feels -- Johnson & Johnson
    8    feels that they are unfairly challenged by
    9    litigation because of their financial
    10   strength.
    11            And so, their strategy is generally
    12   to litigate even things that might be economic
    13   to ignore, or just to settle, to avoid
    14   nuisance cases.
    15            So, it was therefore a change for us
    16   to see that they started to reserve some --
    17   some amounts on their financial statements as
    18   expected losses or exhibited liabilities for
    19   talc.
    20            So that -- that's what that first
    21   sentence refers to. Is that the company has
    22   basically shifted in strategy from fighting
    23   talc to starting to settle some cases, at
    24   least.
    25        Q. And the basis for your observation,
33 :1    that the company had begun to settle some of
    2    the cases is the fact that, as reflected in
    3    your notes, that they had accrued $350 million
    4    in Q2, and $540 million in Q4?
    5                Is that fair?
    6         A. I'm not sure if it was -- was it Q4?
    7         Q. Q3, sorry.
    8         A. But the fact that they had reserved
    9    the 350, and expect to reserve another 540.
    10   Right. Correct.
    11        Q. And what was your understanding of
    12   the significance of the fact that the company
    13   had reserved $890 million in Q2 and Q3, for
    14   this litigation? What was the significance of
    15   that, to your understanding?
    16        A. So, you know, we see litigation very
    17   often in healthcare. And the overwhelming
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    18   majority of the time, it ends up not being
    19   material -- not end up being a material
    20   liability for the company.
    21            And so, when we think about credit
    22   risk, that's an important observation. But
    23   when we see a company take a reserve, it --
    24   it's one development that suggests that the
    25   liability may be material here.
34 :1             It's not the only way. And it's not
    2    a certainty. But that's one development that
    3    is suggestive; the liabilities might be
    4    material.
    5             And so, that is something we try to
    6    incorporate in the credit -- in the thinking
    7    around the credit risk is -- well, it looks
    8    like now the company is going to take some
    9    degree of liability.
    10        Q. And did you understand, or do you
    11   understand, that when a company takes a
    12   reserve, the company is making a judgment that
    13   the liability is probable and estimable?
    14        A. Yes. Based on the SEC or GAP
    15   definitions. Correct. Yeah.
    16        Q. And then, let me ask you about the
    17   third bullet point that refers to the 25,000
    18   talc cases. Do you see that?
    19        A. Uh-huh. Yes.
    20        Q. In that bullet point, it says that:
    21                 "The company estimates that the
    22   liability could reach as much as $7 billion to
    23   $7.5 billion, inclusive of all future cases."
    24                 Do you see that?
    25        A. Yes.
35 :1         Q. And when you refer to the company in
    2    that bullet point, who are you referring to in
    3    particular, as the source of that information?
    4                  MR. STARNER: Objection.
    5             You can answer.
    6         A. That would be our -- that would be
    7    from conversation we had with the company.
    8         Q. Okay.
    9         A. Most likely, Michelle Ryan.
    10        Q. And what did you understand was the
    11   significance of that estimate, that the
    12   liability could reach as much as $7 billion to
    13   $7.5 billion, inclusive of all future cases?
    14                 What did that mean?
    15                 MR. STARNER: Objection.
    16        Q. Or what did you understand, based on
    17   your conversation?
    18        A. It sounds -- well, I don't recall.
    19   But based on my reading of my notes, as I
    20   would have written them, I think what I was
    21   trying to communicate here to my colleagues
    22   was that we had a conversation with
    23   Johnson & Johnson. And, you know, although --
    24   excuse me.
    25            Although, you know, the company --
36 :1    you know, there's a lot of uncertainty from
    2    the benefit of -- for the purposes of our
    3    credit risk, it's important to understand what
    4    the -- you know, maximum liability could be.
    5             And I think what we gathered from
    6    the company is that -- and maybe based on some
    7    of the math in the two bullet points above,
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       8    the company is estimating that its liability
       9    will be -- could be as much as $7.75
       10   billion -- $7 billion to $7.5 billion.
       11           Which is, again, helpful for us to
       12   think about it, you know, in the context of
       13   Johnson & Johnson. The company generates, you
       14   know, $30 billion of EBITDA.
       15           As a worst case scenario, you know,
       16   what's -- what's the worst case scenario. So
       17   even if it's not probable, but at least to
       18   have some numbers around it can be very
       19   helpful for us.
       20           You know, I know the media had some
       21   speculation with numbers that were higher than
       22   that. So being able to say, you know, media
       23   numbers are, you know, just, completely -- you
       24   know, meaning when some of my colleagues will
       25   sometimes see stuff in the media, and then,
   37 :1    you know, send me a link or an article.
       2            You know, hearing from the company
       3    that they feel that the maximum is $7 billion
       4    to $7.5 billion is reassuring in a sense,
       5    relative to, maybe something that we read in
       6    the media that said the liabilities could be
       7    much more than that.
       8            So it's helpful, even if it's not --
       9    it doesn't become our base case expectation.
       10       Q. And let me ask you to take a look at
       11   your next bullet point at the top of the next
       12   page. Do you see where it says:
       13               "The company expects payment
       14   would be $2.5 billion per year, in each of the
       15   next three years."
       16       A. Yes.
       17       Q. And is that also based on your
       18   conversation with Michelle Ryan?
       19       A. Yes. That's what -- that's what the
       20   notes indicate.


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   38 :24       Q. And let me just ask you a couple of
       25   more questions about these notes. You were
   39 :1    explaining this at the beginning. These are
       2    notes that you prepared in advance of your
       3    internal meeting with other analysts at S&P?
       4        A. Yes.
       5        Q. And those -- this -- this type of
       6    internal note is something that you regularly
       7    prepared in advance of internal meetings like
       8    that?
       9               MR. STARNER: Objection.
       10       A. So, we have two types of internal
       11   conversations. There is a more formal one,
       12   which is when we kind of formally gather a
       13   committee. There's various formalities and
       14   processes around that.
       15          The internal conversation is kind of
       16   a less formal. So it's typically for
       17   developments that are where we don't expect
       18   there to be a change in the rating, but we
       19   just want to run it by our colleagues to make
       20   sure they feel similarly.
       21          Or in a company that, you know, is
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       22   high profile and might be getting a lot of
       23   media attention, we want our colleagues to
       24   understand kind of what we're thinking. And,
       25   you know, make sure that, kind of, the
   40 :1    communication.
       2             If anyone else is being asked about
       3    it, they just kind of understand what's going
       4    on, and why we're thinking about it. So there
       5    are two types -- I guess there are at least
       6    two types, maybe more, of reviews.
       7             There's kind of the formal, internal
       8    review, which we'll call it "committee." And
       9    then there is a little bit more of an informal
       10   mechanism, where we try to document it.
       11            And sometimes, also, it's a way to
       12   just kind of have some records for future
       13   reference. Meaning, I might refer back to
       14   this. If we have a committee several months
       15   later, I've got all my notes drafted and
       16   organized, and can refer back to that.
       17        Q. And this meeting, these notes were
       18   prepared in advance of what you would describe
       19   as an informal review?
       20        A. Yes.
       21        Q. And did you circulate these notes to
       22   your colleagues in advance of the meeting? Or
       23   you just relied on them in the meeting?
       24        A. No. I would circulate it to my
       25   colleagues in advance of the meeting.


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   42 :22       Q. Let's turn back to Exhibit 385. Do
       23   you recognize this document, Mr. Kaplan?
       24       A. Yes.
       25       Q. And what is this periodic review?
   43 :1        A. Okay. So, I mentioned there's two
       2    types of reviews. Let's call it three types.
       3    There's the informal type, which was the
       4    previous document. And then we have a formal
       5    review with a committee, that requires a
       6    process.
       7           There is a certain formality to this
       8    document. It's created in a -- a system -- a
       9    platform that we use.
       10          So, within the formal reviews, there
       11   is a periodic review, and there is an
       12   event-driven review. The periodic review is
       13   done every year. It's got to be done at least
       14   once every 12 months. So it's calendar-based.
       15          The idea being that if nothing has
       16   happened over 12 months, at least the credit
       17   should be reviewed by someone, other than just
       18   a primary analyst. So that's this review.


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   44 :3           They're just kind of making sure the
       4    credit has been looked at. Kind of a quality
       5    control mechanism. I think there may also be
       6    a regulatory requirement for these.
       7           And that's different than an
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      8     event-driven review, where we -- there's some
      9     development, and there is a more formal
      10    process committee. Again, usually three
      11    voters. Often more.
      12           Where the recommendation is, or the
      13    discussion is whether the rating or output
      14    needs to change. In the periodic review,
      15    ratings do not typically change.
      16           If there is a thought that a rating
      17    needs to change as a result of a periodic
      18    review, then it would be taken to an
      19    event-driven review. So this is kind of the
      20    annual check, up if you will, as an analogy.
      21        Q. And who prepared this periodic
      22    review?
      23        A. So, the primary analyst is
      24    responsible for the content. We do have


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   45 :5        Q. And were you ultimately responsible
       6    for the substance of this periodic review?
       7        A. Yes.


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   45 :13       Q. What -- what did you do with this
       14   periodic review, after preparing it?
       15       A. Okay. So, on this first page, it
       16   says the sign-off analyst was Shannan Murphy.
       17   She is the manager of the healthcare team,
       18   more broadly. So I report to her.
       19           And she was the one who I had
       20   selected to be the reviewer. So we,
       21   presumably, had a meeting that was 30
       22   minutes -- possibly less -- where we kind of,
       23   you know, went through this or said, "Oh, you
       24   know, we just reviewed this very recently."
       25           You know, these are the document --
   46 :1    this is the documents from the internal
       2    conversation. This is the forecast model.
       3    This is the -- you know, the details on
       4    liquidity. And, you know, the rating is still
       5    right.
       6            And, again, she may have had -- she
       7    would have reviewed the document; possibly
       8    asked some questions; or, you know, may
       9    have -- it may have been a relatively quick
       10   review if we had a -- a conversation touching
       11   on those points, very recently.
       12           "Okay, we just talked about this.
       13   We just updated the rating." You know, we can
       14   call that a fast-track. It's not a formal
       15   term, but if we're both very fluent in what's
       16   going on and feel comfortable with the rating,
       17   we can kind of accelerate the process.
       18           It becomes less of a -- a less
       19   rigorous discussion because, a discussion
       20   really has been had and the recollection is
       21   still there.
       22       Q. And in preparing this document, you
       23   relied on your conversations with
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    24   Michelle Ryan?
    25       A. In part. As well as the company's
47 :1    financial performance; financial reports;
    2    earnings call. But that certainly was one
    3    input.
    4        Q. And let me ask you to turn to page
    5    15 of 31 in the document. Do you see the
    6    section labeled, "Talc settlements?"
    7        A. Yes.
    8        Q. And do you see the reference to the
    9    $7 billion to $7.5 billion estimate? Do you
    10   see that?
    11       A. Yes.
    12       Q. And do you see the reference to the
    13   payment of 2.5 billion per year?
    14       A. Yes.
    15       Q. And am I correct that those bullet
    16   points are the same bullet points that we had
    17   seen in the prior document, which were your
    18   internal discussion notes?
    19       A. Yes.
    20                MR. STARNER: Objection.
    21       Q. And those estimates were based on
    22   your conversations with Michelle Ryan?
    23       A. The -- right. They are based on my
    24   conversation with Michelle Ryan.
    25            Again, it's not clear to me that
48 :1    they were estimates as much as worst case
    2    scenario. But correct. They are based on
    3    conversations with Michelle Ryan.
    4        Q. And in the last bullet point, it
    5    says:
    6                 "The company does not plan to
    7    reserve those at this point. As each case has
    8    distinct differences."
    9                 Can you explain that bullet
    10   point?
    11       A. So, again -- so it looks to me like
    12   the number, $7 billion to $7.5 billion is what
    13   the company had shared with us as being their
    14   thoughts around a worst case scenario.
    15            My experience with legal
    16   liabilities, with other companies that I've
    17   covered over the years, is that the accounting
    18   requirements; or GAP; or SEC is that, there
    19   are only -- a company would only record as a
    20   reserve -- as a liability -- the amounts that
    21   are probable and estimable.
    22            So, those amounts are typically --
    23   could be less than what the company's base
    24   case expectation is. Certainly, it would be
    25   less than what the company's worst case
49 :1    expectation is.
    2             My understanding is that -- and my
    3    experience is that usually those reserve
    4    amounts tend -- not always, but can -- or
    5    often below what the ultimate amount of
    6    settlement is.
    7             But different companies have
    8    different standards. So, for example, the
    9    standard of probable -- you know, what's the
    10   amount that's probably going to be a
    11   liability.
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   51 :4               MR. SHAPIRO: Let me mark as
       5        Exhibit 386 a document Bates stamped
       6        "SPGI00011321" through "4." And for the
       7        videographer, this is Exhibit -- or this
       8        is tab F in the PDF.
       9       (Exhibit 386 marked for identification)
       10   BY MR. SHAPIRO:
       11       Q. Do you recognize these notes,
       12   Mr. Kaplan?
       13       A. Ah, yes. This looks like another
       14   internal conversation.
       15       Q. These were notes that you prepared?
       16       A. Yes.


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   53 :10       Q. Okay. And what was the context in
       11   which you prepared these internal notes?
       12       A. So, it looks like there were two
       13   questions or matters that we were looking to
       14   discuss. That I was looking to discuss with
       15   my colleagues.
       16            One was just kind of an update on
       17   the credit ratios. And then, the other -- and
       18   I guess it was -- it was related to the
       19   development that the -- the strategy
       20   Johnson & Johnson had, of putting the talc
       21   liabilities into an entity and settling it
       22   that way.


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   56 :24       Q. If you turn to the -- if you scroll
       25   to the third page, it says "Item two.
   57 :1    Cordoning off Talc Liabilities."
       2                Do you see that? On page
       3    three.
       4        A. Yes.
       5        Q. Okay. And do those notes reflect
       6    what you learned in your conversation with the
       7    company?
       8                MR. STARNER: Objection.
       9        A. Some of it might. Again, I don't
       10   recall. I mean, some of it clearly is based
       11   on media. I see some references here to some
       12   of the research I've done myself, referring to
       13   other companies that have taken this approach.
       14           So it's hard for me to discern what
       15   I may have heard directly from the company,
       16   versus what I may have gathered from, you
       17   know, other sources I viewed as reliable or --
       18   and you can see here various links -- URL
       19   links to articles that I referenced again for,
       20   the benefit of my colleagues who may want to
       21   read the entire article.
       22       Q. Do you have underlying notes that
       23   you took when you discussed the talc strategy
       24   with Michelle Ryan, which you used to prepare
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    25   this internal document?
58 :1         A. I should. Those should be saved in
    2    RDR. I try to be pretty diligent about that.
    3         Q. And did you prepare this internal
    4    document, based on the notes that you take of
    5    your conversation with Michelle Ryan?
    6         A. That would be one of the inputs that
    7    would go into these -- into drafting these --
    8    this memo, if you will.
    9         Q. Okay.
    10        A. In addition to media -- media
    11   sources that we view as reliable. Company
    12   press releases, et cetera.
    13        Q. And do you see the reference to the
    14   objectives with this tactic? I think that's
    15   the fifth bullet point.
    16        A. Yes. I see that.
    17        Q. Those -- again, the identification
    18   of those objectives, that's based on your
    19   conversation with Michelle Ryan?
    20                 MR. STARNER: Objection. Calls
    21        for speculation.
    22        A. I -- some of it would be. Some of
    23   it could be -- we definitely had a
    24   conversation with Michelle about the
    25   objectives. And if I actually -- this is a
59 :1    vague recollection -- was that maybe some of
    2    it, she wasn't a hundred percent sure.
    3              But, I mean, the first one -- the
    4    idea -- the objective is that it allow the
    5    company to move on. I believe that was
    6    something that she shared with us. I think I
    7    had asked her whether that prevents bellwether
    8    cases, and I think she wasn't certain.
    9              But that was, kind of, maybe
    10   something I had read. And then, I think, I
    11   don't recall about the punitive damages. If
    12   that was also something that I had read, or
    13   understood from other experience, versus
    14   something that she had said.
    15             But I think my recollection is that
    16   it -- yeah. Well, the -- the two benefits are
    17   it accelerates the resolution, and I think
    18   it -- it contains or limits the -- the
    19   maximum.
    20             So both a timing perspective, and a
    21   quantification. But I don't recall if bullets
    22   two and three were something that Michelle had
    23   said, or something that I had come to with my
    24   own understanding or readings.
    25        Q. But those -- those first two points
60 :1    about accelerating and capping the liability,
    2    those are two points that you do recall
    3    discussing with Ms. Ryan?
    4                  MR. STARNER: Objection.
    5         Mischaracterizes the document.
    6         Mischaracterizes the witness' testimony.
    7         Q. You can answer, Mr. Kaplan.
    8         A. I -- I don't recall -- well, the
    9    first one, that it allows the company to move
    10   on, to kind of settle it and put this behind
    11   it, was something that I -- I recall hearing
    12   directly from the company.
    13             My understanding -- I think, if I
    14   recall correctly, I had asked whether the --
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       15   it also prevents bellwether cases. Because
       16   I -- the company had a large case -- was a
       17   large liability, 4.7 that went down to 2.1.
       18            So I was kind of curious about that
       19   or interested in understanding that. That was
       20   something that I understood to be a benefit,
       21   but I don't recall if I heard that directly
       22   from the company.
       23            And then, whether it caps it. Yeah.
       24   I don't recall. I don't recall. It's been a
       25   while. I'm sorry. But if -- yeah.
   61 :1         Q. What did you understand the company
       2    meant when it referred to quantifying the
       3    obligation?
       4         A. So, again, I've had some experience
       5    with companies -- companies that I covered
       6    previously, that had liability relating to
       7    pelvic mesh, medical device companies. And,
       8    you know, it kind of stretched on for years
       9    and years, and it kept growing.
       10            So the ability to set a -- and
       11   there's, you know, a lot of uncertainty, both
       12   you know, in the media investors. So the
       13   ability to establish an amount, and have that
       14   be final, is a positive in a sense, from a
       15   credit perspective, in the sense that it
       16   reduces uncertainty.
       17            So, again, hypothetically, from a
       18   credit personality, you might rather a company
       19   have -- let's say in the case of opioids, you
       20   know, Johnson & Johnson, you know, has agreed
       21   to a $5 billion settlement.
       22            We might rather see a company have a
       23   $5 billion settlement and be certain about it,
       24   than have an estimate of $3 billion and have,
       25   you know, a 10 percent chance that it could be
   62 :1    $10 billion.
       2             So that the certainty is positive,
       3    from our perspective. And then from a timing
       4    perspective, you know, as long as the case is
       5    active, you know, there tends to be, kind of,
       6    negative discussion in the media.
       7             So, being able to resolve it and put
       8    it behind you, is positive from a -- a
       9    reputation perspective. You know, it moves
       10   the conversation on from -- from -- the
       11   conversation among investors from this matter
       12   to, you know, the business fundamentals; the
       13   profits; the growth; the opportunities.
       14            So, there were clearly -- there
       15   clearly are benefits, as we see it from -- as
       16   we assess creditworthiness, to having this
       17   behind -- resolved, in the sense that it's --
       18   the amounts are quantified and final. And
       19   that the matter is no longer uncertain.


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   70 :12       Q. Let me ask you this question.
       13   Earlier in the deposition, we saw a note in
       14   which the -- in which you reported that the
       15   company had estimated $7 billion to $7.5
       16   billion, as what you described as a worst case
       17   scenario.
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       18              Do you remember that?
       19       A. Yes.
       20       Q. Do you remember that projection
       21   changing over the course of the next several
       22   months in your conversations with the company?
       23       A. I do not -- I do not recall any
       24   other -- yeah. No, I don't.
       25       Q. So you don't recall the $7 billion
   71 :1    to $7.5 billion projection changing in one
       2    direction or the other?
       3        A. As a worst case -- as a worst case
       4    scenario, no, I do not. I do not recall any
       5    change to that.
       6        Q. Okay.


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   78 :23        Q. And did you understand -- did you
       24   understand that it was important to
       25   Johnson & Johnson to remove that negative
   79 :1    outlook?
       2                  MR. STARNER: Objection.
       3         A. So, I don't -- well, it's hard to
       4    say. You know, when -- the primary benefit
       5    for most companies, I think that they gain
       6    from their rating, is that -- the interest
       7    rate in which lenders will lend to them.
       8             So, a lot of lenders look at the
       9    ratings that we, Standard, or S&P Global, or
       10   other rating agencies provide, to rely on that
       11   for credit worthiness.
       12            So, a company whose rating is
       13   Triple A, would presumably get -- be able to
       14   borrow money at a lower rate, than a company
       15   that was a rating notch down; Double A plus.
       16            But my understanding is that the
       17   incremental difference is extremely modest at
       18   those levels. So, we're not as close to the
       19   pricing.
       20            But from an economic perspective,
       21   you know, I think the value -- there is some
       22   value, I think, of every higher rating in
       23   terms of borrowing cost. But it's relatively
       24   modest at that level.
       25            For Johnson & Johnson, because the
   80 :1    Triple A rating is so rare, I believe we only
       2    have two corporate companies that have
       3    Triple A. Johnson & Johnson and Microsoft, at
       4    this point.
       5             It used to be more common, but
       6    companies have gradually increased their
       7    leverage over time. So, because it's rare,
       8    it's a little bit of a -- a -- it can't be
       9    perceived as kind of being a sign of high
       10   quality.
       11            Obviously, the rating only reflects
       12   the credit worthiness, but Johnson & Johnson
       13   is a company that, you know, takes pride in
       14   its quality and reputation. So it could be
       15   used as kind of a -- you know, strengthening
       16   the company's image.
       17            You know, it's our understanding
       18   that, you know, Johnson & Johnson does view
       19   the Triple A rating as being more than just
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      20    the -- you know, the credit benefit in terms
      21    of borrowing cost.


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   82 :2       (Exhibit 392 marked for identification)
       3               MR. SHAPIRO: 392. Thank you.
       4               THE WITNESS: Okay. I have an
       5        email here from Duane to me, on November
       6        1st 2021.
       7    BY MR. SHAPIRO:
       8        Q. Do you see that it refers to a
       9    discussion earlier in the day of Project
       10   Diamond?
       11       A. Yes.
       12       Q. And do you recall discussing Project
       13   Diamond with Michelle Ryan and
       14   Duane Van Arsdale?
       15       A. Yes.
       16       Q. Okay. And what was your
       17   understanding of Project Diamond?
       18       A. So, the company was planning to
       19   announce a change to the business, where they
       20   were going to separate the consumer business.
       21          So, Johnson & Johnson has three --
       22   three large businesses. A pharmaceutical
       23   business. A medical device business. And a
       24   consumer business.
       25          And so, they were going to separate
   83 :1    that, using some mechanism which was not yet
       2    defined. That would, you know, make the
       3    company, you know, change the dynamics of the
       4    company, so the company would be smaller.
       5    Less diverse.


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   83 :25       Q. And did you make notes of your
   84 :1    meeting with Mr. Van Arsdale and
       2    Michelle Ryan, relating to Project Diamond?
       3        A. I believe I would have. Yes.
       4        Q. And do you expect that those notes
       5    are in RDL?
       6        A. RDR.
       7        Q. RDR.
       8        A. Yes.
       9        Q. Sorry.
       10               MR. SHAPIRO: And let me mark
       11       as Exhibit 393, a document Bates stamped
       12       "SPGI1115_001" through "1115_004." And
       13       this is tab N.
       14      (Exhibit 393 marked for identification)
       15               THE WITNESS: Okay. So yeah.
       16       I see a document with a lot of green
       17       highlighting.
       18   BY MR. SHAPIRO:
       19       Q. Do you recognize these notes,
       20   Mr. Kaplan?
       21       A. Yes.
       22       Q. Are these your notes?
       23       A. Yes.
       24       Q. And are these the notes you took
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       25   when you met with Mr. Van Arsdale and
   85 :1    Ms. Ryan?
       2        A. No. So these notes -- so I
       3    mentioned kind of when we had the more formal
       4    review, there are certain processes. We have
       5    a web-based platform that we use to create the
       6    document that we share with the committee. We
       7    refer to that document as a "RAMP."
       8            Sometimes, I find it cumbersome to
       9    work in the web-based platform, so I would
       10   draft it in Microsoft Word, and then kind of
       11   paste it in. Sometimes, again, this is kind
       12   of my own document. It's not kind of the
       13   formal record.
       14           I would use kind of green
       15   highlighting to -- as a reminder that either
       16   I'm satisfied with this section, or that I've
       17   pasted it into the RAMP. Green being go, or
       18   good.
       19           And then, you know, if there are
       20   sections that there's -- you know, I still
       21   have questions, I might highlight those as
       22   yellow.
       23           So, this is kind of -- I would say
       24   kind of my preparation or work-in-process
       25   document. Here are some things that I had
   86 :1    planned to include in the -- in the RAMP.
       2            So, this is kind of my own loose
       3    form notes in preparing the -- the formal RAMP
       4    document.
       5        Q. So you would have taken the -- you
       6    would have taken the portions of these notes
       7    that you've highlighted in green and inputted
       8    that into the company's RAMP system?
       9        A. Into S&P Global's system, to prepare
       10   the RAMP. Yes.
       11       Q. To prepare the "ram." And what does
       12   "ram" stand for?
       13       A. I'm sorry. It's "RAMP." R-A-M-P.
       14   I'm not sure.
       15       Q. Okay. And the RAMP system is the
       16   system through which you present your
       17   discussion points to other people at S&P, in
       18   preparation for committee review meeting?
       19       A. So, the system is not called "RAMP."
       20   We have a lot of systems that we use. But the
       21   system is called "RAMP Online" or referred to
       22   as "ROL."
       23           And that's the platform we use to
       24   prepare the document. Once we're done, we
       25   create a PDF, and then we share it with
   87 :1    colleagues that way. So --
       2        Q. You share it with colleagues in
       3    preparation for what meeting?
       4        A. If a formal event-driven committee.
       5        Q. Okay. And the prospect of Project
       6    Diamond resulted in an event-driven formal
       7    committee meeting?
       8        A. Yes.


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   88 :18      Q. And do you see that you wrote:
       19            "Company has filed a subsidiary
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       20   into bankruptcy to accelerate settlement of
       21   talc litigation. This reduces the risk of
       22   punitive damages, speeds up the process and
       23   enhances JNJ's negotiating position.
       24   Ultimately, the Court decides how much the
       25   company has to set aside."
   89 :1                Do you see that?
       2        A. Yes.


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   91 :11        Q. And it says:
       12                 "Ultimately, the Court decides
       13   how much the company has to set aside. We
       14   assume $4 billion."
       15                 Do you see that?
       16        A. Yes.
       17        Q. And that assumption was based on
       18   your conversations with the company?
       19                 MR. STARNER: Objection.
       20        A. No. I'm sorry. That was not --
       21   that number was something that we -- was my
       22   recommendation, I think initially. And then
       23   it was accepted by my colleagues.
       24            And so, we'd been -- at this point,
       25   this is kind of the established assumption.
   92 :1    You know, I think at this point, the company
       2    has served $2 billion. We assumed that that
       3    was kind of a starting point. Layered on some
       4    conservatism.
       5             It looks like we had some numbers,
       6    you know, in terms of a worst case scenario.
       7    So this seemed to be, you know, based on a
       8    little bit of a gut feeling to be conservative
       9    but not extremely so, as a reliable base case.
       10            But that was a number -- the
       11   $4 billion was a number we came to --
       12   initially, I came to, but ultimately, it's a
       13   decision that's done with my colleagues, that
       14   we came to.
       15            And that's what -- that's what we
       16   have currently in our measure of debt. So,
       17   our current measure of debt includes an
       18   assumption of $10 billion of liabilities for
       19   legal matters; $5 billion for opioid;
       20   $4 billion for talc; $1 billion for
       21   Respiradal.
       22            And then we take that $10 billion,
       23   and we discount it by 21 percent. Which is
       24   a standard haircut to reflect the tax benefits
       25   of those liabilities. So that's $7.9 billion.
   93 :1             And that's what we have reflected in
       2    our measure of debt today. A $7.9 billion
       3    adjustment for after tax; for legal matters;
       4    comprehensive of those three -- three big
       5    issues.
       6         Q. Did you discuss the $4 billion
       7    assumption with the company?
       8         A. I think I've communicated it. I
       9    would not necessarily have discussed it with
       10   them before we came to a conclusion. But I
       11   would have communicated that it may be in some
       12   of the publications.
       13            So, for example, the adjustments we
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    14   make to debt, investors have access to that.
    15   So an investor who subscribes to our platform
    16   can see that $7.9 billion adjustment.
    17            So I would have been transparent
    18   with any investor who would have asked me, if
    19   the company asked me. And I would have been
    20   -- freely communicated that to the company,
    21   once it was -- and it would have been freely
    22   communicated to that company.
    23            So, I believe I communicated to the
    24   company, but that would have not -- that would
    25   not have been something -- excuse me -- that
94 :1    would not have been something that we arrived
    2    at in conversation, or in dialogue with the
    3    company.
    4             That would be something that we
    5    would have independently arrived at, you know,
    6    as part of our role as independent valuators
    7    of credit risk.
    8         Q. And you didn't discuss with the
    9    company whether or not that estimate was
    10   reasonable?
    11        A. I don't recall. And I would not
    12   have felt any reason to be compelled to
    13   discuss that with the company.
    14            Those are the type of things --
    15   those decisions that we make independent --
    16   independently.
    17        Q. What information did you receive
    18   from the company, which led you to conclude
    19   that $4 billion was a reasonable estimate?
    20               MR. STARNER: Objection.
    21        A. So, I think one data point would be
    22   the $2 billion reserve. You know, compounded
    23   by our knowledge and experience that those
    24   reserves tend to be kind of low end of the
    25   range.
95 :1             Yeah, I don't recall if the seven
    2    point -- $7 billion to $7.5 billion, worst
    3    case scenario was kind of still in my
    4    recollection at that time. But that would
    5    have been another variable. So somewhere
    6    between two and seven and a half. Could have
    7    been that.
    8             And then, you know, we often try to
    9    layer on a little bit of conservatism. So
    10   just for example, if a company is projecting
    11   five to seven percent growth, we might, you
    12   know -- for the coming year, we might say,
    13   well, let's assume, be a little bit
    14   conservative. Assume four to five.
    15            So, again, as a credit rating
    16   agency, lenders tend to be more focused on the
    17   downside than the upside, because of the
    18   nature of the investment, which doesn't --
    19   they don't share in the upside. They share
    20   primarily on the downside.
    21            So we tend to be a little bit
    22   conservative. So there is some, you know,
    23   measure of conservatism in there, relative to
    24   the reserve of $2 billion.
    25            You know, I guess it doesn't feel
96 :1    like, with those numbers, the $2 billion
    2    dollars -- the $7.5 billion dollars -- it
    3    doesn't feel like you could be off too much.
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       4    And, again, a couple billion is not very
       5    material for a company of this scale.
       6         Q. And you --
       7         A. There is not a -- kind of a -- an
       8    exact formula how we got to it. It's
       9    judgment, if you will.
       10        Q. And the $2 billion reserve that
       11   you're referring to, is that the amount that
       12   Johnson & Johnson set aside to fund the
       13   anticipated trust in bankruptcy?
       14        A. Right. Right. Yes. I don't
       15   recall. Again, I'm trying to recreate the
       16   thought process. I don't remember exactly
       17   when we heard about the $2 billion.
       18           But if we heard about the $2 billion
       19   before we established a $4 billion, then that
       20   would have been something we would have input.
       21   It's hard to recall my thoughts from many
       22   months ago.
       23               MR. SHAPIRO: Let me mark as
       24        Exhibit 394, a document Bates stamped
       25        "SPGI1124_1" through "_66." And that's
   97 :1         tab O in the PDF.
       2        (Exhibit 394 marked for identification)


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   98 :8                MR. SHAPIRO: Sorry. Go ahead.
       9                THE WITNESS: This looks to
       10       be -- this is the -- the formal committee
       11       package event-driven review that was --
       12       we pursued, following the information
       13       about the company's plan to separate its
       14       consumer health business.
       15          I recognize the package. Yes.
       16   BY MR. SHAPIRO:
       17       Q. And you've prepared this package in
       18   the aftermath of learning about Project
       19   Diamond?
       20       A. Right. Likely with some assistance
       21   from our kind of more junior staff. But yes.
       22   I would have been responsible for the contents
       23   of it.


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Page 102
 102 :21         Q. And if you turn to page 12 of 66, do
      22    you see there is a litigation update?
      23         A. Yes.
      24         Q. And the information there reflects
      25    the information that was in your notes that we
 103 :1     looked at earlier? Do you see that?
      2          A. I mean, I haven't -- I haven't
      3     cross-referenced it, but that would make
      4     perfect sense to me. That's what I would
      5     expect.
      6          Q. And do you see in the second bullet
      7     point, you explain to the committee that the
      8     filing of the subsidiary into
      9     bankruptcy reduces the risk of punitive
      10    damages, speeds up the process, and enhances
      11    JNJ's negotiating position?
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      12             Do you see that?
      13      A. Yes.
      14      Q. And those are all -- those are all
      15   points that you communicated to the committee?
      16      A. Yes.


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 105 :9        Q. And when you ultimately shared the
      10   credit note with Johnson & Johnson, did they
      11   take issue? Did Johnson & Johnson take issue
      12   with your $4 billion assumption?
      13               MR. STARNER: Objection.
      14       A. I don't recall if we were explicit.
      15   But I think the company -- I would say you
      16   know, kind of our conversations with
      17   Johnson & Johnson have been -- our rapport or
      18   dialogue is -- I feel is relatively open. And
      19   so, they appreciate, you know that we are
      20   independent.
      21           We do -- the -- when we send the
      22   draft of a note to the company, if the company
      23   has any feedback, we save that as a record,
      24   and, also in the RDR system. So that -- that
      25   would be in that record.
 106 :1            I don't recall if they -- I don't
      2    recall if I was explicit about the $4 billion.
      3    I don't recall if the company had any
      4    objection to that.
      5            Meaning, if possibly, I had that as
      6    explicit and they said, remove it. I don't
      7    recall that being the case.
      8        Q. Were there --
      9        A. There would be a record of that.
      10       Q. Were your conversations with the
      11   company consistent with your assumption of
      12   $4 billion?
      13       A. Yes.


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Page 108
 108 :17       Q. We were in Exhibit 394. And I
      18   wanted to ask you about page -- let me ask you
      19   to turn to page 22 of 66.
      20       A. Okay.
      21       Q. Do you recall that this is the
      22   Project Diamond presentation that
      23   Michelle Ryan and Van Arsdale made to you on
      24   November 1st?
      25       A. Yes.
 109 :1        Q. And we'll attach this to the
      2    committee package? Correct?
      3        A. Correct.
      4        Q. And if we turn to page 32 of 66,
      5    there is a pro forma for the spun off JNJ
      6    consumer company. Do you see that?
      7        A. Yeah. Let me just flip that. But
      8    yes. I see that.
      9        Q. Let me -- let me back up for a
      10   second. JNJ RemainCo. Is that the spun off
      11   consumer health business? Or is that -- is
      12   that what remains of the existing business?
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     13       A. You know, so that is on slide --
     14   okay, I guess on page 31 and 32 of 66. The
     15   JNJ -- the expectation -- well, this is, as a
     16   simplification, this projection assumes that
     17   the consumer businesses separated on
     18   January 1st 2023, which is a simplifying
     19   assumption.
     20            And so, 2021 and 2022 represents the
     21   company as is. And 2023 and beyond, represent
     22   the remaining pharmaceutical and medical
     23   device company without the consumer business.
     24       Q. Got it. Got it. Okay. And do you
     25   see on page 32 of 66, there is a line item
110 :1    that says, "Talc Opioid Settlement Payments?"
     2                 Do you see that?
     3        A. Yes.
     4        Q. And did you understand that RemainCo
     5    would be paying the talc opioid settlement
     6    payments as a result of this presentation?
     7                 MR. STARNER: Objection.
     8        A. Yes. That was my interpretation.
     9        Q. And did you discuss the settlement
     10   payments in the presentation that you received
     11   from Michelle Ryan and Van Arsdale?
     12       A. So, the presentation would have been
     13   part of a meeting where they went through it
     14   and discussed it.
     15            I don't remember if I had specific
     16   questions, or how much detail they elaborated
     17   on it. But it would have been something that,
     18   you know, we would have been interested in,
     19   for sure.
     20       Q. And do you see that
     21   Johnson & Johnson is projecting roughly
     22   $11 billion in settlement payments for talc
     23   and opioid?
     24       A. Yes.
     25       Q. And was that information an input
111 :1    into your assumption, that the talc
     2    liabilities could be resolved for roughly
     3    $4 billion?
     4                 MR. STARNER: Objection.
     5        Lacks -- mischaracterizes the testimony.
     6        A. This -- well, this, we established a
     7    4 billion-dollar estimate before we got this
     8    presentation. So this -- that we haven't
     9    changed it as a result of this presentation.
     10            But it -- so, I guess I would say
     11   the $4 billion was not influenced by this, in
     12   the sense that again, we got this in -- was it
     13   November of 2021? I believe the
     14   $4 billion-dollar estimate, you know, preceded
     15   that in time.
     16       Q. And nothing you heard from the
     17   company in this November 1st presentation
     18   changed your $4 billion-dollar assumption?
     19       A. That's correct.
     20       Q. And that presentation included a
     21   description of the anticipated settlement
     22   payments for talc and opioid?
     23       A. Correct? That's what --
     24                MR. STARNER: Objection.
     25       Sorry.
112 :1                 THE WITNESS: That's what --
     2                 MR. STARNER: Mischaracterizes
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      3       the document. Lacks foundation.
      4               THE WITNESS: Yeah. Right. I
      5       mean I wouldn't say that -- this is -- my
      6       interpretation is not that this -- the
      7       company has great confidence in this.
      8       But that this is a base case that we
      9       could use for our purposes. I don't know
      10      if, you know --
      11   BY MR. SHAPIRO:
      12      Q. My question, Mr. Kaplan, was just
      13   simply whether or not the anticipated
      14   settlement payments for talc and opioid were
      15   part of the presentation on November 1st.
      16      A. Yes.
      17      Q. That was the subject of the company
      18   address. Correct?
      19      A. Yes.


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 119 :4                MR. SHAPIRO: There we go. So
      5        this is Exhibit 396. And it's Bates
      6        stamped "SPGI1143001" through "1143006."
      7    BY MR. SHAPIRO:
      8        Q. Mr. Kaplan, earlier, you testified
      9    about the credit note that would follow the
      10   committee review. Do you recall that?
      11       A. Yes.
      12       Q. And is this the credit note that
      13   followed the committee review?
      14       A. This is a draft of it. There could
      15   be multiple iterations, but this is one draft.


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Page 120
 120 :16        Q. And the credit note that was
      17   ultimately published, is publicly available.
      18   Correct?
      19        A. Correct. I mean, we do have a
      20   subscription service. So not everyone is --
      21   it's not accessible to everybody, but it's --
      22   it's available to all of the subscribers.
      23        Q. And so, the credit note that was
      24   ultimately published is a document that would
      25   have been subject to Johnson & Johnson's
 121 :1    input?
      2         A. Yes.
      3         Q. Okay. And let me ask you to turn to
      4    page two of this document. At the bottom of
      5    the page. Do you see that their credit note
      6    included an estimate of litigation liabilities
      7    at the bottom of this page?
      8         A. Yes.


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Page 121
 121 :24       Q. And did the estimate that you
      25   ultimately included in the credit note
 122 :1    incorporate your 4 billion-dollar assumption
      2    for talc?
      3        A. Yes. Yes. So this represents
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      4    $5 billion for opioids. Four for talc. One
      5    for Respiradal, which is $10 billion pretax.
      6    Discounting it 21 percent for tax, gets you to
      7    7.9, which I just wrote at about $8 billion.
      8        Q. And understanding that as you sit
      9    here this morning, you don't know whether this
      10   final paragraph is the paragraph that made it
      11   into the final?
      12              Understanding that point, you
      13   don't recall any conversation with the
      14   company, where the company said that the talc
      15   estimate incorporated into the litigation
      16   estimate should be higher or lower?
      17              MR. STARNER: Objection.
      18       A. Correct. I have no recollection of
      19   the company objecting to the numbers that I
      20   put in the final report, or that I shared with
      21   them.


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Page 160
 160 :3         Q. Okay. But I guess my question is,
      4    there was no point in time where JNJ came to
      5    you and said, "Here is our estimate of what it
      6    would cost to litigate all of the cases in
      7    court, you know, into the future?"
      8                 MR. SHAPIRO: Hang on.
      9         Objection. Leading. And asked and
      10        answered.
      11        Q. Go ahead. Sorry.
      12        A. Yeah. We never had a discussion. I
      13   don't recall any discussion of the company
      14   providing an estimate of what it would cost to
      15   litigate -- yeah.
      16           You know, obviously, there is a lot
      17   of uncertainty, you know, with that, and how
      18   that pattern of wins versus losses goes. And
      19   so, we never had such a discussion in that
      20   way.
      21        Q. Right. And just in terms of the
      22   uncertainty, can you give me a sense -- you've
      23   talked a little bit about the reputational
      24   issues.
      25                Were there other kind of issues
 161 :1    of uncertainty that would come in play, in
      2    your mind?
      3         A. So, I mean, the longer, you know,
      4    the company's name is dragged in the media in
      5    a negative way. Then it also, kind of, you
      6    know, increases the harm. You know, if it's
      7    short-lived and everybody moves on.
      8            But if it drags on for a decade,
      9    it's harder to shake that negative reputation.
      10   So, in that sense, you know, a quicker
      11   resolution from -- we viewed as being more
      12   favorable from a credit perspective.
      13        Q. And is it fair that these estimates
      14   that we've been talking about were -- that the
      15   company was talking to you about, was in the
      16   context of a -- a quicker settlement, you
      17   know, to get that certainty? And not in
      18   connection with projecting out what it would
      19   cost to litigate the cases into the future?
      20                MR. SHAPIRO: Objection.
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      21        Leading. It's also unclear as to which
      22        estimates you're talking about.
      23        A. We -- I don't think it was
      24   specified. I don't -- I never thought of it
      25   as being an estimate in one form of settlement
 162 :1    versus the other. I was just thinking about
      2    it in economic terms.
      3         Q. But you understood when they talked
      4    about, you know, settling talc, you understood
      5    it to be a settlement in the near term.
      6    Right?
      7                MR. SHAPIRO: Objection.
      8         Leading.
      9         A. So, we understood that they had a
      10   presence to -- to, you know, get this resolved
      11   quicker. After the company started to reserve
      12   some amounts in late Q4 -- in late 2020, we
      13   understood that that had become part of the
      14   strategy.
      15           You know, I think when thinking
      16   about those numbers, you know, there was kind
      17   of the precedence of some of the settlements
      18   that had occurred.
      19           There were, in some of the prior
      20   files, 25,000 claimants times a hundred
      21   thousand dollars, or whatever it was. So,
      22   maybe that's how the numbers came about.
      23           But it was -- yeah. I mean, so I
      24   guess thinking -- reflecting on it, perhaps
      25   that was the intent. You know, it wasn't
 163 :1    something that I had placed a lot of focus on,
      2    as this being the cost, one way versus
      3    litigation being the cost the other way.
      4            You know, I think the litigation,
      5    while obviously, it's longer, it's also less
      6    certain. So, you know, I guess with the
      7    benefit of hindsight, maybe it makes sense to
      8    say that, the estimate was more of a
      9    settlement approach.
      10           But it wasn't something that I was
      11   thinking about as kind of being a -- an amount
      12   that's dependent on which approach is taken.


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 165 :6         Q. This is a document we looked at
      7    earlier, Mr. Kaplan.
      8         A. Okay.
      9         Q. If you go down to the bottom
      10   section? This is the section called "Talc
      11   settlements."
      12        A. Okay.
      13        Q. And these are your notes. Right?
      14        A. Yes.
      15        Q. And these are notes where you're
      16   talking about certain settlements that JNJ
      17   entered into, in connection with the talc
      18   litigation?
      19        A. Correct.
      20        Q. And you were asked some questions
      21   about that -- the last sentence; that number
      22   $7 billion to $7.5 billion? Do you recall the
      23   questions you got on that?
      24        A. Yes.
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      25        Q. And just so I'm clear, that number
 166 :1    is not a number that you recall the company
      2    providing to you, and suggesting that reflect
      3    the cost of litigating the talc litigation in
      4    court into the future?
      5                MR. SHAPIRO: Hang on.
      6         Objection. Leading.
      7         A. Not -- not specifically. I mean,
      8    two points. One is that, again, the way I've
      9    articulated here, which would have been, is
      10   one that is as much as. So this is kind of a
      11   worst case scenario.
      12           And, again, I have no recollection,
      13   or no -- I did not pay attention to the
      14   distinction between settling versus
      15   litigating. It's more focused on what's the
      16   economic cost.
      17        Q. Okay. So this was a -- an estimate
      18   of what the company indicated would be the
      19   economic cost to settle the talc litigation?
      20               MR. SHAPIRO: Objection.
      21        Leading. Asked and answered.
      22        A. To resolve.
      23        Q. Okay.
      24        A. What I would think of as "resolve."
      25   So I would -- wherever I write "settle," you
 167 :1    think of it as being resolved, rather than
      2    maybe the legal distinction between settling
      3    versus litigation.


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 169 :14       Q. But you understood that in order to
      15   get the certainty we've been talking about,
      16   and trying to resolve this, they couldn't let
      17   the litigation, you know, continue for
      18   decades. Right?
      19               MR. SHAPIRO: Objection.
      20       Leading. Asked and answered.
      21       A. So the question is, did I understand
      22   that it would take decades to litigate this?
      23   Again, I'm -- I would have thought that an MDL
      24   process would have maybe taken a couple of
      25   years. I don't know.
 170 :1            I didn't -- I didn't -- I understood
      2    that there was a desire to accelerate it.
      3    There was an unwillingness or, you know, a
      4    willingness to litigate if it was not going to
      5    be resolved for this amount. So, therefore,
      6    it would not likely cost more than this.
      7            I know that the company -- the
      8    company had shared with me that they had won
      9    many cases. You know, in these -- either
      10   initially, or on appeal.
      11           And so, again, the exact route to
      12   getting to that amount, you know, was not
      13   something that I focused on. You know, I was
      14   conservative, in assuming that those amounts
      15   were paid out soon, that's a conservative
      16   assumption.
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 171 :7         Q. But I'm just kind of focusing on the
      8    conversation you had with the company. Did
      9    you understand that they were, you know,
      10   exploring a potential settlement of the talc
      11   litigation? And that was informing any
      12   estimate they are providing to you?
      13               MR. SHAPIRO: Objection.
      14        Leading. Asked and answered. And lacks
      15        foundation.
      16        A. So, the inclusion of the information
      17   in these two indented bullet points kind of
      18   refer to settlements that were made. And a
      19   willingness to settle.
      20           And, again, a desire to accelerate
      21   it. You know, a willingness to settle more
      22   broadly at, you know, a price -- at a price
      23   that they felt was -- I don't know if
      24   "reasonable" is the right word -- but
      25   acceptable.
 172 :1         Q. Will you agree with me, Mr. Kaplan,
      2    that the discussion of the talc settlements,
      3    these are settlements that the company agreed
      4    to, outside of court?
      5                Is that consistent with your
      6    understanding?
      7         A. These cases that are referenced in
      8    the indented bullet points? Yes. Those are
      9    settled out of court.
      10        Q. And so, you were talking to
      11   Johnson & Johnson about talc cases that they
      12   had settled outside of court. Right?
      13        A. Yes.
      14               MR. SHAPIRO: Just hang on.
      15        Objection to the last question.


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 174 :25       Q. But you understand that, ultimately,
 175 :1    the company was required to pay this judgment
      2    of $2.1 billion as part of this -- this case
      3    that was litigating. Right?
      4        A. Yes. That was not -- that did not
      5    yet occur at the date of this document. But
      6    yes.
      7        Q. And you know, you'll agree with me
      8    that in terms of that, the $7 billion to $7.5
      9    billion number -- you'll agree with me that if
      10   you have, you know, a few of these type of
      11   judgments of this magnitude, that would
      12   quickly exceed that estimate. Right?
      13              MR. SHAPIRO: Objection.
      14       Leading. Speculative.
      15       A. Yes. 2.1 times only a small number
      16   exceeds seven and a half.
      17       Q. And there are tens of thousands of
      18   these cases that are still pending. Right?
      19   At in point in time?
      20       A. Correct.
      21       Q. Okay. And so, is it fair to say
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      22   that the idea of $7 billion to $7.5 billion,
      23   that that would be -- that wouldn't
      24   necessarily be an estimate of what the
      25   potential exposure would be if all of these
 176 :1    cases were litigated to a verdict?
      2               MR. SHAPIRO: Objection.
      3       Leading. Asked and answered.
      4       A. I think -- I think what you're
      5    saying is logical.


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 177 :18        Q. Okay. And if you scroll down to the
      19   talc settlement section again? And if you go
      20   to the top of the next page, you see there is
      21   a reference to:
      22                "The company expects payment
      23   would be $2.5 billion a year in 2021, 2022,
      24   and 2023."
      25                Do you see that?
 178 :1         A. Yes.
      2         Q. Is that consistent with
      3    your understanding that they were talking
      4    about the idea of structuring a potential
      5    settlement, where there would be a payout in
      6    these periods of time?
      7                 MR. SHAPIRO: Objection.
      8         Leading. And vague.
      9         A. You know, I hear what you're
      10   suggesting. I don't recall paying a lot of
      11   attention to the -- the -- the exact mechanics
      12   of how that settlement would work out.
      13        Q. But you'll agree with me that
      14   what -- you're saying here -- this is again
      15   based on your conversation with the company.
      16                That they were telling you that
      17   to the extent they were estimating $7 billion
      18   to $7.5 billion to resolve the talc
      19   litigation, that they would anticipate paying
      20   out on that amount, to resolve those claims
      21   over these three-year period.
      22                Is that fair?
      23        A. Yes. So the statement says, "the
      24   company expects." That would have been
      25   something that I heard directly from the
 179 :1    company. As opposed to another statement that
      2    doesn't say that. That would be my own
      3    thinking.
      4         Q. Okay. And is that -- so, was it
      5    your understanding that the company did not
      6    expect that their estimate of $7 billion to
      7    $7.5 billion would reflect having to litigate
      8    these claims past 2023?
      9         A. That would be implied. Yes.
      10        Q. And is that consistent with your
      11   discussions with the company?
      12        A. Again, I don't recall the
      13   conversation. But this is, you know, kind of
      14   a reflection of my -- a recollection of the
      15   conversation at that point, on the date of
      16   this document.
      17            That it implied that the amounts
      18   would be as much as seven and a half billion
      19   dollars, and that they would be paid out over
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      20   the next couple of years.
      21           So, again, it's the company's
      22   estimate of worst case scenario. And it's the
      23   company's expectations for payments.
      24        Q. Okay. But is it fair that you don't
      25   recall any discussions with anybody at JNJ, to
 180 :1    suggest their estimate of the $7 billion to
      2    $7.5 billion, to resolve the talc liability,
      3    would involve litigating talc claims, you
      4    know, past 2023?
      5                Is that fair?
      6                MR. SHAPIRO: Objection.
      7         Leading. Asked and answered.
      8         A. Right. Not specifically. Again,
      9    the company did articulate in the other email,
      10   that if they don't settle for that amount,
      11   then they could contemplate litigating.
      12           But in this scenario, they
      13   contemplated resolving it fully by 2023.
      14        Q. Okay. So just to make sure I
      15   understand that. So is it your understanding
      16   that the company indicated that if they
      17   couldn't settle for this amount, then they
      18   would litigate the talc claims going forward?
      19        A. Yes.
      20               MR. SHAPIRO: Objection.
      21        Leading. And misstates his testimony.
      22        Q. So that was a yes, Mr. Kaplan?
      23        A. Yes. My understanding was that if
      24   the company could not settle for $7 billion to
      25   $7.5 billion, that they would contemplate
 181 :1    litigating it for a longer period of time.
      2            Even though it would take a longer
      3    period of time.
      4         Q. Understood.
      5         A. Or notwithstanding the fact that it
      6    would take a longer period of time. Yes.


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 191 :6                 MR. STARNER: 399. Excuse me.
      7         Let's mark exhibit -- lets mark
      8         Exhibit 399, which is Bates stamped,
      9         "SPGI80_1" through "5."
      10       (Exhibit 399 marked for identification)
      11   BY MR. STARNER:
      12        Q. If you look at the top here, you'll
      13   see an email -- it's an email from Ms. Kwan to
      14   you, in April 2019. Do you see that,
      15   Mr. Kaplan?
      16        A. Yes.
      17        Q. Does this refresh your recollection
      18   about who Patricia Kwan is?
      19        A. Yes. I mean, I don't know who she
      20   is, but I vaguely recall this. This was, you
      21   know, very early in the development, in terms
      22   of the talc case, as we were thinking about
      23   it.
      24            But okay.
      25        Q. Okay. What is Ms. Kwan's role at
 192 :1    S&P?
      2         A. She looked to be a director. I
      3    don't think I had much -- I had much
      4    interaction with her, beyond this -- this one
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      5    dialogue. But I remember -- I remember now
      6    something about -- I was -- yeah.
      7            I mean, I was thinking her last name
      8    is spelled with "Q." But yeah. I don't think
      9    I ever -- I don't think I ever met her. I
      10   don't know that we've had interactions other
      11   than this dialogue, where she had some sort of
      12   statistical tool that was coming up with a --
      13   I think a worst case scenario.
      14           If I recall correctly, I think maybe
      15   she even published an article. And she -- on
      16   S&P's platform. And she asked me to review a
      17   paragraph, to make sure that I was not
      18   uncomfortable with it.
      19           But we have not had interaction
      20   since then. And I don't think we've had much
      21   interaction previous to this, either.
      22       Q. Okay. But you understand she's a
      23   director at S&P?
      24       A. Yes.


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 193 :10      Q. But you recall getting this email
      11   from Ms. Kwan, in April of 2019?
      12      A. I recall -- I recall now, vaguely,
      13   some interaction around this.


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 197 :23        Q. So if you look at this email, this
      24   is an email that Ms. Kwan forwards to you. If
      25   I could direct your attention to the third
 198 :1    bullet there. Number three.
      2                It says:
      3                "Praedicat's preliminary
      4    economic disaster scenario estimate for a
      5    range of products containing talc contaminated
      6    with asbestos totals $84 billion."
      7                Do you see that?
      8         A. Yes.
      9         Q. Did you understand that this
      10   was their estimate of what -- you know, the
      11   losses associated with, you know, talc-related
      12   litigation, potentially could be in the
      13   scenario they are running?
      14        A. Yes.
      15               MR. SHAPIRO: Objection.
      16        Foundation.
      17        A. Yes. I understood that. Again, I
      18   didn't find it to be analytically meaningful
      19   for the rating. Because I understood this to
      20   be, kind of, again, a low probability outcome.
      21   But I understood that it -- you know, it could
      22   be that amount.
      23           And, again, it's based on what I
      24   understood to be some sort of, you know -- you
      25   know, quantitative model which, you know, I
 199 :1    think I was probably a little bit suspicious
      2    of.
      3            But, okay. Yes. Yeah. I was aware
      4    of that.
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      5        Q. Okay. And you understood S&P had
      6    retained and engaged this outside vendor,
      7    Praedicat, to run these -- these analyses.
      8    Right?
      9        A. Like I said, it wasn't done on my
      10   initiative. Or I don't think any of my
      11   colleagues on the healthcare side. I think
      12   that -- I forget where Patricia is within the
      13   organization. But somehow, she had decided to
      14   do this and looked at some -- you know, some
      15   scenarios. And I think, again, she had
      16   published a report.
      17           But I -- the point being that, it
      18   wasn't -- when we got this information, it
      19   didn't -- it didn't really move us much, as
      20   we discussed -- as I mentioned earlier, about
      21   kind of tail risk. And then, reliability.
      22           You know, kind of a model-driven
      23   estimate. It felt kind of speculative.
      24       Q. But you understood this was their
      25   analysis, you know, seeking to estimate what
 200 :1    would be a potentially worst case scenario, in
      2    connection with talc litigation? Correct?
      3        A. Yes. I understood that. That
      4    that's what it was. Yes.


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Page 203
 203 :6        Q. My question was, did you understand
      7    this attachment to be a discussion of kind of
      8    talc litigation, in connection with the -- the
      9    work Ms. Kwan was doing to try to estimate --
      10   you know, get an estimate of what the losses
      11   could be, associated with talc litigation.
      12               MR. SHAPIRO: Same objection.
      13       A. Yes. I understood that, you know,
      14   the discussion -- the dialogue; the details
      15   that were associated with trying to quantify
      16   the worst case scenario for talc.


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Page 205
 205 :24       Q. So this is -- this is where, you
      25   know, this -- this vendor, I guess in
 206 :1    connection with working with Ms. Kwan at S&P,
      2    was estimating that talc liability, associated
      3    with asbestos contamination mass litigation,
      4    like the Ingham case, could potentially result
      5    in damages reaching $83.5 billion. Right?
      6        A. Correct.


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Page 208
 208 :19      Q. I just have a question about two
      20   these last documents. If we could bring up
      21   Exhibit 393 real quick, please.
      22              So, if we look at these notes,
      23   these are the highlighted green notes we were
      24   looking at a bit earlier. Do you remember
      25   looking at this, Mr. Kaplan?
 209 :1       A. Sure. This was with the November
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      2    date?
      3        Q. Yeah. If you go -- please go to the
      4    top. Let's orient ourselves, in terms of
      5    timing.
      6        A. Yeah.
      7        Q. So this was some notes you took as
      8    part of some meetings you had in November of
      9    2021. Right?
      10       A. Correct. And then a committee that
      11   followed that about the divestiture or
      12   separation of the consumer segment.
      13       Q. And, ultimately, I think you said,
      14   these notes ultimately made their way into the
      15   RAMP kind of report that was put together.
      16   Right?
      17       A. Correct.
      18       Q. And it also formed the basis for
      19   what ultimately became the credit note that
      20   was prepared?
      21       A. Correct.
      22       Q. Is that fair?
      23       A. Correct.


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Page 211
 211 :16        Q. Okay. And the reference there to
      17   $4 billion for talc, I think you characterize
      18   that as a guesstimate. Do you see that?
      19        A. Yes.
      20        Q. And that's a reference to your
      21   guesstimate of the amount that would
      22   potentially be used to settle the talc
      23   litigation in the bankruptcy?
      24               Is that right?
      25        A. Correct.
 212 :1         Q. If we go to the next page, if you
      2    could, under the -- I think it's the section
      3    "Recent News/Performance." And you were asked
      4    some questions about one of these paragraphs.
      5                I think it's the one beginning
      6    with "The company has filed a subsidiary." Do
      7    you see that?
      8         A. Yes.
      9         Q. And let me just ask you, at the end
      10   of that bullet, you see it says, "We assume
      11   $4 billion." Do you see that?
      12        A. Yes. Let me just read the bullet.
      13        Q. Oh, for sure.
      14               [Witness perused document.]
      15        A. Yes. Okay.
      16        Q. That's the same guesstimate of
      17   $4 billion we just talked about. Right?
      18        A. Yes.
      19        Q. And that's a guesstimate of what
      20   potentially would be the amount that
      21   Johnson & Johnson would use to settle the talc
      22   litigation in the bankruptcy. Right?
      23        A. Correct.
      24        Q. That's not an estimate of what it
      25   would potentially cost to litigate the talc
 213 :1    claims outside of bankruptcy; is it?
      2         A. So, again, at this point, our
      3    assumption is that the bankruptcy technique
      4    will proceed, and the $4 billion is a
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      5    reflection of that expectation.


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Page 214
 214 :1         Q. Understood. And I'm just asking
      2    about what you're assuming here on this
      3    document, Mr. Kaplan. It says, "We assume
      4    $4 billion." I just want to confirm, that
      5    assumption of $4 billion is to settle the talc
      6    litigation in bankruptcy. Right?
      7         A. I would say that the assumption is
      8    $4 billion. And the assumption is that the
      9    settlement will occur in bankruptcy.
      10        Q. Okay.
      11        A. If you're trying to link the two to
      12   say one is dependent on the other, I don't
      13   know that that necessarily is the case. I
      14   haven't contemplated, you know, what that
      15   number would be, if it were to -- the scenario
      16   were to change.


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Page 214
 214 :24        Q. All right. And I think you were
      25   asked a question about this, but I just want
 215 :1    to confirm, this bullet point that talks about
      2    the company filing subsidiary for bankruptcy,
      3    just to be clear, it talks about some -- some
      4    issues around what filing for bankruptcy might
      5    mean.
      6                 Now, and I think you were asked
      7    some questions about, well, who told you that.
      8    Did someone from JNJ say these things to you?
      9                 And I just want to be clear,
      10   it's your testimony that you don't recall
      11   somebody from JNJ saying anything specifically
      12   about any of the pieces in this bullet here?
      13   About reducing the risk of damages -- punitive
      14   damages; speaking about the process; or
      15   anything like that. Correct?
      16                MR. SHAPIRO: Objection.
      17        A. I think I do recall JNJ -- Michelle
      18   mentioning that the benefit is that it
      19   resolves the issue more quickly.
      20            In terms of punitive damages, and in
      21   terms of negotiating position, that, I don't
      22   recall what sources of information led me to
      23   that conclusion.
      24            Whether it was my own experience;
      25   discussions with investors; media articles I
 216 :1    was reading; or I mentioned I had reached out
      2    to a number of colleagues who have companies
      3    who have gone through a similar process.
      4             So that all helped educate me on
      5    what this process is all about.
      6             So, I guess, the "speeds up the
      7    process," is, I think, something I heard from
      8    JNJ. My recollection is that I heard that
      9    from JNJ or from Michelle Ryan.
      10            The other two points, I don't recall
      11   where I gathered that information.
      12        Q. Thank you. And just in terms of
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      13   speeding up the process, that goes back to
      14   what we've been talking about in terms of
      15   certainty. Right? It gives the company some
      16   certainty in the near term. Right?
      17      A. Certainty, as well as the cloud of
      18   reputation risk is kind of put behind it.
      19   With certainty comes kind of no longer being a
      20   topic of interest.
      21           So the -- the speeding up the
      22   process, yeah -- is -- has, you know, both the
      23   benefit of certainty; but also the benefit of
      24   not -- the company's reputation is no longer
      25   being dragged through the streets.


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Page 219
 219 :24       Q. Okay. So, I just want to make sure
      25   I understand this before I move on. So, this
 220 :1    idea that -- the company is unable to settle,
      2    in bankruptcy, for somewhere around what you
      3    guys assume to be $4 billion, that would be a
      4    material development.
      5                And it could potentially
      6    adversely affect their credit rating. Fair?
      7        A. It could. It could.


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Page 228
 228 :2               Do you see Exhibit 384 is on
      3    the screen? And that's the one entitled
      4    "JNJ -- Internal Conversation --
      5    October 13th 2020."
      6               Do you see that?
      7        A. Yes.
      8        Q. And I just wanted to confirm that
      9    this is a document that you created in the
      10   ordinary course of business at S&P. Correct?
      11       A. Yes.
      12       Q. And this was a document that was
      13   kept in the ordinary course of business at
      14   S&P. Correct?
      15       A. Yes.
      16       Q. And this is a document containing
      17   information that you had knowledge of, at the
      18   time you created the document?
      19       A. Yes.
      20       Q. Okay. And similar questions for
      21   Exhibit 385. 385 is the periodic review
      22   document. And did you say that you supervised
      23   the creation of this document?
      24       A. Yes.
      25       Q. And did you do that in your ordinary
 229 :1    course of business of S&P?
      2        A. Yes.
      3        Q. And it was kept in the ordinary
      4    course of business at S&P. Correct?
      5        A. Yes.
      6        Q. And this document contains
      7    information that you had knowledge of, at the
      8    time the document was created. Correct?
      9        A. Yes.
      10       Q. Okay. And similar questions for
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      11   Exhibit -- and that last exhibit was 385, for
      12   the record.
      13                Similar questions for 386.
      14   Exhibit 386, which is entitled
      15   "Johnson & Johnson -- Internal Conversation,
      16   August 26th 2021."
      17                And am I correct that this is
      18   another document that you created in the
      19   ordinary course of business, and was kept in
      20   the ordinary course of business at S&P?
      21       A. Yes. One comment on this document.
      22   I just -- this was a document that I reviewed.
      23   So just on the background section, there is
      24   that bold on 10/28/2021. That has a typo.
      25            That should have said
 230 :1    "10/28/2020" was when we initially set the
      2    rating outlook to negative.
      3        Q. Thank you for clarifying that.
      4    Again, Exhibit 386 is a document that you
      5    created in the ordinary course of your
      6    business at S&P, and that was kept in the
      7    ordinary course of business at your company?
      8        A. Yes.
      9        Q. And this is -- and this document
      10   contains information that you had knowledge
      11   of, at the time the document was created.
      12   Correct?
      13       A. Yes.


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Page 230
 230 :23       Q. So, I don't know if you went through
      24   this with Mr. Shapiro, but just to confirm, do
      25   you see that this is a document that was
 231 :1    produced by S&P, and it's from you,
      2    David Kaplan, and it's a meeting invite, dated
      3    July 19th 2021?
      4               And it's to Michelle Ryan and
      5    others, with the subject "JNJ S&P Ratings.
      6    Discuss Media Reports about Cordoning off Talc
      7    Liabilities."
      8               Do you see that?
      9        A. Yes.
      10       Q. And this meeting invite,
      11   Exhibit 387, does this appear to be a document
      12   that you would have created in the ordinary
      13   course of your business at S&P? And that was
      14   kept in the ordinary course of business at
      15   your company?
      16       A. Yes.
      17       Q. Okay. And, obviously, the meeting
      18   invite contains information in terms of the
      19   subject; the people you typed in the email to;
      20   that you were knowledgeable about, at the time
      21   you created it. Correct?
      22       A. Yes.
      23              MR. STARNER: Objection.
      24       Vague.
      25       Q. Okay. And then, jumping past some
 232 :1    exhibits. Almost through here. Exhibit 393.
      2    This is the document with the green
      3    highlighting. Let me just get the title for
      4    the record.
      5               Okay so Exhibit 393, this is
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      6    the document titled, "Johnson & Johnson --
      7    Committee. November 2021." With the green
      8    highlighting.
      9                Do you see that document?
      10       A. Yes.
      11       Q. Okay. And Exhibit 393 is a document
      12   that you created in the ordinary course of
      13   your business, and that was kept in the
      14   ordinary course of your business, at S&P.
      15   Correct?
      16       A. Just to clarify, it was created in
      17   the ordinary course of business. When you say
      18   "kept in the ordinary course of business," can
      19   you just clarify?
      20       Q. Yeah. Just meaning that it was
      21   produced by your counsel with -- with markings
      22   on it, that it came from S&P.
      23       A. Okay.
      24       Q. And so, just -- you know, your
      25   normal understanding of this is a document
 233 :1    that's kept, you know, as a business record of
      2    S&P.
      3                MR. STARNER: Objection.
      4        A. Okay. I mean, just to distinguish.
      5    And, again, this might be kind of an S&P
      6    speak. But this was kind of a work in process
      7    document that was only kind of a placeholder
      8    to be saved in the RAMP.
      9        Q. Right.
      10       A. So it's -- there was -- you know,
      11   there is -- the formal record would have been
      12   the RAMP package. But this was a document
      13   that was created in the normal course of
      14   business. Yes.
      15       Q. Okay. Right. And this isn't a
      16   document that came from you, personally? It's
      17   a document that was kept in the ordinary
      18   course of business at S&P. And that's why it
      19   was produced to us by S&P. Right?
      20       A. Yes.
      21       Q. Okay. And this is a document that
      22   contains information that you had knowledge
      23   about, at the time the document was created.
      24   Correct?
      25       A. Yes.


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Page 234
 234 :14       Q. Okay. Okay. And Exhibit 396, this
      15   is a document titled "Johnson & Johnson's
      16   Triple A ratings Affirmed. Outlook Remains
      17   Negative."
      18              Do you see that?
      19       A. Yes.
      20       Q. Okay. And this is a document that
      21   you created in the ordinary course of your
      22   business at S&P; and that was kept in the
      23   ordinary course of business by S&P as a
      24   business record. Correct?
      25       A. Correct.
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Page 235
 235 :21       Q. Did you -- did you create
      22   Exhibit 396? Did you write it or supervise
      23   the creation of the document,
      24   "Johnson & Johnson's Triple A Ratings
      25   Affirmed," where it says it at the top?
 236 :1        A. Yes.
      2        Q. Okay. And you did that in the
      3    ordinary course of your business at S&P.
      4        A. Yes.
      5        Q. Okay. And you had knowledge about
      6    the matters contained in this document, at the
      7    time it was created?
      8        A. Yes.


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Page 243
 243 :14        Q. Okay. And because JNJ has the
      15   highest possible credit rating of Triple A,
      16   does that mean that S&P has, and continues to
      17   rate JNJ as having really the lowest risk of
      18   bankruptcy, of pretty much any company in the
      19   world?
      20        A. Yes.
      21        Q. And when Michelle Ryan, or
      22   Mr. Van Arsdale, or others from JNJ would talk
      23   to you about the talc litigation, did they
      24   ever say anything, or communicate to you
      25   anything along the lines that the talc
 244 :1    litigation was causing JNJ to be in financial
      2    distress?
      3         A. No. No. Even -- no.
      4         Q. And same question. Did anyone from
      5    JNJ ever communicate to you that the talc
      6    litigation was causing any of JNJ's
      7    subsidiaries or affiliates to be in financial
      8    distress?
      9         A. No. We viewed JNJ as extremely
      10   strong. Even with the assumption of, you
      11   know, billions of dollars of liability.
      12        Q. And, in fact, did Ms. Ryan,
      13   Mr. Van Arsdale, and others from
      14   Johnson & Johnson, give you reason to believe
      15   that JNJ and its affiliates were financially
      16   able to handle the talc litigation?
      17        A. I suppose in giving us a worst case
      18   scenario of $7 billion to $7.5 billion, which
      19   is barely material, you know, that would be
      20   implied.


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Page 246
 246 :6               MR. SHAPIRO: So it's
      7        Exhibit 401, I'm marking "SPGI433_001"
      8        through "008."
      9    RE-EXAMINATION BY MR. SHAPIRO:
      10       Q. And, Mr. Kaplan, is this the final
      11   version of the credit note that you were
      12   referring to earlier, when we looked at the
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      13   draft credit note?
      14        A. Yes.
      15        Q. And this is the credit note that
      16   Standard and Poor's published after the
      17   announcement of the divestiture of the
      18   consumer health business?
      19        A. Correct.
      20        Q. And JNJ would have had the
      21   opportunity to review this credit note for
      22   accuracy. Correct?
      23        A. Correct.
      24        Q. And if you turn to page two of the
      25   note, you'll see the same paragraph that we
 247 :1    saw in the draft note, which includes an
      2    estimation of litigation liabilities.
      3                 Do you see that?
      4         A. Is that one in this paragraph here?
      5    "Moreover?"
      6         Q. Yes.
      7         A. Okay. I see it. So what's your
      8    question.
      9         Q. That -- the published version of the
      10   credit note included the same estimate of
      11   litigation liabilities that we had seen in the
      12   draft note. Correct?
      13        A. Correct.
      14        Q. And S&P's estimate was $8 billion
      15   post-tax, and $10 billion pre-tax. Correct?
      16        A. Inclusive of opioids, talc, and
      17   Respiradal. Correct.
      18        Q. And included $5 billion for opioid;
      19   $4 billion for talc; and $1 billion for
      20   Respiradal. Correct?
      21        A. Correct. Although I don't know that
      22   we made those individual amounts public. But
      23   that's clearly what we were thinking is.
      24        Q. Okay.


KAPLAN, DAVID - 02/11/2022
Page 248
 248 :8        Q. Just real quick. With respect to --
      9    do you understand that the debtor is a company
      10   called "LTL?"
      11       A. Correct. Yes.
      12       Q. That's the JNJ subsidiary that's
      13   filed for bankruptcy. Right?
      14       A. Yes.
      15       Q. You have not analyzed their
      16   financial condition or ability to deal with
      17   any type of -- of talc litigation, going
      18   forward, outside of bankruptcy; have you?
      19       A. No.
      20       Q. Okay.
      21       A. No. As a standalone, no.
      22       Q. Okay. And you understand that there
      23   was a company, before the restructuring, there
      24   was a subsidiary called "JJCI" that had the
      25   talc liabilities, that were then ultimately
 249 :1    moved into the LTL entity?
      2                Did you understand that?
      3                MR. BLOCK: Objection.
      4        Misstates the evidence.
      5        Q. You can answer, Mr. Kaplan.
      6        A. Not specifically focusing on the
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      7    name of the entity, but I understood the idea
      8    that this -- the subsidiary that has a
      9    liability was being moved into the LTL entity.
      10        Q. Okay. Did you do any analysis of
      11   that particular subsidiary before the
      12   restructuring, whether or not they had, as a
      13   standalone company, the wherewithal to -- you
      14   know, potentially, to deal with or fund talc
      15   litigation, going forward?
      16        A. No.
      17        Q. So you didn't analyze the financial
      18   distress of either that subsidiary or the
      19   ultimate debtor entity, at any point in time;
      20   did you?
      21        A. That's correct. I did not.
      22        Q. Okay.
      23        A. We did not.


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Page 251
 251 :15       Q. Well, now, I just want to make sure
      16   I don't get confused. This credit rating that
      17   just got published. This is published, of
      18   course, when the company -- the relevant
      19   company with the talc liability is in
      20   bankruptcy. Right?
      21       A. Correct.
      22       Q. And this -- again, the credit rating
      23   with the 4-billion-dollar number is used for
      24   talc liability, that is based on the
      25   assumption that money would be used to resolve
 252 :1    talc litigation in bankruptcy. Right?
      2                MR. SHAPIRO: Objection. Asked
      3        and answered. I think at this point,
      4        you're badgering him.
      5    BY MR. STARNER:
      6        Q. I just want to make sure the
      7    assumption is for this document. The number
      8    in this document that was published. Right?
      9                Is the assumption is,
      10   resolution in bankruptcy. Right?
      11       A. The assumption is $4 billion. And
      12   the assumption is that the path in which it
      13   will be resolved is in bankruptcy. I don't
      14   think one should infer, necessarily -- one can
      15   infer that the number would be different if
      16   there was a different mechanism of resolution.
      17       Q. But you have not analyzed what,
      18   potentially, would be required to resolve any
      19   case outside all the -- the talc litigation
      20   out of bankruptcy. Right?
      21       A. Well, we did have a $4 billion
      22   estimate before we learned about the LTL
      23   strategy. So, again, that estimate was not
      24   conditioned upon the bankruptcy strategy,
      25   specifically.
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KIM, JOHN 1/31/22


KIM, JOHN 1/31/22 - 01/31/2022
Page 21
   21 :2      Q: Okay. Great. Thank you.
       3      So I want to go back -- well, let's see.
       4      I want to go back before you took your position at LTL.
       5      So when -- so that we can orientate ourselves, when did
       6      you -- you said last year. Approximately when did you
       7      take on your position of, I think you said general
       8      counsel at LTL?
       9      A: Chief litigation officer.
       10     Q: Thank you. So when about was that?
       11     A: October 10th of last year.
       12     Q: Okay. So going back before October 10th when I
       13     think you said you were head of really the products
       14     liability group within the law department. Is that
       15     right?
       16     A: Yes.
       17     Q: Okay. And just tell me a little more, what
       18     kind of stuff were you doing in that role?
       19     A: So I was administratively the head of that
       20     group. So I had six or seven attorneys, six or seven
       21     paralegals and administrative staff that reported to me.
       22     All product liability litigation for all Johnson &
       23     Johnson companies worldwide was within that group.
       24     So I was basically overseeing all product
       25     liability or the -- I was overseeing the lawyers who
   22 :1      oversaw daily all the product liability litigations that
       2      were faced by any Johnson & Johnson company worldwide.
       3      Q: Okay. And would that include the talc cases or
       4      talc liability?
       5      A: That did include the talc cases, yes.


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Page 25
   25 :4      Q: And when you say 'restructuring,' what do you
       5      mean by restructuring?
       6      A: At the time there was a contemplated
       7      restructuring -- well, what I mean by that was a
       8      divisional merger where the current -- at that point
       9      Johnson & Johnson Consumer, Inc. would be involved in a
       10     divisional merger and create companies, one of which
       11     would have talc liabilities and the other would have the
       12     remaining business of that JJCI.
       13     Q: And why was that being considered?
       14     A: The consideration of the restructuring was
       15     because of the -- I would say the -- because of the
       16     litigation -- the increase -- the rapid increase in
       17     litigation that we were seeing with the talc cases
       18     causing financial distress on the company and looking --
       19     as we were looking at all -- different options to deal
       20     with this exponentially growing liability, at some point
       21     the only viable option that we could think of was a
       22     restructuring followed by a bankruptcy. So we were
       23     exploring that possibility.
       24     Q: Okay. And when you say -- I think you said --
       25     'financial distress' I think your words were 'on the
   26 :1      company.' What do you -- when you say 'on the company,'
       2      what company are you referring to?
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      3       A: That would be JJCI.


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   28 :14     Q: (By Mr. Jonas) You made a statement that -- I
       15     think you said JJCI had the talc liability, something to
       16     that effect. What do you mean by that?
       17     A: Well, I mean that generally the company,
       18     operating company, that is responsible for the product
       19     has responsibility for the financial liability arising
       20     out of litigation regarding that product.
       21     So JJCI had responsibility -- I'll break
       22     it up in two ways. When JJCI sold the product, it was
       23     responsible financially for all the litigation that
       24     arose out of that product.
       25     We also know that prior to JJCI selling
   29 :1      that product, it took on, it assumed, it gave
       2      identification for any liability prior to itself selling
       3      it. So JJCI was the entity that was wholly responsible
       4      for the talc liability.


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Page 29
   29 :25     So do you have a recollection as to a
   30 :1      date? You mentioned 2021 when the name Project Plato,
       2      if you will, was first ascribed to the project; and I
       3      appreciate that. Was it early '21, middle of -- '21? Do
       4      you have any recollection?
       5      A: I think it was -- I think Project Plato was,
       6      you know, somewhere in the summer of 2021. There's a --
       7      you know, it went in fits and spurts. So there was a
       8      time when we were -- I think there may have been a time
       9      where the Project Plato team was set up.
       10     Q: Uh-huh.
       11     A: But it really didn't do anything for a period
       12     of time. And then there was a period where it started
       13     doing more work.
       14     So I would say from, you know, the late
       15     spring to the summer is when, you know, Project Plato
       16     was being set up and then work was being done. But,
       17     again, it was sporadic during that period.


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Page 31
   31 :8      Q: Okay. I just want to go back for a minute.
       9      When you were supervising other lawyers and one of your
       10     responsibilities was -- were talc cases and talc
       11     liability, were you handling both litigation and
       12     settlements or was there a distinction between those?
       13     A: So I would be overall responsible for all of
       14     the talc liability, both the litigation and the
       15     resolution of it. So I would be involved in all aspects
       16     of the litigation.


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Page 32
   32 :5      Q: Okay. And there were a number of verdicts
       6      finding both J&J and JJCI liable -- well, let me just
       7      say liable in connection with talc claims, correct?
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       8      A: There were. There were also defense
       9      verdicts --
       10     Q: Sure.
       11     A: -- at that time, yes.
       12     Q: Okay. And do you know how many verdicts there
       13     were finding J&J liable for talc liability?
       14     A: I don't have the list in front of me.
       15     Q: Okay.
       16     A: But there were a number of cases, yes.
       17     Q: Okay. And I take it you're familiar with the
       18     Ingham case?
       19     A: I am.
       20     Q: And what is your familiarity with that case?
       21     A: Well, again, I was responsible for the talc
       22     liability through, you know, the day-to-day operations
       23     that someone else was handling. But I was involved in
       24     the case. I actually attended most of that trial.
       25     Q: Okay. And that was in St. Louis, correct?
   33 :1      A: That was in St. Louis, yes.
       2      Q: And there was a multi-billion-dollar verdict
       3      against J&J and JJCI in the Ingham case, correct?
       4      A: There were -- there was a multi-billion-dollar
       5      verdict against both companies.
       6      Q: And I say 'you.' I'm referring to Johnson &
       7      Johnson and JJCI. But you appealed the trial verdict,
       8      correct?
       9      A: We did.
       10     Q: And ultimately appealed that to the Supreme
       11     Court or attempted to appeal that to the Supreme Court
       12     of the United States, correct?
       13     A: We filed for a certiorari to the United States
       14     Supreme Court, yes.
       15     Q: And it was denied, correct?
       16     A: Cert was denied in that case, two recusals.
       17     Q: Do you recall just about when that cert denial,
       18     when that came down?
       19     A: I think the denial of cert was in the summer of
       20     2021.


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Page 34
   34 :6      Let me ask you. As a result of cert being
       7      denied in Ingham, Johnson & Johnson paid out, I think it
       8      was close to $2 1/2 billion, correct?
       9      A: It did. It paid on the judgment.
       10     Q: Okay. And that payment was made, I take it,
       11     shortly after cert was denied, right? So we're talking
       12     about the summer of 2021?
       13     A: Very shortly after cert was denied we made the
       14     payment, yes.


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Page 46
   46 :8      Q: (By Mr. Jonas) Okay. Do you recall whether at
       9      any point in time Johnson & Johnson had hopes of using
       10     the Imerys bankruptcy as a global resolution for talc
       11     liability?
       12     A: I'm sorry. What was your question?
       13     Q: It's too complicated.
       14       (The record was read as requested.)
       15     A: I do recall that Johnson & Johnson and
       16     Johnson & Johnson Consumer, Inc. had a deal with the
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      17      Imerys TCC to resolve most of the talc liability through
      18      the Imerys bankruptcy.
      19      Q: (By Mr. Jonas) And is it fair to say that was
      20      not successful?
      21      A: I would say it fell through, yes.


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Page 49
   49 :2      Q: (By Mr. Jonas) I want to take a look at what's
       3      now been marked Exhibit 134. Mr. Kim, at the top here
       4      you'll see an e-mail from Mr. Haas of March 17, 2021;
       5      and it includes Greg Gordon, Andrew White and yourself.
       6      Obviously it says, 'Greg, thank you, greatly
       7      appreciated.'
       8      Let me ask you, does this help refresh
       9      your recollection now that you can see that Mr. Gordon
       10     of Jones Day was in communication with you and Mr. Haas
       11     in the middle of March 2021? Would this help refresh
       12     your recollection as to whether Project Plato was in
       13     place on or about the middle of March?
       14     A: So what I would say is, you know, in the middle
       15     of March I think it -- I don't know what this invite --
       16     I don't recall what this invite was and what has been
       17     redacted here. But I will say that in March, that is
       18     consistent with my recollection of our discussing with
       19     Jones Day various, you know, restructuring options.
       20     Project Plato, again, was a designation
       21     that was made at some point, probably after this, for
       22     the due diligence project. So, you know, I think this
       23     confirms that in the spring of 2021 we were discussing
       24     restructuring with Jones Day.


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Page 50
   50 :3      You'd agree with me Mr. Gordon is a
       4      bankruptcy lawyer at Jones Day, right?
       5      A: He is, yes.
       6      Q: And so in this context when you say
       7      restructuring, you mean that in March of 2021 relating
       8      to talc liability, at least as a strategy, you were
       9      discussing bankruptcy as an option, right?
       10     A: What I would say is that in March of 2021 we
       11     had been discussing a variety of options, including
       12     restructuring and a bankruptcy of the restructured
       13     entity.


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   51 :15     Q: (By Mr. Jonas) We'll pull up Exhibit 135. And
       16     this is an e-mail from yourself dated April 7, 2021 to
       17     Mr. D. Prieto, Mr. Haas, Mr. Jung and Mr. Andrew. Do
       18     you see that?
       19     A: Yes.
       20     Q: That was the basis of my question, just to
       21     orientate you who -- let me ask you this: The subject
       22     line is J&J - call to discuss potential restructuring
       23     alternatives. Do you see that?
       24     A: Yes.
       25     Q: And you were organizing a meeting for a few
   52 :1      days later, right?
       2      A: I was.
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      3       Q: Why were you inviting Mr. Jung to a question --
      4       I'm sorry, to a call to discuss potential restructuring
      5       alternatives?
      6       A: He's in the business development group that
      7       handles -- like Mr. Andrew, handles corporate M&A and
      8       other transactions.
      9       Q: Okay. Got it.
      10      And then down below, optional attendees
      11      include Mr. Gordon. Is Mr. Lewis, is he at Jones Day,
      12      do you know?
      13      A: He is.


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   55 :4      Q. (By Mr. Jonas) Okay. So we're looking at
       5      Exhibit 137. It's an e-mail from Mr. Christopher Andrew
       6      dated July 12th. And I see you there, Mr. Kim, among
       7      others. And the 're' line or the subject line is
       8      'Project Plato kick-off.' Do you see that?
       9      A: I do.
       10     Q: And does this help refresh your recollection as
       11     to it was about the middle of July that the Project
       12     Plato team began to have regularly scheduled weekly or
       13     more frequently meetings to discuss Project Plato?
       14     A: I think this is consistent with my
       15     understanding that at some point around this time period
       16     regular meetings were being set for the due diligence
       17     project.
       18     Q: Okay. The due diligence project which came to
       19     be known as Project Plato, right?
       20     A: Correct, yes.


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   62 :3      Q: Okay. So do you recall this Project Plato
       4      kick-off meeting in the middle of July 2021?
       5      A: I recall that it was taking place. I don't
       6      recall whether I attended.
       7      Q: Okay. Let me ask you, do you recall in July of
       8      2021 a Wall Street Journal story relating that -- I
       9      don't want to say revealed, but it was a story that came
       10     out that made reference to counsel for J&J telling
       11     plaintiffs' attorneys who were pursuing talc claims that
       12     J&J was considering putting a corporate subsidiary in
       13     Chapter 11? Do you recall that story?
       14     A: I recall there were a series of stories that we
       15     believe came from plaintiffs' lawyers about a potential
       16     restructuring that was fed to the press. I don't know
       17     if I remember that specific one. I don't think I've
       18     seen that specific one.
       19     Q: Okay.
       20     A: But I do know that there were those stories.
       21     Q: Okay. And your view is that those stories
       22     emanated from plaintiffs' lawyers?
       23     A: That is my belief, yes.


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   63 :1      It is the case that in July of '21
       2      Johnson & Johnson was considering a restructuring that
       3      involved the bankruptcy of a subsidiary, correct?
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      4       A: I think at this time we were looking to see
      5       whether one was even feasible.
      6       Q: Okay.
      7       A: So at the time that these stories were coming
      8       out, there had been no decision made on any particular
      9       transaction going forward; and we were looking at
      10      options. But our main focus at that time was continuing
      11      to litigate these cases.


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   64 :21     Q: And let me ask you, strategically, what were
       22     the advantages of this strategy -- I'll call it the
       23     bankruptcy strategy -- to J&J?
       24     MS. BROWN: I'm going to object as calling
       25     for speculation.
   65 :1      I'll also instruct you, Mr. Kim, not to
       2      reveal any legal advice or legal discussions with inside
       3      or outside counsel.
       4      Q: (By Mr. Jonas) You can answer as best you can,
       5      Mr. Kim.
       6      A: Could you repeat your question.
       7      Q: Sure.
       8      MR. JONAS: I'll have it read back.
       9        (The record was read as requested.)
       10     MS. BROWN: Same objection and
       11     instruction.
       12     A: I would say that the advantages of bankruptcy
       13     inure to the benefit of both JJCI and the creditors. I
       14     think, as we laid out in our first-take declaration and
       15     in the informational statement, that the bankruptcy
       16     option is the most efficient way to get a full and fair
       17     resolution of the -- of this litigation to JJCI and to
       18     the claimants.
       19     So when you look at this -- a bankruptcy
       20     of LTL compared to other options, it is the most
       21     efficient way to get a full and fair settlement for the
       22     parties.
       23     Q: (By Mr. Jonas) When you use the word
       24     'efficient,' what do you mean by that?
       25     A: Well, primarily what I mean is if you have
   66 :1      30,000-plus cases currently and, you know, multitudes
       2      more in the future, it is virtually impossible to try
       3      all those cases in any reasonable amount of time to, you
       4      know, get whatever result you can get.
       5      A: bankruptcy, on the other hand, is a much
       6      more efficient process to deal with all current and
       7      future liabilities in a reasonable amount of time, much,
       8      much more reasonable than trying to go through the tort
       9      system and effectuate a resolution of the litigation.
       10     Q: Do you believe that the bankruptcy strategy
       11     would help accelerate a resolution of talc liability?
       12     A: Well, I don't want to call it bankruptcy
       13     strategy. What I would say is, you know, using the
       14     bankruptcy system, again, it provides a much more
       15     efficient, faster way to deal with the number of claims
       16     that is part of the litigation and is better for all
       17     parties, including claimants.
       18     Q: You mentioned benefits to claimants. You
       19     mentioned benefits to JJCI. Do you also believe there
       20     would be benefits to J&J?
       21     A: Clearly there might be benefits to J&J as a
       22     shareholder of JJCI. You know, J&J is the principal
       23     shareholder. So a resolution of the claims for JJCI, it
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       24     would basically put a definition on whatever that
       25     liability is and would benefit its shareholders and the
   67 :1      shareholders of J&J, for that matter.
       2      Q: It would cap, c-a-p, the talc liability,
       3      correct?
       4      MS. BROWN: Objection, lacks foundation.
       5      A: Well, if you mean capping in terms of -- it
       6      would put a definitive amount to it. It would do that,
       7      yes.
       8      Q: (By Mr. Jonas) Okay. And aside from the
       9      benefits J&J would receive as a shareholder or owner of
       10     JJCI, wouldn't this strategy also assist J&J in
       11     resolving its direct liability?
       12     MS. BROWN: Objection, assumes facts,
       13     lacks foundation, calls for speculation.
       14     Q: (By Mr. Jonas) You can answer.
       15     A: So I would say I don't believe J&J actually has
       16     direct liability in this litigation. You know, again, I
       17     think the resolution of the talc liability would benefit
       18     all parties.


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   73 :3      Mr. Kim, I'm showing you what's been
       4      marked as Exhibit 139, which is an e-mail of July 20,
       5      2021 from Mr. Haas to Mr. Darby, John Darby, and to you.
       6      And it looks to be forwarding an e-mail and the re line
       7      is 'The Wall Street Journal: How bankruptcy could help
       8      Johnson & Johnson corral vast talc litigation.'
       9      Do you see Exhibit 139?
       10     A: I do see the exhibit.
       11     Q: There's a reference here at the beginning of
       12     the story; you can see it at the bottom of the screen.
       13     It says, 'The company has told personal injury attorneys
       14     it is considering filing a' -- stop rolling.
       15     'The company has told personal injury
       16     attorneys it is considering filing a subsidiary for
       17     bankruptcy which legal experts say could prompt injury
       18     claimants to settle.'
       19     Do you see that?
       20     A: I see that, yes.
       21     Q: Are you aware of whether or not any Johnson &
       22     Johnson either personnel or outside lawyers were telling
       23     personal injury attorneys in or about July of 2021 that
       24     J&J was considering filing a subsidiary for bankruptcy?
       25     A: No, no. This is an example where the --
   74 :1      basically, again, with the last article, our
       2      understanding and my belief was that plaintiffs put that
       3      story into the media. And then other media outlets -- I
       4      think it might be the same one -- keep repeating that
       5      one, you know, that article.
       6      So, again, I don't know what this is
       7      about.


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Page 105
 105 :13      Q: Okay. And let me ask you. How was the
      14      $2 billion QSF amount determined?
      15      A: I was not involved with that.
      16      Q: Okay. You have no idea how the $2 billion
      17      figure amount was arrived at?
      18      A: I don't know how it was arrived at. My
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      19      understanding is that that was thought to be a
      20      sufficient amount, but I was not involved in that
      21      process.
      22      Q: Well, how do you know that that was thought to
      23      be a sufficient amount?
      24      A: That was just my understanding from
      25      conversations. But I was not involved in the $2 billion
 106 :1       amount.
      2       Q: Okay. And you said 'my understanding from
      3       conversations.' Conversations with whom?
      4       A: I'd say internal conversations with the law
      5       department. I don't know whether I had conversations
      6       with anyone from finance. Primarily from internal
      7       conversations with the law department.
      8       Q: And when you say 'law department,'
      9       particularly --
      10      A: The lawyers, yeah.
      11      Q: No, no. But particularly which people, names?
      12      A: It would be Erik Haas and Andrew White.
      13      Q: So let me ask you, other than conversations you
      14      had with Erik Haas and Andrew White, is that kind of the
      15      limit of your knowledge relating to the $2 billion
      16      amount, QSF amount?
      17      A: Jones Day counsel may have been involved. I'm
      18      not -- I can't presently recall a specific conversation.
      19      Q: Okay. Have you ever seen any analysis which
      20      was used to arrive at the $2 billion amount?
      21      A: I have not.
      22      Q: Do you know if any analysis exists?
      23      A: I've never seen or heard of a written analysis
      24      of that, no.
      25      Q: So I want to make sure I get the scope of your
 107 :1       testimony correct. I think you've said that all you
      2       know about the $2 billion QSF is that based on
      3       conversations with Mr. Haas and perhaps one other lawyer
      4       at J&J, it was thought to be sufficient. Is that what
      5       you said?
      6       A: I did. I would say that it was -- maybe
      7       sufficient is wrong. Appropriate. It would be the
      8       appropriate amount to put into a QSF.
      9       Q: And when you say 'appropriate,' what do you
      10      mean by using that word?


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Page 107
 107 :16      A: No. I think this is -- the extent of it is I
      17      can say that would it be appropriate in the circumstance
      18      to have a $2 billion QSF.
      19      Q: (By Mr. Jonas) Okay. Well, let me ask you
      20      this: As chief legal officer of LTL, speaking for the
      21      debtor, for LTL, does LTL believe that a $2 billion QSF
      22      is appropriate?
      23      A: Yes.
      24      Q: And why?
      25      A: Because $2 billion is a substantial amount of
 108 :1       money. It is prefunding from a funding agreement. The
      2       $2 billion is not a cap. It shows, you know, the good
      3       faith and the -- you know, the desire to try to
      4       efficiently and fully and equitably resolve the
      5       litigation.
      6       So $2 billion, I think, is more than
      7       appropriate from LTL's perspective as a QSF.
      8       Q: Would you agree that from LTL's perspective,
      9       $3 billion or $4 billion would have been better to have
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      10      funded -- would have been better from a QSF perspective
      11      for LTL?
      12      MS. BROWN: Object, calls for speculation.
      13      A: I don't know how I could answer that. I don't
      14      understand what 'better' is. I think it's appropriate.
      15      LTL thinks that's the appropriate number.
      16      I don't know if there's such a thing as
      17      more appropriate. $2 billion is the appropriate number.
      18      Q: (By Mr. Jonas) Well, did LTL negotiate that
      19      number?
      20      A: There's no negotiation of the number. Clearly,
      21      if LTL thought it was inappropriate, it could have
      22      raised issues or asked or said something. But LTL
      23      believes that $2 billion QSF is the appropriate number
      24      for a QSF.
      25      Q: And what analysis did LTL do to determine that
 109 :1       the $2 billion was the right number for the QSF?
      2       A: I don't know that there was a financial
      3       analysis done, but I can tell you that LTL and I
      4       personally have an immense knowledge of the tort system,
      5       the talc liabilities, its history and its progression
      6       and all the underlying facts.
      7       So based upon my experience managing these
      8       cases and managing a number of mass torts, $2 billion is
      9       an appropriate amount for QSF.


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Page 114
 114 :5       Q: If I've got this right, at one of those
      6       meetings you said, Hey, I'd love to be the chief legal
      7       officer?
      8       A: At one of the meetings -- at a meeting or in a
      9       conversation I had with Mr. Haas I indicated that I
      10      would like to be the chief legal officer.
      11      Q: And what made you want to do that?
      12      A: I thought it would be a good fit.
      13      Q: Okay. Why?
      14      A: Because I know the litigation and the issues
      15      involved in various other settlement options, and I
      16      thought that I could get this case resolved efficiently
      17      and expeditiously and equitably if given the chance.


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 117 :12      Q: Okay. And maybe last. Let me see. Hold on.
      13      I guess I'll ask you. Are there any
      14      components of your compensation at LTL that are in any
      15      way different than they were when you -- immediately
      16      prior to joining LTL?
      17      A: My compensation or --
      18      Q: I'm sorry. Go ahead.
      19      A: So the only difference is the retention bonus.
      20      Q: And how is that different, if you could just
      21      describe it.
      22      A: Well, there's no retention bonus prior to my
      23      move. So technically I'm working for Johnson & Johnson
      24      Services, Inc. It's a comment to LTL. And the
      25      retention bonus would be a component that I did not have
 118 :1       prior to my move.
      2       Q: Okay. And how much is the retention bonus?
      3       A: I don't recall specifically. It's a portion of
      4       salary in two years. So it goes for two years.
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      5       In other words, I get a bonus at the end
      6       of the first year and a bonus at the end of the second
      7       year.
      8       Q: Okay.
      9       A: I'd have to look to see what that amount is.


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 124 :18      Q: And at least for a number of weeks or months
      19      leading up to Mr. Wuesthoff and Mr. Dickinson and
      20      Mr. Deyo joining LTL, when you say the prime -- I think
      21      you said the primary -- I don't know if you said work or
      22      whatnot of LTL was to resolve talc claims, it was
      23      anticipated that would be done through a bankruptcy,
      24      correct?
      25      MS. BROWN: Objection, lacks foundation.
 125 :1       A: I would say that the expectation throughout the
      2       process was that LTL would file for bankruptcy to
      3       resolve the talc claims, the talc litigation.


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Page 135
 135 :4       Q: What insurance does LTL have available to it on
      5       account of or to satisfy talc liability claims?
      6       A: So it has -- there are policies in excess of, I
      7       think, you know, $1.9 billion that LTL has an interest
      8       in that it has made claims on. So those would be all
      9       excess policies -- or, I'm sorry, insurance policies.


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Page 140
 140 :19      Q: And what benefits to talc claimants were
      20      discussed at this board meeting?
      21      A: The issue would be the equitable and efficient
      22      resolution of talc claims and comparisons of the
      23      lottery-like results in the tort system coupled with the
      24      number of claims that had to be -- would have to be
      25      adjudicated through the tort system versus a fair and
 141 :1       equitable trust situation where claimants would be paid
      2       more quickly and have the ability to take into account
      3       all current and future claims.


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Page 141
 141 :17      Q: Why was LTL formed as a North Carolina limited
      18      liability company?
      19      MS. BROWN: I'll instruct you, Mr. Kim, to
      20      the extent you cannot answer that without revealing
      21      privileged information.
      22      A: I think the subject matter of where best --
      23      where an efficient resolution -- you know, again,
      24      because the purpose was to get an efficient, equitable
      25      resolution as quickly as possible. There were
 142 :1       discussions about where that would be best accomplished.
      2       In other words, where could we expect that things could
      3       be done efficiently.
      4       Q: (By Mr. Jonas) And you mean in which
      5       bankruptcy court? Is that what you're saying?
      6       A: In which bankruptcy court and, therefore, where
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      7       it might make sense to incorporate, similar to why
      8       companies incorporate in Delaware when they actually
      9       have no presence in Delaware.


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Page 149
 149 :8       Q: Okay. That's helpful. I appreciate your
      9       trying to cut to the chase with me. So thank you.
      10      But while we're on the topic, let me ask
      11      you. So what are the assets -- what do you understand
      12      the assets of LTL to be?
      13      A: The assets of LTL are the funding agreement,
      14      which includes a $2 billion QSF. It has the -- a
      15      subsidiary, Royalty A&M LLC. It has a bank account of
      16      (transmission interference) dollars. The subsidiary has
      17      an income stream present value at around 370-odd million
      18      dollars basically and has a -- the subsidiary also has
      19      access to a credit facility for $50 million.
      20      Q: Okay. And among those assets would you say the
      21      most valuable is the funding agreement?
      22      A: Yes.
      23      Q: Okay. And what do you think the value of the
      24      funding agreement to be?
      25      A: There's a formula in the funding agreement that
 150 :1       says what is available under the funding agreement. The
      2       availability is -- and, again, I would defer to the
      3       terms of the funding agreement, but in general it would
      4       be the value -- the fair market value of new JJCI right
      5       at the time of the divisional merger.
      6       Q: Okay. And --
      7       A: Sorry. And is backstopped basically by
      8       Johnson & Johnson at that value.


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Page 152
 152 :1       Q: No. And I appreciate that. I'm just -- I
      2       mean -- what I think what you're saying is at the time
      3       of signing the funding agreement, LTL had no specific
      4       valuation material or analysis relating to the value of
      5       new JJCI. Is that right?
      6       A: That is right. What it understood was that --
      7       whatever the value of old JJCI -- JJCI was at that time,
      8       that was what was available to LTL; therefore, putting
      9       creditors in at least the same position but better
      10      because on top of that value there was the backstop of
      11      Johnson & Johnson which did not have to -- prior to the
      12      divisional merger would have no obligation to backstop
      13      that liability. But as part of the funding agreement,
      14      it did. So that's what LTL knew at the time.


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Page 153
 153 :18      Q: I very much appreciate that. Thank you.
      19      But my question, I guess what I'm -- I
      20      appreciate you telling me what you think each
      21      individual's knowledge was; but my question is as a
      22      board at LTL, were there any presentations, any experts
      23      brought in, retained, any analysis? Formally what
      24      information was provided to LTL in connection with
      25      signing the funding agreement relating to the value of
 154 :1       new JJCI? That's my question.
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      2       A: So there was no outside independent finance
      3       person or financial analysis done. What LTL understood
      4       was that JJCI was a substantial company, and what the
      5       funding agreement did was put LTL in the exact same
      6       position with respect to value as JJCI. In terms of the
      7       creditors, it was even better because not only did it
      8       have the value of JJCI, but it also had a financial
      9       backstop that JJCI did not have before.
      10      Q: Okay. So if I have your testimony correct --
      11      and please tell me if I don't -- you're saying that a
      12      talc claimant -- a talc claimant today is better off
      13      than it was before LTL filed bankruptcy?
      14      A: Yes, in terms of financial -- access to the
      15      financial assets of both JJCI versus LTL.


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Page 166
 166 :21      Q: Okay. But that's my -- you understand that old
      22      JJCI doesn't exist anymore, correct?
      23      A: Yes, yes. As part of the Texas divisional
      24      merger statute, its assets and liabilities were
      25      separated and given to two other entities. So they
 167 :1       still remain but in two different entities. And the
      2       original entity that now had nothing in it disappeared.
      3       Q: Well, there were still claims against that
      4       entity, weren't there?
      5       A: All the claims were assumed by one or the other
      6       entities, both for old JJCI -- all talc claims and any
      7       other claim, any other contract claim, any employment
      8       claim, any tax claim, all those claims were separated.
      9       One of the companies had them, and then
      10      the company that was left with nothing disappeared. So
      11      none of the claims disappeared. They were just given to
      12      one or the other entity. And that's just not only talc
      13      claims; that's any claim.


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Page 181
 181 :18      Q: But you did not at any time tell the board of
      19      LTL what you believe the value of the funding agreement
      20      was. Isn't that true?
      21      A: I told the board the value of the funding
      22      agreement was laid out in a formula in the funding
      23      agreement and that that formula gives a formula for
      24      calculating the value if necessary.
      25      Q: But at no time prior to the decision to pull
 182 :1       the trigger and file bankruptcy were they informed of
      2       this $60 billion. Isn't that true?
      3       A: It was not necessary for them to be informed of
      4       that. They understood what the terms of the funding
      5       agreement was. Everybody understands that JJCI is a
      6       substantial business, and that was the basis of their
      7       decision.


KIM, JOHN 1/31/22 - 01/31/2022
Page 183
 183 :22      Q: (By Mr. Glasser) Back to the board meeting
      23      October 14th, 2021, isn't it also true that you never
      24      showed the board actual specific numbers for future talc
      25      liability before they pulled the trigger on the
 184 :1       bankruptcy, actual estimates?
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      2       A: We do not have an estimate of future talc
      3       liabilities, and so that was not presented to the board
      4       because it is virtually impossible to come up with one.


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Page 184
 184 :18      Q: How many ovarian cancer trials were scheduled
      19      between October 14th, 2021 and December 31st, 2021,
      20      Mr. Kim?
      21      A: Sitting here, I don't recall. It would only be
      22      a couple.


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Page 193
 193 :11      Q: All right. So let's just take the maxi/min.
      12      If it was 20 million a month and we rounded up to
      13      $250 million a year, you agree with me it would take
      14      240 years to grind through $60 billion?
      15      A: That's a math exercise. I'm not sure what
      16      that -- that's a math exercise.
      17      Q: That's a math exercise nobody did at that board
      18      meeting. Isn't that so?
      19      MS. BROWN: Objection, lacks foundation.
      20      A: Yeah. I agree we did not do that exercise
      21      because it's useless and irrelevant and not -- and not
      22      helpful to any decision to make. So that calculation
      23      was not done.
      24      Q: (By Mr. Glasser) All right. In your first day
      25      declaration you said that you'd spent something like
 194 :1       $4.5 billion over the last five years, right?
      2       A: Historically, yes.
      3       Q: All right. So dividing 60 billion by
      4       4.5 billion, that's another 13.3 years if the future is
      5       like the past, right?
      6       A: Potentially. But, again, the 4.5 could be a
      7       minimum and could be exponentially larger. 13 years is
      8       not a lot of time.


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Page 197
 197 :25      Q: (By Mr. Glasser) All right. So you did not
 198 :1       tell the board of LTL that based on 5,738 data points of
      2       ovarian cancer settlements, the average settlement cost
      3       was $92,000. You did not convey that information to the
      4       board in that granular form, correct?
      5       A: Again, that number can be calculated. But we
      6       don't believe -- I don't believe that it's relevant for
      7       future liability or for -- you know, or a valid
      8       methodology for determining what future liability might
      9       be.
      10      Q: And I don't either, but I'm just asking you a
      11      question. So listen to my question and see if you can
      12      answer it.
      13      Isn't it true you did not tell the board
      14      that you had 5,378 prior settlements of ovarian cancer
      15      cases at an average cost of approximately $92,000?
      16      MS. BROWN: Object, asked and answered,
      17      lacks foundation.
      18      A: We went over in aggregate the settlement
      19      profiles, the finances. I did not do the exact
      20      calculation that you mentioned.
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      21      Q: (By Mr. Glasser) All right. Likewise, you did
      22      not do -- you did not tell the board -- at the time of
      23      the bankruptcy, there were 438 remaining mesothelioma
      24      cases. You did not tell the board that on 1,098 prior
      25      data points, the average cost was approximately 400,000
 199 :1       to settle these cases, did you?
      2       MS. BROWN: Same objections.
      3       A: Again, we told the board how many cases were
      4       out there, the history of the litigation, the settlement
      5       information. But I did not do the exercise of doing
      6       that calculation and multiplying it out like the way
      7       that you had done because I thought that that would not
      8       be relevant.


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Page 202
 202 :1       Q: All right. Now, Ms. Ryan said -- let me ask
      2       you this: If the plaintiffs toughened up and it cost
      3       three times as much to resolve the existing cases as the
      4       old cases, that only implies an $18 billion problem,
      5       right?
      6       MS. BROWN: Objection, foundation,
      7       speculation.
      8       A: Again, I'm not sure -- when you're talking
      9       about settlement amounts, that has very little to do
      10      with potential future liability. What you're talking
      11      about is, you know, a speculative exercise where two
      12      parties have to agree. And again, that's not something
      13      that the board was relying on when it was looking at its
      14      financial distress.


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Page 204
 204 :10      Q: Did any of the three board members suggest that
      11      they hire an actuary to give them an estimate of their
      12      real exposure?
      13      A: No, because it was unnecessary. We went
      14      through the history of the litigation, the amount of
      15      spending we were doing, the risks of these lottery-like
      16      verdicts.
      17      And it was determined that -- again, it
      18      was determined that the company -- the best option for
      19      all was to efficiently and fairly resolve this
      20      completely under the bankruptcy code. No third-party
      21      analysis was required.


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Page 206
 206 :8       All right. Did you explain to the board
      9       on the day -- did you explain to the board before they
      10      decided to file bankruptcy that LTL would have its
      11      current obligations paid as and when incurred outside of
      12      bankruptcy?
      13      A: We went over this provision with the board,
      14      yes.


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 213 :20      MR. GLASSER: I'm asking him how did he
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      21      explain to the board how bankruptcy would affect the
      22      insurance other than delaying the fight.
      23      MS. BROWN: Lacks foundation and vague.
      24      If you understand, you can try to answer,
      25      John.
 214 :1       A: I don't know that we went into detail on the
      2       bankruptcy issues -- the bankruptcy issues with respect
      3       to insurance. I think we did note that there was
      4       insurance, but I don't believe we went into any detail
      5       as to how the bankruptcy would affect the rights of
      6       insurers or our rights under the policies.
      7       Q: (By Mr. Glasser) Royalty A&M did not file
      8       bankruptcy. Isn't that so?
      9       A: That is true.
      10      Q: So nothing about the bankruptcy is affecting
      11      the royalty streams in Royalty A&M. Isn't that a fact?
      12      A: Only to the extent that under certain
      13      circumstances we would have to use those royalty streams
      14      and, frankly, Royalty A&M as an asset to deal with any
      15      liabilities.


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Page 215
 215 :16      Q: (By Mr. Glasser) Well, you've told me many
      17      times that you guys were really looking after the talc
      18      cancer victims. I'd just like you to explain why you
      19      would take the company from a position where it could
      20      pay them on a current basis or settle the claims on a
      21      current basis to having them all wait however long it
      22      takes to have a trust.
      23      How was that better for claimants, to have
      24      to -- instead of having an individualized right to
      25      payment, getting some group right to payment?
 216 :1       A: So the assumption in that question is that the
      2       talc claimants could immediately knock on LTL's door and
      3       get money. These talc claimants would have to go
      4       through a process that could take decades, you know, and
      5       war to go through 38,000 claims. There is no way,
      6       looking at the talc claimants in general, that that
      7       option is better than trying to come to a resolution in
      8       bankruptcy.
      9       You know, the tort system for these -- for
      10      any individual plaintiff could -- when they have to
      11      stand in line while 38,000 others take their shot at
      12      trying to collect money, most of them will lose in these
      13      cases if the future goes the way the past went.
      14      And there's no doubt that the bankruptcy
      15      option -- the vast majority of claimants would be better
      16      off coming to a quick resolution than having to go
      17      through the tort system.


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Page 217
 217 :23      But you told Mr. Jonas earlier when he was
      24      asking you about the $2 billion that you thought it was
      25      more than enough to satisfy these claims?
 218 :1       A: I said it was appropriate. I said it was --
      2       Q: And you must have thought it was appropriate --
      3       MS. BROWN: Please let him finish his
      4       answers.
      5       A: I said it was sufficient and appropriate to do
      6       it. So what might be sufficient and appropriate to
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      7       settle these cases is very different than what the risk
      8       in the tort system is.
      9       So, again, settling cases -- can we come
      10      to a settlement, a resolution? That amount is very
      11      different than the potential in the tort system for both
      12      sides.


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Page 223
 223 :9       Q: Right. So the top three attorneys for the talc
      10      litigation for the Johnson & Johnson entities in 2021
      11      prior to the LTL bankruptcy filing were Erik Haas, John
      12      Kim and Andrew White, correct?
      13      A: I believe that would be true.
      14      Q: Okay. And do you remember what happened, I
      15      guess, immediately before Andrew White sending this
      16      meeting invite to Greg Gordon of Jones Day on
      17      March 16th, 2021 at 11:32 a.m.? Did it happen out of
      18      the blue, or can you remember when you got the
      19      invitation, it sort of making sense in the context of
      20      things that were happening at the time?
      21      A: I think what I would say is that in that time
      22      period before March of 2021 Andrew had been soliciting
      23      views from a number of law firms on resolution of the
      24      talc liabilities.
      25      Jones Day was one of the law firms that we
 224 :1       were asking about ideas on how we might be able to
      2       resolve them.
      3       Q: Okay. And was that the purpose in reaching out
      4       to Greg Gordon on March 16th, 2021, to speak to him
      5       about the subject of resolving the J&J entities' talc
      6       litigation?
      7       A: Yes. That would be -- well, I think it would
      8       be the subject of, you know, how to, you know, resolve
      9       the litigation for JJCI as well as J&J but mostly JJCI.


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Page 226
 226 :1       Q: Okay. And at this time in March of 2021 when
      2       you and other litigation attorneys handling the talc
      3       litigation for Johnson & Johnson reached out to
      4       Mr. Gordon from Jones Day, had you at that time,
      5       Mr. Kim, ever spoken to Michelle Goodridge about JJCI's
      6       financial condition?
      7       A: I personally did not speak to Michelle
      8       Goodridge about the JJCI's financial condition.
      9       Q: Okay. At any time between March of 2021 up to
      10      October 14th, 2021 did you ever speak to Michelle
      11      Goodridge about JJCI's financial condition?
      12      A: I don't recall that I ever spoke to Michelle
      13      Goodridge about JJCI's financial condition.
      14      Q: From March of 2021 up until October 14, 2021
      15      did you, Mr. Kim, ever speak to Thibaut Mongon about
      16      JJCI's financial condition?
      17      A: I personally did not speak to Thibaut Mongon,
      18      although there was -- I do recall there may have been
      19      one meeting with Mr. Mongon about the restructuring that
      20      I attended.
      21      Q: Okay. Did you ever specifically discuss JJCI's
      22      financial condition with Mr. Mongon at any time between
      23      March of 2021 all the way until October 14, 2021?
      24      A: Again, I do recall one meeting where we talked
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     25   about the talc litigation with Mr. Mongon.
227 :1    Q: Okay. In that one meeting do you recall
     2    Mr. Mongon telling you any specific information about
     3    JJCI's financial condition?
     4    A: I don't recall.
     5    Q: Okay. Did you ever speak to Paul Ruh, R-u-h,
     6    about JJCI's financial condition at any time between
     7    March of 2021 until October 14, 2021?
     8    A: No.
     9    Q: Same question for Kevin Neat?
     10   A: I did not.
     11   Q: Okay. Can you identify any non-attorney,
     12   businessperson that you had any discussion with
     13   specifically about JJCI's financial condition at any
     14   time between March of 2021 until October 14, 2021?
     15   A: I don't recall that I did. I don't believe I
     16   did.
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KIM, JOHN 30(b)(6)


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   13 :7      Q: Okay. Can you identify for me the in-house
       8      counsel who negotiated or drafted or participated in the
       9      negotiation or drafting of the funding agreement on
       10     behalf of old JJCI?
       11     A: So, again, I think I'll refer to the entire
       12     response that says that there are no external
       13     counterparties with whom to negotiate. And as is the
       14     case with internal corporate restructurings generally,
       15     the funding agreement was entered into after -- not
       16     entered into after arm's length negotiations but rather
       17     was the product of a review for fairness by the
       18     authorized signatories for the parties and their
       19     advisors.
       20     With that, I would say that the counsel
       21     for old JJCI were the counsel that were -- participated
       22     in reviewing the funding agreement, which would include
       23     myself, Andrew White, Erik Haas, Chris Andrew, White &
       24     Case, Jones Day -- well, White & Case was specifically
       25     representing J&J.
   14 :1      And there may have been other outside -- I
       2      think that's it. I'm thinking there might be tax
       3      people, inside tax people as well; but I'm not -- but
       4      principally for the drafting of participation in the
       5      funding agreement would be the ones that I just listed.
       6      Q: Okay. I just want to go through the four
       7      in-house individuals starting with yourself.
       8      A: Uh-huh. Yes.
       9      Q: Whose interests were you representing when you
       10     negotiated or drafted or participated in the negotiation
       11     or drafting of the funding agreement?
       12     A: As counsel that's employed by J&J but
       13     representing all of its subsidiaries, I was representing
       14     all the parties in reviewing the fairness of the deal.
       15     Q: Okay. Same question for Mr. White. Whose
       16     interests was Mr. White representing when he negotiated
       17     or drafted or participated in the negotiation or
       18     drafting of the funding agreement?
       19     A: That would be the same answer. As a lawyer
       20     hired -- employed by J&J representing all of its
       21     subsidiaries, he was looking out for the interests of
       22     all the parties to the funding agreement.
       23     Q: Okay. Would you give the same answer in
       24     response to the same question relating to Mr. Haas?
       25     A: I would.
   15 :1      Q: And would you give the same answer in response
       2      to the same question with respect to Mr. Andrew?
       3      A: I would.
       4      Q: Were any conflict waivers ever sought or
       5      obtained in connection with the negotiation or drafting
       6      of the funding agreement?
       7      A: No. Because there was no conflict in an
       8      intercompany arrangement like this.
       9      Q: Was any conflict waiver sought or obtained with
       10     respect to any aspect of the corporate restructuring
       11     described in your first-day declaration?
       12     A: No. Because, again, there was no conflict in
       13     that restructuring.
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   15 :16     Did the debtor have independent counsel to
       17     advise it in connection with the negotiation or drafting
       18     of the funding agreement?
       19     MS. BROWN: I object as lacking
       20     foundation.
       21     A: I don't know what you mean by 'independent
       22     counsel.' The debtor was -- prior to the formation of
       23     the debtor, LTL, the lawyers were representing all
       24     parties' interests in the documentation.
       25     Once LTL was formed, Jones Day was the
   16 :1      attorney for LTL; and I became its chief legal officer.
       2      And we provided legal advice to LTL.
       3      Q: (By Mr. Morris) Okay. But the original
       4      funding agreement was drafted and executed prior to the
       5      time LTL was formed. Is that correct?
       6      A: That is correct.
       7      Q: Okay. You mentioned White & Case and Jones
       8      Day. Were they like the in-house counsel, also
       9      representing the interests of all of the Johnson &
       10     Johnson parties who were parties to the restructuring?
       11     A: Jones Day was. White & Case was specifically
       12     hired to represent Johnson & Johnson, but Jones Day at
       13     the time was retained to hire -- was retained for the
       14     interests of old JJCI, Johnson & Johnson, you know,
       15     throughout the transaction up until the formation of
       16     LTL, at which point Jones Day became only LTL's counsel.


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Page 21
   21 :7      Q: And you're not aware of any other analysis that
       8      was done that you can cite to that attempted to estimate
       9      the fair market value of JJCI, correct?
       10     A: LTL is not aware of any other document.
       11     Q: Okay. Now, you were asked some questions by
       12     Mr. Glasser yesterday about a reference to $60 million
       13     that was made at the first-day hearing. Do you remember
       14     that?
       15     A: $60 billion.
       16     Q: I'm going to try and sew the hole in my pocket
       17     pretty soon. I appreciate that.
       18     So I think you testified yesterday that
       19     Mr. Haas was the source of the $60 billion number. Do I
       20     have that right?
       21     A: Yeah. As I testified in the prior hearing, at
       22     some point in conversations with Mr. Haas I was -- he
       23     noted that he believed that the number was around
       24     60 billion. But, again, that was just his belief at the
       25     time.
   22 :1      Q: But it was a belief that the debtor was
       2      comfortable in relying upon when it presented that
       3      number to the Court. Is that fair?
       4      MS. BROWN: Objection, lacks foundation.
       5      A: I testified at length that no valuation was
       6      done by LTL about that -- about that valuation that was
       7      in the funding agreement.
       8      And when I mentioned the conversation I
       9      had with Mr. Haas, it was in the context of LTL has no
       10     idea what the actual number is. It had heard in a
       11     conversation with Mr. Haas, and Mr. Haas believed it was
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       12     $60 billion.
       13     But, again, I made no representation that
       14     that was the actual number. But we believe that that
       15     is -- we believe it -- it sounds like a reasonable
       16     estimation to us. And now this other document sort of
       17     confirms the ballpark figure.
       18     But, again, the document that was provided
       19     is a source of information but is not the actual
       20     calculation that is required to be done -- it was not
       21     done under the funding agreement.
       22     So, again, LTL doesn't know whether that
       23     number is the actual number that you would get if you
       24     did the funding agreement calculation; but we believe
       25     that it's a fair approximate -- it could be a fair
   23 :1      approximation or estimation of that amount.


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   23 :20     Q: Okay. Can we go to topic No. 5. Topic No. 5
       21     concerns estimation of claims. Do you see that?
       22     A: I do.
       23     Q: Okay. Did LTL prepare or ask anybody to
       24     prepare any analysis to estimate the number of talc
       25     personal injury claims that might be asserted in the
   24 :1      bankruptcy case?
       2      A: No.
       3      Q: Was the LTL board ever presented with any
       4      analysis that purported to estimate the number of talc
       5      personal injury claims that might be asserted in
       6      bankruptcy?
       7      A: Not claims that might be asserted in
       8      bankruptcy, no. It was given the extent of the
       9      litigation, the underlying cases, case numbers, and
       10     understanding that the current case numbers would grow
       11     outside of the bankruptcy and the financial impact of
       12     that.
       13     But it did not -- was not given
       14     information nor -- LTL does not have any information, I
       15     do not have any information about the potential number
       16     of claims in the bankruptcy.
       17     Q: And did LTL prepare or ask anybody to prepare
       18     on its behalf any analysis that would show the growth
       19     that you've just described?
       20     A: The growth in the bankruptcy or outside of
       21     bankruptcy?
       22     Q: Either way, the growth of claims.
       23     A: Well, outside of bankruptcy, we detailed our
       24     understanding that because there's a latency period of
       25     at least 60 years for cancer cases, that there will be
   25 :1      exponential growth of claims outside of bankruptcy.
       2      Again, in the bankruptcy, it was -- there
       3      was no determination prior to filing bankruptcy and to
       4      currently about estimating the actual claims that would
       5      be presented in the bankruptcy case. We believe that's
       6      something that may have to be done later, but there's
       7      been no work done on that to date.
       8      Q: Okay. So there's no -- withdrawn.
       9      LTL does not have an estimate of the
       10     number of claims that might be asserted in the
       11     bankruptcy, correct?
       12     A: Currently it does not. That exercise we
       13     believe might have to be undertaken later.
       14     Q: Okay. But it wasn't done prior to the filing
       15     of the petition, correct?
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    16   A: Correct. Again, the numbers that they had were
    17    the numbers that could be expected outside of
    18    bankruptcy. But we did not do an estimation of what
    19    might be expected in the bankruptcy.
    20   Q: Can you tell me how many claims LTL expects
    21    would have been filed outside of bankruptcy but for the
    22    commencement of the bankruptcy proceedings?
    23   A: In general terms, there would be exponential
    24    growth of claims because of a 60-year latency period and
    25    the fact that use of Johnson's Baby Powder was
26 :1     ubiquitous. So virtually every person in the country
    2     could claim that they were exposed to Johnson's Baby
    3     Powder at one point or another.
    4    Q: Do you have any other information to share with
    5     me about LTL's analysis of the number of claims that
    6     might be asserted outside of bankruptcy?
    7    A: I'd refer to --
    8    MS. BROWN: Objection, vague.
    9    THE WITNESS: I'm sorry?
    10   MS. BROWN: I objected as vague. If you
    11    understand, you can answer.
    12   A: I would refer to and incorporate by reference
    13    the first-day declaration that I filed and also the
    14    objection to the motion to dismiss that lays out facts
    15    upon which LTL relied upon in terms of potential
    16    exposure in the tort system.
    17   Q: (By Mr. Morris) Okay. Did LTL perform any
    18    analysis or ask anybody to perform any analysis as to
    19    the cost of resolving talc personal injury claims that
    20    might be brought in the bankruptcy case?
    21   A: At the LTL board meeting and prior to that
    22    information was given to LTL board members about
    23    settlements. There was no -- there was no calculation
    24    of what settlements may be in the future in bankruptcy
    25    because we believed that's premature.
27 :1     It's virtually -- it is impossible to
    2     extrapolate from past settlements to what, you know, a
    3     future bankruptcy settlement may look like. So that
    4     exercise was not undertaken.
    5    Q: Okay. Did LTL ever attempt to quantify the
    6     costs that it would have to incur in order to resolve
    7     talc personal injury claims outside of bankruptcy?
    8    A: Again, because settlement is a negotiated
    9     amount between parties and differs depending upon the
    10    underlying facts and counsel, it was virtually
    11    impossible to come up with an estimate of what future
    12    talc liability may cost, not even including the fact
    13    that there were future claimants who have not even been
    14    exposed -- not even experienced their injury yet, which
    15    we understand there could be an amount that would appear
    16    in the future.
    17    So, you know, the rate that that might
    18    occur and the cost of that would be something that's --
    19    that would be very difficult to come up with at that
    20    time. So that process was not under -- that calculation
    21    was not undertaken.
    22   Q: Okay. So I've asked you questions about LTL
    23    and whether it's done any of these analyses or whether
    24    anybody's done it on its behalf. I want to go a little
    25    bit broader now.
28 :1     Is LTL aware of any analysis or estimation
    2     of the number of claims that might be asserted against a
    3     Johnson & Johnson enterprise within the bankruptcy case?
    4    A: LTL is not aware of any of that.
    5    Q: Is LTL aware of any analysis that purports to
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      6       estimate the number of talc personal injury claims that
      7       might have been asserted against the Johnson & Johnson
      8       enterprise outside of bankruptcy?
      9       A: Again, LTL -- for the same reasons why LTL
      10      couldn't come up with that information, LTL is not aware
      11      that that information was done outside of LTL.
      12      Q: Is LTL aware of any analysis performed by
      13      anybody at any time that attempts to estimate the cost
      14      of resolving talc personal injury claims within the
      15      bankruptcy?
      16      A: It is not aware of that.
      17      Q: Is LTL aware of any analysis that was performed
      18      by anybody that purports to estimate the cost of
      19      resolving talc personal injury claims outside of
      20      bankruptcy?
      21      A: LTL is not aware of that.


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   30 :9      Q: Okay. So LTL knows what the reserve that was
       10     taken with respect to talc personal injury claims, but
       11     it won't reveal that in discovery because it contends
       12     that it's privileged. Do I have that right?
       13     A: LTL up through its chief legal officer
       14     understands the process that reserves are set. Sitting
       15     here today, it does not know the actual number; but it
       16     knows that there is a number that's there that was
       17     provided -- that was based on attorney/client-privileged
       18     information.


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   32 :20     Q: Okay. And that information wasn't provided to
       21     the LTL board, correct?
       22     A: The information underlying that calculation, so
       23     the number of cases that we had, the number -- the cost
       24     of those cases, how much we've been spending, the 5 to
       25     $10 million a month run rate, the number of settlements
   33 :1      that we -- you know, the amount of settlements we
       2      entered into, all that which was a component of reserve
       3      setting was given to the board.
       4      What was not told to the board was that
       5      because of that, on the consolidated statement there is
       6      a reserve off.
       7      So all the financial aspects were told to
       8      the board. It just was not told in the form that
       9      there's a reserve for that.
       10     Q: But the reserve reflects the judgment of the
       11     lawyers at Johnson & Johnson with respect to the
       12     reasonably ascertainable future costs. Is that fair?
       13     A: That is fair, yes.
       14     Q: Okay. And that judgment in the form of the
       15     reserve number wasn't shared with the LTL board,
       16     correct?
       17     MS. BROWN: Objection.
       18     A: I disagree. I can answer again. The --
       19     Q: (By Mr. Morris) Okay.
       20     A: I disagree with that. What wasn't told to the
       21     board was that this was a reserve number.
       22     Q: Okay.
       23     A: The board --
       24     Q: That's my only question.
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       25     A: The board was given all the underlying
   34 :1      information about it.
       2      Q: I know.
       3      Do you know why -- do you know why the
       4      board wasn't just given the number?
       5      A: I think it was unnecessary for the board's
       6      determination. Again, what's in the reserve is not --
       7      again, it's probable and estimable. But the information
       8      we gave the board was far more than what the reserve
       9      number is.
       10     So, you know, again, the information given
       11     to the board encompassed all that, but --
       12     Q: But the -- I apologize. I don't mean to step
       13     on your words.
       14     A: The information given to the board encompassed
       15     all the information that would go into setting the
       16     reserve plus more, plus advice of counsel.
       17     So, again, the underlying information
       18     about the reserves -- about how reserves are set or the
       19     basis of the reserves was given to the board. It just
       20     wasn't told to the board that this was the reserve.
       21     Q: And the difference between what was given to
       22     the board, those are facts that reflect the actual cost
       23     and the number of cases and the actual settlements,
       24     correct?
       25     A: Plus the board was told what was expected, what
   35 :1      we could expect. So the future was -- the future of the
       2      litigation was discussed at length with the board.
       3      So it's not just -- again, all the
       4      information that goes into calculating reserve was given
       5      to the board. We just did not give the board the
       6      reserve number that was in the books because we thought
       7      we were giving the board more information than that.


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   35 :13     Q: Has LTL or anyone acting on its behalf prepared
       14     any draft Chapter 11 plan of reorganization?
       15     A: It has not.
       16     Q: Has anyone -- withdrawn.
       17     Has LTL or anyone acting on its behalf
       18     created any projections of future financial performance
       19     of a post-reorganized LTL?
       20     A: We have not at this point done that.
       21     Q: Has LTL or anybody acting on its behalf
       22     prepared any type of feasibility analysis with respect
       23     to any contemplated Chapter 11 reorganization plan?
       24     A: Not a written feasibility analysis. We believe
       25     that a plan is feasible and that we hope to develop one.
   36 :1      Q: Okay. Anything other than your hopes that the
       2      debtor has undertaken to try to determine whether
       3      there's a feasible plan of reorganization?
       4      A: Well, based upon discussion with counsel -- so
       5      it's not only our hopes, it's, you know, based upon
       6      discussions, we believe that there's a plan that's
       7      feasible, yes.
       8      Q: Okay. But no feasibility analysis has been
       9      undertaken, correct?
       10     A: So I'm not sure what you mean by feasibility
       11     analysis. There's no -- we don't have a written
       12     document that goes -- titled Feasibility Analysis. But
       13     we have had discussions, and we believe that based upon
       14     the experience and expertise of our bankruptcy counsel
       15     and the facts of the case, we believe that a Chapter 11
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      16      plan will be feasible.


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   36 :23     Q: Okay. Does LTL have any secured creditors?
       24     A: I do not believe it does.


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   37 :5      Q: Okay. As the corporate representative, are you
       6      aware of any secured debt that the debtor needs to
       7      address or resolve within the bankruptcy?
       8      A: I do not. I am not aware of any.
       9      Q: Are you aware of any asset that LTL owns that
       10     is subject to a lien or security interest of any kind?
       11     A: I do not believe that there are any, no.
       12     Q: Okay. Does LTL have any trade creditors?
       13     A: I do not believe it does.


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   45 :10     Other than contracts that concern claims
       11     based on talc and intercompany agreements, is LTL party
       12     to any other contract that you're aware of?
       13     A: I am not aware of any.


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   45 :15     LTL has no employees, correct?
       16     MS. BROWN: Objection, foundation.
       17     A: LTL's employees that have been seconded to it
       18     from Johnson & Johnson Services, Inc.


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   45 :21     Are you aware of any tax claims that have
       22     been asserted against LTL?
       23     A: I am not aware of any claims asserted.
       24     Q: Okay. We talked yesterday -- not we, but other
       25     lawyers and yourself spent some time on the funding
   46 :1      agreement. Do you remember that?
       2      A: I do recall that, yes.
       3      Q: Okay. Does LTL have any reason to believe that
       4      Johnson & Johnson and JJCI will not honor its
       5      obligations under the funding agreement?
       6      A: It has no reason to believe that Johnson &
       7      Johnson and JJCI will not honor the terms of the funding
       8      agreement.
       9      Q: In fact, LTL expects Johnson & Johnson and JJCI
       10     to honor their obligations under the funding agreement,
       11     correct?
       12     A: LTL does and has already undertaken -- gotten
       13     funds from the funding agreement.
       14     Q: Okay. Does LTL have any reason to believe that
       15     Johnson & Johnson or JJCI will be unable to fulfill
       16     their obligations under the funding agreement?
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      17      A: It has no reason to believe that.


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   50 :21     Q: And I appreciate that. So LTL expects to be
       22     able to fully fund the cost of managing and resolving
       23     talc personal injury claims at an amount that's less
       24     than the full value of JJCI, correct?
       25     A: I would say yes. Again, if things go as LTL
   51 :1      believes it should, that would be true.
       2      Outside the bankruptcy system, though,
       3      that -- you know, the cost of the litigation, again,
       4      could be substantial and unsustainable.


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   52 :25     Q: Okay. And are you personally familiar with the
   53 :1      types of assets that LTL owns?
       2      A: I am familiar with the assets, yeah. As a
       3      30(b)(6) witness for LTL, I am familiar with LTL's
       4      assets, yes.
       5      Q: All right. And I think we talked about that
       6      yesterday, but has anyone -- has LTL or anybody acting
       7      on its behalf done any analysis to determine its
       8      going-concern value?
       9      A: There's been no analysis of LTL's going-concern
       10     value, no.


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   58 :15     Q: And, Mr. Kim, does LTL have any knowledge of
       16     the net income after taxes under GAAP of old JJCI for
       17     the period ended December 2020?
       18     A: Again, no. LTL would not have that knowledge.


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   60 :4      Q: (By Mr. Dine) Mr. Kim, is LTL aware of what
       5      the net income of JJCI was as of September 2021 under
       6      GAAP after taxes?
       7      A: It does not.


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   60 :21     Q: And, Mr. Kim, are you aware of any valuation,
       22     formal or informal, of any royalties or royalty streams
       23     or rights to royalties assigned to or acquired by
       24     Royalty A&M?
       25     A: It is.


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   61 :2      Of what valuations is LTL aware?
       3      A: LTL is aware of a net present value calculation
       4      which has been produced for the royalty streams that was
       5      acquired by Royalty A&M.
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      6       Q: And is that the only valuation of which LTL is
      7       aware?
      8       A: It is.


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   64 :1      Exhibit 173 is the intercompany facility
       2      agreement between Johnson & Johnson and Royalty A&M LLC,
       3      and it's bearing Bates No. -- starting with Bates
       4      No. LTL 2663. I just want to confirm that that's the
       5      same as the Exhibit 11 -- No. 11 in your binder.
       6      A: It is, and I have downloaded it.
       7      Q: All right. And, Mr. Kim, what is this
       8      document?
       9      A: This document represents a revolving credit
       10     line that Royalty A&M has with Johnson & Johnson up to
       11     $50 million. So this facility allows RAM to borrow
       12     money from Johnson & Johnson in order to do its business
       13     of acquiring royalty streams.
       14     Q: And this agreement is currently in effect?
       15     A: Yes. It is in effect, yes.


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   64 :18     Has Royalty A&M drawn any funds under this
       19     agreement?
       20     A: Royalty A&M has indicated to Johnson & Johnson
       21     that it intends to in connection with an acquisition of
       22     a royalty stream that Royalty A&M is currently
       23     negotiating.


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   68 :1      Q: Now, the proposed funding of a qualified
       2      settlement for payment of talc claims, that's
       3      $2 billion, correct?
       4      A: It is.
       5      Q: And LTL has not received that $2 billion,
       6      correct?
       7      A: That is correct. We're waiting for court
       8      approval.
       9      Q: And do you know -- does LTL know on what
       10     calendar date that amount will be received by LTL?
       11     A: I think it depends on court approval.
       12     Q: Does LTL know that it will receive court
       13     approval for payment of that sum?
       14     A: It believes it will.
       15     Q: But it does not know?
       16     A: It is more probable that it will.
       17     Q: Well, when you say 'more probable,' what
       18     percentage probability does LTL assign to the likelihood
       19     of the Court approving such funding?
       20     A: I think probable enough to warrant putting it
       21     in as a account receivable in its monthly reporting
       22     report.
       23     Q: But that payment might not occur?
       24     A: If the Court does not approve it, then it may
       25     not occur, which is why in the global notes we specify
   69 :1      that it is if approved.
       2      Q: And is the presentation of that $2 billion with
       3      respect to the pre-petition funding, item 2(a), is that
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      4       made under generally accepted accounting principles?
      5       A: I do not believe the monthly operating report
      6       is GAAP accounting, but --
      7       Q: Is your next --
      8       A: -- I would have to defer to our accounting
      9       experts at AlixPartners who helps us with this filing.


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   69 :16     Are LTL's books and records kept under
       17     GAAP?
       18     MS. BROWN: Objection, speculation, vague.
       19     A: I don't know that we currently have a financial
       20     statement that was prepared under GAAP in its books and
       21     records at this point in time.
       22     Q: (By Mr. Dine) Has LTL recorded the $2 billion
       23     as a receivable on its books and records?
       24     A: I don't believe LTL has made any recordings at
       25     this time other than these monthly operating reports.
   70 :1      Q: Is there any -- I'm sorry.
       2      A: I'm just trying to think. I'm trying to think
       3      if there are any other financials that have been
       4      created. I believe these monthly operating reports are
       5      the only financials that have been created so far.


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   70 :18     Q: (By Mr. Dine) Is there any explanation in this
       19     document as to whether or not this $2 billion is
       20     appropriately recorded in LTL's books and records under
       21     GAAP?
       22     A: Again, this deals with the monthly operating
       23     report, which I do not believe is under GAAP. And the
       24     notes to this report details all the information
       25     required to understand what those numbers are and what
   71 :1      they represent.


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   76 :1      Q: Who determined that RAM should be formed?
       2      A: As part of the reorganization, a consensus was
       3      reached by the folks putting the reorganization together
       4      to create and capitalize RAM.
       5      Q: And those would be people in the Project Plato
       6      work stream?
       7      A: Well, Project Plato work stream, and there were
       8      discussions with Thibaut Mongon and folks that work with
       9      Mr. Mongon about capitalization of Royalty A&M. So he
       10     was involved in those discussions.
       11     Q: And what was the purpose of the formation of
       12     RAM?
       13     A: So RAM is an asset of LTL whose worth and
       14     income can be used to help LTL in its mission of fairly,
       15     completely and efficiently resolve the talc litigation.


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   77 :1      Q: (By Mr. Kahn) So the purpose of forming RAM
       2      was to provide an income stream to LTL. Is that
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      3       correct?
      4       A: An asset and income stream, yes.
      5       Q: Was RAM formed for the purpose of attempting to
      6       comply with the requirements of section 524(g) of the
      7       Bankruptcy Code?
      8       MS. BROWN: I'm going to object. That
      9       calls for a legal conclusion.
      10      And to the extent that it would implicate
      11      legal advice, Mr. Kim, I'll instruct you not to answer.
      12      Q: (By Mr. Kahn) Can you answer?
      13      A: I think I answered to the extent that I can
      14      without revealing privileged information.


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   79 :13     Q: What did old JJCI receive in exchange for its
       14     contribution of a revenue stream to RAM?
       15     MS. BROWN: Asked and answered.
       16     Go ahead again.
       17     A: I'm not sure if I understand your question.
       18     This was a restructuring where a subsidiary was formed.
       19     As part of the restructuring, old JJCI -- there was a
       20     series of steps in the step plan where, you know,
       21     companies become parents of other companies,
       22     contributions of capital are made, and, you know, it
       23     would be exchanged for being a parent of a company and
       24     so there's no -- I don't believe the question what did
       25     old JJCI receive for a contribution makes any sense.
   80 :1      RAM contributed an income stream of
       2      367.1 million. RAM and its parents were allocated the
       3      liabilities of old JJCI as it relates to talc
       4      liabilities, and through a series of mergers old JJCI
       5      stopped existing. I think that's the best I can answer
       6      the question.


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   82 :4      Q: (By Mr. Kahn) I'm sorry. Does RAM have any
       5      employees?
       6      A: RAM has employees to it -- it's the same
       7      employees that were seconded to LTL. So Mr. Wuesthoff,
       8      Mr. Dickinson and I are all employees of RAM as well.
       9      Q: Okay. And on the board of both LTL and RAM is
       10     Mr. Deyo, correct?
       11     A: Mr. Deyo is on the board of managers for LTL.
       12     He is not on the board of managers for RAM.
       13     Q: For purposes of the board of members of LTL,
       14     he's listed as disinterested director, is he not?
       15     A: He is.
       16     Q: Did LTL come to an understanding that he was
       17     disinterested?
       18     A: Yes. LTL believes that he is an uninterested
       19     director.
       20     Q: And upon what basis did it make that
       21     determination?
       22     A: Mr. Deyo has been not a employee of any
       23     Johnson & Johnson entity for over ten years, was not
       24     working for or had any relationship -- any working
       25     relationship with Johnson & Johnson at the time -- since
   83 :1      that time, and so -- any Johnson & Johnson entity since
       2      that time. So it was determined that he would be a
       3      disinterested director.
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      4       Q: Mr. Deyo had been an employee of Johnson &
      5       Johnson or one of the entities in its enterprise for
      6       over 20 years, had he not?
      7       A: He had. But that ended more than ten years
      8       ago.


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   84 :5      Q: (By Mr. Kahn) Did LTL make any inquiry of
       6      Mr. Deyo's disinterestedness as to whether he currently
       7      owns any stock in J&J?
       8      A: We do not consider stock ownership itself to be
       9      interest in LTL -- make him interested.
       10     Q: So you didn't make that inquiry of him?
       11     A: I do not believe we made inquiry of him as to
       12     what shares of whatever stock he owns.
       13     Q: Did you make any inquiry as to whether he was
       14     receiving any type of pension or retirement benefits
       15     from Johnson & Johnson or arising from his employment at
       16     Johnson & Johnson?
       17     A: Again, I think because he has not been employed
       18     by Johnson & Johnson for the last ten years, we did not
       19     make those inquiries.


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   88 :15     Q: So all of the royalty accounting and daily
       16     rigmarole of monitoring royalty streams is being
       17     performed by new JJCI under this agreement?
       18     A: It is.
       19     Q: And that was the type of services that were
       20     rendering as to these royalty streams prior to the
       21     creation of RAM, was it not?
       22     A: They were.
       23     Q: So there's no change in terms of day-to-day
       24     drudgery of monitoring and tracking royalty?
       25     A: Correct.


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   90 :17     Q: Would it be correct to state that prior to
       18     let's say October 1, 2021, you were employed by
       19     Johnson & Johnson?
       20     A: I was employed by Johnson & Johnson, the parent
       21     company, yes.
       22     Q: All right. And then we went through yesterday
       23     that sometime in the first half of October of 2021 your
       24     employer changed to JJSI. Would that be correct?
       25     A: That is correct.
   91 :1      Q: Is the same true as to Mr. Wuesthoff? Was he
       2      employed by J&J but then became employed by JJSI shortly
       3      before the restructuring?
       4      A: I believe that's true, yes.
       5      Q: And would the same be true as to Mr. Dickinson?
       6      A: Yes.


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   92 :6      Q: What does seconded mean, your understanding?
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       7      A: My understanding is that you become an employee
       8      of another organization, but your salary and benefits
       9      and administrative -- administrative issues are dealt
       10     with by your -- the company that's seconding you.
       11     So administratively, in terms of benefits
       12     and salary, all amounts are being -- still being paid by
       13     the employer seconding, sending you to the new employer,
       14     and that new employer's obligation is to pay back a
       15     portion of that.
       16     Q: But currently you're an employee of JJSI,
       17     correct?
       18     A: I am an employee of JJSI seconded as an
       19     employee to LTL.
       20     Q: As an employee of JJSI, to whom do you report?
       21     A: I report to Bob Wuesthoff.
       22     Q: And to whom does Mr. Wuesthoff report?
       23     A: Mr. Wuesthoff reports to Mr. Bob Decker.
       24     Q: Remind me who Mr. Decker is, please.
       25     A: He is the controller at Johnson & Johnson. So
   93 :1      he reports to him administratively.
       2      Q: And to whom does Mr. Dickinson report?
       3      A: Mr. Dickinson also reports to Mr. Decker.


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   94 :8      Q: Okay. Do you understand that as an employee,
       9      you owe a fiduciary duty to your employer?
       10     A: I think as a lawyer I understand that my
       11     fiduciary duty is to LTL.


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   95 :15     Q: There were no independent fairness opinions
       16     generated or received in connection with any of those
       17       (inaudible)?
       18     A: I agree there are no third-party fairness
       19     opinions generated or received nor were they required
       20     because of the intercompany transaction.
       21     Q: And it's your understanding that all of these
       22     transactions were fair to all of the parties involved?
       23     A: It is.


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 102 :24      Q: (By Mr. Glasser) Is it the case that you -- is
      25      it true that you never told the board of LTL what the
 103 :1       amount of the potential settlement in Imerys was?
      2       A: I believe they were told.
      3       Q: When?
      4       A: Prior to the board meeting. Prior to the board
      5       meeting there were conversations about the Imerys --
      6       potential resolution of Imerys and how that fell
      7       through. In the context of that, I think ranges may
      8       have been given in that context.
      9       Q: What was the highest range given?
      10      A: That would be privileged.


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 105 :1       Q: No, no. So in the Travelers documents and in
      2       other documents we've received it is clear that there
      3       were deals cut with lawyers that were like, we'll take
      4       your existing cases and then we'll take a hundred more
      5       ovarian cancer cases or 200 more cases.
      6       Explain to me how those deals worked.
      7       A: That's a subject of privilege, and that
      8       document that you're referring to was -- is privileged.
      9       Q: I'm not using the document. I want to know how
      10      do you do -- is it a written deal or just a handshake
      11      deal with somebody that, Hey, you can settle a hundred
      12      more cases?
      13      A: So as I testified to yesterday already, there
      14      were agreements to agree for certain deals. So there
      15      were deals that we had an agreement where if they
      16      presented a number of plaintiffs we would settle, those
      17      deals -- for some of those deals they did present people
      18      for settlement that was not consummated.
      19      So we didn't get to -- we got the
      20      releases, but we paid -- we did not pay by the time we
      21      filed for bankruptcy. So, in other words, if I have a
      22      deal with you that says, you know, We will pay you
      23      $5,000 for these plaintiffs when you give us the
      24      releases, at some point you gave us the releases, but we
      25      didn't pay prior to filing bankruptcy. So those were
 106 :1       unconsummated. So basically we never paid them.
      2       Bankruptcy got filed, and now they're in limbo.


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 111 :5       Q: (By Mr. Glasser) Let me ask the question
      6       again. Explain to me what benefit would adhere to LTL
      7       to even remotely keep those indemnities.
      8       MS. BROWN: I object. Beyond the scope of
      9       the notice and calls for speculation and has been asked
      10      and answered.
      11      Q: (By Mr. Glasser) Okay. You can answer the
      12      question.
      13      A: We have not done that analysis on accepting or
      14      rejecting executory contracts at this point.
      15      Q: Okay. So it follows from that you cannot have
      16      shown the board any such analysis, correct?
      17      MS. BROWN: Objection, beyond the scope of
      18      the notice.
      19      A: We discussed with the board the contract, the
      20      indemnity obligations. So that was discussed. What was
      21      not discussed was whether we should -- whether we should
      22      try to reject them and the ramifications of that.


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 113 :24      Q: So you agree that qualified settlement funds
      25      are not LTL; they're a separate trust?
 114 :1       MS. BROWN: Objection, beyond the scope.
      2       A: I would say they are -- currently they would be
      3       under a separate trust on the form that we submitted;
      4       but, again, this is all subject to court approval. So
      5       it's speculative at this point.
      6       Q: (By Mr. Glasser) And you also understand that
      7       because it's a separate trust and because it's a
      8       qualified settlement fund, Johnson & Johnson, the
      9       contributor, will actually get a tax deduction for it,
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      10      right?
      11      A: LTL, I think, is -- would not be aware of --
      12      isn't aware of the tax implications of this. Again, the
      13      fund itself and the order -- the creation is also
      14      subject to court order, which has not happened.
      15      Q: You said in response to some questions from
      16      Mr. Morris that the 2 billion should be sufficient to
      17      resolve the case in bankruptcy. Do you remember those
      18      questions and answers?
      19      MS. BROWN: Objection, misstates his
      20      testimony.
      21      A: I testified that the 2 billion I thought was
      22      appropriate.
      23      Q: (By Mr. Glasser) And it must have been
      24      appropriate in relation to what you expect the
      25      obligation to be in bankruptcy, right?
 115 :1       MS. BROWN: This is beyond the scope. I
      2       object.
      3       A: Yeah, I think -- we had a lengthy discussion
      4       about what the result of the bankruptcy should be and
      5       what it might be versus what it could -- what it will
      6       be.
      7       So, you know, again, LTL believes that
      8       baby powder, talc, does not cause the injuries that's
      9       being complained of in the complaints. So we think
      10      that, you know, 2 billion would be sufficient for that
      11      purpose.
      12      But, again, we are here on a good-faith
      13      basis to try to resolve the claims which takes -- which
      14      means that it would be an agreement among all the
      15      parties to the right amount.
      16      So, you know, again, the value of JJCI is
      17      well beyond the $2 billion. Somewhere near 2 billion or
      18      over 2 billion or under 2 billion up to $60 billion
      19      would be sort of the value -- the numbers that these
      20      values would contemplate.


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 116 :16      Q: (By Mr. Glasser) Do you contend you're in
      17      financial distress? So answer the question, Mr. Kim.
      18      A: Yes. We contend we're in financial distress.
      19      Q: And I'm asking you. Is one mesothelioma trial
      20      out there in tort world enough to put LTL in financial
      21      distress?
      22      A: I think it's speculative and would depend upon
      23      the circumstances.


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 118 :23      Q: I want to know where the -- any kind of serious
      24      near-term financial distress, or do you concede there
      25      was no serious near-term financial distress?
 119 :1       A: So if your hypothetical was as of the time, you
      2       know, did the next trial cause financial distress, I
      3       would say the company was already in financial distress.
      4       It doesn't matter how many trials are in the future. It
      5       was already in financial distress because of the number
      6       of cases that were out there, the rate of spending that
      7       the company was doing, the likelihood of these jackpot
      8       jury awards that sporadically happened, the future
      9       development of the cases, including the fact that
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      10      there's a 60-year latency period, and that virtually
      11      everyone in the country had been exposed to Johnson's
      12      Baby Powder at one point.
      13      All those caused the financial distress.
      14      It was not the next trial or the next five trials. At
      15      that point the company was already in financial
      16      distress.
      17      Q: How many cases had LTL named as a defendant on
      18      October 14, 2021?
      19      MS. BROWN: Objection, beyond the scope.
      20      A: So LTL assumed the liability of old JJCI and
      21      old JJCI ceased to exist. At that point on October 14
      22      any lawsuit that involved JJCI was the responsibility of
      23      LTL.
      24      So to ask whether LTL was named as a
      25      defendant misstates what the facts were at that time.
 120 :1       Q: (By Mr. Glasser) What's the answer to my
      2       question, though? How many cases had named LTL as a
      3       defendant as of the bankruptcy?
      4       MS. BROWN: It's beyond the scope.
      5       Q: (By Mr. Glasser) Zero, right? Zero.
      6       MS. BROWN: He's going to answer. You
      7       need to stop asking compound questions. I'm going to
      8       object as beyond the scope.
      9       If you know the answer in your individual
      10      capacity, Mr. Kim, you can go ahead and answer.
      11      A: So at the time of LTL's formation, nobody knew
      12      of LTL's existence. So nobody named it as a defendant.
      13      After LTL came into existence, it, A,
      14      assumed all the liability that old JJCI had and by
      15      operation of law generally we would say became liable
      16      for those lawsuits.
      17      Subsequent to LTL filing for bankruptcy,
      18      there have been a number of cases that have been filed
      19      despite the fact that there was an order -- a temporary
      20      restraining order that named LTL as a defendant.
      21      Sitting here today, I don't recall how many cases there
      22      were.


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 122 :17      Topic 3 references a Jones Day
      18      announcement which I'm sure you're familiar with which
      19      -- I'll read you the title of the announcement. If we
      20      have to pull it up, we certainly can. It was on
      21      November 12, 2021 where the heading was Johnson &
      22      Johnson announces plans to accelerate innovation, serve
      23      patients and consumers and unlock value through intent
      24      to separate consumer health business.
      25      Are you generally familiar with that
 123 :1       announcement which J&J made in November?
      2       A: I am familiar with the announcement. I think
      3       this is a topic we objected to. I'm happy -- I don't
      4       know what Ms. Brown wants to recommend here.


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 125 :21      Q: Okay. And were you -- strike that.
      22      Was anybody -- to your knowledge, was
      23      anybody at RAM involved in negotiation of the contracts
      24      which provide a royalty stream to RAM?
      25      A: Well, the contracts that gave the royalty
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 126 :1       stream to RAM were not negotiated contracts. Those were
      2       contracts drafted by attorneys representing all the
      3       parties.
      4       Again, because it was an intercompany
      5       transaction, those attorneys represented all interested
      6       parties and there was no third-party negotiation on
      7       them.


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 130 :7       Q: (By Mr. Jonas) Can I ask you, are you
      8       familiar -- is it fair to say that the permitted funding
      9       use, the uses for which LTL can make a request of J&J or
      10      JJCI for funding?
      11      A: Yes. You can call on the funding agreement to
      12      pay -- these would be permitted uses for funding, yes.
      13      Q: Okay. And I just want to -- was this position
      14      negotiated by LTL at all?
      15      MS. BROWN: Asked and answered.
      16      A: Yeah. I would refer to the answers to the
      17      interrogatories. Because these are intercompany
      18      arrangements, there was no third-party negotiations on
      19      these. All these documents were reviewed by the company
      20      and its advisors for fairness; but there's no -- and at
      21      any time if anyone thought something was unfair, they
      22      could always raise their hand and say, Hey, this is
      23      unfair. So that's the process that was used.
      24      Q: (By Mr. Jonas) So as the chief financial
      25      officer -- I'm sorry. As the chief legal officer of
 131 :1       LTL, then is it fair to say that you believe that all
      2       provisions of the amended and restated funding agreement
      3       are, in fact, fair?
      4       A: I believe that's true, yes.
      5       Q: So I'd like you to take a look at section --
      6       where we're looking here under permitted funding use,
      7       particularly (c). Do you see section (c) where it
      8       begins, 'The funding of any amounts to satisfy'?
      9       A: I do see that.
      10      Q: I think we talked about (i) yesterday. It
      11      says, 'The funding of any amounts to satisfy the payee's
      12      talc-related liabilities established by a judgment of a
      13      court of competent jurisdiction,' et cetera. Then it
      14      goes on to say 'at a time when there's no proceeding
      15      under the Bankruptcy Code.'
      16      I think you said it was one of LTL's
      17      options that if it stayed out of bankruptcy, it would
      18      have the availability in this section to seek funding of
      19      talc-related liabilities. Is that generally correct?
      20      A: Generally. This would be the option of going
      21      forward in the tort system.
      22      Q: And I guess the option that LTL chose -- that
      23      is, to file bankruptcy -- that's effectively covered by
      24      (c)(ii) which says, 'Following the commencement of any
      25      bankruptcy case,' right? Is my understanding correct?
 132 :1       A: But there's also section (b) above that deals
      2       with the payment of any and all costs and expenses of
      3       the payee incurred during the pendency of any bankruptcy
      4       case, including the costs of administering the
      5       bankruptcy case.
      6       So that provision also applies if there's
      7       a pending bankruptcy.
      8       Q: And what is your understanding of what costs
      9       and expenses means, since you made reference to it?
      10      A: It's the costs of administrating the case, as
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      11      stated there.


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 134 :21      If you look at (c)(ii), is it correct
      22      that -- is it LTL's understanding that Johnson & Johnson
      23      and JJCI's obligations to fund LTL's talc-related
      24      liabilities after the beginning of the bankruptcy case
      25      is conditioned on there being a confirmed plan of
 135 :1       reorganization?
      2       A: That is not correct.
      3       Q: Can you explain to me why that is not correct
      4       pursuant to (c)(ii)?
      5       A: (c)(ii) only relates to the specific issue of
      6       creating a fund. All right? So if you look at (c)(ii),
      7       it says, 'Following the commencement of any bankruptcy
      8       case, the payee's talc-related liabilities in connection
      9       with the funding of one or more trusts for the benefit
      10      of existing and future claimants created pursuant to a
      11      plan of reorganization for the payee confirmed by a
      12      final non-appealable order of the bankruptcy court and
      13      to the extent required, the district court,' and it goes
      14      on.
      15      So that (c)(ii) relates only to the
      16      funding of a trust. All right? So that would be -- if
      17      there's a settlement fund, then it's got to be approved
      18      through a final non-appealable order.
      19      Section (b) and section (c)(iii) deals
      20      with the cost of paying talc-related liabilities not in
      21      the trust.
      22      Q: Okay.
      23      A: So only the trust portion -- if you're going to
      24      settle the cases and create a trust, then it only gets
      25      funded if that's an approved -- subject to an approved
 136 :1       plan.


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 138 :15      How does LTL plan to fairly and equitably
      16      resolve talc claims in bankruptcy?
      17      A: So I'll refer to my first-day declaration where
      18      there is a statement in there about how it wants to
      19      settle the claims through a trust.
      20      Q: Uh-huh.
      21      A: So, again, I would incorporate the first-day
      22      declaration answer and refer to that.
      23      Q: Great.
      24      A: So it states that the intent -- the intent is
      25      to negotiate a trust agreement -- a settlement trust.
 139 :1       Q: Okay. Thank you very much. That's very
      2       helpful.
      3       So now let's go back to (b)(ii). Since we
      4       now understand that LTL intends to create a trust to
      5       fairly and equitably resolve talc claims, that would
      6       fall under -- in order to compel payment or seek payment
      7       from J&J and JJCI, you'd have to look to section (c)(ii)
      8       that we're looking at now, right? Isn't that where I
      9       would look to find out how you're going to effect
      10      payment pursuant to a trust for talc claimants?
      11      A: Yes.
      12      Q: Okay. And when I look at (c)(ii), isn't it the
      13      case that the only way to effect that payment from J&J
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      14      or JJCI is pursuant to a confirmed final non-appealable
      15      order of the bankruptcy court of a plan of
      16      reorganization which contains, pursuant to which J&J and
      17      JJCI will receive injunctive protection under either 105
      18      or 524(g)? Isn't that what that says?
      19      A: The agreement says what it says. Yeah, the
      20      agreement says what it says.


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 141 :20      Q: (By Mr. Jonas) Yeah. If you just look at the
      21      last sentence. It says the JJCI value shall be
      22      calculated at and only at any date on which, and it says
      23      (x) the payors refuse to make a requested payment under
      24      this agreement, et cetera, et cetera.
      25      Again, I -- there's nothing wrong with it.
 142 :1       I guess it's a good thing. I'm trying to confirm that.
      2       You only have to value old JJCI if the payors refuse to
      3       make a payment. So as long as they're paying, you never
      4       have to value old JJCI even if they pay more than
      5       whatever old JJCI's worth. That's what I'm trying to
      6       understand.
      7       A: I hear what you're saying. So, again, if by
      8       happenstance we overshoot it, I agree that that provides
      9       for that, that -- what the payment date -- when you
      10      calculate the payment may be at a time where they've
      11      already provided more money than the value.


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 145 :10      Q: (By Mr. Jonas) And let me ask this question.
      11      I'm really almost done. But has LTL determined whether
      12      it will be necessary to obtain J&J and JJCI's consent to
      13      the assignment of the amended and restated funding
      14      agreement in order to emerge from bankruptcy?
      15      MS. BROWN: Objection, beyond the scope,
      16      calls for speculation.
      17      A: I think that would be speculative and depend
      18      upon how -- you know, what the emergence of bankruptcy
      19      looks like.


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 149 :7       Q: (By Mr. Block) On behalf of LTL, who was your
      8       chief legal officer on October 12th, 2021?
      9       A: It was me.
      10      Q: Okay. And on behalf of LTL, did LTL have a
      11      chief legal officer before October 12th, 2021?
      12      A: It did not.
      13      Q: Okay. Did LTL's chief legal officer, John Kim,
      14      as of October 12th, 2021 possess years of knowledge
      15      about the talc litigation that had occurred against J&J
      16      in the previous years?
      17      A: He previously -- he personally did. So I
      18      personally have knowledge.


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 149 :21      And testifying on behalf of LTL, has LTL's
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      22      chief legal officer, John Kim, utilized the knowledge he
      23      knew about the talc litigation prior to the time that he
      24      joined LTL?
      25      A: I would say to some extent, yes.
 150 :1       Q: Okay. Testifying on behalf of LTL, did John
      2       Kim, LTL's chief legal officer, educate the LTL board
      3       about certain facts relating to the talc litigation that
      4       LTL's legal officer, Mr. Kim, had learned about over the
      5       previous number of years before Mr. Kim had joined LTL?
      6       A: There were certain facts that were reported to
      7       LTL Management.
      8       Q: Okay. And the board that we've been talking
      9       about today was -- of LTL is Dickinson, Wuesthoff and
      10      Deyo, correct?
      11      A: Correct.
      12      Q: And you're not on the board even though you
      13      hold these positions of chief legal officer, treasurer
      14      and secretary, correct?
      15      A: Correct. I am not on the board.
      16      Q: Okay. So you as chief legal officer of LTL,
      17      you shared with the board your knowledge about the
      18      volume of talc cases that had been pending against the
      19      J&J entities and that were now pending against LTL after
      20      its creation, correct?
      21      A: I along with Andrew White at times and along
      22      with the first-day declaration and informational
      23      statement that was given to the board.
      24      Q: Okay. And I think you said today that you had
      25      shared with the board or Mr. White had shared with the
 151 :1       board that you believe that the talc litigation, as it
      2       then stood against LTL after its formation, was, I think
      3       you said, unpredictable, correct?
      4       A: I would say the verdicts are unpredictable.


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 155 :19      THE REPORTER: 'Question: Okay. Well,
      20       was the LTL board informed that one of the possible
      21       alternatives to filing for bankruptcy was potentially
      22       settling the talc cases in the tort system? Were they
      23       informed of that as one of the alternatives?'
      24      MS. BROWN: Beyond the scope. I object.
      25      A: In discussing alternatives and going forward
 156 :1        with the tort system, it was understood that, yes, we
      2        can always try to settle cases.
      3        But it was, again, A, you can't deal with
      4        futures in the tort system. Regardless of how many
      5        cases you want to settle, you can't deal with claimants
      6        that haven't appeared, that haven't been represented by
      7        any lawyer, that might not even have been born yet.
      8        So it was discussed, yes.


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Page 157
 157 :3       Did LTL prior to voting on the filing of
      4       bankruptcy on October 14, 2021 know that J&J had settled
      5       the majority of mesothelioma cases that had been filed?


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 157 :6       MS. BROWN: Object as beyond the scope.
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      7       Go ahead.


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 157 :8       A: I think we went through the statistics of cases
      9       that were there and cases that had been recalled. I
      10      don't know whether we said it was the majority of the
      11      cases that were filed. We did go through the statistics
      12      and also noted that there could be an explosion of cases
      13      in the future.


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Page 158
 158 :24      THE REPORTER: 'Question: Is it true
      25       that -- did LTL know that when J&J had historically
 159 :1        settled talc cases, that J&J considered both the facts
      2        and circumstances of the case and the law firm
      3        representing the particular claimant?'
      4       MS. BROWN: Same objections.
      5       A: Among those factors, I think the board was
      6        apprised that there were a multitude of factors that
      7        might go into settlement, yes.


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 168 :15      Did LTL's chief legal officer and
      16      secretary on October 14, 2021 know that the J&J entities
      17      had paid less to settle mesothelioma claims in 2021 as
      18      compared to 2020? Yes or no?
      19      MS. BROWN: Same objections.
      20      A: No.
      21      Q: (By Mr. Block) No?
      22      A: No.
      23      Q: Okay. So when did the chief legal officer and
      24      secretary of LTL first learn that the J&J entities had
      25      paid less to settle mesothelioma claims in 2021 as
 169 :1       compared to 2020?
      2       MS. BROWN: Foundation, beyond the scope.
      3       A: When we put together this exhibit.
      4       Q: (By Mr. Block) All right. Which was
      5       approximately when?
      6       A: couple weeks ago.


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 170 :17      THE REPORTER: 'Question: On October 14,
      18       2021 did the chief legal officer and secretary of LTL
      19       know whether the J&J entities had paid more or less
      20       money to settle ovarian cancer claims in 2021 as
      21       compared to 2020?'
      22      MS. BROWN: Same objection.
      23      A: LTL wouldn't have known -- LTL wouldn't have
      24       known. If you want to ask me personally whether I knew
      25       at that time, same answer as last time, I did not know
 171 :1        the yearly breakdown until I saw -- we put together this
      2        chart.
      3       Q: (By Mr. Block) Okay. So the answer is the
      4        same with regard to the mesothelioma claims and the
      5        ovarian cancer claims. LTL was not aware of a breakdown
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      6       between 2021 and 2020 or any other previous years until
      7       the chart was created recently and you learned about
      8       that on behalf of LTL, correct?
      9       A: Until I saw the chart, yes.


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 172 :13      Q: Right. And you also have to include in your
      14      analysis the fact that there were a number of firms that
      15      no longer filed talc cases against J&J but instead
      16      presented those cases to the Barnes & Thornburg firm for
      17      settlement processing, right?
      18      A: And there are also plaintiffs who had never
      19      sued us before, law firms that had not been there that
      20      appeared and started suing us now.
      21      If you're going to do an analysis of why
      22      there's a difference in years, then that would have to
      23      be done.
      24      And at the end of the day we don't think
      25      that would make any difference because, again, we were
 173 :1       looking at 38,000 cases with future claims and a -- you
      2       know, a latency period of 60 years.


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 178 :23      Q: (By Mr. Block) Okay. And it's a true
      24      statement that after the Ingham verdict there were no
      25      plaintiffs' verdicts in any ovarian cancer case against
 179 :1       the J&J entities, correct?
      2       MS. BROWN: Beyond the scope.
      3       A: I believe that's true. Again, I'd have to
      4       confirm that by looking at a chart, but I don't have one
      5       right now.
      6       Q: (By Mr. Block) Okay. And believing that


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 186 :25      Q: (By Mr. Block) Okay. In terms of considering
 187 :1       the alternatives to the October 2021 restructuring of
      2       JJCI, my question for you is did the J&J entities ever
      3       try a talc case in federal court?
      4       A: So I don't know that it has anything to do with
      5       an alternative to a corporate restructuring. I disagree
      6       that it has anything to do with that. But I can tell
      7       you there were no cases -- no ovarian cases tried in
      8       federal court.


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 192 :16      Q: Okay. So my question for you is a little
      17      different, which is can you point to any specific
      18      financial documents that support LTL's contention that
      19      old JJCI was in financial distress as of October 2021?
      20      A: Well, I would say -- I'm not sure what you mean
      21      by financial documents. What I would say is that
      22      documents affecting the finances would be basically the
      23      records of all the underlying litigation.
      24      So the complaints, the, you know,
      25      requests -- the ad damnum clauses in the complaints, the
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 193 :1       trial transcripts, the requests for jury verdicts,
      2       closing argument statements, expert reports. You know,
      3       I can go on.
      4       There are -- I would say virtually all the
      5       documents in the underlying litigation are documents
      6       that support the financial distress of the company at
      7       the time that it filed for bankruptcy.
      8       Q: What specific business records generated by any
      9       J&J entity in the ordinary course of business does LTL
      10      rely upon for its contention that old JJCI was in
      11      financial distress as of October 2021?
      12      A: The invoices that were submitted for payment of
      13      fees and expenses, the books and records that's in the
      14      SAP system that J&J uses to make accounting -- for the
      15      accounting of expenses to its -- for its subsidiaries,
      16      the 2021 year-end financials that show the loss in 2020
      17      to the consumer sector.
      18      I'm sure there are other financial
      19      documents in the records of the accounting group that
      20      document the cost of the litigation that have been borne
      21      by JJCI.
      22      And then there are the income statements
      23      that have been produced, you know, the income statements
      24      in the financial records as well.
      25      So I think those would be generally the
 194 :1       documents that we would rely upon to show financial
      2       distress.
      3       Q: Okay. What financial analysis or financial
      4       projections does LTL rely upon for its contention that
      5       old JJCI was in financial distress as of October of
      6       2021?
      7       A: Well, based upon all the documents that I
      8       relayed as well as the informational statement and the
      9       materials and the objections in the motion to dismiss
      10      that detail the analysis of ongoing litigation and our
      11      belief that because of the future litigation and the --
      12      and the latency period of this, that the finances --
      13      it's unsustainable.
      14      There are also expert reports that were
      15      recently filed that detail the financial distress of the
      16      company. So that would be the stuff -- as that
      17      interrogatory states, material that we rely upon.


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 194 :23      Q: Yeah. Does LTL know of any specific instance
      24      in which old JJCI as of October of 2021 had had
      25      difficulty meeting or satisfying any debts or
 195 :1       obligations that had already come due?
      2       A: Again, I think LTL would not have that
      3       information, and I would refer to old JJCI or the
      4       records that are in that SAP system for the answer to
      5       that. I don't think -- LTL would not have that
      6       information.
      7       Q: Has LTL ever had any difficulty meeting or
      8       satisfying any debt or obligation that has come due?
      9       A: Not since filing bankruptcy, no.
      10      Q: Well, from the time of LTL's creation on
      11      October 12, 2021, has LTL ever had any difficulty
      12      meeting or satisfying any debt or obligation that had
      13      come due?
      14      A: I'm not sure that there was anything -- the
      15      concept of coming due in that short period of time I
      16      don't think is a relevant inquiry. I don't believe that
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      17      during that formation anything was presented to LTL.
      18      Q: So was any debt or obligation presented to LTL
      19      for payment between October 12, 2021 and October 14,
      20      2021?
      21      A: I don't believe anything was presented to LTL,
      22      but it had obligations as of its formation. As soon as
      23      it was formed, it had all the talc liability on it.
      24      I don't know whether -- frankly, you know
      25      what? It probably was true during that period those
 196 :1       were submitted or invoices may have been submitted that
      2       were not yet paid, and at that time LTL would have been
      3       in financial distress. By the time they filed
      4       bankruptcy, everything got stayed.


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 199 :9       In between the time LTL was formed on
      10      October 12, 2021 and when LTL filed for bankruptcy on
      11      October 14, 2021, did LTL default on any existing or
      12      futures debts or obligations?
      13      MS. BROWN: Objection, beyond the scope.
      14      A: LTL had not defaulted prior to filing
      15      bankruptcy on any obligations.
      16      Q: (By Mr. Block) Okay. And as to LTL's
      17      contention that old JJCI was in financial distress in
      18      October of 2021, does LTL know whether old JJCI had
      19      defaulted on any existing or future debts or obligations
      20      as of October of 2021?
      21      A: LTL does not know whether JJCI had defaulted on
      22      any of those things that you mentioned.


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 200 :9       As to LTL's contention that old JJCI was
      10      in financial distress as of October of 2021, does LTL
      11      have any knowledge that old JJCI was having any
      12      difficulty raising or borrowing money when needed as of
      13      October of 2021?
      14      A: LTL has no information about that.
      15      Q: And LTL -- from October 12th, 2021 to
      16      October 14th, 2021, you would not say that LTL had any
      17      impaired access to capital markets, correct?
      18      A: LTL doesn't know whether it had impaired access
      19      because it didn't try to -- it did not attempt to raise
      20      money in the capital assets market.
      21      Q: Okay. And as to LTL's contention that old JJCI
      22      was in financial distress in October of 2021, is LTL
      23      aware of old JJCI having any impaired access to capital
      24      markets as of that time in October of 2021?
      25      A: LTL has no information about that.


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Page 203
 203 :9       QUESTIONS BY MS. BROWN:
      10      Q: Mr. Kim, you were asked a number of questions
      11      about the funding agreement. Do you remember those
      12      questions?
      13      A: I do.
      14      Q: And you were asked certain hypotheticals about
      15      the funding agreement. Do you remember all those
      16      questions?
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  17    A: I do remember those questions, yes.
  18    Q: Okay. Would you, sir, defer to the text of the
  19    funding agreement for its meaning?
  20    A: Absolutely. The text would control my
  21    understanding of the agreement, yes.
  22    Q: Thank you, Mr. Kim. I have no further
  23    questions.
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LISMAN, ADAM


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    9 :13       Q. All right. Well, I'd like to put up --
       14   in that deposition, you may recall you talked
       15   about a legal -- an accounting policy related to
       16   legal costs. Do you recall discussing that?
       17       A. Yes.
       18       MR. GLASSER: Can we put Exhibit 284 in the
       19   chat?
       20   BY MR. GLASSER:
       21       Q. Subsequent to that deposition, this
       22   policy was produced to us, and I'm wondering if
       23   it's the one you were referencing when you were
       24   talking about an accounting policy related to
       25   legal costs.


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   10 :8       Q. 284. It's two pages long.
       9       A. Yep, I got it here.
       10      Q. So Mr. Lisman, my question to you --
       11   and you can look at the second page, too, if
       12   you'd like, obviously it's only two pages
       13   long -- is this the policy you were referencing
       14   when you said there was an internal policy
       15   pertaining to accounting for legal-related
       16   costs?
       17      A. Yes.


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   13 :2        Q. All right. Let's go back to
       3    Exhibit 284.
       4           Can you please look through Exhibit 284
       5    and show me the words that allow for the
       6    accounting of a judgment against Johnson &
       7    Johnson, specifically against Johnson & Johnson,
       8    for punitive damages to be allocated to JJCI?
       9    Can you just look through the policy and show me
       10   the words you're relying on to make that
       11   decision?
       12       MS. BROWN: No, I object to the exercise, and
       13   it lacks foundation.
       14   BY MR. GLASSER:
       15       Q. Take all the time you'd like.
       16       A. Okay. Let me just read it slowly,
       17   please.
       18          So in the first line under Section A,
       19   "In general" -- "In general, payments of bills
       20   for domestic affiliates shall be made by the
       21   corporate law department and charged out to the
       22   company to whom responsibility has been assigned
       23   by the corporate finance and the corporate law
       24   departments."
       25          That would be the general policy that
   14 :1    covers payments for legal bills or claims and
       2    that it's ultimately the responsibility of the
       3    domestic affiliate.
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      4        Q. Okay. Is there -- are there any other
      5     words in this policy that are relevant to that
      6     decision on your behalf to pay punitive damages
      7     awarded against Johnson & Johnson and assign
      8     them to JJCI?
      9            Just look through the rest of the
      10    policy. I want to make sure that one sentence
      11    is what we're talking about.
      12       MS. BROWN: Well, I -- I object to the
      13    question, lacking foundation and asking for a
      14    legal conclusion about the document.
      15    BY MR. GLASSER:
      16       Q. Go ahead, Mr. Lisman. She gets to
      17    object, and then you get to answer the
      18    questions.
      19       A. Is there anything else in this
      20    high-level policy?
      21       Q. Correct.
      22       A. I guess not, no.


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   15 :9        Q. Go ahead. Did you download it from the
       10   chat?
       11       A. Yeah, yeah. One second.
       12           Yeah. There's no other specific
       13   language or policies here that would pertain to
       14   recording costs to the local affiliates.
       15       Q. All right. Blow up that one sentence,
       16   the first sentence of that paragraph.
       17           Okay. So the internal accounting that
       18   took that $716 million of punitive damages
       19   charged against Johnson & Johnson in the Ingham
       20   case and put it on the JJCI books arises from
       21   this policy, the highlighted sentence, that I
       22   have in front of you?
       23       A. I would say this policy in addition
       24   with the requirements and policies of U.S. GAAP.
       25   This policy is an interpretation of
   16 :1    plain-English view of what the requirements of
       2    U.S. GAAP are. We do our accounting decisions
       3    relying on both.
       4        Q. Okay. So what U.S. GAAP rule, to your
       5    knowledge, allows the corporate finance and law
       6    department at Johnson & Johnson to override an
       7    allocation of responsibility for intentional
       8    action imposed by a court? Which GAAP -- what
       9    GAAP principle are we dealing with?
       10       A. Yeah. So in the building-block
       11   concepts of U.S. GAAP referred to as CON, or
       12   C-O-N, which I believe is short for "concept,"
       13   these are the fundamentals of GAAP. It defines
       14   what an asset is. It defines what a liability
       15   is. It defines what revenue is.
       16           And in those statements, it talks about
       17   a liability shall be recorded by the entity who
       18   is ultimately responsible for such cost. I'm
       19   paraphrasing. I don't have the exact word from
       20   U.S. GAAP, but something to that extent. If you
       21   go look for it -- I think it's Concept 5 or 6 --
       22   you'll see it.
       23           And it talks about, generally and
       24   ultimately, the liability is the responsibility
       25   of one entity, unless there are contracts and
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   17 :1    agreements in place where liability is shared or
       2    there's indemnifies or something like that. But
       3    the general concept is, the liability relates to
       4    the cost of the entity who is responsible for
       5    that cost.
       6           That fundamental concept of GAAP plus
       7    this interpretation of a policy, that is what
       8    would drive the accounting by JJCI.


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   19 :2       Q. All right. Is there any GAAP rule that
       3    says, notwithstanding legal obligation to pay,
       4    we can assign it to another entity?
       5       MS. BROWN: Okay. I object. It lacks
       6    foundation, calls for a legal conclusion, and
       7    calls for speculation.
       8       THE WITNESS: GAAP is not that specific, as I
       9    talked about.
       10      MR. GLASSER: You can take this down.
       11      THE WITNESS: GAAP talks about a liability is
       12   the responsibility of the legal entity that
       13   incurred that cost.
       14      MR. GLASSER: All right. We just looked
       15   at --
       16      THE WITNESS: That's what GAAP says.


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   20 :25      Q. So when you made the -- was it you who
   21 :1    made the decision to allocate it -- this to JJCI
       2    instead of leaving it on the J&J books? Who
       3    made the --
       4       A. No, it was not my decision.
       5       Q. Who made the decision?
       6       MS. BROWN: Calls for speculation.
       7       THE WITNESS: I don't know the individual.
       8    But the folks in the accounting department, in
       9    the legal department, they follow the policies
       10   of the company and the requirements of GAAP.
       11   BY MR. GLASSER:
       12      Q. To your knowledge, did anyone in the
       13   accounting department ask for a legal opinion as
       14   to whether or not JJCI could be allocated? I
       15   don't want to know the content of the opinion,
       16   but did anybody ask for a legal opinion as to
       17   whether the internal accounting policy could
       18   trump the judgment of a court?
       19      MS. BROWN: Calls for speculation.
       20      THE WITNESS: Not that I know of, no.


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   22 :21      Q. So you are emailing with Mr. Decker in
       22   this because he is about to have a meeting with
       23   Joe Wolk, who you described earlier as the
       24   person two levels above you and to whom
       25   Mr. Decker reports; is that right?
   23 :1       A. Correct.
       2       Q. You are helping Mr. Decker decide what
       3    to talk about at this meeting, correct?
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    4        A. Yes.
    5        Q. The second bullet point is "potential
    6    unique talc liability structure I mentioned two
    7    weeks back and these unique complexities."
    8            Do you see that?
    9        A. Yes.
    10       Q. Two weeks back would have been mid
    11   March, right?
    12       A. Yep.
    13       Q. What did you mention to Mr. Decker in
    14   mid March?
    15       A. That's about a year ago. I probably
    16   had a meeting and a discussion with some of the
    17   internal J&J lawyers about --
    18       MS. BROWN: And hang on a second, Adam,
    19   before you finish that, I just want to caution
    20   you not reveal any legal advice you may have
    21   received from those lawyers or any requests for
    22   legal advice you may have made to the lawyers.
    23   If there are facts about that conversation, it's
    24   fine to answer with those.
    25       THE WITNESS: Okay. The discussion would
24 :1    have been potential avenues or structures in how
    2    we are addressing the talc claims that the
    3    company is facing and if there was an accounting
    4    or reporting concept or attribute that I would
    5    need to think about.
    6    BY MR. GLASSER:
    7        Q. What were the unique complexities?
    8        A. I don't recall. This is a year ago.
    9            Looking back with hindsight now, it
    10   probably was talking about what are different
    11   avenues and the accounting implications of, you
    12   know, legal strategies that the legal department
    13   was thinking about. But the details, I don't
    14   recall.
    15       Q. Okay. So the -- which lawyers?
    16       A. It would have been Andrew White and
    17   Erik Haas.
    18       Q. Why were you having the meeting?
    19       A. As part of my role, I provide
    20   accounting advice and disclosure advice for a
    21   lot of our most complicated and unique
    22   accounting requirements. So if the business or
    23   the legal department or the tax department is
    24   thinking about a transaction or an event or
    25   hypothetically modeling something, they will
25 :1    want to understand how would the accounting work
    2    and how would the reporting work for the Johnson
    3    & Johnson consolidated company, and that's a big
    4    part of my job. And I have discussions with the
    5    legal team on these types of matters frequently.
    6        Q. So this must have been the start of
    7    thinking of putting talc liability in a
    8    separate -- in a company separate from JJCI
    9    since it would change the reporting, right?
    10       MS. BROWN: Objection, calls for speculation,
    11   lacks foundation.
    12       THE WITNESS: Looking back with hindsight
    13   now, I would think so, yes.
    14   BY MR. GLASSER:
    15       Q. Because, otherwise, there wouldn't be
    16   any new structure to even be discussing, right?
    17   It would be housed in the existing structure,
    18   correct?
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      19      MS. BROWN: Objection, calls for speculation.
      20      THE WITNESS: I would think so, yes.


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   37 :16      Q. For example, to your knowledge, you've
       17   never run these JJCI financials for Michelle
       18   Goodridge, have you?
       19      A. No.
       20      Q. Prior to asking them to be run for this
       21   case, had you actually ever looked at them on a
       22   standalone basis?
       23      A. Me personally?
       24      Q. Correct.
       25      A. No. But I've never looked at any
   38 :1    Johnson & Johnson legal entity standalone
       2    financials ever.
       3       Q. Were you involved in Project Plato?
       4       A. Yes.
       5       Q. You were the person helping to set up
       6    the accounting for all of Project Plato?
       7       A. I was one of the people providing input
       8    from an accounting and reporting perspective,
       9    yes.


LISMAN, ADAM - 02/08/2022
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   38 :19      Q. Do you see these names of people who
       20   received an approval memorandum in respect of
       21   Project Plato?
       22      A. Yes.
       23      Q. Did you -- were you actually on some of
       24   the distributions of the drafts of this approval
       25   memorandum?
   39 :1       A. Yes.
       2       Q. Take a minute and look at these names,
       3    okay?
       4       A. Yep.
       5       Q. To your knowledge, did any person on
       6    this screen ever see a standalone balance sheet
       7    or income statement for Johnson & Johnson
       8    Consumer, Inc., that's like Exhibit 235 prior to
       9    October 11, 2021, to your knowledge?
       10      MS. BROWN: That calls for speculation.
       11      MR. GLASSER: No, it doesn't.
       12   BY MR. GLASSER:
       13      Q. To your knowledge.
       14      MS. BROWN: It still would require him to
       15   speculate.
       16      THE WITNESS: I can't answer that question
       17   positively or negatively. I have no idea.


LISMAN, ADAM - 02/08/2022
Page 40
   40 :1       Q. And there were regular meetings of
       2    Project Plato in the months leading up to
       3    October 2021; isn't that true?
       4       A. Yes.
       5       Q. Did you attend those meetings on a
       6    regular basis?
       7       A. Many of them, yes.
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       8       Q. At any one of the meetings you
       9    attended, was a balance sheet like Exhibit 235
       10   ever discussed?
       11      A. Not in the meetings that I attended.
       12      Q. I'm going to show you the income
       13   statement which is 233. I don't want to pull it
       14   up right now. But in any of those meetings, was
       15   an income statement of JJCI on a standalone
       16   basis entity ever shared, to your knowledge?
       17      A. Not to my knowledge, no.
       18                (Whereupon, Lisman Deposition
       19                 Exhibit 233 was first referred
       20                 for identification.)
       21   BY MR. GLASSER:
       22      Q. In those meetings that you attended on
       23   a regular basis leading up to the decision on
       24   October 11, 2021, you never heard an income
       25   statement of Johnson & Johnson Consumer, Inc.,
   41 :1    on a standalone basis discussed; isn't that
       2    true?
       3       A. Not that I remember, no.
       4       Q. It is true you do not remember it being
       5    discussed --
       6       A. True.
       7       Q. -- correct?
       8       A. Yes.


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Page 42
   42 :13      Q. Let's go back to September. Were the
       14   meetings less frequent in September?
       15      A. I believe so. I think that October the
       16   pace really picked up, yes.
       17      Q. Why? Why did the pace pick up in
       18   October?
       19      MS. BROWN: Objection, speculation.
       20      THE WITNESS: That was the timeline that the
       21   legal department for the restructuring was
       22   working on.
       23   BY MR. GLASSER:
       24      Q. So the -- so the hurry-to-get-it-done
       25   by the certain date was -- was based on the law
   43 :1    department time frame?
       2       MS. BROWN: Misstates testimony, lacks
       3    foundation, I object.
       4       THE WITNESS: I could say that primarily the
       5    team in the legal department were the ones
       6    calling the meetings or organizing according to
       7    a timeline that they were working on, yes.


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Page 44
   44 :5        Q. All right. So in this deal, I'll call
       6    it the Plato deal, the people running point were
       7    the legal department?
       8        A. Yes.
       9        Q. In particular, Erik Haas?
       10       MS. BROWN: Objection, speculation.
       11       THE WITNESS: Erik was involved amongst many
       12   others.
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Page 50
   50 :17      Q. Okay. Who told you when you were
       18   running the legal entity, Johnson & Johnson
       19   Consumer, Inc., to exclude companies it owns?
       20      A. No one told me that. This is how the
       21   SAP report is set up, applying how Johnson &
       22   Johnson does accounting for its companies and
       23   its subs.
       24      Q. But as a metaphysical legal fact, it
       25   does not, in fact, roll up all the gross income
   51 :1    of the things Johnson & Johnson Consumer, Inc.,
       2    actually does own, true?
       3       A. We do not apply consolidations of
       4    individual Johnson & Johnson subs within the
       5    company's consolidated financial statements;
       6    otherwise, you'd be double-counting things when
       7    you roll it all up.
       8       Q. So it is a fact, then, that JJCI, on a
       9    standalone basis, does not have its own entire
       10   consolidated financial statement?
       11      A. As far as I'm aware, no one is
       12   preparing a consolidated set of financial
       13   statements for JJCI. There's no accounting
       14   requirement that would require that.
       15      Q. Got it. It's, therefore, the case that
       16   even to this day, Michelle Goodridge could not
       17   possibly have ever seen a set of financial
       18   statements that is the actual entire legal
       19   entity of Johnson & Johnson Consumer, Inc.;
       20   isn't that true?
       21      MS. BROWN: I object. It's vague, and it
       22   calls for speculation.
       23      THE WITNESS: I couldn't comment to what
       24   Michelle has seen. There are ad hoc -- or there
       25   are things -- there could be financial
   52 :1    information put together for different purposes.
       2    Have I seen it? No.
       3    BY MR. GLASSER:
       4       Q. All right. So it is a true statement
       5    that JJCI does not, in fact, maintain income
       6    statements that truly consolidate everything it
       7    owns on a regular basis?
       8       MS. BROWN: Objection, misstates testimony,
       9    lacks foundation.
       10      THE WITNESS: I don't know all of the
       11   different potential ways that you could run
       12   reports in SAP for JJCI. There may be a way to
       13   do it. I'm not aware. I -- I have not seen it.


LISMAN, ADAM - 02/08/2022
Page 52
   52 :25      Q. Therefore, to make an income statement
   53 :1    that, in fact, consolidates what Johnson &
       2    Johnson Consumer, Inc., legally owns, you would
       3    have had to do something abnormal, correct?
       4       MS. BROWN: Objection, lacks foundation,
       5    calls for speculation.
       6       THE WITNESS: If there was a hypothetical
       7    request to ask for a set of standalone
       8    consolidated financial statements of JJCI and
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      9     all of the subsidiaries that it owns, they would
      10    have had to run a different kind of analysis,
      11    yes.


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Page 68
   68 :16      Q. Let's go back to Exhibit 285. Go ahead
       17   and pull it up so we can remember what it was.
       18          I'm back to the unique liability
       19   structure. Are you with me, second bullet
       20   point?
       21      A. Yes.
       22      Q. The unique liability structure is what
       23   allowed the bankruptcy of only LTL and not old
       24   JJCI; you would agree with me, right?
       25      MS. BROWN: Objection, speculation,
   69 :1    foundation.
       2       THE WITNESS: Looking back with hindsight
       3    almost a year later, the structure that is in
       4    place with LTL and the QSF fund, those are
       5    unique complexities that require accounting
       6    thought that we had to apply.
       7    BY MR. GLASSER:
       8       Q. And the manifestation of that is that a
       9    subsidiary is bankrupt, not Johnson & Johnson
       10   Consumer, Inc., correct?
       11      MS. BROWN: Foundation, I object.
       12      THE WITNESS: The physical -- or the actual
       13   subsidiary that filed for bankruptcy isn't
       14   terribly relevant. We would need to think about
       15   how to account for a subsidiary that filed for
       16   bankruptcy. That is what I needed to think
       17   about.
       18   BY MR. GLASSER:
       19      Q. But wasn't the whole purpose of these
       20   weeks of Plato meetings that we've talked about
       21   carving out an acceptable subsidiary to file
       22   bankruptcy?
       23      MS. BROWN: Objection, calls for speculation,
       24   lacks foundation.
       25      THE WITNESS: One of the topics of the
   70 :1    aspects of the Plato transaction contemplated
       2    potential bankruptcy.
       3    BY MR. GLASSER:
       4       Q. For a specific created subsidiary?
       5       A. For a subsidiary that was being
       6    affected as a result of the reorganization.
       7       Q. Created for that purpose, correct?
       8       MS. BROWN: Objection, vague.
       9       THE WITNESS: As far as the detailed purpose
       10   of what it was created for, that would be
       11   outside of my scope from a legal perspective.
       12   And as I mentioned, there were other things that
       13   are folded into the subsidiary like RAM that we
       14   talked about.


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Page 71
   71 :18      Q. Let's go to Exhibit 286. Blow up the
       19   top.
       20         You recognize 286 as a Microsoft Teams
       21   meeting invite between you, Mr. Lisman,
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      22    Dan Prieto, a lawyer at Jones Day, and
      23    Andrew White, on April 14, 2021. Do you see
      24    that?
      25       A. Yes.


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Page 89
   89 :24       Q. Were you present in any meetings where
       25   it was discussed whether 2 billion was too much?
   90 :1        A. No.
       2        Q. Were you present in any meetings where
       3    it was discussed whether 2 billion was too
       4    little?
       5        A. No.
       6        Q. Do you have any idea who chose the
       7    2 billion?
       8        A. As far as an individual person?
       9        Q. Right.
       10       A. No. It's -- it's a collaborative
       11   effort with the legal team.


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Page 92
   92 :20      Q. All right. So based on the 20- -- the
       21   up to 24 meetings you've attended on this
       22   subject, to your knowledge, has anybody ever
       23   contemplated that this overall liability could
       24   exceed $6 billion?
       25      A. Not that I recall. The purpose of the
   93 :1    meetings is to understand the current facts and
       2    circumstances that are in place as of the
       3    upcoming balance sheet date for the quarter.
       4           So I need to understand where we are
       5    with trials or settlements and what might be
       6    happening to make sure we record the accounting
       7    reserves appropriately under GAAP.


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Page 99
   99 :2       Q. All right. Isn't it a fair reading of
       3    this answer to JP Morgan that Johnson & Johnson
       4    as of October 14, 2021, was telling JP Morgan
       5    that they believe 2 billion is enough to satisfy
       6    future and current liabilities?
       7       MS. BROWN: Object to the form, lacks
       8    foundation, calls for speculation.
       9       THE WITNESS: That's what's written. You
       10   essentially just reread what's there.
       11   BY MR. GLASSER:
       12      Q. Correct. Therefore --
       13      MS. BROWN: Hold on, Brian. He was not done
       14   with his answer.
       15          Mr. Lisman, please finish.
       16      THE WITNESS: I have no comment outside
       17   what's written there.
       18   BY MR. GLASSER:
       19      Q. All right. But let's just drill down
       20   on your lawyer's objection.
       21          I'm not speculating that Ms. Romanko
       22   told Mr. Schott it was enough to satisfy future
       23   and current liabilities, right?
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      24      A. If that's what's in the email that Lisa
      25   wrote, yes.
 100 :1       Q. It's not speculation, is it? It's what
      2    you all said.
      3       MS. BROWN: Well, I object. That lacks
      4    foundation.
      5       THE WITNESS: I'm reading what's there.
      6    That's what's written.
      7    BY MR. GLASSER:
      8       Q. All right. Did Mr. White object and
      9    say, oh, no, it could be 5 billion?
      10      A. Not from the email that I'm staring at.
      11      Q. Did you object and say, That's insane,
      12   obviously it should be higher than 2 billion?
      13      A. I did not.


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Page 102
 102 :8       Q. Do you agree that Johnson & Johnson
      9    ought not omit to state a fact when it is
      10   material -- when it would make the statements of
      11   fact correct as well? You understand both those
      12   obligations, right? You cannot omit a material
      13   fact either if you make a misleading statement.
      14          Do you agree?
      15      A. Yes.
      16      Q. All right. And you agree that it's
      17   important that we be precise in our answers when
      18   we're talking to the investing public, I would
      19   assume?
      20      A. That we are precise up to the point
      21   that we're not disclosing nonmaterial public
      22   information.


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Page 109
 109 :15       THE WITNESS: It's the same answer that we
      16   covered when we were looking at the PwC audit
      17   rep letter from the third quarter.
      18   BY MR. GLASSER:
      19       Q. All right. So --
      20       MS. BROWN: He's still speaking.
      21   BY MR. GLASSER:
      22       Q. Go ahead.
      23       A. As of the balance sheet date,
      24   the $2 billion was the probable and reasonably
      25   estimable reserve under GAAP for the current and
 110 :1    future claims. Same language that's in the PwC
      2    rep letter, the same language that we disclosed
      3    in the 8-K is the same language we put in our
      4    10-Q filed a couple weeks after that. That is
      5    my responsibility, those three documents. And
      6    if an analyst asked about it, it should all be
      7    the same or else I'm not doing my job. The
      8    accounting --
      9    BY MR. GLASSER:
      10       Q. You agree this answer to this analyst
      11   is not the same as your October 29th letter we
      12   looked at that has the reasonable and estimable
      13   disclaimer?
      14       A. Agreed. The technical accounting
      15   language that's included in the management rep
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      16   letter, I agree it's not in the answer there.
      17      Q. You think it should have been included?
      18      MS. BROWN: Speculation.
      19      THE WITNESS: It would have helped clarify
      20   the basis for the 2 billion to the analyst. If
      21   that would have helped him or her, then yes.


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Page 113
 113 :22       Q. All right. So, essentially, you know
      23   -- I know the analyst doesn't know where you're
      24   going, but the company is basically a billion
      25   dollars below the analyst internally when he
 114 :1    asks this question, right?
      2        MS. BROWN: Objection, foundation.
      3        THE WITNESS: If you're comparing a number
      4    that we had on our books to a hypothetical
      5    number asked by an analyst with no facts, sure.
      6    BY MR. GLASSER:
      7        Q. Okay. Great.
      8           So the answer to the guy -- I
      9    understand you're not saying you're right,
      10   3.5 billion is fair, we should extrapolate the
      11   settlements. In fact, your July letter, if
      12   you'll recall, said you don't do that, right?
      13       A. Yep.
      14       Q. So the upshot of the July letter we
      15   looked at, which was exhibit -- for the record,
      16   Exhibit 112, was, no, that's not what we should
      17   be doing, extrapolating across future
      18   settlements to come up with a number, right?
      19       A. That's what we stated, yes.


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Page 120
 120 :11       Q. All right. So this is Bernstein coming
      12   in. Okay.
      13          And the Bernstein analyst at two there
      14   asked how you settled on the $2 billion number.
      15          Do you see that?
      16       A. Yep.
      17       Q. And basically it says it's the same
      18   answer, "we believe 2 billion is enough to
      19   satisfy current and future liabilities."
      20          Do you see that answer? Maybe it's
      21   hard to read.
      22       A. Yeah, I could --
      23       Q. Could you blow that up?
      24       A. Yeah, I could make it out, though.
      25       Q. So it's not quite the same question
 121 :1    asked by the prior analyst at JP Morgan, but
      2    it's the same answer, right?
      3        A. Yep.
      4        Q. And then at the top, though, before --
      5    again, what Lisa's doing here is she's going
      6    back to Andrew White and you to confirm that her
      7    answers were reasonable, right?
      8        A. Yeah.
      9        Q. We've already discussed your role.
      10   Andrew White, I take it, was kind of
      11   point-of-the-spear-guy on talc liability
      12   assessment every quarter as well.
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      13         Did he work with you every quarter on
      14   this?
      15      A. Yes. I worked with Andrew, yes.
      16      Q. And he checks off "good" here, right?
      17      A. Yep, that's what he said.


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Page 122
 122 :24      Q. So this is you and Mr. Decker working
      25   to prepare for a September 13th audit committee
 123 :1    meeting, right?
      2       A. Yes.
      3       Q. And you actually do a redline of
      4    Mr. Decker's remarks that he's going to make at
      5    the audit committee. If we go to page 2, you'll
      6    see your redline.
      7           Well, you know what, first on page 1,
      8    can you read the email to understand that you
      9    did make and track changes?
      10      A. Yes, yep.
      11      Q. Now, let's go to page 2. And you -- at
      12   the bottom here, you say -- you add the word
      13   "currently" to [as read]: not extrapolate a
      14   range of loss since settlements to date have
      15   been unique and one-off in nature.
      16          Do you see that?
      17      A. Yes.
      18      Q. That's consistent with the statement
      19   made to the auditors in the July 29th letter
      20   that we read before, right?
      21      A. Yes.
      22      Q. You go on to add that [as read]: Any
      23   substantial settlement program we execute could
      24   require us to extrapolate -- you taught me that
      25   word -- extrapolate for a disclosed potential
 124 :1    range of loss.
      2           Do you see that addition?
      3       A. Yes.
      4       Q. What is the GAAP basis or what was the
      5    basis for that addition?
      6       A. So the extrapolation concept requires
      7    that a population of data -- it could be claims
      8    or anything else -- is essentially uniform in
      9    nature and, therefore, you know, a price tag or
      10   an economic value of one item is representative
      11   of the entire population.
      12          So statistically speaking, does my
      13   population in question, is it generally uniform
      14   in nature. And if it is, that would be one of
      15   the first gates to get through to apply any sort
      16   of extrapolation concept.


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Page 131
 131 :20      Q. Okay. And do you agree that the
      21   obvious purpose of this structuring is to put a
      22   top on it?
      23      MS. BROWN: I object, lacks foundation,
      24   misstates the evidence.
      25      THE WITNESS: Nothing that I ever saw or gave
 132 :1    input on was about capping or putting a top on.
      2          Was the reorganization a structure to,
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      3    say, work through the claims in a different
      4    manner than we have been before? Yeah.
      5    That's -- we were changing the legal entities.


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Page 133
 133 :3       Q. Okay. Great. So you would agree with
      4    me that all things being equal, the spinout
      5    of -- of the consumer health into a separate
      6    publicly-traded company would benefit from
      7    knowing the talc liability?
      8       MS. BROWN: Objection, speculation,
      9    foundation.
      10      THE WITNESS: Would it benefit? It would be
      11   a variable and a factor that an investor would
      12   need to understand.
      13   BY MR. GLASSER:
      14      Q. Right. I mean, you worked in capital
      15   markets. You understand that investors want to
      16   be able to predict, right?
      17      A. Yes.
      18      Q. And you understand that investors like
      19   certainty around financial statements more than
      20   uncertainty?
      21      A. Absolutely.


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Page 134
 134 :4       Q. All right. So you know that when you
      5    go on the road show, the less question marks
      6    around a company you can have, the better,
      7    right?
      8       A. Being able to answer questions from
      9    investors on an IPO road show, that's critical,
      10   yes.
      11      Q. All right. And the more you can have a
      12   concrete answer to a concrete question, the
      13   better you're going to do on that road show,
      14   right?
      15      A. Yes.
      16      Q. So just based on your prior M&A
      17   experience and capital-markets experience, I
      18   think you'd agree with me that if it were the
      19   case that the amount of the talc liability
      20   embedded in LTL could be known by the time of
      21   the spin-off of the consumer group into a
      22   separate public company, it would be helpful,
      23   right?
      24      MS. BROWN: Speculation, improper
      25   hypothetical.
 135 :1       THE WITNESS: The -- the -- the way I would
      2    think about it is if you're offering shares in a
      3    new public company, understanding the risks and
      4    uncertainties and liabilities known and unknown
      5    would be a critical factor, yes.


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Page 140
 140 :23      Q. So just to orient you to 296, you
      24   recognize this as an email between you and
      25   Marijke -- I don't even know how to say that.
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 141 :1       A. Marijke --
      2       Q. Marijke --
      3       A. -- Vertenten.
      4       Q. -- about whether or not LTL would
      5    qualify as a significant sub, just to orient
      6    you.
      7           There's --
      8       A. Yeah.
      9       Q. -- some other email that were between
      10   Mar- -- Marijke and Michelle Ryan that I haven't
      11   shown you where an analyst at Moody's was asking
      12   about defaults under bonds. So that may help
      13   you.
      14          Were you running down the answer for
      15   Marijke on this issue?
      16      A. Yeah, I think I was providing some
      17   input on how to think about significant
      18   subsidiaries.


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Page 141
 141 :23       Q. Explain to me how we understand whether
      24   a subsidiary is significant in your mind.
      25       A. Yeah, so it really defines on the
 142 :1    definition of significant. My view is, the SEC
      2    has rules about what a significant sub is and it
      3    gives you quantitative thresholds.
      4            Generally, off the top of my head --
      5    it's been a little while -- if an individual sub
      6    is 20 percent or more of the consolidated
      7    parents' revenue or assets, then, by default,
      8    it's defined as "significant." I think that was
      9    the context I was trying to give her.
      10       Q. All right. All right.
      11           So, therefore -- let's go revenue --
      12   the total revenue of J&J is approximately
      13   80 billion a year, right?
      14       A. 90, yeah.
      15       Q. All right. So 20 percent would be
      16   18 billion. That --
      17       A. Yep.
      18       Q. -- would be the significance threshold,
      19   right?
      20       A. Yep.
      21       Q. On a revenue basis.
      22           And then on an asset basis, do you go
      23   book value of assets?
      24       A. Yes.
      25       Q. So you'd use that 70 billion we looked
 143 :1    at before, right?
      2        A. No. I would use total assets, which is
      3    the asset number, which is, like, 160 billion.
      4        Q. Okay. So 32 billion would be the
      5    significance threshold, then?
      6        A. In that test, yep.
      7        Q. So under the two tests, it's pretty
      8    obvious LTL is under that under any
      9    circumstances, is what you're basically saying?
      10       A. Correct.
      11       MR. GLASSER: Let's go to Exhibit 297.
      12                (Whereupon, Lisman Deposition
      13                 Exhibit 297 was first referred
      14                 for identification.)
      15   BY MR. GLASSER:
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     16      Q. This is Oct- -- October 1st. It's an
     17   email with Mark Schneider and you having to do
     18   with something around a sales package, and I
     19   really just want to know what, if any- -- what
     20   is that? What were you guys talking about?
     21      A. Yep. So the sales package is,
     22   basically, our report that we issue at the end
     23   of a fiscal quarter. That goes to the executive
     24   board and investor relations team, and it really
     25   is an analysis of what the company's sales look
144 :1    like.
     2       Q. All right. And in the middle of the
     3    page, it says here -- you were saying [as read]:
     4    Hi - was hoping the three of us can spend an
     5    hour together papering out some JE's together
     6    for these transactions.
     7           What are you talking about there?
     8       A. Within the context of the Plato
     9    subject, any time we are creating new legal
     10   subsidiaries or management reporting companies,
     11   we need to record accounting transactions that
     12   are going to reflect how those entities were set
     13   up, what's included in those entities, and model
     14   out how the accounting is going to look.
     15          So as we were contemplating the Plato
     16   structure, these are two directors on my team
     17   that I needed some help to think about how the
     18   accounting would work.
     19      Q. What does the acronym JE stand for for
     20   lay people?
     21      A. Journal entry.
     22      Q. Oh, Okay. Thanks. Great. All right.
     23   Got it.
     24          Let's go back to Exhibit 298.
     25
145 :1                 (Whereupon, Lisman Deposition
     2                 Exhibit 298 was first referred
     3                 for identification.)
     4    BY MR. GLASSER:
     5       Q. Later that same -- October 1st in the
     6    evening, 7:46 p.m., it looks like you're working
     7    both shifts now on this Plato thing, agreed?
     8       A. It seems like that, yeah.
     9       Q. So this is an email from Thomas McCann
     10   to you and some others setting up a meeting to
     11   discuss the funding agreement.
     12          Do you agree with that?
     13      A. Yep.
     14      Q. Had you, prior to this October 1st
     15   meeting, understood there would be such a thing
     16   as a funding agreement?
     17      A. I don't believe so. It all happened,
     18   as we talked about, pretty quickly.
     19      Q. So this was maybe -- I'm not -- you
     20   know, it's not the end of the world if it's not.
     21   But I'm saying, is this maybe your first
     22   introduction to the concept of the funding
     23   agreement?
     24      A. It probably came up in discussions
     25   they're working on a funding agreement, hence,
146 :1    this is the meeting to talk about it. So this
     2    day or the day before, likely.
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 146 :25      Q. So this is an email between you,
 147 :1    Mr. Wolk, and Mr. Decker on October 5, 2021.
      2            Do you see that?
      3       A. Yep.
      4       Q. At the bottom you say [as read]: Quick
      5    change from what I talked about -- talked to you
      6    about on Monday. There will be no 8-K event
      7    this week.
      8            Do you see that?
      9       A. Yes.
      10      Q. So it must be the case that you had
      11   previously believed that the LTL filing for
      12   bankruptcy, which would necessitate an 8-K,
      13   would happen this week of October 5th, right?
      14      A. Yes. We were clear that if and when it
      15   occurred, it would be an 8-K event and Joe, as
      16   the CFO, needs to know those things.
      17      Q. What caused it to move for a week?
      18      A. I don't remember. I don't know.
      19      Q. Huh, that is interesting.
      20           So the reserve would be booked for Q3.
      21   I guess you can book the reserve even though you
      22   don't make the payment, that's the distinction,
      23   right?
      24      A. Partly right, so yes.
      25           Under GAAP -- again, not to rehash it,
 148 :1    but we record a reserve when it's probable and
      2    reasonably estimable. But we couldn't book the
      3    reserve until the transaction was effected.
      4       Q. So you couldn't book the reserve in
      5    Q -- but the transaction wasn't -- your quarter
      6    ended October 3rd, the transaction was the 11th.
      7    How could you book it in the third quarter?
      8       A. So we talked a bit before. There are
      9    different kinds of subsequent events.
      10           There is a subsequent event which is
      11   called a recognized subsequent event and there's
      12   one called a nonrecognized subsequent event
      13   under GAAP.
      14           A recognized subsequent event is what
      15   the Plato transaction was, which means under
      16   GAAP, I became aware of new information that
      17   essentially existed or relates to a potential
      18   liability or claim that existed as of the
      19   balance sheet date, which was what Joe was
      20   referring to for Q3.
      21           So if legal contingencies, product
      22   liability are one of the areas under GAAP, they
      23   are generally treated as a recognized subsequent
      24   event. If you become aware of something that
      25   changes what the liability should have been that
 149 :1    existed as of the balance sheet date, I need to
      2    change it.


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Page 149
 149 :17     Q. This is not an email that you were on,
      18   but we unfortunately received it in its
      19   unredacted form after the deposition of
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      20   Ms. Ryan.
      21          So I'm just going to ask you if you
      22   know what the Diamond assets are. Let's blow up
      23   that top two paragraphs and -- yeah, let him
      24   see.
      25          I didn't get a chance to ask Ms. Ryan
 150 :1    about it. It's October 7th. It's between
      2    Duane Van Arsdale and Michelle Ryan and they're
      3    talking about the funding agreement is being
      4    structured in a way that JJCI can "spin out" the
      5    Diamond assets up the chain or to create a new
      6    legal entity and be unencumbered going forward.
      7           What is Diamond?
      8       A. Diamond is the project name for the now
      9    announced spinout or separation of the consumer
      10   health business from J&J.


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Page 151
 151 :19       Q. From the perspective of making a clean
      20   spin of the consumer products as a separate
      21   company, structuring the talc liability to a
      22   nonoperating subsidiary of J&J that might not be
      23   spun would make a cleaner balance sheet for the
      24   spun Diamond entity, right?
      25       MS. BROWN: That lacks foundation and calls
 152 :1    for speculation; I object.
      2        THE WITNESS: If we were going to separate
      3    the consumer health business and liabilities
      4    associated with talc were not included based
      5    upon how that spin was structured, then,
      6    correct, the liabilities would not go with it,
      7    if that's how the deal was done.


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Page 152
 152 :15       Q. Okay. Have you had a discussion about
      16   this concept with anybody?
      17       A. About what -- how we were going to
      18   treat the talc liabilities in context of the
      19   consumer health transaction?
      20       Q. Yes.
      21       A. Yes. In the context of the financial
      22   statements that are being prepared for the
      23   consumer health segment and transaction.
      24       Q. And what is the plan?
      25       A. We were setting out a course to prepare
 153 :1    the consumer health financial statements without
      2    including the historical liability and expenses
      3    and reserves associated with talc.
      4        Q. The structuring accomplished with
      5    Project Plato assists in that endeavor, correct?
      6        MS. BROWN: Objection, foundation.
      7        THE WITNESS: As far as the legal merits and
      8    structure, I don't know. My responsibility as
      9    it pertains to the consumer health transaction
      10   is to provide input on what's called "carveout
      11   financial statements." Carveout financial --
      12   BY MR. GLASSER:
      13       Q. Go ahead.
      14       A. Carveout financial statements are used
      15   to an IPO. They have to be filed with the SEC.
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      16   That's my area of expertise.
      17           When you prepare carveout financial
      18   statements, you need to know what is the
      19   perimeter of the business and assets and
      20   liabilities that you're going to reflect in
      21   those financial statements.
      22           We are preliminary modeling the
      23   transaction. These financials would not include
      24   it.
      25       Q. Would not include talc?
 154 :1        A. Correct.


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Page 155
 155 :4       Q. What did that delta turn out to be in
      5    respect of the QSF?
      6       A. I think the net income statement
      7    reserve charge in the third quarter was about
      8    $1.4 billion.
      9       Q. Oh. So you think there was only
      10   600 million on the accrual at that moment and
      11   you added the 1.3, or there was 700 --
      12      A. That's what the math was because in the
      13   bullet there, that 1.3 billion that you
      14   quoted --
      15      Q. Yeah.
      16      A. -- that's as of Q2 or June.
      17          We did this transaction in October, so
      18   there were likely payments that may have been
      19   made that reduced the reserve.
      20          So, again, I have to -- I have X and I
      21   need Y; I had to figure out what the delta was.


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Page 164
 164 :19       Q. Let's go to 22. Just the first bullet
      20   point [as read]: This case is not an indication
      21   of future litigation strategy. The cosmetic
      22   talc claims present a unique situation.
      23           Do you see that?
      24       A. Yeah.
      25       Q. What did you understand the company to
 165 :1    be trying to convey to this -- to its audience
      2    by saying this?
      3        MS. BROWN: Objection, speculation.
      4    BY MR. GLASSER:
      5        Q. You, what did you understand?
      6        MS. BROWN: Same objection.
      7        THE WITNESS: All I can say is what do I
      8    understand is what I read here and what I was
      9    told, that this individual case is not an
      10   indication of future strategies. This is a
      11   unique matter and that's all I know from a
      12   litigation strategy perspective.
      13           Again, I'm not an attorney and it's not
      14   my area.


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 172 :12     Q. Oh. You were shown an email from
      13   October that dealt with the funding agreement,
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      14   and I believe you said that was the first time
      15   you had any involvement in the funding
      16   agreement, correct?
      17      A. Yeah, I think my general knowledge of
      18   the funding agreement probably started early
      19   October, correct.


LISMAN, ADAM - 02/08/2022
Page 186
 186 :19      Q. Okay. And why were you suggesting that
      20   Mr. Decker bring up this idea for a potential
      21   unique talc liability structure to Joseph Wolk,
      22   the CFO of Johnson & Johnson, in March of 2021?
      23      A. Yep. So as the legal team was
      24   evaluating different structures and avenues to
      25   deal with the claims being brought against the
 187 :1    company, depending upon the structure, the
      2    commitment from the company, there could be
      3    accounting and disclosure events which came to
      4    fruition in mid-October.
      5            If we're going to have a significant
      6    accounting or disclosures type event that
      7    investors need to be aware of, Mr. Wolk needs to
      8    understand that.
      9       Q. Okay. You said something about lawyers
      10   in the context of this potential unique talc
      11   liability structure, correct?
      12      A. Yes. I work with the legal team in
      13   understanding the talc matter as a whole, yes.
      14      Q. Okay. And are you talking -- are you
      15   talking about the litigation team including
      16   Erik Haas and Andrew White?
      17      A. Yes. As we talked about, every quarter
      18   I meet several times with the litigation team
      19   depending on the topic. I oversee all of them.
      20   So for talc, it would be Mr. White and Mr. Haas.
      21      Q. Okay. Who first brought up the issue
      22   of a potential unique talc liability structure
      23   in March of 2021?
      24      A. I don't remember exactly who. It would
      25   have been -- those were the two attorneys within
 188 :1    J&J that I work with on talc.
      2       Q. Okay.
      3       A. It could have been either.
      4       Q. Did you initiate the discussion of a
      5    talc liability structure with Mr. White or
      6    Mr. Haas or did they initiate that discussion
      7    with you?
      8       A. Yeah, I'm not a litigation attorney.
      9    My role is to give input around the financial
      10   implications. So the legal team is tasked with
      11   being responsible for the litigation. I provide
      12   the accounting advice.
      13      Q. Okay. I see.
      14           So in March of 2021, Erik Haas and
      15   Andrew White brought up the idea of a potential
      16   unique talc liability structure to you and
      17   sought out your accounting and financial
      18   perspective on that, correct?
      19      A. Yeah. As they are working through the
      20   claims and how the company is managing them and
      21   they're thinking about scenarios or structures,
      22   they would need to understand what the
      23   accounting implications are and that's what they
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      24   talked about with me.
      25       Q. Okay. And you understood that this was
 189 :1    one of the litigation strategies that Mr. Haas
      2    and Mr. White were considering for the talc
      3    litigation at this time in March of 2021,
      4    correct?
      5        MS. BROWN: Objection, foundation.
      6        THE WITNESS: If Mr. White or Mr. Haas asked
      7    me how the accounting worked for a potential,
      8    you know, talc structure work, presumably they
      9    were considering that. I can't tell you for
      10   sure. But if they asked me the question, I
      11   would have provided input.
      12   BY MR. BLOCK:
      13       Q. Right.
      14           And you understand that Mr. Haas and
      15   Mr. White are litigators for Johnson & Johnson
      16   that were working on the talc litigation and
      17   they were looking for your accounting and
      18   financial perspective on the litigation strategy
      19   of setting up a talc liability structure in
      20   March of 2021, correct?
      21       MS. BROWN: I object to the foundation of
      22   litigation strategy.
      23   BY MR. BLOCK:
      24       Q. Is that correct, sir?
      25       A. I provided accounting input around
 190 :1    potential legal avenues and what might happen.
      2        Q. Okay. So -- so the potential unique
      3    talc liability structure was brought to your
      4    attention in March of 2021 by J&J's litigators
      5    Erik Haas and Andrew White as one of the legal
      6    avenues of dealing with the talc litigation,
      7    correct?
      8        A. Those are the two attorneys that I
      9    discuss talc matters with. They are the only
      10   two, so yes.
      11       Q. All right. And when you say those are
      12   the only attorneys you discuss talc matters
      13   with, you're talking about the talc litigation
      14   matter, correct?
      15       A. Yes, correct. I want to say they're
      16   the only two internal J&J attorneys. There's
      17   obviously other outside counsel as well.


LISMAN, ADAM - 02/08/2022
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 191 :23      Q. Okay. So in April 2021, you made
      24   Mr. Prieto of Jones Day aware of the accounting
      25   policy of Johnson & Johnson whereby all
 192 :1    talc-related expenses and charges, even those
      2    imposed directly on Johnson & Johnson by a
      3    judgment, are booked to JJCI, correct?
      4       A. Yeah, I think we talked through the
      5    accounting mechanics and how it gets reflected
      6    on the financial records of J&J.
      7       Q. Okay. And as of this time in April of
      8    2021, you knew that Johnson & Johnson was
      9    considering placing its talc-related liabilities
      10   into a bankruptcy process, correct?
      11      MS. BROWN: Objection, foundation.
      12      THE WITNESS: I did not know that was
      13   happening for sure. Was it an alternative that
      14   people were potentially thinking about, yes.
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      15   BY MR. BLOCK:
      16      Q. Okay. So you knew that -- strike that.
      17         So as of April 2021, you knew that
      18   Johnson & Johnson was at least considering
      19   placing talc-related liabilities and placing
      20   them into a bankruptcy process, correct?
      21      A. Did I know in April that the word


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 197 :7       Q. Okay. And by this time, in July of
      8    2021, you did know that Johnson & Johnson was
      9    considering placing talc-related liabilities
      10   into a bankruptcy process, correct?
      11      A. I knew it was one of the alternatives
      12   that were being thought about, yeah.
      13      Q. Okay. You knew it was one of the
      14   things that Johnson & Johnson was considering in
      15   July of 2021, correct?
      16      A. Yes.


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 204 :17      Q. Mr. Lisman, is there anything in these
      18   two sentences of Ms. Ryan's email which talks
      19   about capping our liability and capturing the
      20   liability in a subsidiary and bankrupting that
      21   subsidiary that you believe is factually
      22   inaccurate?
      23      MS. BROWN: All the same objections. Go
      24   ahead.
      25      THE WITNESS: I can't personally address to
 205 :1    what Ms. Ryan meant in the context of her email
      2    of her response. I don't know. But as far as
      3    we were looking at different structures to
      4    manage the talc claims, was that true, yes.
      5            I've established that there were
      6    multiply scenarios and different things going on
      7    in the legal environment that I was aware of and
      8    I'm reading Michelle's emails to say we are
      9    looking at a number of ways. That's all I can
      10   comment on.


LISMAN, ADAM - 02/08/2022
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 213 :2       Q. Back to Exhibit 293. You were asked
      3    about this earlier. An email from you,
      4    Mr. Lisman, on September 23rd, 2021, to Carl
      5    Stanzione. Subject: Plato LE Set Up.
      6           Do you see that?
      7       A. Yes.
      8       Q. And you explained to us earlier that LE
      9    stands for legal entity, and this email chain
      10   was about actually setting up the LTL legal
      11   entity, right?
      12      A. Correct.
      13      Q. Okay. And you tell Mr. Stanzione to
      14   convey to someone else that this is urgent,
      15   correct?
      16      A. Yes.
      17      Q. Okay. Who told you that setting up the
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     18   LTL legal entity was urgent as of September
     19   23rd, 2021?
     20       A. It would have been my understanding in
     21   the overall project, and using the word "urgent"
     22   in this context it takes days, if not longer.
     23   To get a management company set up within
     24   Johnson & Johnson you need things like a
     25   taxpayer ID, a name, cost centers, a whole bunch
214 :1    of administrative information which takes a
     2    while. So the "ask" was to get moving on it
     3    quickly.
     4        Q. Okay. Did someone tell you or direct
     5    you about these matters, including getting LTL,
     6    the legal entity set up, did anybody tell you
     7    that was something that was urgent as of
     8    September of 2021?
     9        A. As part of the overall project, it
     10   was -- people were working quickly. That was
     11   the general understanding. As far as exact
     12   dates, I can't comment on the exact dates.
     13       Q. Okay. Earlier you were looking at a
     14   document with Mr. Glasser and you testified that
     15   J&J was aiming to have the LTL bankruptcy filed
     16   I think the week of October 4th but it got --
     17   ended up getting put over to October 11th,
     18   right, the week of October 11th?
     19       A. I don't think I said the word "aiming".
     20   But planning, yes.
     21       Q. Okay. And you would have been aware of
     22   that target date of October -- of the week of
     23   October 4th, 2021, for the filing of the
     24   bankruptcy when you were working with
     25   Mr. Stanzione to get the LTL legal entity set up
215 :1    here on September 23rd, 2021, correct?
     2        A. Yes, we needed to be aware of the dates
     3    of what was happening so we could get the
     4    accounting correct. That's what my role is.
     5        Q. And do you have any understanding of
     6    why J&J was aiming to have the LTL bankruptcy
     7    filed by that early October time frame?
     8        A. No, I do not.
     9        Q. Who told you that J&J was aiming to get
     10   the LTL bankruptcy filed by early October?
     11       A. It would have been in context of the
     12   overall project team, that here's the dates that
     13   we're working toward. October was the date and
     14   that's when the meetings were going on.
     15       Q. Okay. Did -- was Erik Haas or Andrew
     16   White one of the people that told you that J&J
     17   as aiming to get the LTL bankruptcy filed by
     18   early October?
     19       A. No, the project team, which was
     20   coordinated which we looked at some of the memos
     21   and documentation was Chris Andrew with some
     22   other J&J team.
     23           As far as the logistics and the timing
     24   and the work streams, it was all with that team.
     25       Q. Okay. So Chris Andrew was one of the
216 :1    people that told you that J&J was aiming to have
     2    the LTL bankruptcy filed by early October?
     3        MS. BROWN: I object. It lacks foundation.
     4        THE WITNESS: I don't recall if Chris Andrew
     5    used those exact words. We were working on a
     6    timeline to get the structures and the entities
     7    and the accounting completed at the end of
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      8    September, into October. The exact dates I
      9    can't comment on.
      10   BY MR. BLOCK:
      11      Q. Chris Andrew was one of the people that
      12   was directing this timeline, correct?
      13      A. He had a -- he had an oversight role,
      14   yes.
      15      Q. Okay. Other than Chris Andrew, who
      16   else was directing the timeline for the LTL
      17   bankruptcy filing?
      18      A. Chris was the primary point of contact
      19   coordinating all of the work streams. That was
      20   who I worked with, as we saw.


LISMAN, ADAM - 02/08/2022
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 228 :23      Q. Okay. So -- so the information
      24   provided by J&J's legal team that you just
      25   referred to, along with your quarterly talc
 229 :1    memos, is that the information that you think
      2    would have the information needed if someone
      3    were to attempt to project J&J's current or
      4    future talc liabilities?
      5       MS. BROWN: I object. It lacks foundation,
      6    calls for speculation.
      7       THE WITNESS: I would not use that
      8    information to do any kind of projecting. I use
      9    that information to get the accounting right at
      10   the end of a given quarter. That's it.
      11   BY MR. BLOCK:
      12      Q. Okay. And your -- were your
      13   projections of J&J's current and future talc
      14   liabilities in those quarterly talc memos that
      15   you provided to business people at J&J?
      16      MS. BROWN: Objection, foundation.
      17      THE WITNESS: I have never made a projection
      18   of what future liability would be, no.
      19   BY MR. BLOCK:
      20      Q. And to this day, you have never
      21   attempted to project J&J's future talc
      22   liabilities, correct?
      23      A. No, I have not.
      24      Q. Do you know if anyone has?
      25      A. Not that I'm aware of.


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 243 :4       Q. Did you ever tell anyone or email
      5    anyone with any of the J&J entities that, in sum
      6    or substance, you believe that JJCI was having
      7    financial problems or was in financial distress?
      8       A. Did I notify anyone that the legal
      9    entity is in distress, no. But I have had
      10   multiple conversations with very senior J&J
      11   members around the cash cost and the economic
      12   impacts of talc on J&J.
      13      Q. My question is about JJCI. Did you
      14   ever tell anyone that you believe that JJCI, the
      15   legal entity JJCI, was having financial problems
      16   or was in financial distress?
      17      A. To that level of detail, no.
      18      Q. Okay. Did anyone with any of the J&J
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      19   entities ever tell you or email you that they
      20   believed that the legal entity JJCI was having
      21   financial problems or was in financial distress?
      22      A. At that level of detail, no.


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 249 :25      Q. Mr. Lisman, did you ever attend a
 250 :1    meeting about JJCI having any financial
      2    problems?
      3       A. A meeting of that precise subject, no.
      4       Q. Okay. To your knowledge, was there
      5    ever any meetings about any financial problems
      6    of JJCI?
      7       A. Not that I attended, no.
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MONGON, THIBAUT


MONGON, THIBAUT - 01/19/2022
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    9 :22   Q: Exhibit 36 is the -- is another email
       23   the same day from Mr. Andrew. Let's start at
       24   the bottom there. Do you see that at the bottom
       25   Mr. Andrew sent you this approval memorandum at
   10 :1    8:07 in the morning as well?
       2    Do you see that?
       3    A: Yeah, I see that. Yes.
       4    Q: Okay. Great.
       5    MR. GLASSER: Take down that blowup.
       6    BY MR. GLASSER:
       7    Q: And you responded with your approval --
       8    let's blow up the middle part -- at -- you've
       9    got to do the approved so he can see -- you
       10   responded with your approval about an hour and
       11   51 minutes later at 9:58.
       12   Do you see that?
       13   A: Yeah, I can see it.
       14   Q: All right. And you agree that's what
       15   you did, right?
       16   A: Uh-huh.


MONGON, THIBAUT - 01/19/2022
Page 12
   12 :12   Q: All right, great. Can you tell me all
       13   the other things you reviewed that day before
       14   you approved it between 8:07 a.m. and 9:58, if
       15   anything, other than the memorandum?
       16   A: No, I just reviewed the memorandum.


MONGON, THIBAUT - 01/19/2022
Page 14
   14 :14   Q: Okay. Great. Let's take down 41.
       15    Let's go back to before you approved
       16    the memorandum. You only had the memorandum.
       17    So it's fair to say that before you
       18    approved this transaction, you did not review
       19    financial analysis in connection with the
       20    creation of each of the companies involved in
       21    the transaction; is that correct?
       22   MS. BROWN: Objection, lacks foundation.
       23   THE WITNESS: I -- I didn't review
       24    financials, no.


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   15 :11   Q: And I'll represent to you there are 81
       12   deal documents that have to do with those nine
       13   steps. Okay?
       14   A: I was not aware of that.
       15   Q: Okay, great. That's what I thought the
       16   answer would be.
       17   So is it the case that you had no
       18   involvement in the negotiation or drafting of
       19   those 81 deal documents involved in the nine
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       20   steps of the transaction?
       21   A: I was not involved.
       22   Q: Great. So you didn't negotiate any of
       23   them, right?
       24   A: I was not involved in the preparation
       25   of these documents.
   16 :1    Q: You didn't read any of them, correct?
       2    A: I was not involved. No, I didn't read
       3    them.
       4    Q: You didn't ask for any changes in any
       5    of them since you didn't negotiate them and you
       6    didn't read them, right?
       7    A: No.
       8    Q: Correct? When I say 'right' and you
       9    say 'no,' I think you're agreeing with me.
       10   A: No, I was not involved.


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   16 :14   Q: Okay. And consistent with what you
       15    just told me, you didn't look at the financial
       16    effects -- you didn't look at any financial
       17    statements or pro formas for any of the
       18    companies occurring at any of these nine steps
       19    in advance of the approval, correct?
       20   A: No, I didn't.
       21   Q: So you -- so you approved the
       22    transaction without looking at any financial
       23    forecast for the entities created as a result of
       24    the transaction; isn't that true?
       25   MS. BROWN: Objection, lack of foundation.
   17 :1    THE WITNESS: Correct.
       2    BY MR. GLASSER:
       3    Q: 'Correct,' right?
       4    A: (No audible response.)
       5    Q: You've to say 'yes' because if you nod
       6     it's not on the transcript.
       7    A: Yes, yes, yes.
       8    Q: Before you approved the transaction,
       9     you did not review any financial analysis of
       10    LTL, LLC; isn't that true?
       11   A: What do you mean by 'financials'?
       12   Q: Well, we said you didn't look at any
       13    pro formas, right?
       14   A: Pro formas of?
       15   Q: Of how a company could be expected to
       16    perform in the future once it's formed. You
       17    know, like a business plan.
       18   A: No, I didn't.


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   17 :24   Q: Yeah. Before you approved the
       25   transaction on October 11th, 2021, you did not
   18 :1    review any financial analysis of JJCI's
       2    historical mesothelioma liability, did you?
       3    A: I didn't review this before -- right
       4    before approving the memo, no.
       5    Q: Okay. And you -- before approving this
       6    memo, were you presented with any financial
       7    analysis of an alternative transaction?
       8    A: I don't know what you mean by
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       9     alternative financial transaction.
       10   Q: Well, lots of times in business when
       11    you're running a business and you're choosing
       12    what to do with a company and, you know,
       13    strategic alternatives, don't you often run
       14    different scenarios, different choices?
       15   A: We, in normal course of business, we
       16    look at different scenarios, yeah, from time to
       17    time, yes.
       18   Q: Okay. And you did not do that --
       19   A: In this case that was -- the memo was
       20    describing the recommendation.
       21   Q: Right. And you did not look at any
       22    alternative recommendations; isn't that true?
       23   MS. BROWN: Objection, misstates testimony
       24    and lacks foundation.
       25   THE WITNESS: No, I didn't look at other
   19 :1     alternatives. By the fact that this memorandum
       2     is -- does not have objectives to give
       3     alternatives and to describe the recommendation.
       4    BY MR. GLASSER:
       5    Q: Got it. So, therefore, it follows from
       6     that that you didn't look at any financial
       7     analysis of any alternative transaction
       8     structures at any time, isn't this true, with
       9     respect to this reorganization, Project Plato?
       10   A: No, Project Plato was -- already
       11    exists.
       12   Q: Okay. And so you didn't, in approving
       13    this Project Plato reorganization, you also did
       14    not review any financial analysis regarding the
       15    liquidity or sources of liquidity for LTL; isn't
       16    that true?
       17   A: I don't know what you mean by 'sources
       18    of liquidity.' If you mean by source of
       19    liquidity that LTL -- that we would allocate
       20    revenue stream, the royalty revenue stream to
       21    LTL, I was aware of this allocation of royalties
       22    to LTL.
       23   Q: We'll see it later in this deposition.
       24    Did you look at any other financial
       25    analysis regarding liquidity of the LTL?


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   20 :8    Q: Other than the royalty -- A&M royalty
       9     stream, are you aware of any -- did you look --
       10    well, okay.
       11    With respect to the royalty, A&M
       12    royalty stream, did you personally look at any
       13    financial analysis of the valuation of that
       14    royalty?
       15   A: No, I didn't look at the valuation.
       16   Q: So the sum total of your knowledge of
       17    the RAM valuation of the royalty stream is from
       18    this approval memorandum where it discusses that
       19    it's approximately 50 million a year?
       20   MS. BROWN: Objection, misstates testimony,
       21    lacks foundation.
       22   THE WITNESS: I -- normally if it's in this
       23    memorandum, a document that exists in
       24    plaintiff's memorandum, that I was aware that it
       25    was the approximate annual value of the royalty
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   21 :1     streams that we are allocating to LTL.


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   22 :2    Q: All right. I'm on page 6 of the PDF,
       3     but I pulled it up on the screen. This is where
       4     it says -- on page 5, it's -- of the memorandum,
       5     it says --
       6    A: Yeah.
       7    Q: -- 'Over 50 million of after-tax annual
       8     income from royalty streams will be transferred
       9     from JJCI and its affiliates to RAM in the
       10    restructuring.'
       11    Do you see that?
       12   A: Yes.
       13   Q: All right. Is that the sum total of
       14    the financial analysis of the liquidity of LTL
       15    that you reviewed prior to approving this
       16    transaction?
       17   A: Yes.
       18   Q: Okay. So obviously before you approved
       19    the transaction, you were not presented with --
       20    you can take down the exhibit -- you were not
       21    presented with and you did not review any
       22    solvency analysis; is that correct?
       23   MS. BROWN: Objection, lacks foundation.
       24   THE WITNESS: I was not presented such an
       25    analysis.
   23 :1    BY MR. GLASSER:
       2    Q: And you did not review such an
       3     analysis, correct?
       4    A: Yeah, by definition. I was not
       5     presented so.
       6    Q: Right, exactly. We're just tapping it
       7     down.
       8     Prior to approving the transaction, you
       9     were not presented with and you did not review
       10    any fairness opinion having to do with any of
       11    the nine steps of the transaction; is that
       12    correct?
       13   MS. BROWN: I object, that lacks foundation.
       14   THE WITNESS: What do you mean by 'fairness
       15    opinion'?
       16   BY MR. GLASSER:
       17   Q: Like you've gotten fairness opinions in
       18    business transactions, haven't you, where
       19    they're affiliate transactions? You get an
       20    investment bank or an independent party to opine
       21    as to the fairness of the transaction to all the
       22    parties.
       23    Do you know what I'm talking about?
       24   A: Yeah, sometimes. Yes, uh-huh.
       25   Q: Right. And in this instance, for each
   24 :1     of these nine steps, you, Mr. Mongon, before
       2     approving this transaction, did not review any
       3     fairness opinions, correct?
       4    A: No, I didn't. I rely on the experts
       5     who are in charge of it.


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   24 :18   Q: Right. So to your -- you cannot recall
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    19   any discussion of transferring insurance that
    20   you remember prior to approving this
    21   transaction, right?
    22   A: No, I don't remember.
    23   MS. BROWN: Objection, vague.
    24   MR. GLASSER: You interrupted him, Alli.
    25
25 :1    BY MR. GLASSER:
    2    Q: Go ahead.
    3    MS. BROWN: I'm sorry. Objection, vague.
    4     You can go ahead. You can answer if
    5     you understand, Thibaut.
    6    THE WITNESS: I don't remember any discussion
    7     about that.
    8    BY MR. GLASSER:
    9    Q: So none of the entities involved in the
    10    2021 restructuring Project Plato transaction
    11    retained any independent investment bank to
    12    review or assist in the transaction; is that
    13    true?
    14   MS. BROWN: I object, calls for speculation.
    15   THE WITNESS: I cannot say it's not true.
    16    I'm not aware of it.
    17   BY MR. GLASSER:
    18   Q: So to your knowledge --
    19   A: To my knowledge, no knowledge of that.
    20   Q: Do you know who was the lawyer for each
    21    party at each of the nine steps of the
    22    transaction?
    23   A: No, I don't.
    24   Q: Did you ever ask?
    25   A: No.
26 :1    Q: How many hours -- we know that you got
    2     the memo at 8:07 in the morning and we know you
    3     approved it at 9:58.
    4     Away from the work on that one day,
    5     October 11th, how many hours of your life do you
    6     think you've spent on Project Plato?
    7    A: I have no exact recollection. At the
    8     meeting in -- about Project Plato in July and
    9     then a couple of dates and then -- and then the
    10    memo in October so.
    11   Q: All right. So how long did the meeting
    12    in July take?
    13   A: I don't remember exactly. It's a
    14    standard meeting.
    15   Q: So a standard meeting would you -- do
    16    you guys try and do efficient meetings with
    17    Johnson -- would a standard meeting be an hour?
    18   A: A standard meeting would be half an
    19    hour to an hour, yes.
    20   Q: Okay. So it was a standard meeting, to
    21    your recollection?
    22   A: Yeah.
    23   Q: Okay. And then after July, you said
    24    there were a couple of updates, right?
    25   A: Correct.
27 :1    Q: All right. So by 'a couple,' do you
    2     mean two?
    3    A: Yeah, I don't recall exactly how many,
    4     but about.
    5    Q: Okay. All right, a couple updates.
    6     So let's go to the first update you
    7     recall. How long did that take?
    8    A: I don't -- I don't remember.
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      9     Q: Was it a standard meeting?
      10    A: Yeah, it would be a standard update.
      11    Q: Okay. So 30 minutes to an hour?
      12    A: I don't remember.
      13    Q: You don't remember it being
      14    excruciatingly long, though, right?
      15    A: No, these were updates.


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   27 :23   Q: Okay. And then the second update, how
       24   long was that?
       25   A: I think regular updates on the regular
   28 :1    course of business.
       2    Q: Okay. Standard update?
       3    A: Yeah.
       4    Q: So 30 minutes to an hour, right?
       5    A: It can be shorter than that, right, and
       6    is everything going okay, yes, good, let's move
       7    on.
       8    Q: Okay. And then on October -- prior to
       9    the 11th, do you remember any other meeting in
       10   October?
       11   A: I don't remember, no.
       12   Q: All right. The meeting in July, who
       13   was there?
       14   A: It was with the law department.
       15   Q: Who?
       16   A: Of J&J.
       17   Q: Who?
       18   A: So it was -- we had Mike Newman, Erik
       19   Haas, Andrew White, and maybe a few more people
       20   from the legal department that I don't remember.
       21   And I brought from my team Paul Ruh and
       22   Peter Kerrane.


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   29 :25   Q: Well, I guess -- I guess you agree that
   30 :1    on the approval memorandum, and we can go back
       2    to it if you want, but you're the highest
       3    ranking Johnson & Johnson official on the
       4    approval memorandum, right?
       5    A: Correct.


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   34 :19   Q: Okay. But you did -- you already told
       20   me you didn't -- you reviewed zero analysis of
       21   the cash flow of LTL verses its expected
       22   obligations, right?
       23   A: No, I didn't.
       24   Q: You did not review any such analysis?
       25   A: I did not.
   35 :1    Q: Okay. So --
       2    A: That was not my role.
       3    Q: So how could you give me the prior
       4    answer you just gave me --
       5    MS. BROWN: I object --
       6    BY MR. GLASSER:
       7    Q: -- that you understood that everything
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      8      was kosher in terms of, it can be -- it could --
      9      I mean, you didn't look at any analysis of its
      10     ability to meet its obligations before you
      11     approved it.
      12    MS. BROWN: I object. That question is
      13     argumentative and misstates his testimony.
      14    BY MR. GLASSER:
      15    Q: You just trusted the memo, right?
      16    MS. BROWN: Same objection.
      17    THE WITNESS: So what this memo does is
      18     explain what the recapping, I would say, what
      19     the intent is, what the transaction is about,
      20     and the due diligence that has been done by the
      21     respective experts that we -- we have to work
      22     on -- on the transaction, and provided me with
      23     all the elements I needed to approve the
      24     transaction from my perspective.


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   36 :8    Q: All right. So how, based on the memo,
       9     could you know that that was enough money to
       10    meet its obligations?
       11   MS. BROWN: Objection, lacks foundation,
       12    calls for speculation.
       13    Go ahead, Mr. Mongon, you can answer.
       14   THE WITNESS: What -- what was -- what I was
       15    told is that this level of revenue would -- was
       16    what we were looking for in terms of allocation
       17    of revenues to LTL.
       18   BY MR. GLASSER:
       19   Q: Okay. Were you involved in the
       20    decision -- as a member of the Johnson &
       21    Johnson, you're on the executive committee,
       22    right?
       23   A: Yes, I am.
       24   Q: All right. That's the highest


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   43 :10   Q: And it basically says there will be
       11    minimal impacts to JJCI. That's the upshot of
       12    the memo, right?
       13   MS. BROWN: Objection to the form, misstates
       14    the evidence.
       15   THE WITNESS: They -- I think it describes in
       16    detail the impact and shows the due diligence
       17    made by the different experts in the different
       18    areas that may or may not be impacted by the
       19    transaction.
       20   BY MR. GLASSER:
       21   Q: Right; commercial, corporate, human
       22    resources. Next page: Real estate,
       23    intellectual property, legal, regulatory,
       24    finance and tax, treasury and cash flow,
       25    information technology, supply chain. Next
   44 :1     page: And communication.
       2     Right?
       3    A: Uh-huh.
       4    Q: All right. And in respect of each of
       5     those functional areas, the memo essentially
       6     explains that JJCI will be able to continue with
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      7     minimal impact, business as usual, right?
      8     A: We explain that what needs to be done
      9     in each -- on -- in these areas and the impact
      10    that we have on each -- you know, and on these
      11    areas.
      12    Q: Okay. And would it be fair to say that


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   45 :15   Q: You don't believe that a goal of the
       16   restructuring transaction was to take out of
       17   JJCI talc claims and liabilities and assign them
       18   to the new entity LTL? You don't agree that
       19   that was one of the objectives?
       20   A: I don't agree with your
       21   characterization. The objective here is to
       22   allocate the talc liabilities to a different
       23   legal entity, or LTL, yes.
       24   Q: Why?
       25   A: We -- we felt that these -- the
   46 :1    creation of LTL and the allocation of the talc
       2    liabilities to this new entity would allow for,
       3    as we said, fair and equitable resolution of the
       4    ongoing litigation, not only for existing
       5    claimants, but also for future claimants.


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   46 :21   Q: Were you not getting a fair shake in
       22    regular court?
       23   MS. BROWN: Objection, asked and answered.
       24   THE WITNESS: I'm -- I have no opinion on
       25    that.
   47 :1    BY MR. GLASSER:
       2    Q: Well then why did you execute the
       3     transaction to move 38,000 cancer victims'
       4     claims to bankruptcy court if you personally, as
       5     the person who approved it, had no opinion that
       6     the state courts were doing something wrong?
       7    MS. BROWN: Object. It's argumentative and
       8     it misstates his testimony and the evidence.
       9    THE WITNESS: That was the recommendation, to
       10    make -- do this transaction as the best way to
       11    resolve the litigation, the talc litigation,
       12    that up to this day, after many years of
       13    litigation, is not resolved.
       14    And so finding a way to solve this --
       15    this talc litigation, again, for current and
       16    future plaintiffs, is -- is a very appealing
       17    proposition.


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   62 :2    Q: Well, all right. So like, for
       3    example -- and I can go get the Travelers
       4    document or whatever. But let's say it was like
       5    a $400 million settlement with -- you know, with
       6    a certain plaintiff's lawyer, okay. Let's say
       7    we're going to settle $400 million worth of
       8    cases with, say, Mark Lanier.
       9    Do you, Mr. Mongon, get to approve that
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      10    or is that approved in legal?
      11    A: I don't approve this number.


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   63 :4    Q: Right. So back to my premise, they're
       5     spending your money without consulting you,
       6     right?
       7    MS. BROWN: Objection to the form of the
       8     question, misstates the evidence, asked and
       9     answered.
       10   THE WITNESS: I repeat, I'm responsible for
       11    the operational performance without the
       12    litigation costs. The litigation is handled by
       13    the law department. So I'm not responsible for
       14    that or involved.
       15   BY MR. GLASSER:
       16   Q: All right. So when the decision is
       17    made -- well, let me give you an example.
       18    $2 billion has been offered up for a qualified
       19    settlement fund in this bankruptcy.
       20    Are you aware of that?
       21   A: I'm not aware of that.


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   64 :1     You were not involved in picking that
       2     number?
       3    A: I was not involved.
       4    Q: You were not consulted about picking
       5     that number?
       6    A: I was not consulted.
       7    Q: It was not a business decision to pick
       8     that number; it was made in legal?
       9    MS. BROWN: Objection, calls for speculation.
       10   THE WITNESS: I was not consulted.


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   69 :25   Q: Okay. I'm not -- away from the email,
   70 :1     isn't it fair to say that by September you
       2     understood Project Plato would result in a
       3     bankruptcy filing?
       4    A: So my understanding that it would -- it
       5     was a potential outcome of -- of -- of the LTL
       6     creation.
       7    Q: 'Potential' sounds a little
       8     wishy-washy. Should we say nearly certain
       9     outcome?
       10   MS. BROWN: Objection, lacks foundation.
       11   THE WITNESS: I would say it was a likely
       12    outcome.


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   72 :13   Q: All right. So aside from your
       14   speculations about the board, let me ask you
       15   about yourself.
       16   Were you pretty certain yourself it was
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      17    going to be filed?
      18    A: I know it was an anticipated move.
      19    Q: All right. And the first bullet point
      20    [as read]: All lawsuits asserting claims to be
      21    immediately and automatically stayed.
      22    You understood that as well, right?
      23    A: And it said it was one -- one of the
      24    benefits of this restructuring. We know the two
      25    that are mentioned here.


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   83 :15   Q: Got it. So it's a feature, not a bug,
       16    in Project Plato that the rest of the Johnson &
       17    Johnson enterprise continues to operate as
       18    usual, correct?
       19   MS. BROWN: Objection to the form.
       20   THE WITNESS: I don't know what -- exactly
       21    what you mean by that. But what this document
       22    shows and that was really our intent is to make
       23    sure there was no misunderstanding from anyone
       24    about who was filing for Chapter 11 bankruptcy.
       25    It was not Johnson & Johnson. It was
   84 :1     not any other affiliate than the newly created
       2     LTL subsidiary.
       3    BY MR. GLASSER:
       4    Q: Got it. And that was -- that's a
       5     feature of the transaction; that was intentional
       6     structuring to get that resolved, right?
       7    MS. BROWN: Objection, calls for speculation
       8     and lacks foundation.
       9    THE WITNESS: I wouldn't characterize it this
       10    way. The sole in terms of this was to make sure
       11    there was no misunderstanding.


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   84 :14   Q: You have to agree with me that the
       15    entire purpose of Project Plato is to allow a
       16    corporate toenail to go bankrupt and the body to
       17    remain functional?
       18   A: I disagree --
       19   MS. BROWN: I object --
       20   THE WITNESS: -- with the way you
       21    characterize it. As I told you several times,
       22    the -- in terms of Project Plato is to find a
       23    way to solve this talc litigation that had been
       24    going on for a number of years that had not been
       25    resolved to date, and that move was -- the
   85 :1     objective was to provide current and future
       2     claimants with a fair and equitable way to bring
       3     their case and get their case resolved.


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   90 :3    Q: Right. And we saw that Johnson &
       4    Johnson Worldwide Health on Exhibit 35 brought
       5    in about $14 billion a year, and we saw,
       6    according to the approval memo, that LTL is
       7    going to bring in about 50 million a year.
       8    A: Uh-huh.
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      9     Q: Would you characterize 50 million as a
      10    minute part of 14 billion?
      11    A: It's -- no. It's part of -- of the --
      12    it was part of the business. And, you know,
      13    it's -- even if it's only a part of the bigger
      14    business, it's -- I wouldn't characterize it as
      15    small. $50 million is a lot of money.
      16    Q: But you don't know whether it's a lot
      17    of money compared to the obligations because you
      18    didn't look at any financial analysis of those
      19    obligations; isn't that true?
      20    A: Correct. I didn't look at financial
      21    analysis.


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   94 :8    Q: All right. And so having seen this
       9    exhibit, you think these were the people who
       10   were at that initial meeting you described to me
       11   earlier?
       12   A: Yeah. So you have Mike Ullmann, Erik
       13   Haas, Chris Andrew, Andrew White. I didn't
       14   remember that Valeria was in that meeting. And
       15   then I brought with me Paul Ruh and Peter
       16   Kerrane.
       17   Q: Okay. And looking back at Exhibit 41,
       18   which I don't want to pull up, it looks like you
       19   got -- you got your first two emails on Project
       20   Plato. Your first email, it looks like it -- it
       21   came to you on -- at 8:49 p.m. on July 19th.
       22   So that would be consistent what you're
       23   thinking, that this is the first time you
       24   learned about Project Plato, right?
       25   A: Yeah, that's -- we talked about it at
   95 :1    the -- in July at that meeting, yes.


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Page 100
 100 :1     Q: Okay, great. And then it says here [as
      2     read]: The license agreements were not
      3     transferred, just the right to the royalty
      4     stream. JJCI is still responsible for the
      5     agreements and JJCI employees will still be
      6     fulfilling all responsibilities under the
      7     agreements.
      8     Is that under -- your understanding of
      9     what happened in the royalty transaction?
      10    A: Yes.
      11    MS. BROWN: Objection, calls for speculation.


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Page 100
 100 :22    Q: Okay. Let's go to exhibit -- let's go
      23    to section 31.
      24    [As read]: Does LTL own the underlying
      25    brands/products? No, it only holds an interest
 101 :1     in the royalty streams. JJCI is still
      2     responsible for the product license agreements.
      3     JJCI employees will still fulfill all
      4     responsibilities under these agreements.
      5     Is that your understanding of the
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      6      royalty deal?
      7     MS. BROWN: Objection, speculation.
      8     THE WITNESS: My understanding that's what's
      9      written here, yes.
      10    BY MR. GLASSER:
      11    Q: Great. Let's go to Exhibit -- paragraph 32.
      12     [As read]: Does this matter impact the
      13     manufacturing, distribution, or sales of these
      14     brands in any way? No. RAM only holds an
      15     interest in the royalty stream revenues of these
      16     products.
      17     Is that your understanding of the
      18     transaction?
      19    A: And, no, RAM only holds an interest in
      20     the royalty revenue streams of these products.
      21     LTL's filing does not impact this in any way.
      22     Correct.


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Page 103
 103 :7     Q: Great. Next page, top bullet point.
      8      [As read]: Aside from a handful of
      9      officers overseeing administrative activities
      10     and the Chapter 11 cases, LTL has no employees
      11     or operations. It does not develop, manufacture
      12     or produce any products or brands.
      13     Is it your understanding of the
      14     transaction?
      15    MS. BROWN: Objection, calls for speculation,
      16     misstates the facts.
      17    THE WITNESS: I think that's a simple answer
      18     that does -- that forgets to mention that LTL
      19     will mention -- mention and remind everybody of
      20     what was stated in other parts of this document
      21     in terms of LTL's role in managing the revenue
      22     stream of these royalties.


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Page 107
 107 :6     Q: So the bankruptcy case was filed, you
      7     know, on October 14th, just three days after you
      8     authorized the transaction.
      9     All right, Mr. Mongon? Do you agree
      10    with me there?
      11    A: I don't remember but...
      12    Q: Close in time. You remember that,
      13    right?
      14    A: Uh-huh.
      15    Q: 'Yes'?
      16    A: Yes.
      17    Q: You have to say 'yes.'
      18    A: Let me remind you that I authorized the
      19    creation of LTL with this memo.
      20    Q: Right.
      21    A: I didn't authorize the bankruptcy
      22    filing.
      23    Q: Okay. Do you have any inkling of why
      24    it happened so quick in time after the -- after
      25    the authorization of the creation of the
 108 :1     company? Why did it happen in such a tight time
      2     frame?
      3     MS. BROWN: Calls for speculation, I object.
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      4     THE WITNESS: No, I have no idea why the
      5      board of LTL decided on that day.
      6     BY MR. GLASSER:
      7     Q: So you have no insight into why there
      8      was a big hurry to get it done?
      9     MS. BROWN: Same objections.
      10    THE WITNESS: I wouldn't characterize it as a
      11     big hurry. It's just a decision that LTL
      12     company -- the LTL board made.
      13    BY MR. GLASSER:
      14    Q: Well, do you even know how many days
      15     before the board made that decision the board
      16     members ever even knew they were going to be
      17     board members of LTL?
      18    MS. BROWN: Foundation, speculation.
      19    THE WITNESS: No, I don't.
      20    BY MR. GLASSER:
      21    Q: Okay. So you have no idea if they
      22     acted in a hurry, you're saying?
      23    A: I don't know.
      24    MS. BROWN: Same objection.


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Page 113
 113 :25    Q: When did the workflow start with
 114 :1      respect to the planned separation of the corp --
      2      of the consumer business?
      3     MS. BROWN: Speculation, foundation.
      4     THE WITNESS: I don't know --
      5     BY MR. GLASSER:
      6     Q: If you know.
      7     A: I -- I don't know when the conversation
      8      started. I was not involved at the beginning of
      9      this conversation.
      10    Q: When did you first know that there was
      11     a potential plan to spin off the consumer
      12     business?
      13    A: I would say around July 2021.
      14    Q: Was the board meeting July 19, 2021,
      15     in -- discussing that potential?
      16    A: No.
      17    MS. BROWN: Objection, asked and answered.
      18    THE WITNESS: Sorry. Just to rephrase, I did
      19     not discuss the spinoff at the board meeting.
      20    BY MR. GLASSER:
      21    Q: But you think you knew about it -- the
      22     possibility around the time of that board
      23     meeting?
      24    A: No, I distinctly remember that I didn't
      25     know about it when we had the board meeting.
 115 :1     Q: All right. So after the July --
      2      sometime after July 19 is when you learned?
      3     A: That -- that's right.
      4     Q: All right. Did the potential for the
      5      spinoff come up in the September board meeting?
      6     A: Yes, it did.
      7     Q: And was the interaction with Project
      8      Plato and the spin discussed?
      9     MS. BROWN: Objection, assumes facts.


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 121 :10    Q: As of December 4, 2019, Bernstein
      11    accurately reported what they had been told at
      12    the meeting, that management was supremely
      13    confident in the strength of J&J's legal
      14    position on talc?
      15    A: That's how Bernstein reported it.
      16    Q: And you agree that they were not making
      17    that up, that's what they were told at the
      18    meeting?
      19    A: Of their interpretation, right, of what
      20    they heard from management.
      21    Q: Okay. And do you think it was an
      22    unfair interpretation of what they heard from
      23    management?
      24    MS. BROWN: Calls for speculation.
      25
 122 :1     BY MR. GLASSER:
      2     Q: You were there. Do you think that's an
      3      unfair message they got?
      4     A: I don't recall exactly what -- what we
      5      talked about. But that's their understanding
      6      and recollection of the -- of the conversation.
      7     Q: Let's go to the first bullet point
      8      under 'During the Skillman visit.'
      9      [As read]: Management made a few
      10     additional points. Management wanted to make it
      11     clear that litigation is not a distraction for
      12     the business. There is a very small team
      13     dedicated to the case, and the vast majority of
      14     people in the business are doing their jobs.
      15     Commercially, J&J does not believe talc
      16     litigation is having a negative spillover effect
      17     across brands outside of baby powder.
      18     Do you see that?
      19    A: I can see that.
      20    Q: Isn't it true that's what management
      21     told Bernstein at the meeting?
      22    MS. BROWN: Objection, calls for speculation.
      23    THE WITNESS: I think that's what meant --
      24     what it says in this document, that's what --
      25     that's what Bernstein reported.


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Page 123
 123 :5      Isn't it true that's what you guys told
      6      Bernstein at this meeting?
      7     MS. BROWN: Misstates the evidence, lacks
      8      foundation.
      9     THE WITNESS: I don't recall exactly what we
      10     talked about at this meeting.
      11    BY MR. GLASSER:
      12    Q: Explain to me how they could have come
      13     up with that on their own.
      14    MS. BROWN: Calls for speculation.
      15    THE WITNESS: I -- I cannot extrapolate,
      16     right, or speculate on what they -- what they
      17     did. I don't recall exactly what we talked
      18     about at this meeting.
      19    BY MR. GLASSER:
      20    Q: As a matter of fact, do you agree
      21     that's a true statement, though, independent of
      22     what they were told at the meeting; at that time
      23     in December of 2019, there was a small team
      24     dedicated to talc inside Johnson & Johnson.
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      25    MS. BROWN: Calls for speculation.
 124 :1     THE WITNESS: So remember that, as I told you
      2      before, I -- I went -- when we talk about, and I
      3      don't know if this is what they referred to when
      4      they refer to management. When I talk about the
      5      Consumer Health business, I talk about the
      6      operational performance of the business
      7      excluding the cost and impact of the litigation
      8      business.
      9      So from that perspective, you have very
      10     few people on the operational side of the
      11     business who deal with the litigation. The
      12     litigation is handled by the law department of
      13     Johnson & Johnson outside of the operational
      14     team of the Consumer Health business.


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 124 :19    Q: Okay. Let's go to the second and third
      20    bullet points.
      21    So there is a quote here [as read]:
      22    Management could not have been clearer about
      23    their confidence in their product. We
      24    absolutely stand behind this product. Our talc
      25    does not contain asbestos. It is safe and does
 125 :1     not increase the risk of cancer.
      2     Do you see that quote?
      3     A: Yes, I can see it.
      4     Q: Okay. So you were there. Isn't that
      5     what investor relations told them?
      6     A: Yeah, absolutely. And I -- I tell this
      7     to different stakeholders each time I'm asked
      8     about the product. So it was not new
      9     information that we were and we continue to
      10    stand behind the quality and safety of the -- of
      11    the product --


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Page 134
 134 :11    Q: All right. If it's true that talc
      12     causes mesothelioma, do you think negative
      13     headlines are warranted?
      14    MS. BROWN: Objection, speculation.
      15    THE WITNESS: I don't agree with your first
      16     statement, as I told you. We believe our talc
      17     product is safe and effective.


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Page 135
 135 :18    Q: So this is the '2nd Quarter 2021
      19    Results.' And it looks like J&J had an
      20    excellent 2nd quarter 2021.
      21    Would you agree with me?
      22    A: It's -- it's a good quarter for J&J,
      23    yes.
      24    Q: Okay. And for your Worldwide Consumer
      25    Health -- let's blow that up on the right
 136 :1     side -- sales increased 13.3 -- percent, or
      2     9.2 -- percent operationally.
      3     Do you see that?
      4     MS. BROWN: Objection.
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      5     THE WITNESS: Yes, I can see that.
      6     BY MR. GLASSER:
      7     Q: All right. And so that's a great
      8      quarter for Worldwide Consumer Health, right?
      9     A: Sorry?
      10    Q: That's a really good quarter; do you
      11     agree?
      12    A: It's a good quarter for the -- for
      13     Consumer Health globally, yes.


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 136 :24    MR. GLASSER: All right. Let's go to
      25    Exhibit 33.
 137 :1       (Document shown on the screen.)
      2     BY MR. GLASSER:
      3     Q: This is the 2nd Quarter Earnings Call
      4     and you were one of the presenters; isn't that
      5     right?
      6     A: Uh-huh.
      7     Q: 'Yes'?
      8     A: I don't recall.


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 137 :17    Q: You were a presenter at the 2nd quarter
      18    earnings call; isn't that true?
      19    A: I don't recall but --
      20    Q: Go to page 4. There you are.
      21    A: Then I was.
      22    Q: All right, great. Okay, here we go.
      23    MR. GLASSER: Let's go to the -- let's go to
      24    Exhibit 33, please. Oh, we have 33. I forgot
      25    what I wanted to use this for. Oh, here we go.
 138 :1     Let's go to page 7, Consumer Health.
      2     BY MR. GLASSER:
      3     Q: All right. So what does this tell us
      4     about the state of the Consumer Health business
      5     in the 2nd quarter of 2021, Mr. Mongon?
      6     A: So this side depicts the financial
      7     performance from an operational perspective for
      8     the Consumer Health business in terms of
      9     revenue. I believe it's by the different
      10    segments. And then the drivers for each
      11    segment.
      12    Q: And is this good performance?
      13    A: It's overall a good performance from a
      14    revenue perspective versus the prior quarter --
      15    sorry, the end quarter in the year 2020. And
      16    I'll highlight it here.
      17    We mention the fact that it's primarily
      18    due to the market recovery, because the 2nd
      19    quarter of 2020, due to the COVID pandemic, so a
      20    very low performance of our business.
      21    So when you compare the 2nd quarter of
      22    2021 to the 2nd quarter of 2020, the base of
      23    comparison is favorable to the growth rate
      24    reported in '21. And so that's what --
      25
 139 :1     MR. GLASSER: Okay. Let's go to Exhibit 34.
      2      (Document shown on the screen.)
      3     BY MR. GLASSER:
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      4     Q: So here's a transcript of a conference
      5     that Barclays ran on September 10, 2021, that
      6     you presented at; isn't that right, Mr. Mongon?


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 139 :15    Q: All right. And let's go to page --
      16    page 5 of your remarks.
      17    So this is what you told the Barclays
      18    investor conference about the performance in the
      19    2nd quarter; isn't that right?
      20    A: Uh-huh, yes.
      21    Q: And you told them that your three
      22    segments in your business are working, right?
      23    A: Right.
      24    Q: That you're driving strong revenue
      25    growth, right?
 140 :1     A: Yes.
      2     Q: That you're increasing your margin as
      3     well; isn't that right?
      4     A: Correct.
      5     Q: And that Consumer Health --
      6     A: And you will see that we characterize
      7     it as operating profit.
      8     Q: I understand. You made that point.
      9     A: Which does not include the cost of
      10    litigation.
      11    Q: And then you say that [as read]: We
      12    continue to solidly position J&J Consumer Health
      13    in the top quartile of our industry for
      14    profitability while delivering top line growth
      15    at the same time.
      16    Right?
      17    A: Correct.


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 142 :2     Q: But you do stand by this statement you
      3     made, that [as read]: We are a thriving
      4     business with a balanced, resilient power
      5     portfolio delivering top quartile profitability?
      6     A: I do. Again, from an operational point
      7     of view, excluding cost of litigation.


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 143 :18      12:16 p.m., after which the
      19      deposition was resumed at
      20      1:02 p.m. as follows:)
      21    THE VIDEOGRAPHER: The time is 1:02 p.m. We
      22     are now back on the record.
      23      EXAMINATION
      24    BY MR. JONAS:
      25    Q: Good afternoon, Mr. Mongon.
 144 :1     A: Good afternoon.
      2     Q: My name is Jeff Jonas from the firm
      3      Brown Rudnick, and I represent the Talc
      4      Claimants Committee I in the LTL bankruptcy.
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 146 :5     Q: Okay. Okay. So I want to just come
      6      back to what we've now -- what you've described
      7      for me as Project Plato.
      8      Was Project Plato approved by the board
      9      of J&J?
      10    MS. BROWN: Objection, foundation.
      11    THE WITNESS: I don't know about it. I'm not
      12     aware of that.
      13    BY MR. JONAS:
      14    Q: Okay. Are you -- well, let me ask you,
      15     are you aware of what approvals within J&J were
      16     obtained in connection with Project Plato?
      17    A: No, I don't. I'm not aware of that.
      18    Q: Okay. Do you know who could tell us
      19     what approvals were obtained at J&J for Project
      20     Plato?
      21    A: I would say, you know, you can -- you
      22     have the memo that approved the transaction. So
      23     you have the list of approvals on the -- on the
      24     memo.


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Page 148
 148 :23    Q: Okay. So now that we've done -- we've
      24    gone through that exercise -- and maybe you do,
      25    maybe you don't, I'll just ask -- would you
 149 :1     agree that Project Plato was authorized by J&J?
      2     A: I would say, absolutely, it was a
      3     transaction approved by our company.


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 149 :11    Do you consider yourself a senior
      12    member of management at J&J?
      13    A: I do.
      14    Q: Okay. And as a senior member of
      15    management at J&J, when you consider and then
      16    approve a transaction, do you consider the
      17    business rationale or reasons to do that
      18    transaction?
      19    A: I consider the rationale attached to
      20    the project.
      21    Q: Okay. So in this case, what were the
      22    business -- what was the business rationale for
      23    you to approve Project Plato?
      24    A: I think the -- the main rationale
      25    that -- was that the Project Plato appeared to
 150 :1     be a reasonable option that we had to create a
      2     way for current and future claimants to get the
      3     ongoing talc litigation resolved in a fair and
      4     equitable way.
      5     From that perspective and based on the
      6     recommendation of -- of the team, it was -- it
      7     was possible.
      8     The other thing that was important for
      9     me from an operational standpoint is that the
      10    due diligence done by the experts highlighted in
      11    the memo, demonstrated that that it was doable
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      12    from an operational standpoint. And so from
      13    these two perspectives, my -- my judgment was
      14    that it was a good transaction to do.
      15    Q: Okay. And I think -- I appreciate the
      16    second perspective, that it was operationally


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Page 151
 151 :17    Q: Yeah. So part of project -- part of
      18     the business rationale for Project Plato was
      19     profit motive, correct?
      20    MS. BROWN: Objection, misstates testimony.
      21    THE WITNESS: No, I don't agree with your
      22     characterization.
      23    BY MR. JONAS:
      24    Q: Okay.
      25    A: I -- what I said is that it was a way
 152 :1      to offer claimants who have claims related to
      2      talc a way to get their case resolved in a fair
      3      and equitable way, something that has been going
      4      on for years and has not been resolved as of
      5      today.
      6     Q: Okay. So I -- I don't want to be
      7      facetious. I just want to ask a simple question.
      8      Are you saying that the motivation for
      9      J&J to do Project Plato, the sole -- are you
      10     saying the sole motivation was to help claimants
      11     resolve their claims? Is that your testimony?
      12    MS. BROWN: I object. It lacks foundation
      13     and asks for speculation.
      14    THE WITNESS: That's not what I said.
      15     I said that the goals -- the goal as to
      16     Project Plato, which, I remind you, is the
      17     creation of this subsidiary where we would
      18     allocate the talc liabilities, would provide a
      19     forum for claimants to get their case resolved.
      20     That's good for the claimant. That's
      21     good for the company.
      22    BY MR. JONAS:
      23    Q: Let me ask you, did you ever see any
      24     financial analysis or economic analysis that
      25     suggested to you that Project Plato would be
 153 :1      financially beneficial for J&J?
      2     A: What do you mean by 'financially
      3      beneficial' to J&J?
      4     Q: Well, fair question. Let me -- let me
      5      break it down.
      6      First I mean, any sort of analysis
      7      whatsoever from anybody at any time that showed
      8      that, hey, if we do Project Plato, whether it's
      9      a year from now or five years from now or ten
      10     years from now, we'll have -- doing Project
      11     Plato versus not doing Project Plato, will have
      12     a better financial outcome for J&J.
      13     And when I mean 'financial outcome,' I
      14     mean our bottom line will be improved in some
      15     way for having done Project Plato than not doing
      16     it.
      17    MS. BROWN: Objection, calls for speculation.
      18    THE WITNESS: Yeah, let me break down your
      19     question and -- let me break it.
      20     The -- while I haven't seen the
      21     financial analysis, I'm aware of the very high
      22     cost linked to litigation. And I'm also aware,
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      23     as you are over the years, of the very negative
      24     verdict, what we call the Ingham verdict, that
      25     we had to book in our books in 2020.
 154 :1     BY MR. JONAS:
      2     Q: Uh-huh.
      3     A: This -- these costs, while I was not
      4      shown a specific analysis, is not rocket
      5      science, it doesn't take you long to see that
      6      if -- if that Project Plato is a way to get
      7      resolution and certainty about the -- about the
      8      case and the costs associated with these -- with
      9      these cases.
      10     And from that perspective, it's -- it's
      11     beneficial to the company.
      12    Q: Yeah, it would be beneficial because
      13     your hope in doing Project Plato was to avoid --
      14     in part, avoid future verdicts like Ingham that
      15     had a very big hit to the bottom line, correct?
      16    MS. BROWN: Objection, assumes facts, calls
      17     for speculation, lacks foundation.
      18    MR. JONAS: Wow.
      19    THE WITNESS: I didn't agree with -- with
      20     your characterization.
      21     With Project Plato, we are not trying
      22     to avoid what you talked about. What -- again,
      23     we are trying to provide a forum for all
      24     complaints to be heard by the bankruptcy judge
      25     and find resolution to the degree that the judge
 155 :1      will decide.
      2      So we are not -- we are not avoiding
      3      anything. We just believe that Project Plato
      4      will provide this forum for -- again, for
      5      today's claimants and future claimants.
      6     BY MR. JONAS:


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 155 :20    Q: Okay. Do you know if anybody at J&J
      21     ever talked to any claimants and asked them if
      22     they would prefer to be in bankruptcy or not in
      23     bankruptcy?
      24    MS. BROWN: Calls for speculation.
      25    THE WITNESS: I don't know.
 156 :1     BY MR. JONAS:
      2     Q: Did you ask anybody?
      3     A: No, I didn't.
      4     Q: Do you think it would make sense, if
      5      you're making a decision that this is the way to
      6      go for -- it's good for these people, do you
      7      think it makes any sense to have asked them what
      8      they would prefer?
      9     MS. BROWN: Objection, foundation,
      10     speculation.
      11    THE WITNESS: It's not my field of expertise
      12     so I rely on the experts.


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 162 :22    Are you aware that certain J&J
      23    employees were seconded, or seconded, to work at
      24    LTL?
      25    A: Yes, yes, I am.
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163 :1    Q: And do you know how those particular
     2    employees were chosen or selected?
     3    A: Not -- not really other than, you know,
     4    the fact that I believe they were the right
     5    candidates for the role.
     6    Q: Well, how do you know they were the
     7    right candidates for the role?
     8    A: Because that's how we nominate people
     9    in the company.
     10   Q: Okay. Well, do you know who nominated
     11   them for their roles at LTL?
     12   A: No, I don't.
     13   Q: Do you know -- we've talked about
     14   Mr. Kim, who, I think, is chief legal officer at
     15   LTL.
     16   Do you know Mr. Deyo, D-e-y-o, who is a
     17   board member, a manager? Do you know him?
     18   A: I don't know him personally, no.
     19   Q: Okay. But you're aware he's a board
     20   member at LTL?
     21   A: I know about it, yes.
     22   Q: Okay. How do -- how did you come to
     23   know about that?
     24   A: I think it was at one of the updates.
     25   Q: And did somebody say -- I just want to
164 :1    know how you learned about it.
     2    So at one of the update meetings,
     3    somebody said, Oh, Mr. Deyo is going to be a
     4    board member at LTL?
     5    A: I don't recall exactly, but the -- who
     6    was associated with LTL was probably provided as
     7    one of the updates about the case.
     8    Q: Okay. And do you know who Robert
     9    Wuesthoff is?
     10   A: Yes, I know him.
     11   Q: Okay. And who is he? How do -- what
     12   do you know about him?
     13   A: I know he left LTL now and used to
     14   work for J&J.
     15   Q: Okay. And do you know how he was
     16   chosen to -- for that position?
     17   A: No, I don't.
     18   Q: You don't know what -- I think you said
     19   to be nominated, you got to be qualified. You
     20   don't know what qualified him for that position?
     21   A: No. I know -- other than I know he
     22   knows the Consumer Health business because he
     23   was part of the Consumer Health business before.
     24   Q: Okay. Do you view the business of LTL
     25   as Consumer Health?
165 :1    A: What -- what do you mean?
     2    Q: Well, let me ask you, what -- what is
     3    your understanding of what business LTL is in?
     4    A: LTL is in the business of -- of
     5    handling royalty streams. So we allocate it to
     6    them the royalty streams we talked about this
     7    morning. And their objective is to find new
     8    royalty streams and develop this part of the
     9    business.
     10   So I -- if you ask me, is it part of
     11   Consumer Health, it's -- LTL is not part of
     12   Consumer Health.
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Page 167
 167 :3     Q: Yeah. Well, let me ask you, since
      4      you've said that. I mean, why was -- you know,
      5      why was it 50 million and not 25 million or a
      6      hundred million or some other number? How was
      7      it -- how was it determined that that was the
      8      right amount of royalties to go into LTL?
      9     MS. BROWN: Objection, calls for speculation.
      10    THE WITNESS: I wouldn't be able to answer
      11     your question. I don't know why this number was
      12     that issue.


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Page 168
 168 :1     Q: Have you ever been involved in any
      2     conversations -- let me strike that --
      3     communications about J&J itself filing for
      4     bankruptcy?
      5     A: No, no, I haven't.
      6     Q: Okay. Have you ever had any
      7     communications about, I guess, what was --
      8     what's been called old JJCI filing for
      9     bankruptcy?
      10    A: Old JJCI filing for bankruptcy, no, I
      11    haven't.


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Page 169
 169 :3     Q: Okay. Okay.
      4     I'm a little confused about the scope
      5     of the talc claims which LTL will be dealing
      6     with, so I just have a few questions about that.
      7     Is it correct that Johnson & Johnson's
      8     Baby Powder overseas -- that is, outside of the
      9     United States -- continues to contain talc?
      10    A: We continue to have talc baby powder
      11    outside of North America, United States.
      12    Q: Okay. And if -- if a company --
      13    A: United States and Canada. Sorry.


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Page 171
 171 :2     Q: Well, let me back up. Have you seen --
      3     or had any -- well, have you seen any valuations
      4     of new -- financial valuations of new JJCI?
      5     A: No, I haven't.
      6     Q: Have you had any communications --
      7     again, email, text, conversations, anything of
      8     the sort -- about the value or valuation of new
      9     JJCI?
      10    A: No, I have not.


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 171 :15    THE WITNESS: I -- I don't know. I'm not
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      16    responsible for the accounting, and we are not
      17    managing the business through legal entities.
      18    So we are managing the business operationally.
      19    And then the accounting department, if you will,
      20    will allocate revenues and costs to the
      21    appropriate legal entity.
      22    I have dozens of legal entities forming
      23    my business, and I don't think about my business
      24    through the lens of legal entities, and I don't
      25    review financial statements about different
 172 :1     legal entities.
      2     BY MR. JONAS:
      3     Q: Okay. Do you know, roughly, how many
      4     people ultimately report to you?
      5     A: 6- to 8,000 report, I would say,
      6     directly to me, and more employees report to
      7     other functions and work at the time, if you
      8     will, under Consumer Health business.
      9     So probably 6- to 8,000 report directly
      10    to me. Approximately 20,000 would -- would work
      11    on the Consumer Health business in the different
      12    capacities that do not necessarily report to me.
      13    Q: And notwithstanding that everybody is
      14    remote these days, where is your primary
      15    physical office?
      16    A: The headquarter is -- is New Brunswick.
      17    Our main operations in the -- in the U.S. are in
      18    Skillman, New Jersey, and Port Washington,
      19    Pennsylvania.
      20    Q: And when -- when you do go to your
      21    primary office, that's in -- in -- is that in
      22    New Brunswick?
      23    A: That's where my office as a Consumer
      24    Health member, yes.
      25    Q: Okay. Okay. And this may be beyond
 173 :1     your expertise, and if it is, just let me know.


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Page 177
 177 :22    Q: What is the difference between
      23    Worldwide Consumer Health and Johnson & Johnson
      24    Consumer, Inc.?
      25    A: I'm responsible for the global
 178 :1     performance and operations of the Consumer
      2     Health sector around the world. And to be very
      3     clear about how we are organized, these
      4     operations in each market are hosted within one
      5     of several legal entities. JJCI is one of these
      6     legal entities, and it's where we hold the
      7     majority of our Consumer Health business in the
      8     United States.
      9     Q: Okay. So JJCI is within Johnson &
      10    Johnson's Worldwide Consumer Health sector,
      11    correct?
      12    A: It's one of the legal entities we use
      13    to report -- to book our revenues and -- and
      14    expenses and be we bought (indiscernible).
      15    Q: All right. And the majority of J&J's
      16    Consumer Health sector business in the United
      17    States is with the company called JJCI, correct?
      18    A: Correct.
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 179 :6     Q: Okay. And is it fair to say that the
      7     overwhelming majority of Johnson & Johnson's
      8     Consumer Health sector business in the United
      9     States is Johnson & Johnson Consumer, Inc.?
      10    A: That's my understanding, yes.


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Page 180
 180 :7     Q: Have you ever held the opinion that
      8     JJCI was in financial distress?
      9     A: I'm not sure I would characterize it
      10    this way. What I would say is that when I
      11    looked at our annual report in 2021 reporting on
      12    our 2020 results and I saw that when allocating
      13    the cost of litigation to the result of the
      14    Worldwide Consumer Health sector, the whole
      15    Consumer Health sector globally was reporting a
      16    loss. I had the -- I formed the opinion that
      17    the business where this liability is, which is
      18    the U.S. business, was under serious strain
      19    linked to the cost into this litigation.


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Page 181
 181 :1     Q: Okay. And are you saying that based on
      2     your review of Johnson's 2020 annual report you
      3     concluded that JJCI was having financial
      4     problems?
      5     A: That's not what I said.
      6     I said that when I looked at the 2021
      7     annual reports reporting on the 2020 financial
      8     results, I saw that when allocating the cost of
      9     litigation, talc litigation, to the operational
      10    performance of the business, my business that
      11    was operationally doing well, as we talked about
      12    this morning, when allocated with the cost of
      13    litigation that do reside in JJCI, the whole
      14    global Consumer Health sector was reporting a
      15    loss. And so as a result of that, I formed the
      16    opinion that the legal entity that was hosting
      17    the majority of the business in the U.S. and was
      18    -- where we allocated the cost of talc
      19    litigation was, indeed, in the red as well.


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Page 182
 182 :22    Q: So is your best estimate that this was
      23    sometime in the 1st quarter of 2021 or some
      24    other time?
      25    A: Yeah, I don't recall exactly, but
 183 :1     probably around that time.


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 186 :14    Q: Okay. And what percentage of J&J's
      15    Worldwide Consumer Health sector's expenses in
      16    the year 2020 came from talc litigation expenses
      17    as compared to the non-talc litigation expenses?
      18    A: I don't have this number. I cannot
      19    answer your question.
      20    Q: And you've never known the answer to
      21    that question, correct?
      22    A: No. I don't look at it this way.
      23    What -- what I look at is that what we did in
      24    2020 is book the costs related to the -- what we
      25    call the Ingham verdict, which was a
 187 :1     multibillion-dollar verdict. And so that case
      2     alone was very significant.
      3     Q: Okay. So a very significant part of
      4     the talc litigation expenses for J&J's Worldwide
      5     Consumer Health sector came from the payment of
      6     the Ingham judgment, correct?
      7     A: Correct. That's why we booked it.
      8     Q: Okay. And why was the Ingham judgment
      9     paid for by JJCI and not J&J?
      10    A: That, I would refer you to the
      11    accounting department. But the accounting
      12    department allocates the costs where -- to the
      13    appropriate legal entity, and so that's where
      14    the costs were allocated.
      15    Q: Do you know if the Ingham judgment was
      16    against Johnson & Johnson, Johnson & Johnson
      17    Consumer, Inc., or both?
      18    A: I don't know.


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 191 :15    Q: This was approximately one month before
      16    you approved of JJCI's restructuring as set
      17    forth in the approval memo that was sent to you
      18    on that same day, October 11, 2021, correct?
      19    A: Correct.
      20    Q: All right. And -- and here in these
      21    remarks -- you remember this conference, right?
      22    A: Yep.
      23    Q: Okay. And in these remarks, you are
      24    talking about J&J Consumer's broad-based
      25    portfolio, right?
 192 :1     A: Yes.
      2     Q: And that includes Band-Aids, right?
      3     A: Our portfolio? Yeah, they seem to our
      4     portfolio.
      5     Q: Right. It includes some of the most
      6     iconic brands in the world, including Band-Aids,
      7     Tylenol, Motrin, right?
      8     A: Correct.
      9     Q: J&J Consumer, another brand they have
      10    is Nicorette, right?
      11    A: Correct.
      12    Q: Listerine, right?
      13    A: Uh-huh.
      14    Q: And what you said to the investors and
      15    to the public here, that this was a broad-based
      16    portfolio, it enables Johnson & Johnson Consumer
      17    to handle market disruptions and drive
      18    consistent performance, right?
      19    A: Correct.
      20    Q: You called this a power portfolio,
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     21   right?
     22   A: Correct.
     23   Q: And you said that Johnson & Johnson
     24   Consumer was doing very well as measured by
     25   operational growth, correct?
193 :1    A: Correct.
     2    Q: And -- and you said that Johnson &
     3    Johnson Consumer strategies across all three of
     4    its segments were working, correct?
     5    A: Uh-huh, absolutely.
     6    Q: And those strategies are still working,
     7    right?
     8    A: Correct.
     9    Q: And Johnson & Johnson Consumer is
     10   continuing to drive strong revenue growth,
     11   right?
     12   A: Correct.
     13   Q: Johnson & Johnson Consumer at this
     14   time, September 10, 2021, and today, is
     15   achieving the highest operating profit
     16   improvement in what you would call their
     17   competitive set, correct?
     18   A: I'm glad you highlighted operating
     19   profit. Yeah, absolutely.
     20   Q: And then and now, Johnson & Johnson
     21   Consumer has strong momentum, which allows
     22   Johnson & Johnson Consumer to reinvest in
     23   revenue growth and create what you would call a
     24   virtuous cycle, correct?
     25   A: Correct.
194 :1    Q: And what is the virtuous cycle for
     2    Johnson & Johnson Consumer section that -- that
     3    you're describing here?
     4    A: It's a virtuous cycle when you create
     5    products that are attractive for consumers,
     6    consumers buy them, and they generate a profit
     7    for the company. You can reinvest this profit
     8    in the development of new products so you can
     9    offer these consumers or other consumers the
     10   same products or other products. So that's what
     11   we talk about when we talk about this virtuous
     12   cycle.
     13   Q: And that's what Johnson & Johnson's
     14   Consumer sector was doing before the LTL
     15   bankruptcy filing, and that's still what the
     16   Johnson & Johnson Consumer sector is doing
     17   today, right?
     18   A: That's what we strive to do every day
     19   from an operational point of view, absolutely.
     20   Q: And that's what you've achieved as the
     21   head of J&J's Consumer sector?
     22   A: Correct, from an operational --
     23   Q: And the J&J Consumer sector, you said
     24   then and you believe now, is solidly positioned
     25   in the top quartile of the industry for
195 :1    profitability while delivering top-line growth
     2    at the same time. That's a true statement then
     3    in September of 2021, and it's a true statement
     4    today, right?
     5    A: Correct.
     6    Q: And you said a few things I would
     7    like -- you wanted people to remember about your
     8    comments, September 10, 2021, with Barclays --
     9    do you see where you start saying that there?
     10   A: Uh-huh, yes.
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      11    Q: Okay. And you know when you make
      12    statements to banks and to investors, it's
      13    important to be completely honest, right?
      14    A: Absolutely.
      15    Q: And you know that banks and investors
      16    and the public rely upon you to give full and
      17    complete information about Johnson & Johnson's
      18    Consumer Health sector whenever you make these
      19    public statements, correct?
      20    A: Correct.
      21    Q: And in the statements from
      22    September 10, 2021, you said [as read]: In
      23    closing, a few things I would like to remember
      24    about Johnson & Johnson Consumer Health.
      25    And you said [as read]: First, we are
 196 :1     a thriving business with a balanced and
      2     resilient power portfolio that is delivering top
      3     quartile profitability.
      4     Do you see that?
      5     A: I see it, yes.
      6     Q: And that was true when you said it on
      7     September 10, 2021, right?
      8     A: That's true at the time I said it.
      9     Q: And it's still true today, right, sir?
      10    A: That's what we are focused on every
      11    day.
      12    Q: It's still true today, right, sir?
      13    A: We are trying to achieve that every
      14    day.
      15    Q: It's still true today, sir, that the
      16    Johnson & Johnson Consumer Health group is a
      17    thriving business with a balanced and resilient
      18    power portfolio, right?
      19    A: Right.
      20    Q: And it's still true today that
      21    Johnson & Johnson Consumer Health is delivering
      22    top quartile profitability, fueled by
      23    world-class teams and world-class capabilities,
      24    right, sir?
      25    A: Correct.


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Page 197
 197 :6     Q: On September 10, 2021, you said there
      7     has never been a better time to be in Consumer
      8     Health. And that was true then and it's true
      9     now, right?
      10    A: Correct.
      11    Q: And what you said on September 10,
      12    2021, was what the pandemic has done is
      13    accelerated trends that were present
      14    pre-pandemic that are really becoming very, very
      15    important in a COVID and post-COVID world.
      16    That's what you said then, right?
      17    A: Right.
      18    Q: And what was happening was during
      19    COVID, which is still continuing, the demand for
      20    Johnson & Johnson Consumer Health products has
      21    gone up, right?
      22    A: Some; not others.
      23    Q: But, in general, Johnson & Johnson
      24    Consumer Health is selling more of its products
      25    than ever, right?
 198 :1     A: That's not what I said.
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      2     Q: Is that a true statement, that today
      3     and in the last year, Johnson & Johnson Consumer
      4     Health has sold more products than ever and
      5     that's, in part, due to COVID?
      6     A: What is true is that revenues have
      7     grown. I wouldn't be able to tell you in terms
      8     of -- in terms of products sold what it means
      9     exactly.
      10    And what is also true is that some
      11    categories benefitted from COVID with more
      12    consumers reaching out for trusted solutions in
      13    certain categories. Other categories suffered a
      14    lot from -- from COVID.


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Page 201
 201 :12    Q: Okay. So have you ever -- did you ever
      13     hear anyone at Johnson & Johnson ever internally
      14     or publicly say that Johnson & Johnson's
      15     consumer sector was in financial distress, using
      16     those words?
      17    MS. BROWN: Objection.
      18    THE WITNESS: Can you repeat the question?
      19    BY MR. BLOCK:
      20    Q: Have you ever -- have you ever heard
      21     anyone from Johnson & Johnson, either internally
      22     or publicly, say that Johnson & Johnson's
      23     consumer sector was in, quote, financial
      24     distress?
      25    MS. BROWN: Asked and answered.
 202 :1     THE WITNESS: No. But I didn't agree with
      2      the way you characterize it because that's not
      3      the way we talk about the company. We talk
      4      about the whole company. And as I said, we make
      5      a very clear effort to segment for investors
      6      what is linked to litigation, what is linked to
      7      the underlying performance of each business.


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 206 :18    Q: And, in fact, that's what you did as
      19    head of Johnson & Johnson's Consumer sector, you
      20    beat expectations for the remainder of 2021,
      21    didn't you?
      22    A: I am -- we did in the 3rd quarter. We
      23    haven't published all these other results for
      24    the 4th quarter yet.


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 207 :5     Q: Okay. So in the quarter that happened
      6     right before the LTL bankruptcy was filed,
      7     Johnson & Johnson's Consumer Health sector beat
      8     financial expectations in terms of how it did,
      9     right?
      10    A: In terms of operational performance, I
      11    cannot repeat enough, because that's very
      12    important for you to understand that every
      13    single time we talk about segments, specific
      14    segments, we talk about the operational
      15    performance. This does exclude the impact of
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      16     the litigation.


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 209 :18    Q: Did you ever express any concern to
      19     anyone that Johnson & Johnson would be forced to
      20     pay another judgment that was similar in size to
      21     Ingham, which resulted from the Ingham verdict?
      22    A: I don't recall that. But it's a
      23     possibility given what happened with Ingham,
      24     absolutely.
      25    Q: I'm sorry, could you repeat your
 210 :1      answer?
      2     A: I don't recall that. But it's a
      3      possibility that it will happen again.
      4     Q: Okay. I want to separate the answer
      5      here.
      6      You do not recall ever expressing any
      7      concern to anyone that Johnson & Johnson could
      8      be forced to pay another judgment similar in
      9      size to Ingham, correct?
      10    MS. BROWN: Objection, asked and answered.
      11    THE WITNESS: Yeah, I don't recall an exact
      12     conversation about that.
      13    BY MR. BLOCK:
      14    Q: Okay. And then you said, well, it's
      15     possible that there could be another verdict
      16     like Ingham, right?
      17    A: That's uncertainty, yes.
      18    Q: Okay. Did you -- did you ever do
      19     anything to assess the likelihood of there being
      20     other verdicts similar to Ingham?
      21    A: No, I didn't.


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 212 :15    Q: You never asked any questions about the
      16    details of the ovarian cancer and mesothelioma
      17    cases against Johnson & Johnson or Johnson &
      18    Johnson Consumer, Inc., right?
      19    A: No.


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 215 :3     Q: Okay. So from J&J's investor relations
      4     group, Ms. Wood, Sarah Wood says [as read]:
      5     Let's move to 3rd quarter results. Worldwide
      6     sales were 23.3 billion for the 3rd quarter of
      7     2021, an increase of 10.7 -- percent versus the 3rd
      8     quarter of 2020.
      9     Do you see that?
      10    A: Uh-huh. I can see that.


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 216 :3     Q: All right. And an increase of
      4     10.7 -- percent in terms of worldwide sales for the
      5     Johnson & Johnson enterprise for the 3rd
      6     quarter, it was 10.7 -- percent increase as
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      7     compared to the same time in 2020, that is very
      8     positive financial news for Johnson & Johnson,
      9     correct?
      10    A: It's a good performance, yes.
      11    Q: And Mr. Wolk makes a statement, he
      12    says, quote, We appreciate you joining us to
      13    discuss our 3rd quarter results, which reflect
      14    continued strength in our Pharmaceutical and
      15    Consumer Health businesses.
      16    Do you see that?
      17    A: Yes.
      18    Q: So the CFO of Johnson & Johnson
      19    highlighted the Consumer Health sector as being
      20    strong as of the 3rd quarter of 2021, correct?
      21    A: Right.
      22    Q: And the Consumer Health sector of
      23    Johnson & Johnson is still strong today,
      24    correct?
      25    A: We see that when we publish our quarter
 217 :1     four results, but in Q3 they were good.


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 217 :8     Q: Okay. I understand that.
      9     So at the same time of the LTL
      10    bankruptcy, you admit that the Consumer Health
      11    business, as Mr. Wolk is saying here, was
      12    strong, right?
      13    A: I think you need to look at, as all our
      14    investors always do, you need to look at the
      15    whole picture here instead of taking specific
      16    sentences, look at all the transcript and you
      17    will see that, as I described earlier,
      18    consistent with our usual practices, we separate
      19    the restriction of our legal liability that, in
      20    that case, Joe Wolk appeared to describe to
      21    investors, and separating how our different
      22    units are doing, our different sectors are doing
      23    from an operational quality.
      24    Q: Mr. Wolk said that as of October 19,
      25    2021, five days after the LTL bankruptcy filing
 218 :1     that there was continued strength in the
      2     Consumer Health businesses, correct?
      3     A: Correct.
      4     Q: And that was true, right?
      5     A: That was true as related to the 3rd
      6     quarter.
      7     Q: Of 2021, right?
      8     A: 2021.
      9     Q: Okay. And Mr. Wolk does talk about
      10    talc, and he says [as read]: Other income and
      11    expense in the 3rd quarter includes a
      12    $2.1 billion charge of litigation expenses,
      13    primarily driven by an incremental 1.4 billion
      14    charge associated with a recently announced
      15    qualified fund for current and future talc
      16    claims.
      17    Do you see that?
      18    A: Yes, I can see.
      19    Q: Okay. So Johnson & Johnson is telling
      20    investors that this $1.4 billion charge is being
      21    charged against the Consumer Health sector as
      22    part of the qualified settlement fund for the
      23    current and future talc claims, and that relates
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      24     to Project Plato, correct?
      25    A: That relates to Project Plato,
 219 :1      absolutely.
      2     Q: Okay. And it says [as read]: The
      3      qualified settlement fund is intended to
      4      facilitate a final equitable resolution of all
      5      talc litigation in a structured manner through
      6      established bankruptcy law precedent.
      7      Do you see that?
      8     A: Yes, I can see it.
      9     Q: And is that statement true?
      10    MS. BROWN: Objection, foundation,
      11     speculation.
      12    THE WITNESS: That's how Joe Wolk described
      13     it at this earning call.
      14    BY MR. BLOCK:
      15    Q: Okay. And do you agree with that
      16     statement by Mr. Wolk, the CFO of Johnson &
      17     Johnson?
      18    MS. BROWN: Same objection.
      19    THE WITNESS: This is his statement.
      20    BY MR. BLOCK:
      21    Q: You said yourself, sir, that one of the
      22     purposes of Project Plato was to create a fund
      23     in the bankruptcy courts to finally and
      24     equitably resolve all the talc litigation, true?
      25    A: I didn't talk about a fund. I talked a
 220 :1      forum that would provide current and future
      2      claimants a forum to get their case resolved.


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Page 220
 220 :12    Q: So, Mr. Mongon, it was your intention
      13     in approving Project Plato that the talc claims
      14     would move from the various courts that they
      15     were in into the bankruptcy courts where the
      16     claims could be resolved in the bankruptcy
      17     courts, correct?
      18    MS. BROWN: Objection, misstates testimony.
      19    THE WITNESS: My understanding in approving
      20     the creation of -- of this new entity was to
      21     allocate to this new entity the talc liabilities
      22     so that current and future plaintiffs could have
      23     a forum where they can get their case resolved.


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Page 221
 221 :12    Q: Well, if LTL -- so you did -- you
      13    approved the formation of LTL and the talc
      14    liabilities all being transferred to LTL,
      15    correct?
      16    A: I approved the formation of LTL and the
      17    transfer of talc liabilities to LTL.
      18    Q: And I think what I heard you say was
      19    that the likely result of creating LTL and
      20    transferring the talc claims to LTL was that LTL
      21    would file for bankruptcy, and you knew that,
      22    right?
      23    A: Yes, it was stated as a likely outcome.
      24    Q: Okay. What other outcomes was there
      25    once the talc claims were transferred to LTL
 222 :1     other than LTL filing for bankruptcy?
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      2     MS. BROWN: Objection, speculation, lacks
      3      foundation.
      4     THE WITNESS: I think as we reviewed earlier
      5      today -- we can look at the memo again if you
      6      want -- but one aspect would be that the current
      7      litigation would be put on hold and then the
      8      current and future claimants could, through this
      9      mechanism, get their case heard and resolved as
      10     per the judge decision.


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Page 223
 223 :21    Q: A new avenue. Okay. Just to be clear,
      22    when you approved -- when you approved the
      23    creation of LTL, you anticipated that all the
      24    court cases would stop and the talc cases would
      25    be resolved in a new forum, which you understood
 224 :1     to be the bankruptcy court, correct?
      2     A: That's my understanding, yes.


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Page 227
 227 :18    Q: Okay. All right. So -- and I want to
      19    be specific. All right. So the second session,
      20    your second preparation session, there were six
      21    lawyers, right? Mr. Haas, in fact, did attend
      22    for the last few minutes; is that right?
      23    A: No. In the last session, in the last
      24    session, Erik Haas did join for a few minutes.
      25    Q: So was Erik Haas in the room for part
 228 :1     of your deposition preparation session?
      2     A: Yes, he joined the Zoom meeting for a
      3     few minutes.
      4     Q: Okay. All right.
      5     So were there any other people or
      6     lawyers present for any amount of time in your
      7     deposition preparation sessions other than the
      8     people you identified?
      9     A: No.
      10    Q: All right. Did you take any notes in
      11    preparation for this deposition?
      12    A: Yes, a few notes.
      13    Q: And I see you're motioning to something


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Page 230
 230 :18    Q: Anything other than the fact that the
      19    talc litigation had been going on for a number
      20    of years and that there was still cases pending,
      21    did you know anything else whatsoever about the
      22    talc litigation when you voted in favor of
      23    restructuring JJCI on October 11, 2021?
      24    A: Absolutely. I knew that this ongoing
      25    litigation resulted in litigation costs of
 231 :1     hundreds of millions of dollars each year. I
      2     knew that we had had to pay the Ingham verdict,
      3     a multibillion dollar verdict. I knew that
      4     there was ongoing litigation.
      5     Q: All right. So on October 11, 2021,
      6     when you voted in favor of restructuring JJCI,
      7     you knew that the talc litigation had been going
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      8     on for a number of years, that it had not been
      9     completely resolved, that -- that the company
      10    had ongoing litigation costs and that it -- that
      11    it had paid the Imerys -- or the Ingham
      12    judgment, correct?
      13    A: Correct. I also note that you
      14    mentioned Imerys, that the planned settlement,
      15    the planned Imerys settlement didn't -- was
      16    not -- did not happen. So there were a number
      17    of initiatives over the years.
      18    Q: You knew that -- you knew that
      19    Johnson & Johnson had tried to completely
      20    resolve all the talc cases against it within the
      21    Imerys bankruptcy, right?
      22    A: I don't know the specifics about the
      23    Imerys case, but I know that it was an avenue
      24    that was explored that did not ultimately lead
      25    to any resolution.


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Page 235
 235 :12    Q: Okay. And -- and you know, sir, that
      13    you were approached by Johnson & Johnson's
      14    general counsel, Mike Ullmann, about Project
      15    Plato about a month after the Supreme Court
      16    decided not to hear the Ingham case, right?
      17    A: Yeah, I don't recall the exact timing,
      18    but it was in July that we started talking about
      19    Plato, yes.
      20    Q: Right. And if the United States
      21    Supreme Court decided not to take the Ingham
      22    case on June 1, 2021, that would be about a
      23    month later that you started working on Project
      24    Plato, right?
      25    A: Uh-huh.
 236 :1     Q: All right. Yes?
      2     A: Yes.
      3     Q: Okay. So other than Johnson & Johnson
      4     trying to settle talc cases in the Imerys
      5     bankruptcy, trying to get the United States
      6     Supreme Court to hear the Ingham case, trying to
      7     get the cases dismissed with Daubert, what were
      8     some other solutions, to your knowledge, that
      9     Johnson & Johnson tried to resolve its talc
      10    problem?
      11    A: The -- the other solution was the
      12    creation of -- of LTL.
      13    Q: Well, what about litigation, like
      14    trying your case in court in front of a jury or
      15    asking the Court to dismiss it on legal grounds?
      16    A: That was another avenue that was still
      17    going on at that time.


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Page 236
 236 :25    Q: Now, those litigation expenses from
 237 :1     2020 that you've been referring to today, most
      2     of that or a lot of that was from paying Ingham,
      3     right?
      4     A: Correct.
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 237 :19    Q: Okay. In trying to understand what
      20    might happen in the future with relate- -- in
      21    relation to Johnson & Johnson's talc litigation
      22    expenses, did you look at the result of the
      23    ovarian cancer cases that Johnson & Johnson went
      24    into court and tried in 2021?
      25    A: No, I didn't.


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Page 238
 238 :12    Q: Mr. Mongon, how did you know whether or
      13    not to be concerned about other ovarian cancer
      14    verdicts similar to Ingham or not? How did you
      15    make that assessment?
      16    A: I made that assessment based on the
      17    long history of the talc litigation that we have
      18    been witnessing and going through for a number
      19    of years.
      20    Q: So just based upon the fact that the
      21    Ingham verdict happened and the litigation has
      22    been going on for a number of years, right?
      23    A: Correct.
      24    Q: Okay. You did not attempt to look at
      25    the likelihood of future verdicts or judgments
 239 :1     either for ovarian cancer cases or mesothelioma
      2     cases, right?
      3     A: No --
      4     Q: And you didn't look at --
      5     A: -- that's not my area of expertise.
      6     Q: Right. And in weighing whether to
      7     approve the restructuring of JJCI, you didn't
      8     look at what J&J's settlement strategy was with
      9     respect to ovarian cancer cases or mesothelioma
      10    cases, right?
      11    A: Not at all.
      12    Q: Not at all, right?
      13    A: Not at all.


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Page 243
 243 :11    Q: You said earlier that you approved
      12    transferring the talc liabilities to LTL to
      13    fairly and equitably resolve the talc litigation
      14    in a different forum, which was the bankruptcy
      15    courts, correct?
      16    A: Yeah.
      17    Q: Okay. And the rationale and benefits
      18    for JJCI's restructuring from J&J's perspective
      19    were actually set out in the approval memo that
      20    was sent to you on October 11, 2021, correct?
      21    A: The memo relates the objective and
      22    expected benefits from the transaction, yeah.


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 244 :8     Q: Yeah, let me back up.
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      9     All right. Earlier -- earlier -- let
      10    me just see if I can make this clear.
      11    You have never seen any financial
      12    projections of J&J's talc liabilities, correct?
      13    A: No, I have not.
      14    Q: You have never seen any financial
      15    analysis that calculated J&J's talc liabilities,
      16    correct?
      17    A: No, I have not.
      18    Q: You have not seen any financial
      19    analysis that extrapolated J&J's talc
      20    liabilities either presently or into the future,
      21    correct?
      22    A: No, I have not.


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Page 246
 246 :24    Q: Okay. It says that the divisional
      25    merger is going to take place -- you knew it
 247 :1     would take place in Texas, right?
      2     A: Yes.
      3     Q: And then you knew that the company that
      4     had the talc liabilities, that would -- would
      5     then be incorporated in North Carolina, right?
      6     A: Yeah, I was not really -- I didn't
      7     really pay attention to the details of this
      8     transaction. That was really left to the
      9     experts.


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Page 247
 247 :19    Q: And he was -- Mike Ullmann, the general
      20    counsel of Johnson & Johnson, was the first
      21    person who told you about Project Plato, right?
      22    A: Yes, he was. I don't remember who
      23    talked first at the meeting, but he was the part
      24    of the meeting when he talked about Project
      25    Plato and the -- the assets that we -- we would
 248 :1     look to transfer to -- to the new entity, right.
      2     Q: And, of course, the talc liabilities?
      3     A: The talc liabilities and all the
      4     assets, like the royalty streams.
      5     Q: Okay. And it says here that you were
      6     also being -- requesting approval to delegate
      7     authority to LTL board of managers. Do you see
      8     that?
      9     A: Yes, I do.
      10    Q: Okay. Did you even know who LTL's
      11    board of managers were on October 11, 2021, when
      12    you approved this restructuring?
      13    A: I don't remember if we knew at that
      14    time who would be on the board, but I knew that
      15    there would be a board.
      16    Q: Did you -- do you even know who all of
      17    LTL's board of managers are today?
      18    A: I don't remember, no.
      19    Q: You don't know, right?
      20    A: Yeah, I don't remember.
      21    Q: Well, did you ever know?
      22    A: It was probably mentioned in one of the
      23    updates, but I -- I don't remember.
      24    Q: Do you know how many people are on the
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      25    LTL board of managers?
 249 :1     A: No, I don't.
      2     Q: Do you know how many board meetings the
      3     LTL board of managers had before voting to file
      4     the LTL bankruptcy?
      5     A: No, I don't.


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 251 :7     Q: Okay. So the memo that -- where you
      8      approved JJCI's restructuring actually has the
      9      rationale or the benefits from J&J's perspective
      10     written down in the memo under a heading that
      11     says 'Rationale/Benefits,' right?
      12    A: Correct.
      13    Q: All right. So -- and it says [as
      14     read]: The restructuring, followed by the
      15     anticipated bankruptcy, will enable new JJCI to
      16     continue to develop, manufacture, and sell J&J's
      17     Consumer Health products and other solutions to
      18     customers.
      19     Do you see that?
      20    A: I do.
      21    Q: Okay. And as we've talked about, JJCI
      22     was -- was doing well in selling consumer
      23     products before the bankruptcy; it's continued
      24     to have done well after the bankruptcy; it
      25     hasn't affected JJCI one bit, right?
 252 :1     MS. BROWN: Objection, misstates his
      2      testimony.
      3     THE WITNESS: What you see in this memo is
      4      what it says, right, not with one word or more,
      5      right. But I think it's very explicit about
      6      the -- what the restructuring would enable.
      7
      8     BY MR. BLOCK:
      9     Q: Okay. One of the benefits is that JJCI
      10    would continue to develop, manufacture, and sell
      11    J&J's Consumer Health products to customers.
      12    And my question for you is, that
      13    benefit has happened, it was happening before
      14    the LTL bankruptcy, and it's continued to
      15    happen, right?
      16    A: Correct.
      17    Q: Okay. And then it says -- another
      18    thing under rationale and benefits that was
      19    presented to you as the person -- one of the
      20    people who would have to decide whether to
      21    approve this, was LTL to secure an equitable and
      22    efficient resolution of the claims.
      23    Do you see that?
      24    A: Yes, I do.
      25    Q: And it says more specifically the
 253 :1     bankruptcy case. The bankruptcy case would
      2     allow for -- and there's a series of bullets,
      3     right?
      4     A: Correct.
      5     Q: Okay. So you said earlier that you
      6     relied upon experts in making the decision to
      7     vote yes on JJCI's restructuring based upon the
      8     information presented to you in the memo, right?
      9     A: Yeah, I rely on experts to do the due
      10    diligence and ensure that we can execute this
      11    transaction, yes.
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     12   Q: Okay. All right. So you met with
     13    lawyers for Johnson & Johnson, we looked at, on
     14    July 19, 2021, right?
     15   A: Yeah.
     16   Q: Then again -- we looked at earlier, on
     17    September 24th, 2021, you again met with
     18    Johnson & Johnson's lawyers, Mr. Haas and
     19    Mr. Ullmann, right?
     20   A: Yeah, we had several updates.
     21   Q: Okay. Were Johnson & Johnson's
     22    lawyers, including Mr. Ullmann, Mr. Haas,
     23    Mr. White, Mr. Kim -- were those some of the
     24    people you relied upon for information in
     25    deciding to approve JJCI's restructuring?
254 :1    A: Absolutely.
     2    Q: And what information from these lawyers
     3     from JJCI did you rely upon in making your
     4     decision to approve JJCI's restructuring?
     5    MS. BROWN: And, Mr. Mongon, I'll just
     6     instruct you. The facts that you may rely on, I
     7     have -- I have no objection to you testifying
     8     to, but I will caution you not to reveal
     9     specific conversations that you may have had
     10    with lawyers who may have been giving you legal
     11    advice about the transactions.
     12   MR. BLOCK: Okay. Our position is that we're
     13    entitled to any information that was provided to
     14    Mr. Mongon from the lawyers that he relied upon
     15    in making his decision to approve JJCI's
     16    restructuring.
     17    So you made your objection. I made my
     18    statement. But can I have the reporter read
     19    back my last question?
     20      (Whereupon, the record was read
     21      as requested.)
     22   MS. BROWN: So same instruction and same
     23    objection.
     24   THE WITNESS: I rely on their recommendation
     25    that this transaction would be a way to secure
255 :1     an equitable and efficient resolution of the
     2     current and future claims.
     3    BY MR. BLOCK:
     4    Q: Okay. So in terms of your
     5     understanding that the bankruptcy case would
     6     allow for an equitable and efficient resolution
     7     of the talc cases, you relied upon information
     8     provided to you by J&J's lawyers, correct?
     9    A: By J&J's lawyers and by the other
     10    experts who conducted the due diligence.
     11   Q: Okay. And what information provided to
     12    you by J&J's lawyers convinced you that moving
     13    the cases to bankruptcy court was a way to
     14    provide an equitable and efficient resolution of
     15    the talc cases?
     16   A: The three bullet points mentioned here.
     17   Q: All right. And the three bullet points
     18    are, Number 1, that all of the lawsuits that
     19    were being litigated in court would be stayed,
     20    correct?
     21   A: Correct.
     22   Q: Number 2, that the determination of an
     23    appropriate amount to resolve the talc claims by
     24    the bankruptcy court would be done following
     25    either an agreement or an adjudication by the
256 :1     bankruptcy court, right?
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      2     A: Correct.
      3     Q: And, Number 3, that this would allow
      4      for the global and permanent resolution of the
      5      claims pursuant to a plan of reorganization for
      6      LTL in the bankruptcy, right?
      7     A: Correct.
      8     Q: And are those three points a fair and
      9      accurate summary of the information provided to
      10     you by Johnson & Johnson's lawyers that
      11     convinced you that JJCI should be restructured
      12     and that the talc claims should be transferred
      13     to LTL Management LLC?
      14    A: My understanding of the benefits of the
      15     restructuring was -- as described here, was what
      16     led me to approve this restructuring.
      17    Q: Okay. But my question was, the three
      18     points that are in the bullets that you -- that
      19     I -- that I just read and just described to you,
      20     is that the information that was provided to you
      21     by Johnson & Johnson's lawyers that convinced
      22     you to vote yes to Johnson & Johnson Consumer,
      23     Inc.'s restructuring and have the talc
      24     liabilities transferred to LTL with the
      25     anticipation the bankruptcy would be filed?
 257 :1     MS. BROWN: Objection, asked and answered and
      2      misstates the answer.
      3     THE WITNESS: It's -- it's based on this
      4      rationale and the other elements of this memo
      5      that I decided to approve this transaction.
      6     BY MR. BLOCK:
      7     Q: All right. Is there any -- any other
      8      information that the lawyers from Johnson &
      9      Johnson provided to you other than filing the
      10     LTL bankruptcy would result in the cases being
      11     stayed, some determination as to the amount that
      12     should be paid in the bankruptcy court, and the
      13     global and permanent resolution of the claims?
      14     Is there any other information -- any other
      15     information that the J&J lawyers provided to you
      16     other than that about this?
      17    MS. BROWN: I object to the form of the
      18     question. That's not what he testified to
      19     and --
      20    MR. BLOCK: Well, he actually did just
      21     testify to it, and please --
      22    MS. BROWN: And you weren't -- you weren't
      23     listening.
      24    MR. BLOCK: That's not an objection.
      25    MS. BROWN: It is an objection. You're
 258 :1      misleading --
      2     MR. BLOCK: That's not what he testified to.
      3      That's you speaking and testifying.
      4     MS. BROWN: No. You're misleading the
      5      witness, and I object. It misstates his
      6      testimony and that's an objection and I have it.


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 259 :19    Did -- did you have any knowledge of
      20    any waste or abuses experienced in the state
      21    court tort system in relation to any of J&J's
      22    talc litigation as of the time that you reviewed
      23    this memo in October of 2021 or any other time?
      24    A: I'm aware of the significant costs
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      25     linked to defending these cases that are not
 260 :1      supported by -- by science and the significant
      2      amount that was -- resulted from the Ingham
      3      verdict.


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Page 263
 263 :21    Q: How do you know whether to trust the
      22    information about waste and abuse in the tort
      23    system in J&J's talc litigation if you don't
      24    know where the information came from?
      25    A: The information came from this group
 264 :1     who did the due diligence and made sure that
      2     everything that is in the memo is accurate.
      3     Q: And did you do a single thing to check
      4     on any of the factual information that is set
      5     forth in this October 11, 2021, approval memo,
      6     anything?
      7     A: No. I rely on the experts.
      8     Q: And you took everything in this memo as
      9     true even though you did nothing to confirm
      10    yourself the accuracy of any of the statements
      11    in this memo, right?
      12    A: I rely on the experts.


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 268 :5     Q: All right. So I mean, in September of
      6      2021, even going back to July, when you were
      7      working on Project Plato, you were discussing
      8      the fact that this was going to involve a
      9      bankruptcy filing, right?
      10    MS. BROWN: Misstates the document.
      11    THE WITNESS: In September?
      12    BY MR. BLOCK:
      13    Q: Yes. It says September 20, 2021, that
      14     the email chain was about the strategy for
      15     implementing a proposed corporate restructuring
      16     and bankruptcy filing.
      17     Do you see that?
      18    A: Yes.
      19    Q: And you were -- you were -- you were
      20     discussing that in September of 2021, right?
      21    A: As an anticipated move, yes.


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 269 :13    Q: Okay. So in September of 2021 as the
      14    head of Johnson & Johnson Consumer Health, you
      15    were working with the HR professionals on the
      16    implementation of Project Plato which included
      17    the creation of LTL and the anticipated
      18    bankruptcy filing that would occur in the month
      19    of October of 2021, correct?
      20    A: Yeah, I was -- I was more focused on
      21    identifying the assets that would be transferred
      22    to LTL and the royalty stream we -- we talked
      23    about.
      24    Q: And what work were you doing with the
      25    HR professionals at J&J Consumer Health on
 270 :1     Project Plato in September of 2021?
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      2     A: I don't recall exactly, but it was
      3     probably to discuss if any employee attached to
      4     these royalty streams would be impacted by the
      5     transfer.
      6     Q: So --
      7     A: So as you saw in the memo, the due
      8     diligence committee showed that no -- no
      9     employee would be impacted by the transfer of
      10    royalty streams.
      11    Q: All right. So at the first Project
      12    Plato meeting July 19, 2021, Mike Ullmann was
      13    there. He's on the executive committee with
      14    you. He called the meeting, right?
      15    A: Correct.
      16    Q: Erik Haas, he's head of litigation at
      17    J&J. He was at the meeting, right?
      18    A: Correct.
      19    Q: Andrew White, he was at the meeting,
      20    right?


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Page 272
 272 :4     Q: Who decides -- Okay. Who at J&J -- so
      5     at the first meeting, July 19, 2021, you talked
      6     to Erik Haas, Mike Ullmann, Valeria Cnossen,
      7     Andrew White. Those are all J&J lawyers, right?
      8     A: Correct, and two members of my team,
      9     Paul Ruh and Peter Kerrane.
      10    Q: Right. You brought two people from the
      11    J&J Consumer Health to the meeting with all
      12    those Johnson & Johnson lawyers, right?
      13    A: We brought the -- I brought -- yeah, I
      14    invited Paul, and Paul and Peter came out to
      15    this meeting.
      16    Q: Right. And you and Mr. Ruh and
      17    Mr. Kerrane were finding out about Project Plato
      18    for the first time at this meeting on July 19,
      19    2021, correct?
      20    A: I think so, yeah.


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Page 273
 273 :12    Mr. Ruh and Mr. Kerrane and Johnson & Johnson's
      13    lawyers, who else did you ever have any specific
      14    discussion with about Project Plato?
      15    A: So we talked about from HR personnel,
      16    about employees, and then you have the list of
      17    people in the organization who worked on the due
      18    diligence and confirmed that the different
      19    aspects of the transaction were -- were -- were
      20    taken care of.
      21    Q: Okay. Did you ever speak to Andrew
      22    Lisman about Project Plato?
      23    A: I -- no.
      24    Q: Did you ever speak to Chris Andrew
      25    about Project Plato?
 274 :1     A: Yes, in that meeting.


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Page 274
 274 :9     Q: Sir, how many times did you speak to
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     10   Chris Andrew about Project Plato?
     11   A: I cannot remember.
     12   Q: More than once?
     13   A: I don't remember. I remember about
     14   that meeting in July. I don't remember if he
     15   was present on that date or not.
     16   Q: Okay. Who's V. Coulson?
     17   A: I don't know, a member of the law
     18   department. You have their function -- you have
     19   their highlighted on the left-hand side.
     20   Q: Did you ever speak to that person?
     21   A: No.
     22   Q: M. Larkin and L. Giacino, did you ever
     23   speak to those people?
     24   A: No.
     25   Q: Okay. And for all these questions,
275 :1    when I say 'speak,' are you understanding me
     2    also to mean email?
     3    A: Correct. That's why we have --
     4    Q: And when I ask you whether you ever
     5    spoke to them, I'm including emails, okay?
     6    MS. BROWN: He was answering, Jerry. You cut
     7    him off. Let's let him answer.
     8    BY MR. BLOCK:
     9    Q: Is that understood, sir?
     10   A: Yes, it is. And that's what this memo
     11   is about, to avoid this -- a number of internal
     12   emails and have all the expertise in one place
     13   and sending one summary of the -- the findings
     14   of the different teams.
     15   Q: Did you ever speak to Donny McGraw
     16   about Project Plato?
     17   A: No, I didn't.
     18   Q: Did you ever speak to Luke Freyne about
     19   Project Plato?
     20   A: No, I didn't.
     21   Q: Did you ever speak to M. Verenten about
     22   Project Plato?
     23   A: No, I didn't.
     24   Q: Steve Kowalski?
     25   A: No, I didn't.
276 :1    Q: C. Stanzione?
     2    A: Stanzione, no.
     3    Q: We know you spoke to Andrew White about
     4    Project Plato; he's a lawyer, right?
     5    A: Correct.
     6    Q: How many times did you speak to Andrew
     7    White about Project Plato before you voted for
     8    the JJCI restructuring on October 11, 2021?
     9    A: I told you I -- one time in this July
     10   meeting. I don't remember if there were other
     11   updates.
     12   Q: The person you spoke most about Project
     13   Plato with were Mike Ullmann and Erik Haas,
     14   right?
     15   A: Mike Ullmann, Erik Haas, and the team
     16   who identified the royalty stream.
     17   Q: Okay. Other than -- so we know that
     18   you spoke to Mike Ullmann and Erik Haas multiple
     19   times about Project Plato, right?
     20   A: I wouldn't say multiple times.
     21   Q: Well, multiple is more than one, right?
     22   A: More than one. More than one time,
     23   yes.
     24   Q: Okay. We have the two meeting invite
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      25    scheduling, so we know you met with both of them
 277 :1     at least twice.
      2     Did you meet with them more than the
      3     two times to talk about Project Plato?
      4     A: We probably had more updates of the
      5     project from Mike Ullmann.
      6     Q: All right. So you spoke to Mike
      7     Ullmann and Erik Haas more than twice about
      8     Project Plato, right?
      9     A: I said that Mike Ullmann provided
      10    updates about Project Plato. I don't remember
      11    how many between the July update and the signing
      12    of the memo.
      13    Q: Was Mike Ullmann the main person
      14    keeping you updated about Project Plato?
      15    A: No, I wouldn't say that.
      16    Q: Who was the main person keeping you
      17    updated on Project Plato?
      18    A: There was not one main person. I
      19    was -- as I told you, I was really focused on
      20    the operational aspects of it. And so I got --
      21    you know, I was making sure that the assets were
      22    identified, and I wanted answers to the
      23    questions about what you saw in the memo on --
      24    Q: Okay.
      25    A: -- how it will impact it, are there any
 278 :1     costs that will impact my business, things like
      2     that.
      3     Q: Did you ever speak to K. Manfre,
      4     M. McCormack, J. Chiodo, A. Kessel, J. Feldman,
      5     M. Pater, G. Murphy, E. Scott, L. Berlin,
      6     N. Petito, S. Prud'homme, M. Riewe, P. Karnik,
      7     K. Januzzi, K. Montagnino, and M. Munoz -- did
      8     you ever speak to any of them about Project
      9     Plato at any time before you voted on
      10    October 11, 2021, to restructure JJCI?
      11    A: I don't remember. The human resources
      12    people may have been part of the conversations
      13    on employees. I don't remember interacting with
      14    these employees.
      15    Q: All right. So your answer was no to
      16    all of those people I just listed except you
      17    think you might have talken to -- spoken
      18    L. Berlin or N. Petito in human resources about
      19    Project Plato?
      20    A: Correct.
      21    Q: Did you or didn't you? You don't know?
      22    A: I don't remember.
      23    Q: Okay. And did you ever speak to Steve
      24    Kowalski about Project Plato?
      25    A: I think the people -- I don't remember
 279 :1     the exact thing, but the people I interacted
      2     with were more finance, HR, and communications,
      3     which are the areas that are closest to my
      4     responsibility -- my area of responsibility.


MONGON, THIBAUT - 01/19/2022
Page 287
 287 :23    Q: Earlier you were asked who the highest
      24    ranking official was on the approval memo -- let
      25    me ask you a different question.
 288 :1     Who is the highest ranking Johnson &
      2     Johnson official that had any involvement in
      3     Project Plato?
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      4     MS. BROWN: Objection, calls for speculation.
      5     THE WITNESS: Yeah, as I said this morning,
      6      it's not how it works. The team is -- is
      7      looking at a project that the team that is
      8      mentioned in the memo that we just went through,
      9      then there are updates given to the relevant
      10     leaders or the executive committee.
      11     As I told you, I don't recall how many
      12     updates we had between the July meeting and the
      13     signing of the memo. And so I can -- I don't
      14     remember if there was an update to the executive
      15     committee prior to the signing of the memo or
      16     after.
      17    BY MR. BLOCK:
      18    Q: Okay. So the executive committee of
      19     Johnson & Johnson was updated on Project Plato
      20     after it was approved on October 11, 2021?
      21    A: As I told you several times, I don't
      22     remember when we got updates on Project Plato,
      23     and so I cannot tell you that.
      24    Q: As someone who is on Johnson &
      25     Johnson's executive committee, can you give us
 289 :1      an answer about whether Project Plato was ever
      2      discussed at any Johnson & Johnson executive
      3      committee meetings or emails at any time before
      4      October 14, 2021?
      5     A: I don't remember that. It was -- it
      6      was part of updates to the executive committee.
      7      I cannot recall the exact date of that executive
      8      committee, if it was before the formal approval
      9      or after the formal approval.
      10    Q: The formal approval you're referring to
      11     is October 11, 2021, correct?
      12    A: Correct.
      13    Q: So sometime after October 11, 2021, the
      14     executive committee of Johnson & Johnson was
      15     updated about Project Plato, correct?
      16    A: No. What I just told you, that I don't
      17     recall if the executive committee was updated
      18     before or after the signing of the memo.


MONGON, THIBAUT - 01/19/2022
Page 294
 294 :25    Q: And, sir, did you consider jury
 295 :1     verdicts finding that talc caused a person's
      2     mesothelioma when they were published in the
      3     newspaper, did you consider those to be negative
      4     headlines, as Ms. Lorenson says here?
      5     A: I think any verdict against Johnson's
      6     baby -- Johnson's Baby Powder does generate
      7     negative headlines in the media, yes.
      8     Q: And as the head of Johnson & Johnson's
      9     Consumer Health sector that sells Johnson's Baby
      10    Powder, why do you consider those to be negative
      11    headlines when it's reported that a person's
      12    cancer was caused by Johnson's Baby Powder?
      13    A: I think it has a negative impact on our
      14    brand, as you can imagine, in terms of
      15    reputation of the brand. It creates questions
      16    from consumers, from customers, from regulatory
      17    authorities in the United States, outside the
      18    United States. And so it requires us to put a
      19    lot of effort in answering these questions and
      20    reassuring the different stakeholders about the
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      21     science around the product and that we stand by
      22     the quality and safety of our product.


MONGON, THIBAUT - 01/19/2022
Page 296
 296 :6     A: I want to make sure I understand your
      7      question. But as I said, when you have the
      8      quality and safety of a product in doubt, that
      9      generates questions about the quality and safety
      10     of the brand that impact the reputation of the
      11     brand.
      12    Q: And why did you -- why did you just
      13     testify a few answers back that headlines about
      14     juries finding that Johnson's Baby Powder caused
      15     certain plaintiffs to get cancer, why did you
      16     say that that was something that would
      17     negatively impact the Johnson's brand and
      18     reputation? Why did you say that?
      19    A: As I told you, because it creates doubt
      20     and confusion in the mind of consumers,
      21     customers, and other constituents and it forces
      22     us to reiterate and spend a lot of effort
      23     reiterating the -- why we stand behind the
      24     quality and safety of our product.
      25    Q: And why do you believe that news
 297 :1      articles reporting juries finding that Johnson's
      2      Baby Powder cause cancer, why did you say that
      3      that would be something that was negative for
      4      Johnson & Johnson's reputation? Why did you say
      5      that?
      6     A: As I told you three times, because it
      7      generates confusion in the mind of customers,
      8      customers, and other stakeholders, and that we
      9      need to spend a lot of time and effort answering
      10     these questions and reiterating the fact that we
      11     stand behind the quality and safety of our
      12     product.
      13    Q: And if the jury finding that Johnson's
      14     Baby Powder contained asbestos and caused a
      15     person's cancer, how is that consistent or
      16     inconsistent with what Johnson & Johnson
      17     Consumer Health tells the public health about
      18     its values and its credo?
      19    MS. BROWN: I don't understand. I object.
      20     The question is vague.
      21    THE WITNESS: Can you be more specific?
      22    BY MR. BLOCK:
      23    Q: Sure, sure. When a consumer reads a
      24     news article that says that a jury found that
      25     Johnson's Baby Powder contains asbestos and
 298 :1      caused these plaintiffs to get cancer, how is
      2      that message -- how would you compare that
      3      message to Johnson & Johnson's Consumer Health
      4      message about what the company stands for?
      5     MS. BROWN: Objection, vague.
      6     THE WITNESS: What I can tell you is that we
      7      stand behind the quality and safety of our
      8      product. And as we said numerous times, decades
      9      of scientific evidence show that our product is
      10     safe and effective.
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MONGON, THIBAUT - 01/19/2022
Page 298
 298 :23    Q: Okay. Let me restate it.
      24    When you approved the creation of LTL
      25    and the transferring of talc liabilities to LTL,
 299 :1     you did so in anticipation of a bankruptcy
      2     filing and based upon what you were told, which
      3     is that the cases in the court system would stop
      4     and the cases would be resolved in the
      5     bankruptcy system, right?
      6     A: Right, that's one of the benefits,
      7     yeah.
      8     Q: Okay. And if the cases in the court
      9     systems are stopped and there aren't any jury
      10    verdicts, then there can't be any negative
      11    headlines which report that Johnson's Baby
      12    Powder caused a person's cancer, right?
      13    A: I would agree with your statement.


MONGON, THIBAUT - 01/19/2022
Page 299
 299 :19    Q: And you know since LTL -- since the LTL
      20    case was filed on October 14, 2021, you know
      21    that there haven't been any negative headlines
      22    about juries finding that Johnson's Baby Powder
      23    caused cancer because none of the cases are
      24    being tried to juries because the cases are
      25    currently stopped, right?
 300 :1     A: Yes. And I don't see the point of your
      2     question.
      3     Q: Well, I mean, one point is, have there
      4     been any negative headlines about jury verdicts
      5     against Johnson & Johnson from October 14, 2021,
      6     and talc cases to the present?
      7     A: You know, I'm not aware of any verdict
      8     that happened between the LTL -- creation of LTL
      9     and now.
      10    Q: Right, because you know the cases are
      11    stopped?
      12    A: The cased are stopped, exactly.


MONGON, THIBAUT - 01/19/2022
Page 300
 300 :24    Q: Another thing you said earlier was when
      25    there is a verdict finding that a plaintiff
 301 :1     developed cancer because of Johnson's Baby
      2     Powder, that not only negatively affects
      3     Johnson & Johnson's reputation, but it also
      4     provokes inquiries by regulators, right?
      5     A: It generates questions by consumers,
      6     customers, regulatory authorities about the
      7     quality and safety of the product.


MONGON, THIBAUT - 01/19/2022
Page 302
 302 :8     A: As I told you this morning, I'm not in
      9     the detail of accounting. It's not the way I
      10    manage the business.
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      11    What I know is that if you take 2020 as
      12    a year of reference, the amount paid related to
      13    the talc litigation, both in terms of legal
      14    costs and payments linked especially to the
      15    Ingham verdict, you clearly see, me or anyone,
      16    else that this type of costs are unbearable for
      17    any business, for -- in the case of 2020, it
      18    puts a whole Consumer Health business globally
      19    at a loss, as reported in the reports.
      20    And so you can imagine that the JJCI,
      21    being a part of the global Consumer Health
      22    sector, was in the same situation, given that
      23    the cost of the pretax litigation are allocated
      24    to JJCI.
      25    Q: You never reviewed any financial
 303 :1     analysis that informed you about whether
      2     Johnson & Johnson Consumer, Inc., was able to
      3     pay its talc liabilities on a going-forward
      4     basis, correct?
      5     A: No, I'm not. As I told you, I don't
      6     look at my business through the lens of the
      7     legal entities and the accounting related to the
      8     legal entities.
      9     Q: Let me state it differently. I think
      10    there was a double negative.
      11    It's true that you never reviewed any
      12    financial analysis that provided you with any
      13    information about whether JJCI was able to pay
      14    its talc liabilities on a going-forward basis,
      15    correct?
      16    A: It's not part of my -- the way I manage
      17    the business to look at the accounting related
      18    to the different legal entities in -- in my
      19    business.
      20    Q: That means you did not review such a
      21    financial analysis, correct?
      22    A: I did not.
      23    Q: Okay. And do you have any knowledge
      24    about any financial analysis ever conducted by
      25    Johnson & Johnson, Johnson & Johnson Consumer,
 304 :1     Inc., or any of its professionals regarding
      2     whether those companies were able to pay their
      3     talc liabilities on a going-forward basis? Do
      4     you have any personal knowledge about any such
      5     financial analysis?
      6     A: I don't have the knowledge of such
      7     financial analysis.


MONGON, THIBAUT - 01/19/2022
Page 322
 322 :24    Q: Okay. So there are nine people on the
      25    'to,' on the 'to' part of the memo who I'm
 323 :1     calling the decision committee.
      2     Are you telling me that the first time
      3     you knew who the other eight members were were
      4     at 8:07 in the morning when you got the email
      5     with Exhibit 44, the approval memo?
      6     A: Yes.
      7     Q: And that -- and I think you've already
      8     said, and you guys never did meet as a
      9     committee, you all just emailed in your separate
      10    approvals?
      11    A: Right, that was done by email.
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MONGON, THIBAUT - 01/19/2022
Page 330
 330 :3     Q: And if Mr. Kim referred to the Ingham
      4      payment in 2020 as an 'outlier,' would you
      5      dispute that?
      6     MS. BROWN: Objection, speculation.
      7     THE WITNESS: I don't have any -- any opinion
      8      on that. What I can tell you is that the Ingham
      9      verdict was a very, very large verdict and --
      10    BY MR. BLOCK:
      11    Q: Okay.
      12    A: -- the largest one we had at this
      13     point.


MONGON, THIBAUT - 01/19/2022
Page 331
 331 :1     Q: Okay. And what was the next closest
      2     judgment from a verdict in a talc case that J&J
      3     has paid as compared to Ingham?
      4     A: I couldn't tell.
      5     Q: Okay. You never looked into that?
      6     A: No.


MONGON, THIBAUT - 01/19/2022
Page 332
 332 :13    Q: Okay. And you didn't look into that
      14    question about whether JJCI was operating at a
      15    profit or a loss as of the end of the 2nd
      16    quarter of 2021 before you made your decision to
      17    approve the JJCI restructuring on October 11,
      18    2021, correct?
      19    A: No, no idea.
      20    Q: You didn't do that, right?
      21    A: No, I didn't.
      22    Q: Okay. And when the 3rd quarter of 2021
      23    results were reported five days after the LTL
      24    bankruptcy filing, was JJCI operating at a
      25    profit or a loss?
 333 :1     A: As I told you a number of times, I
      2     don't look at my business through the lens of
      3     legal entities.
      4     Q: And you didn't look at any of the
      5     profit or loss information for 2021 before you
      6     approved the restructuring of JJCI on
      7     October 11th of that year, correct?
      8     A: No, I didn't.


MONGON, THIBAUT - 01/19/2022
Page 336
 336 :12    Q: What -- what -- what does J&J's
      13    reputation have to do with the company's
      14    decision to take talc out of baby powder from --
      15    in May of 2020?
      16    A: As I said, the -- every time that there
      17    is a development in the talc litigation, it
      18    creates -- generates questions from consumers,
      19    from customers, from all stakeholders about the
      20    product itself, about the brand itself, about
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      21    the quality and safety of our product, and that
      22    expands beyond the talc product to the --
      23    there's a brand at minimum, Johnson's Baby, and
      24    that requires us to provide extra efforts to
      25    reassure our different constituents about the
 337 :1     quality and safety of -- of our product.
      2     Q: Okay. Tell us more about the brand of
      3     Johnson's Baby and why you believe it's
      4     important to Johnson & Johnson.
      5     A: Johnson's Baby brand is one of the
      6     brands we have in -- in our portfolio. It's a
      7     large brand that is present around the world,
      8     has been present for many, many decades. It's
      9     trusted by consumers as a brand that offers
      10    products of high quality and safety. And so
      11    it's important for us to maintain and reenforce
      12    the trust in -- in these products.
      13    Q: Okay --
      14    A: These products deserve it, deserve the
      15    trust.


MONGON, THIBAUT - 01/19/2022
Page 338
 338 :14    A: What I say is that during the course of
      15    this litigation a lot of misinformation was
      16    communicated to all different stakeholders, that
      17    created questions. And it's -- it's -- we have
      18    to put a lot of effort in answering the question
      19    and re- -- reassure our different constituents
      20    about the quality and safety of the product.


MONGON, THIBAUT - 01/19/2022
Page 339
 339 :11    THE WITNESS: I just told you I'm aware of
      12     that, and I also told you that as a result of
      13     these statements, we conducted a thorough
      14     analysis and were able to demonstrate that the
      15     product quality was not in question. What was
      16     in question was the environment where the test
      17     was conducted.


MONGON, THIBAUT - 01/19/2022
Page 340
 340 :25    Q: Okay. And what basis, sir, do you
 341 :1     have, based upon your personal knowledge, to say
      2     that information about Johnson's Baby Powder
      3     causing cancer has misinformation? What
      4     personal knowledge do you have about that?
      5     A: As I told you earlier this afternoon,
      6     as we mentioned several times in a continual
      7     basis, we relied on decades of scientific
      8     evidence showing that talc powder is safe and
      9     effective.
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RYAN, MICHELLE


RYAN, MICHELLE - 01/27/2022
Page 8
    8 :19         Can you just tell the court reporter
       20   your name officially.
       21     A. Michelle Ryan.


RYAN, MICHELLE - 01/27/2022
Page 9
    9 :8            So what was your position at the
       9    company when you left?
       10       A. I was the treasurer of Johnson &
       11   Johnson.
       12       Q. How long had you been the treasurer of
       13   Johnson & Johnson?
       14       A. For a little over six-and-a-half years.
       15       Q. What does the treasurer of Johnson &
       16   Johnson actually do?
       17       A. The treasurer is responsible for the
       18   treasury function. And at Johnson & Johnson,
       19   that includes several different centers of
       20   excellence, as we call them.
       21           So all of the company's insurance needs
       22   were managed by the treasury department. All of
       23   our retirement assets were managed by the
       24   treasury department. We have -- I have a small
       25   team that managed -- did financial analysis on
   10 :1    all of the company's mergers and acquisitions
       2    and divestitures.
       3            And then the -- the majority of my team
       4    that we called treasury services managed all of
       5    the capital markets' work that a treasury
       6    department would do.
       7            So things like managing the company's
       8    debt and banking relationships around the globe;
       9    managing our cash and investments; managing all
       10   of our foreign currency; hedging that we do. We
       11   have a complicated supply chain, and so we do
       12   hedging globally. Managing our relationship
       13   with our credit rating agencies.
       14           Those are probably the bulk. It's
       15   really a risk-focused group mitigating risk
       16   across financial investments and financial
       17   instruments.


RYAN, MICHELLE - 01/27/2022
Page 11
   11 :9       Q. It looks like during the six years you
       10   were treasurer, one of the significant uses
       11   every year was obviously dividends, right?
       12      A. Yes.
       13      Q. And it would be fair to say during the
       14   six years you were there, dividends probably
       15   averaged 10 or 11 million a year?
       16      A. Billion, yes.
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   15 :14      Q. All right. So, obviously, you're
       15   familiar with Ingham and you were familiar with
       16   the company's desire to have the Supreme Court
       17   review it, right?
       18      A. Definitely, yes.


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   16 :21         Describe your knowledge of the state of
       22   Project Plato as of June.
       23     A. I was not aware of any Project Plato or
       24   any planned restructuring as of June 1.


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   17 :1           So when after June 1, 2021, did you, if
       2    you recall -- and we'll have some more documents
       3    in here to help us pin us down. But just
       4    directionally, when do you think you first
       5    became aware of it and how?
       6       A. I don't remember the exact date. It
       7    was probably sometime in June, July, later
       8    June or July. But I don't remember the exact
       9    date.


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   17 :19       Q. So really my question's not about your
       20   lawyer's thinking, it's just about yours.
       21           In your mind, as Michelle Ryan, do you
       22   believe that the Ingham verdict helped catalyze
       23   Project Plato?
       24       A. I believe that as a company we had --
       25   we were running out of options really because we
   18 :1    had -- we had tried to go through the court
       2    system and -- well, first of all, the science is
       3    on our side, and yet we -- we were winning
       4    cases, we were winning cases on appeal, and yet
       5    we also could have outcomes like Ingham where
       6    due process was not afforded and ultimately the
       7    appellate side of the court was unavailable to
       8    us.
       9            And so while we believe science was on
       10   our side, we -- we did not -- as a -- running a
       11   business, we also had to make choices. And so
       12   with our consumer entity under significant
       13   financial pressure because the mounting legal
       14   costs, we had to think of other options.
       15       Q. So I'm taking that as a yes; in my
       16   mind, Michelle Ryan, I think the Ingham
       17   declining to hear it helped catalyze Project
       18   Plato?
       19       A. I would think so, yes.
       20       MR. GLASSER: The next document in your pile
       21   is 101 and it's dated June 2, 2021. Let's put
       22   it in the chat.
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      23              (Whereupon, Ryan Deposition
      24               Exhibit 101 was first referred
      25               for identification.)


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   19 :11          Mr. Levesque apparently works at
       12   Moody's. Was this somebody whom you regularly
       13   communicated with at Moody's as part of your job
       14   of managing the credit rating relationship?
       15      A. Yes. Michael was Moody's lead analyst
       16   for pharmaceutical companies, including Johnson
       17   & Johnson.
       18      Q. Just because this deposition may be
       19   read by people who don't know what that is, can
       20   you just tell the Court and the -- what that is,
       21   what an analyst -- lead analyst is?
       22      A. Yes.
       23          So credit rating agencies, their --
       24   their role is to issue credit ratings on any
       25   company -- any company that has debt
   20 :1    outstanding, any public company with debt
       2    outstanding, so that debt investors can -- can
       3    have a sense of the credit worthiness of that
       4    company.
       5           And so the companies then have analysts
       6    who spend time understanding each of the
       7    companies that they are responsible for. And
       8    through their research and analysis, they then
       9    issue a credit rating.
       10          So in this case, Michael and I would
       11   speak, and he would -- he would ask various
       12   questions to better understand change -- it's
       13   really all about cash flows to the credit rating
       14   agencies. They want to make sure that a company
       15   can generate the cash to service its debt,
       16   meaning to pay off any principal that's coming
       17   due and pay the interest to the bondholders.
       18          So their focus is very much from a cash
       19   perspective. And we would regularly have
       20   conversations about all -- you know, various
       21   issues and just overall the standing of the
       22   company.
       23      Q. So this email dated June 2, 2021, is a
       24   discussion where -- between you and Michael
       25   about the Imerys bankruptcy, right?
   21 :1       A. That's correct.


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   22 :4       Q. And it says here that there's a
       5    negotiation going on in the bankruptcy of
       6    Imerys, and that's what I want to ask you about.
       7    Okay?
       8       A. All right.
       9       Q. I understand that prior to the time --
       10   in the Imerys bankruptcy, my understanding is at
       11   some time Johnson & Johnson attempted to a
       12   global settlement of talc liabilities in the
       13   Imerys bankruptcy.
       14          Is that your understanding?
       15      A. I probably don't have a great
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       16   understanding of all of the legal mechanics of
       17   Imerys.
       18          My understanding of Imerys was that
       19   Imerys was sued -- Imerys was named as a
       20   defendant, as was J&J, in talc lawsuits. And
       21   Imerys was looking -- was trying to settle its
       22   lawsuits and then saying that J&J would have to
       23   indemnify them and -- and cover any settlements
       24   that they've reached.
       25          And so knowing that J&J had much deeper
   23 :1    pockets than Imerys, we said, we want to step in
       2    to Imerys's shoes and let us manage all of the
       3    cases. And I believe that was called a
       4    channeling injunction, where we would -- we
       5    would be the defendant, no longer Imerys would,
       6    and J&J would have that liability since we're
       7    both named as defendants in those cases anyway.
       8           That was my understanding of Imerys.


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   23 :13      Q. Let's unpack that.
       14          There was obviously a cash amount
       15   needed for the potential resolution of Imerys.
       16   Do you recall the -- directionally the magnitude
       17   of that number?
       18      A. I was never given a number.
       19      Q. So you weren't read into any
       20   discussions about a particular number in respect
       21   to Imerys?
       22      A. Correct.
       23      Q. So this idea that Johnson & Johnson
       24   would take on all the Imerys liability, you were
       25   involved in those discussions, obviously?
   24 :1       MS. BROWN: Objection, misstates testimony.
       2           You can answer.
       3       THE WITNESS: I was -- yeah.
       4           I was not involved in all discussions
       5    in any way. I was -- I heard some discussions.
       6    BY MR. GLASSER:
       7       Q. And did you give me the sum and
       8    substance of what you understood of those
       9    discussions?
       10      A. Yes. That is -- that is my nonlegal
       11   layman's understanding of what the channeling
       12   injunction would lead to and why we were looking
       13   to do it.
       14      Q. Why, to your understanding, or why do
       15   you understand it didn't work out?
       16      A. I actually never understood what
       17   happened. I just knew it did not work out.


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   25 :14      Q. So, Ms. Ryan, this is a July 1 email
       15   inviting you to a 30-minute meeting with
       16   Joseph Wolk and Louise -- actually, you were
       17   inviting them. You're inviting Joseph Wolk and
       18   Louise Weingrod to a 30-minute Plato meeting.
       19          Do you see that?
       20      A. Yes, I do.
       21      Q. All right. So this is -- I think this
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       22   is the earliest email that I have from you in
       23   respect to Plato.
       24          Is that kind of consistent with your
       25   prior testimony, that you think it was after
   26 :1    Ingham in probably late June, early July that
       2    you first learned about it?
       3       A. Yes.


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   27 :1      MR. GLASSER: Let's call up the next one,
       2    103.
       3            (Whereupon, Ryan Deposition
       4             Exhibit 103 was first referred
       5             for identification.)


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   27 :24      Q. So it looks like Michael had a
       25   technical question in respect of your debt
   28 :1    agreements, right?
       2       A. Yes.


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   29 :18         Can you pull up 104.
       19               (Whereupon, Ryan Deposition
       20                Exhibit 104 was first referred
       21                for identification.)
       22   BY MR. GLASSER:
       23      Q. All right. So the -- so the question
       24   we were talking about on 103 is right there in
       25   the middle of 104, right, Ms. Ryan?
   30 :1       A. Yes.


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   31 :8       Q. When you got this email, what did you
       9    understand him to want to know?
       10      A. I think what he's here -- so in the
       11   previous email, the previous exhibit we
       12   reviewed, he was asking -- or I was responding
       13   to him about Imerys and the fact that if Imerys
       14   went through, Imerys would be the company filing
       15   bankruptcy and they were not a J&J subsidiary.
       16           Michael is now saying, well, what
       17   happens if a J&J subsidiary does file bankruptcy
       18   specifically related to the bond indentures? So
       19   like I said before, the credit rating agency's
       20   role is to make sure that our -- our bondholders
       21   get paid.
       22           And so he was wondering if there would
       23   be an implication to our -- to our ability to
       24   pay our debt, as well as would there be some
       25   kind of technical default if a subsidiary of J&J
   32 :1    were to file bankruptcy.
       2       Q. Right.
       3       MR. GLASSER: And let's blow up, Scott, right
       4    there in the middle where it says 6E and 6F. I
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    5    think that's what Ms. Ryan is referring to.
    6    BY MR. GLASSER:
    7        Q. 6E, I think, refers to some provision
    8    in your bond indentures about the bankruptcy of
    9    a, quote, significant subsidiary, right --
    10       A. Yes.
    11       Q. -- in 6F?
    12           So that's what you were talking about
    13   with Michael, whether -- whether the Imerys
    14   thing would involve a bankruptcy of a
    15   significant subsidiary, and your answer was, no,
    16   it's in Imerys, it was not a J&J company?
    17       MS. BROWN: Objection, misstates the
    18   document.
    19   BY MR. GLASSER:
    20       Q. Isn't that what you just basically told
    21   me?
    22       A. Yeah. I -- I think his question is
    23   relative to these things he's called out.
    24   He's -- he's asking, is there going to be a
    25   problem.
33 :1        Q. Right, let's drop that.
    2            And you gave the -- and your answer
    3    below -- you have an answer below.
    4        A. No, that's not an answer below. That
    5    was my email on June 2nd. His is July 1st.
    6            So that was the Imerys question that I
    7    was answering on June 2nd, and on July 1st he
    8    sent his email.
    9        Q. Got it. Okay. Let's go to 105 -- or
    10   106.
    11           Is there a 105 in your packet there?
    12       A. I have -- yes, there is.
    13                 (Whereupon, Ryan Deposition
    14                  Exhibit 106 was first referred
    15                  for identification.)
    16   BY MR. GLASSER:
    17       Q. What's the date of it?
    18       A. 105, it's an email from me to Luc
    19   Freyne dated 7/13/21.
    20       Q. What's the LTL number on the bottom? I
    21   have to go get it.
    22       A. You're asking me?
    23       Q. Yes.
    24       A. 0030188.
    25       Q. Okay, great.
34 :1        MR. GLASSER: All right. Let's take a little
    2    break. I want to pull up 105 and get it in the
    3    chat. So we'll take a ten-minute break.
    4        THE VIDEOGRAPHER: The time is 9:32 a.m.,
    5    Eastern. We are going off the record.
    6                  (Whereupon, a recess was had at
    7                   9:32 a.m., after which the
    8                   deposition was resumed at
    9                   9:36 a.m. as follows:)
    10       THE VIDEOGRAPHER: The time is 9:36 a.m.,
    11   Eastern. We are now back on the record.
    12   BY MR. GLASSER:
    13       Q. So 105, Ms. Ryan, is just you forwarding
    14   that same email from the Moody's analyst to the
    15   legal team, Erik Haas in particular; is that
    16   right?
    17                 (Whereupon, Ryan Deposition
    18                  Exhibit 105 was first referred
    19                  for identification.)
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       20        THE WITNESS: It looks like that, yes.
       21   BY MR. GLASSER:
       22        Q. And at the top, whatever Mr. Haas tells
       23   you, you send to Luc Freyne, F-R-E-Y-N-E.
       24            How do you say that?
       25        A. Freyne.
   35 :1         Q. What is Mr. Freyne's role in the
       2    company?
       3         A. Luc is Johnson & Johnson's assistant
       4    treasurer. He leads the group before that I
       5    called our treasury services team. So Luc is
       6    responsible for all the capital markets' work,
       7    as well our relationships with our banks.
       8         Q. Got it. So he's the logical person to
       9    send the question to, A, If we bankrupt a
       10   significant subsidiary, are we going to blow our
       11   debt coverage?
       12        MS. BROWN: Objection --
       13        THE WITNESS: I don't -- I don't know what I
       14   said in this email so --
       15   BY MR. GLASSER:
       16        Q. No, I'm not -- I'm not asking about
       17   what's under the redaction.
       18            I'm just saying, he's the logical guy
       19   to send this question to?
       20        A. I wouldn't know what the question is so
       21   I --
       22        Q. The question from Michael there at the
       23   bottom. Go to the second page of 105.
       24        A. Oh, that -- yeah. If -- yeah. He
       25   would be the person on my team that I would ask
   36 :1    those questions to around potential
       2    implications.
       3         Q. Right. Go to 106.
       4             Now we're on July 19th. It's an email
       5    from you to a gentleman named Scott Borup,
       6    B-O-R-U-P.
       7             Who is he?
       8         A. It says right there. He's our VP of
       9    corporate risk management at J&J. He's
       10   responsible for all of the insurance.
       11            And so, again, one of the groups on my
       12   team in treasury managed all of J&J's insurance
       13   needs, and Scott was the head of that group.
       14        Q. To your knowledge, is he an attorney?
       15        A. Scott is not an attorney.
       16        Q. To your knowledge, did you give
       17   Mr. Borup legal advice in this email?
       18        A. No.


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   36 :23      Q. Basically it's you and Mr. Borup and
       24   Ms. Weingrod talking about the leak of the
       25   possibility of a J&J -- of J&J weighing
   37 :1    bankruptcy in some way, shape, or form, right?
       2       A. It's a -- it was -- it appears Louise
       3    forwarded to J&J's CFO and myself an article out
       4    of Fox News where it says J&J is weighing a
       5    bankruptcy.
       6       Q. "As it considers offloading its baby
       7    powder liabilities" is the title, right?
       8       A. That's what Fox News wrote, correct.
       9       Q. And you say to Mr. Borup [as read]: I
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       10   think you were in the Plato meeting last week
       11   too.
       12          By this time, were there weekly Plato
       13   meetings?
       14      A. I don't remember how often a team was
       15   meeting because I was not in -- I was not in the
       16   detail diligence team. But a detail diligence
       17   team had been formed to look at our structuring.
       18      Q. In respect of the treasury diligence
       19   team, I take it it was looking at questions like
       20   the one the Moody's analyst asked, i.e. would
       21   the bankruptcy of this subsidiary somehow breach
       22   covenants?
       23      A. That's correct. So -- so that's
       24   why Scott -- it was also -- there's financial
       25   contracts from the insurance side.
   38 :1           So Luc Freyne was involved looking at
       2    debt covenants. Scott Borup was involved
       3    looking at insurance contracts.
       4       Q. What did Mr. Borup report back
       5    generally in respect of insurance contracts?
       6       A. In terms of -- is your question, would
       7    there be an -- any negative impact as a result
       8    of the restructuring?


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   39 :6       Q. In respect of the debt covenants, was
       7    the report back to you that so long as it was
       8    not a significant subsidiary we wouldn't breach
       9    those covenants?
       10      A. The report -- my understanding, based
       11   on the diligence done, was that the
       12   restructuring as planned would not cause us any
       13   concerns with regards to our debt covenants.
       14      Q. Mr. -- the Moody's analyst obviously
       15   had a copy of your debt documents when he --
       16   when he asked you about paragraph 6E and 6F or
       17   he couldn't have done so, right?
       18      A. Correct.
       19      MS. BROWN: Objection, speculation.
       20      THE WITNESS: They're public, so, yes.
       21   BY MR. GLASSER:
       22      Q. Could I find them -- are they --
       23      MR. GLASSER: We can take down 106 so I can
       24   see her better.
       25
   40 :1    BY MR. GLASSER:
       2        Q. Are they actually appended to your
       3    10-K? Is that how they're published? How would
       4    I find them? Are they an exhibit to the K?
       5        A. When debt is issued.
       6        Q. Oh, Okay. You're saying --
       7        A. It's not attached to the 10-K but when
       8    debt is issued.
       9        Q. Right.
       10       MR. GLASSER: So now let's go to 107.
       11                (Whereupon, Ryan Deposition
       12                 Exhibit 107 was first referred
       13                 for identification.)
       14   BY MR. GLASSER:
       15       Q. Your -- this is an answer back to him
       16   about that technical question we've seen in a
       17   few other emails.
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       18           Do you see the -- at the middle of 107
       19   there's that question he asked about significant
       20   subsidiaries, right there in the middle?
       21       A. Correct, yep.
       22       Q. Okay. And then your response is 18
       23   days later in July; is that correct?
       24       A. That is correct.
       25       Q. So you apologize in the first sentence
   41 :1    for taking a little while to respond to his
       2    question, correct?
       3        A. Yes.
       4        Q. Then your second sentence is [as read]:
       5    We are looking at a number of ways of capping
       6    our talc liability, especially with the recent
       7    disappointing Supreme Court action on our case.
       8        A. Inaction.
       9        Q. Yeah, sorry, inaction.
       10           So you wrote those words, right?
       11       A. It appears so. I don't remember
       12   sending this exact email, but this is -- yes,
       13   the words on the page say I wrote them.
       14       Q. The inaction -- the Supreme Court
       15   inaction is that case we started this discussion
       16   with, the Ingham case, right?
       17       A. That is correct. And the Supreme Court
       18   being unable/unwilling to hear our appeal.
       19       Q. The next sentence is [as read]: One
       20   scenario being considered would be to capture
       21   the liability in one subsidiary and fund that
       22   subsidiary for current and future losses, and
       23   then basically bankrupt that subsidiary.
       24           Do you see that sentence?
       25       A. Yes, I do.
   42 :1        Q. That's essentially what happened here
       2    in this case, right?
       3        A. From a layman's legal perspective, I
       4    guess, yes. Legally I think there is more, but
       5    that was -- that was a way, I guess, two
       6    financial people might discuss it.
       7        Q. And you ask him to tell you how Moody's
       8    would view such an action, meaning the impact on
       9    our credit rating, right?
       10       A. Yes, I specifically asked, would there
       11   be an impact on our credit rating.
       12       Q. And, in fact, when we were discussing
       13   Exhibit 101, you told me that the Moody's -- to
       14   the Moody's people, it's all about cash flow,
       15   right?
       16       A. Yes, that is -- that is their focus.
       17       Q. Now, in the first day declaration of
       18   Mr. Kim, he said that the cost of defense in
       19   this case was somewhere between 10 and 20
       20   million a month for J&J away from any verdicts.
       21   It was just kind of the boiling cost of the
       22   litigation was 10 to 20 million a month.
       23           Do you have any reason to doubt or take
       24   issue with that?
       25       MS. BROWN: Lacks foundation.
   43 :1        THE WITNESS: You know, I -- it's not a
       2    number that I've heard so.


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   43 :8      Q. Let's just use the $20 million number.
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       9           If it's 20 million a month, and in 12
       10   months it would be $240 million, right?
       11      A. Yes. That's -- that's basic math.
       12      Q. I love dealing with financial people
       13   because you all can do the math. It's great.
       14          So if the bankruptcy of LTL stops a
       15   quarter-billion dollar bleed on a yearly basis
       16   from a all-about-the-cash-flow fundamental
       17   analysis, it would actually increase credit --
       18   creditworthiness of the ultimate parent, if you
       19   could avoid for a year a $240-million outflow
       20   that you would otherwise make; isn't that so?
       21      MS. BROWN: I object, as in using bleed, an
       22   improper hypothetical, and it assumes facts not
       23   in evidence.
       24      THE WITNESS: Yeah, I would -- I don't agree
       25   with that. And, honestly, my question -- I'll
   44 :1    read, my question to Michael is, "Would there be
       2    an impact on our credit rating on how Moody's
       3    views J&J from a financial policy perspective."
       4           And so within a credit rating, the
       5    majority of the calculation done by the credit
       6    rating agency is driven by -- by the financials
       7    of the company. So, you know, your cash flow is
       8    a major component of that. They look at the
       9    size of the company.
       10          So part of why J&J is AAA is because we
       11   have sales in excess of $80 billion.
       12          But another component is they do a
       13   qualitative assessment that they call financial
       14   policy. And so quite honestly, my concern here
       15   is that the bankrupting of a subsidiary will
       16   cause them to view our financial policy in a
       17   negative way and that the bankrupting of a
       18   subsidiary would lead to a downgrade in our
       19   credit rating, not that the elimination of
       20   $200 million of expenses -- because quite
       21   honestly, Johnson & Johnson's cash flows are --
       22   are significantly greater than 200 million.
       23          So that -- that was not really the
       24   question, nor was it ever part of the
       25   conversation that Michael Levesque and I had.
   45 :1    It was not about the ongoing litigation cost.


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   45 :5           Basically, I think I hear you saying,
       6    look, 10 million a month, that's not a
       7    significant -- that's in -- that not material to
       8    J&J.
       9       MS. BROWN: Objection --
       10   BY MR. GLASSER:
       11      Q. Just materiality -- (inaudible).
       12               (Simultaneous crosstalk.)
       13   BY MR. GLASSER:
       14      Q. Go ahead.
       15      A. I would say to Johnson & Johnson it's
       16   not. To Johnson & Johnson Consumer, Inc., it's
       17   a different story. But to J&J -- and that's the
       18   perspective -- as the treasurer, I bring the
       19   enterprise perspective; I don't bring the
       20   subsidiary perspective.
       21          Obviously, as the treasurer, I also
       22   know that J&J is the accumulation of all of our
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       23   subsidiaries. But we have other subsidiaries
       24   who are generating significant cash outside of
       25   our consumer subsidiary.
   46 :1           So from a JJCI perspective, that kind
       2    of ongoing cash flow, it is not immaterial. And
       3    I think that's evident in the financial
       4    statements that we file that showed how the
       5    consumer group went negative as a result of --
       6    of talc litigation. But J&J didn't go negative.
       7           So -- so my question here is really
       8    about the enterprise's financial policy if we
       9    were to bankrupt a subsidiary.
       10       Q. So it's -- so it's fair to say that
       11   even 240 million a year is not material to J&J
       12   on an enterprise basis?
       13       A. To Johnson & Johnson consumer it's
       14   material. To J&J the enterprise, it would not
       15   be material based on the material -- yes.
       16          It's not insignificant because, you
       17   know, our purpose is many. But our major
       18   purpose is to bring innovative medicines, and
       19   $200 million a year could fund a clinical trial
       20   to help bring, you know, a new innovative
       21   medicine to the market.
       22          So it's not that it's a meaningless
       23   amount of money, certainly. But in discussions
       24   with our credit agency, it would have a certain
       25   materiality perspective.
   47 :1        Q. Which wouldn't be -- which just isn't
       2    there for that amount, right?
       3        A. To the enterprise, that's correct.


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   47 :9       Q. It looks like on the same day,
       10   July 19th, that you responded to Mr. -- to the
       11   man from Moody's, whose name I can't pronounce,
       12   even though you've told me twice.
       13          You also got a ping from David Kaplan,
       14   his counterpart at S&P, based on the same -- or
       15   based on a historian in Reuters about the
       16   potential for a bankruptcy as well, right?
       17      A. That is correct.


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   47 :23      Q. So it looks like you called David about
       24   his email. Did you -- what information did you
       25   convey to Mr. Kaplan?
   48 :1       A. I don't remember honestly.
       2       Q. Do you think it was essentially the
       3    same as in your email to Mr. -- to Mr. Moody's
       4    man, that we're exploring the possibility of
       5    capping our liability through a subsidiary but
       6    we don't know what we're going to do yet?
       7       A. I honestly don't remember.
       8       MR. GLASSER: Let's go to 110.
       9                (Whereupon, Ryan Deposition
       10                Exhibit 110 was first referred
       11                for identification.)
       12   BY MR. GLASSER:
       13      Q. So this is the answer from -- 110 is a
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       14   follow-up email from the Moody's analyst to you
       15   on that same day, July 19th, right?
       16      A. I'm just going to read it real quick.
       17      Q. Sure.
       18      A. Okay. Yes, I've read it.
       19      Q. And basically he gives the answer that
       20   you kind of gave me, that they're going to use a
       21   fundamental approach to evaluate the impact;
       22   they're going to really look at cash outflow,
       23   impact on balance sheet, and credit metrics.
       24          Do you see that?
       25      A. Yes, I do.
   49 :1       Q. That's kind of consistent with the
       2    answer you gave me earlier, isn't it?
       3       A. He's answering my question about
       4    financial policy and saying the technical aspect
       5    shouldn't be any concern for financial policy
       6    and they would just look at the -- ultimately
       7    the financial implications of such a bankruptcy.


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   49 :18      Q. Well, if -- if the effect of a
       19   bankruptcy is no one can get a verdict for a
       20   year or two and J&J's burn goes from a quarter
       21   billion a year to, say, 50 million year, how
       22   from a credit matrix perspective could that be a
       23   bad thing?
       24      MS. BROWN: Lacks foundation; calls for
       25   speculation. I object.
   50 :1       THE WITNESS: Johnson & Johnson has 40-year
       2    bonds. So the credit rating agency isn't just
       3    looking at 12 months; they're not just looking
       4    out at one year. So they're looking at our cash
       5    flows over many, many years.
       6           And the other thing that I noted in my
       7    email is that we would fund the subsidiary for
       8    current and future losses, and that amount is
       9    undefined. And so that's why he's saying,
       10   think -- tell us more details.
       11          So nothing is defined here and that --
       12   that's why -- he's not saying it's a good thing
       13   or a bad thing and he wants more details.


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   51 :6       A. There would be an initial funding of --
       7    of $2 billion as good faith funding, and
       8    ultimately, the bankruptcy court would determine
       9    the appropriate amount and that amount would be
       10   funded, as well as, in addition to, the royalty
       11   assets that would be provided.


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   51 :13         Do you believe that $2 billion was
       14   funded into LTL?
       15      A. As of the time that I left Johnson &
       16   Johnson on December 31st, the plan was that the
       17   funding would happen sometime in 2022.
       18      Q. All right. So from your personal
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       19   knowledge, you are certain that $2 billion was
       20   not funded at least as of 12/31/2021?
       21      A. The plan was that the funding would
       22   happen in Q1. And so consistent with the plan,
       23   the funding had not yet happened as of the time
       24   of my retirement --
       25      Q. So it is --
   52 :1       A. -- on 12/31.
       2       Q. So it is fair to say that in
       3    October 2021 when LTL filed bankruptcy, nobody
       4    had actually funded $2 billion, correct?
       5       A. That is my understanding, correct.


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   52 :12      Q. So if consistent with your knowledge in
       13   2021, at the time of its bankruptcy the
       14   2 billion had not been funded, then the -- then
       15   the funding in LTL was $50 million of royalty
       16   stream per year, you know, 5 million a month,
       17   approximately, right?
       18      MS. BROWN: Objection, lacks foundation,
       19   misstates the evidence.
       20      THE WITNESS: We had made the commitment to
       21   put the $2 billion in, J&J had made that
       22   commitment. JJCI had made that commitment.
       23   BY MR. GLASSER:
       24      Q. From a -- as a businessperson, don't
       25   you think actual funds are better than promises
   53 :1    of funds?
       2       A. J&J has never not paid an obligation.
       3    So that's why we're AAA rated and we pay our
       4    obligations. So I don't think there's any risk
       5    in the 2 billion being funded.


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   53 :17             (Whereupon, Ryan Deposition
       18              Exhibit 1.52 was first referred
       19              for identification.)


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   54 :22      Q. This is the amended -- this is the
       23   amended and restated funding agreement.
       24      A. Yep.
       25      Q. Dated October 12, 2021.
   55 :1       A. Yes, I have that.
       2       Q. And you signed it as treasurer on
       3    behalf of payor Johnson & Johnson, right?
       4       A. That is correct.
       5       Q. Before we get to this -- this Section
       6    C, permitted funding use, let's just lock down a
       7    few basic questions.
       8          I take it you did not actually
       9    negotiate this agreement with anyone, correct?
       10      A. Negotiate, no, that is correct; it
       11   wasn't negotiated.
       12      Q. You did not change a single word in
       13   this agreement when it was given to you,
       14   correct?
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       15      A. It was a legal document, so, no, I
       16   didn't change it.
       17      Q. You just signed it?
       18      A. No, that's not correct. I -- a couple
       19   of the J&J lawyers took me through it and
       20   reviewed it and -- and helped me understand the
       21   main aspects of it, as well as help me
       22   understand kind of how it fit into the overall
       23   restructuring and approval memo that
       24   eventually this -- this funding agreement was
       25   approved as part of the approval memo.
   56 :1           So they spent some time with me just
       2    walking me through it.
       3       Q. And was that the day you signed it?
       4       A. I don't remember the exact timing of --
       5    of the different discussions.
       6       Q. Was it near in time to the time you
       7    signed it?
       8       A. I would think it had to be, yeah.


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   56 :12           Let's go to the page 5 and see that
       13   we're in the definition of permitted funding
       14   use.
       15      A. Okay.
       16      Q. See that?
       17      A. Yes.
       18      MR. GLASSER: Highlight that, Scott. Down at
       19   the bottom, "permitted funding use." No, just
       20   the definition, "means the following."
       21   BY MR. GLASSER:
       22      Q. Okay. And let's go to page 2. And now
       23   we're in "Permitted Funding Use" (c)(ii).
       24           [As read]: Following the commencement
       25   of any bankruptcy case" -- do you agree that's
   57 :1    where we are today because LTL has filed
       2    bankruptcy? Right, Ms. Ryan?
       3       A. Yes.
       4       Q. "Following the commencement of any
       5    bankruptcy case, the payee's talc-related
       6    liabilities in connection with the funding of
       7    one or more trusts for the benefit of existing
       8    and future claimants created pursuant to a plan
       9    of reorganization for the payee, confirmed by
       10   final, nonappeable order of the bankruptcy
       11   court."
       12           Do you see that?
       13      A. Yes.


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   58 :14           There are two circumstances under C,
       15   (c)(i) and (c)(ii). Let's look at (c)(i). It
       16   says that [as read]: LTL's talc-related
       17   liabilities established by a judgment of a court
       18   of competent jurisdiction will be paid under the
       19   funding agreement at any time when there's no
       20   bankruptcy proceeding.
       21           Do you see that?
       22      A. Yes.
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   59 :10      Q. All right. So it's circumstance little
       11   c, one in the hole, I in the hole, is, if
       12   there's no bankruptcy proceeding and a judgment
       13   happens, we're going to pay it.
       14          Is that your understanding of (c)(i)?
       15      A. Yes.
       16      Q. Okay. That's what I think it says too,
       17   so we're in agreement.
       18          All right. Then in (c)(ii), it's
       19   something different, right?
       20      A. Yes; (c)(ii) is now there is a
       21   bankruptcy.
       22      Q. Correct.
       23          And in the case of a bankruptcy, it is
       24   not if there's a judgment we will pay it, it's
       25   we will pay pursuant to a plan of reorganization
   60 :1    confirmed by non-appealable order.
       2           Do you see that?
       3       A. Yes, I see that.
       4       Q. And do you understand that (i) is
       5    different than (ii)?
       6       A. Yes.


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   60 :10      MS. BROWN: Objection to the form of the
       11   question; misstates the document.
       12   BY MR. GLASSER:
       13      Q. Do you understand there to be a cap on
       14   the total amount of funding having to do with
       15   the funding agreement?
       16      MS. BROWN: Same objection.
       17      THE WITNESS: I understand, I think it's even
       18   defined somewhere in here, what the funding
       19   obligation is.


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   60 :21      Q. Yeah, I'll just -- just to help you
       22   recall. It's up to the JJCI value, which is a
       23   defined term that takes like two pages.
       24      A. Yes.


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   61 :4       Q. What do you understand that to be
       5    directionally?
       6       A. So we never did an estimate. So I --
       7    you know, I can't speculate on the amount. But
       8    JJCI is a significant component of our consumer
       9    business, so it would be a -- it would be a
       10   significant value.
       11      Q. Well, your lawyer -- not your lawyer,
       12   LTL's lawyer stood up in court, and he's J&J's
       13   lawyer too, and said -- told the Court it was
       14   $61 billion.
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      15         Do you have any reason to dispute that?


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   61 :17       THE WITNESS: I -- it's very specific in the
       18   document how the valuation would be determined,
       19   so I -- I think my guessing at a number as -- a
       20   lawyer, I guess, might be willing to guess
       21   numbers, a finance person won't. Just like a
       22   lawyer wouldn't guess the legal stuff but a
       23   finance person might say some things that could
       24   get them in trouble.
       25           So I'm not going to guess numbers.
   62 :1    There's a specific way to calculate the value,
       2    and I would think that would be the appropriate
       3    way to determine that. But I think it would be
       4    in the tens of billions of dollars.
       5    BY MR. GLASSER:
       6        Q. So it's fair to say that neither you
       7    nor anyone else -- well, neither you nor anyone
       8    to your knowledge who approved this funding
       9    agreement ever asked what is the JJCI value?
       10       MS. BROWN: Calls for speculation.
       11       THE WITNESS: I don't know what others did.
       12   I did not say, please show me the JJCI value.
       13   But based on my knowledge and experience, I knew
       14   that it was a substantial value.
       15   BY MR. GLASSER:
       16       Q. Right. You told me tens of billions?
       17       A. Yes.
       18       Q. Are you comfortable above 30 billion?
       19       A. I'm not going to guess.
       20       Q. So you must be comfortable on 20
       21   billion because you said tens of billions,
       22   right?
       23       A. I'm not going to guess. It's a large
       24   amount. I shouldn't have said tens of billions.
       25   It's a large value.


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   63 :11       Q. This is the list of currently existing
       12   -- although a couple have been paid -- mesothelioma
       13   verdicts that are out there. Most of these are
       14   on appeal. Okay? Do you see that?
       15       A. Yes.


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   64 :4            Donna Olson's case, tried
       5    November 30th, 2020, $15 million compensatory
       6    award; $105 million punitive award.
       7            Do you see that one?
       8       A. Yes, I do.
       9       Q. All right. Let's go back to the
       10   funding agreement. Section C.
       11      A. Okay.
       12      MR. GLASSER: Permitted funding use, Section
       13   (c)(i).
       14   BY MR. GLASSER:
       15      Q. We've already discussed that if LTL is
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       16   not in bankruptcy, it's going to pay final
       17   judgments when due, right?
       18      A. This says -- this is related to the
       19   payor's paying the payee, I think, not LTL
       20   paying.
       21      Q. Okay. All right. If -- let's get
       22   technical.
       23          If LTL said, well, Ms. Olson has a
       24   final judgment, we need $120 million, it could
       25   make a claim -- and it was not in bankruptcy --
   65 :1    under this document, it could get the 120
       2    million from J&J, a payor under the agreement,
       3    right?
       4       A. If -- if LTL followed all the
       5    procedures and -- and sent the appropriate
       6    documentation to JJCI, then, yes. If everything
       7    was done correctly and it was an approved -- or
       8    permitted funding, then yes, then the payors
       9    would have to -- would pay LTL.


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   65 :24       Q. Okay. Now, we're not in the situation
       25   where Ms. Olson could demand of LTL that they
   66 :1    make a demand for payment because we're
       2    following the commencement of a bankruptcy case.
       3            Now we're in (ii) where Ms. Olson's --
       4    in the example I'm using, that LTL can't get --
       5    actually even if it wants to pay Ms. Olson,
       6    cannot do so under this contract accessing these
       7    funds without a confirmed plan; isn't that so?
       8        MS. BROWN: I object. That misreads this
       9    document.
       10       THE WITNESS: Again, there's -- there's a lot
       11   of -- I think -- I'll defer to the document to
       12   answer that question. It's a legal document,
       13   and I don't want to sit here and try to -- I
       14   think I'll get myself in trouble as a nonlawyer
       15   trying to parse the words here.
       16   BY MR. GLASSER:
       17       Q. But I mean, you said to me earlier that
       18   you thought you understood it when you signed
       19   it.
       20       A. Yes.
       21       Q. Isn't your understanding of (ii) that
       22   Ms. Olson in our example is going to need to
       23   wait until there's a confirmed plan because LTL
       24   does not even have the right to call funding for
       25   Ms. Olson's claim, even if they want to,
   67 :1    following the commencement of a bankruptcy
       2    absent a confirmed plan. Isn't that so?
       3        MS. BROWN: I object. Improper hypothetical,
       4    improper reading of the document, and lacking
       5    foundation.
       6        THE WITNESS: Is this a question that I
       7    should try and answer?
       8    BY MR. GLASSER:
       9        Q. Yes, you should.
       10           Isn't it your understanding that
       11   following the commencement of the bankruptcy
       12   case, even if LTL wanted to pay Ms. Olson, they
       13   have to get a confirmed plan to do so?
       14       MS. BROWN: Same objections.
       15       THE WITNESS: My understanding is by filing
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    16   the bankruptcy, as it's stated here, it allows
    17   the payment of existing and future claimants.
    18          So -- so the bankruptcy and ultimately
    19   the funding that would be provided ensures a
    20   fair and equitable outcome for both existing
    21   claimants and future claimants. And that was
    22   one of the benefits of doing it.
    23   BY MR. GLASSER:
    24      Q. Respectfully, Ms. Ryan, I understand
    25   that every witness has given me that -- that
68 :1    talk. That's not the question I asked,
    2    honestly.
    3           The question I asked is comparing the
    4    situation for Ms. Olson, pre-bankruptcy or
    5    post-bankruptcy. Pre-bankruptcy she had a final
    6    judgment, we've already -- you've already agreed
    7    LTL could pay it. If they went through the
    8    proper steps to demand the funding properly,
    9    they could pay it under (c)(i).
    10          Now I'm asking about (c)(ii). It's
    11   different.
    12          Isn't it true that you understand the
    13   document you signed to be even if LTL wants to
    14   pay Ms. Olson, they can't pay her until they can
    15   pay everyone?
    16      MS. BROWN: I object. Improper hypothetical;
    17   calls for speculation.
    18      THE WITNESS: Certainly when we did this, it
    19   wasn't looking at any individual case. There
    20   are thousands of cases. And with a product
    21   that's used over a lifetime and the type of
    22   cases that have come to us, there's a -- there's
    23   a probability that cases will need to come in
    24   the future.
    25          And so the -- the thinking was not
69 :1    specific to any one case, but rather to the
    2    longevity of this and the desire to have a -- a
    3    way to manage both existing and future claims.
    4           So if -- I can't speak to one case.
    5    That was -- you can look at one case and put it
    6    through (c)(i) and (c)(ii) and come to a
    7    conclusion, but that was never what I did and
    8    never how I thought about this.
    9    BY MR. GLASSER:
    10      Q. So I showed you the list of 13 people
    11   who have current judgments who want to get paid
    12   just like Ms. Olson.
    13          So in respect of those -- at least
    14   those 13 people, it's fair to say that they are
    15   worse off in terms of getting current pay under
    16   the bankruptcy for the reasons you just gave,
    17   right?
    18      MS. BROWN: I object. It completely
    19   misrepresents the document in terms of final
    20   judgment and it calls for speculation and it
    21   lacks foundation.
    22      THE WITNESS: No, I don't think I can agree
    23   to that.
    24   BY MR. GLASSER:
    25      Q. You just agree it's different.
70 :1    Everyone has to wait until these conditions are
    2    met, a final non-appealable plan is confirmed?
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   70 :10      THE WITNESS: It provides a fair and
       11   equitable outcome for all of today's cases and
       12   future cases.
       13   BY MR. GLASSER:
       14      Q. But explain to me how any funding can
       15   happen under the agreement. Do you remember
       16   when we were talking about whether the two
       17   billion had funded, and you said, well, no, not
       18   by the time I'd left the company?
       19          Reading (ii) here, it's the case that
       20   that funding will not happen. J&J is not
       21   obligated to fund unless and until these
       22   conditions are met. Isn't that true?
       23      MS. BROWN: Calls for speculation, lacks
       24   foundation.
       25      THE WITNESS: There's not an obligation.


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   72 :4        MS. BROWN: I object. She's answered this
       5    question several times. You are asking for a
       6    legal conclusion and interpretation. It lacks
       7    foundation and it calls for speculation.
       8    BY MR. GLASSER:
       9        Q. What did you understand when you signed
       10   it?
       11       A. As I've stated, my understanding of the
       12   funding agreement was that Johnson & Johnson
       13   would provide the assets RAM that had the
       14   royalty piece, Johnson & Johnson -- or JJCI
       15   would pre-fund $2 billion, and that ultimately
       16   the bankruptcy court would determine the overall
       17   amount that had to be funded.
       18          That was my understanding.


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   75 :17      MS. BROWN: Objection, improper hypothetical,
       18   calls for speculation, lacks foundation.


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   75 :22      Q. On behalf of Johnson & Johnson, you
       23   signed a document allowing LTL to pay talc
       24   liabilities if and only if there's a trust.
       25           What did you understand that to mean?


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   76 :1       MS. BROWN: I object --
       2    BY MR. GLASSER:
       3       Q. What did you understand that to mean?
       4       MS. BROWN: I object. That misstates the
       5    funding agreement and it lacks foundation.
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      6        THE WITNESS: Again, sir, I -- this is words
      7     in a -- in a very legal document. And so I
      8     explained to you my understanding of it.
      9             All of the mechanisms we did not go
      10    over. And I did not think it necessary because
      11    Johnson & Johnson and JJCI were making a
      12    commitment, and that's -- that's what I
      13    understood. And I left it to the lawyers to
      14    manage the legal aspects of this and make sure
      15    that that would happen as -- as I understood it.
      16    BY MR. GLASSER:
      17       Q. When you say "mechanisms" in the trust,
      18    what do you mean by that?
      19       A. I don't -- that's what I'm saying. I
      20    don't know what all of the mechanisms are.


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   80 :20              (Whereupon, Ryan Deposition
       21               Exhibit 111 was first referred
       22               for identification.)
       23   BY MR. GLASSER:
       24     Q. Do you have that in front of you?
       25     A. Yes, I do.


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   81 :8       Q. In fact, I mean, how did you prepare
       9    for the deposition, actually?
       10      A. I had J lawyers and Alli Brown, who's
       11   on this call, Jim Jones, and Greg Starner, who I
       12   guess represent J&J and represent me.
       13      Q. And how long did you spend with them,
       14   Ms. Ryan?
       15      A. I don't know the exact, but probably
       16   about five to six hours, maybe a little more,
       17   over various days, over a couple of weeks.
       18      Q. All right. Let's look at Exhibit 111.
       19   There is an email at the bottom.
       20          I guess Louise Weingrod sends to you
       21   the Wall Street Journal article appended to
       22   Exhibit 111, correct?
       23      A. Yes.
       24      Q. I kind of got the sense just from the
       25   email traffic that Louise is kind of your buddy
   82 :1    in the company and you're just plain friends.
       2    Is that fair to say?
       3       A. I guess we -- we are definitely
       4    friends.
       5       Q. And she asks you if it now sounds more
       6    credible, and you respond you could see this
       7    happening.
       8           Do you see that?
       9       A. Yes.
       10      Q. In July 19.
       11          So obviously, I don't want -- I'm not
       12   asking you about what Ms. Weingrod's state of
       13   mind was, but in your state of mind, why did you
       14   think by July 19th, 2021, that you could see
       15   this bankruptcy filing happening?
       16          What was it that you understood or had
       17   concluded that made it seem like it could happen
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    18   at this point?
    19       MR. GLASSER: We could take that down.
    20       THE WITNESS: It just -- it seemed like we
    21   were getting some traction. So -- so Louise and
    22   I had been -- our teams were working on the
    23   potential restructuring, and we had been brought
    24   in sometime, sometime in July I'm going to
    25   guess, late June, like I said earlier, sometime
83 :1    around then.
    2           And so when -- I think when we first
    3    heard about it we were unsure as to whether it
    4    would be an actual avenue that we would pursue.
    5    And then when -- to see an article like this
    6    coming out that certainly was not from us, it --
    7    it started to give more and more credibility
    8    that the restructuring may be able to move
    9    forward.
    10   BY MR. GLASSER:
    11       Q. When you said to me just a few seconds
    12   ago that it was getting more traction, I took
    13   you to mean internally with the teams at Johnson
    14   & Johnson. Is that a fair understanding?
    15       MS. BROWN: Object, calls for speculation.
    16   BY MR. GLASSER:
    17       Q. From your perspective.
    18       A. Certainly internally work was being
    19   done. But the fact that, you know -- the
    20   perspective here was that the plaintiffs bar
    21   were the ones floating articles like this in
    22   order to try to prevent us from -- from
    23   following an appropriate legal pathway.
    24          And so this was -- the fact that the
    25   plaintiff's bar -- plaintiff's side in this case
84 :1    would be now taking PR measures, it started to
    2    suggest that there might be a real credible path
    3    here because the plaintiffs' attorneys seemed
    4    scared.
    5    BY MR. GLASSER:
    6        Q. So I guess -- I'm reading your sentence
    7    up there at the top. [As read]: Could have
    8    been a plan...an ill-fated arrogant plan. Try
    9    to scare them.
    10          What are you trying to tell me about,
    11   your -- what do you mean there?
    12       A. That this is the plaintiffs' bar
    13   thinking that they're going to get out and
    14   create a -- kind of a negative PR storm that's
    15   going to scare us from -- scare our lawyers,
    16   scare us, from -- from pursuing this approach.
    17       Q. So you're saying that you think the --
    18   this discussion of bankruptcy is an ill-fated
    19   arrogant plaintiffs' lawyers' plan?
    20       A. Yes. Because this is the plaintiffs'
    21   lawyers who are floating this article to get
    22   traction, which -- that it did get some
    23   traction, right? I think there were -- there
    24   were senators and congressmen who got involved
    25   and said -- had opinions on whether J&J should
85 :1    do this or not.
    2           And so it was -- it was almost like we
    3    had found a legal pathway here that was very
    4    viable and the plaintiffs' lawyers who felt that
    5    they had us in a corner were now trying to fight
    6    us in the court of public opinion and public
    7    relations here by putting out bad press.
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       8           And so that -- they're trying to scare
       9    us off.
       10      Q. So the "them" is Johnson -- so when you
       11   say "tried to scare them," you're saying Johnson
       12   & Johnson is the "them"?
       13      A. Yes, our lawyers. Like this is now --
       14   this is now the plaintiffs' lawyers versus our
       15   lawyers and they're trying to scare our team, to
       16   scare them, the J&J lawyers.
       17      Q. I thought I heard you tell me at the
       18   beginning of the answer a few questions ago,
       19   though, that you thought the bankruptcy scared
       20   the plaintiffs' lawyers and that's why they were
       21   doing this.
       22      A. Yeah, I did think that's what -- I
       23   think they -- the plaintiffs' lawyers realized
       24   that we actually had a very real pathway here
       25   and they couldn't stop it because legally it was
   86 :1    an appropriate pathway.
       2           And so the way to stop it was to try to
       3    get the court of public appeal in front of it
       4    and to put pressure on us to not pursue this
       5    pathway.
       6       Q. So the scaring was working both ways,
       7    the plaintiffs' lawyers, in your judgment --
       8       A. We weren't trying to scare the
       9    plaintiffs' attorneys. We had a pathway.
       10      Q. That was scary to them?
       11      A. That led them to believe that
       12   lottery-type settlements like the one that
       13   just -- this is, what, July 20th -- that just
       14   seven weeks before the Supreme Court said, we're
       15   not going to offer Johnson & Johnson their
       16   opportunity for an appropriate appeal, I think
       17   the plaintiffs' lawyers were feeling pretty
       18   bullish at that point and they were -- they were
       19   willing to keep trying to play for the
       20   lottery-type settlements.
       21          And certainly under a restructuring
       22   under bankruptcy, that would be a very different
       23   set of circumstances, was my understanding, in
       24   terms of how -- how claimants would be paid out.
       25          So, yeah, I think the plaintiffs'
   87 :1    lawyers who stand to make significant amounts of
       2    money in these trials, especially with
       3    lottery-like settlements, were concerned that
       4    they -- they might be pushed down a different
       5    pathway.
       6       Q. Ms. Ryan, did you ever read the
       7    Missouri Court of Appeals opinion in Ingham?
       8       A. No, I did not.


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   89 :4       Q. So I'm still on Exhibit 111, Ms. Ryan.
       5    And I understand that you've told me very
       6    clearly that you think the ill-fated, arrogant
       7    plan was the plaintiffs' lawyers plan to scare
       8    Johnson & Johnson.
       9          That's your interpretation of your
       10   email to your friend Louise, right?
       11      A. Who's Johnson & Johnson's head of tax,
       12   Louise, yes, and my friend, yes.
       13      Q. But I have to say -- and I just want to
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       14   put it to you, it doesn't -- that doesn't make a
       15   lot of sense to me given that she said, "If
       16   accurate, not quite zealous representation of
       17   our interests."
       18          You couldn't have thought -- isn't it
       19   true that you could not possibly have thought
       20   that the plaintiffs' lawyers were representing
       21   J&J's interests?
       22      A. I honestly don't know what Louise meant
       23   so I can't -- I can't speak to her comments. I
       24   can speak to what I thought was happening.
       25      Q. Right. But you're responding -- you --
   90 :1    I'm asking about your state of mind.
       2           You could not possibly believe she was
       3    talking about plaintiffs' lawyers, true?
       4       MS. BROWN: Objection, calls for speculation.
       5       THE WITNESS: I don't know what she was
       6    thinking. I know what I was -- I think I'm
       7    telling you what I'm thinking when I said in the
       8    response regardless --
       9    BY MR. GLASSER:
       10      Q. I understand. I'm not asking at all
       11   what she is thinking.
       12          I am asking you, explain to me how
       13   you -- isn't it true that you -- you did not,
       14   you did not understand Louise to be talking
       15   about plaintiffs' lawyers representing your
       16   interests, you, Michelle Ryan, understanding?
       17      A. I don't -- I don't remember what I
       18   thought about her comments. I know what I was
       19   thinking and I know what I was referring to.
       20          So I -- I can't -- I can't remember
       21   everything and every thought that I had in the
       22   last eight months, so I don't know.
       23      Q. Because if the interpretation of the
       24   email is as you've said, it's a non sequitur;
       25   your response has nothing to do with her
   91 :1    statement, right?
       2       A. I don't know, sir. So I'm -- I don't
       3    know what she was referring to. I know at the
       4    time there was --
       5       Q. And you --
       6                 (Simultaneous crosstalk.)
       7       THE WITNESS: I know at the time that we --
       8    these emails -- I know at the time we were
       9    looking for paths forward.
       10          We had been in discussions on this
       11   potential path forward for, at this point,
       12   probably a few weeks from the first time that
       13   we -- Louise and I had been made aware of it.
       14   And it seemed like we actually had a path
       15   forward and that the plaintiffs' lawyers were
       16   trying to shut it down.


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   93 :14      Q. What is your understanding of "properly
       15   reserved for"? What are you trying to reserve?
       16      A. For any liability that the company had,
       17   not just litigation, you would make sure that --
       18   I mean, generally accepted accounting principles
       19   say you have to have something that is both
       20   probable and estimable or estimatable.
       21         So -- so even if something is probable,
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       22   if you can't make an estimate of it, you can't
       23   accrue it. And if you can estimate something
       24   but it's not probable, you also don't reserve
       25   for it.
   94 :1            So it has to meet the test of probable
       2    and estimable. And then based on that -- so
       3    then to estimate, you have to have foundational
       4    information to create your -- your estimate.
       5    And the probability piece in this case really
       6    comes from the lawyers' judgment, as well as the
       7    accountants have a say in what's probable or
       8    have a perspective in both.
       9            So it really would be our corporate
       10   controller team and our -- our litigation team
       11   making the conclusions on both probability and
       12   estimation.


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   95 :21           On the next page we see that 996 number
       22   from the prior page and then a payments number
       23   of 534 with a subtotal of 462 million.
       24           Explain that to me. What's happening
       25   there?
   96 :1        A. What's happening on this -- just with
       2    the 99 -- so the 996, again, would have come
       3    from...
       4            So the top line called "talc" would be
       5    the total reserves that had been established for
       6    talc over time. And so you see the first column
       7    there is 2018. So as of the end of 2018, we had
       8    $550 million reserved and we had paid out 306.
       9            So there -- on Johnson & Johnson's
       10   balance sheet, then, at the end of 2018, we
       11   would have $244 million reserved for talc
       12   litigation. And then quarter-by-quarter -- Q1,
       13   2, 3, and 4 -- if you add across, the 550 plus
       14   8, 190, and 248, you'll get the 996, I'm
       15   assuming. And -- so that just shows each
       16   quarter.
       17           So in Q1, the lawyers must have said,
       18   oh, we're going to need to spend a little bit
       19   more than the 550 we had estimated, and we made
       20   payments of 45 million in Q2. Again, updates
       21   from lawyers. We paid some fees out to lawyers.
       22           Q3, the estimate of the ongoing cost
       23   didn't increase, but we paid 45 million. And in
       24   Q4, I think that's from the previous page where
       25   it was about 250 million, it's about 248.
   97 :1            So now the lawyers again looking
       2    forward said, okay, it's going to cost us about
       3    this much for the next 24 months to continue in
       4    pursuit of this. Paid out 75.
       5            So in total at the end of 2019,
       6    Johnson & Johnson had booked $996 million of
       7    reserves over time relative to talc litigation,
       8    and we had paid out 534 million. So on our
       9    balance sheet, we had $462 million of reserves
       10   related to talc litigation.
       11       MR. GLASSER: Okay. Let's go to Exhibit 116.
       12                (Whereupon, Ryan Deposition
       13                 Exhibit 116 first referred for
       14                 identification.)
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  99 :8       Q. And we see 2020's balance there,
      9    5 billion, right?
      10      A. Yes.
      11      Q. 5 billion 25.
      12          And then we see that payment for
      13   Ingham, which is 2.5 billion there in Q2 of
      14   2021. Do you see that?
      15      A. Yep.
      16      Q. All right. So it's fair to say that
      17   this not only includes legal costs, but it --
      18   costs of settlements and verdicts, too?
      19      A. Yes.
      20      Q. That are paid?
      21      A. Yes. Yes.
      22      Q. Leaving 2.391 billion accrued on the
      23   balance sheet as of 2021, as of October 31,
      24   2021.
      25          Does this have any relation to the
 100 :1    choosing of the, you know, offered initial
      2    funding being $2 billion?
      3       MS. BROWN: Objection, speculation.
      4       THE WITNESS: I do not know -- no, not that
      5    I'm aware of.
      6    BY MR. GLASSER:
      7       Q. But you are aware that historically
      8    Johnson & Johnson did not accrue on its balance
      9    sheet estimates for future as yet unfiled claims
      10   because they're not estimable in your -- using
      11   the words you used, estimable, right?
      12      MS. BROWN: Objection, speculation.
      13          And I would just caution you, Michelle,
      14   to the extent that what was -- any decisions
      15   about accruals or reserves were informed in your
      16   mind by legal counsel and legal advice, I would
      17   instruct you not to reveal those conversations.
      18      THE WITNESS: Okay. I mean, I think in
      19   our -- I think in the footnote to our financial
      20   statements we're pretty clear with what -- what
      21   we accrued and what we didn't accrue.
      22          So my understanding is that we did not
      23   reserve for future claims because both the
      24   probability and the ability to estimate them
      25   would be -- we couldn't do that, couldn't do
 101 :1    that in a way that met the requirements of GAAP
      2    accounting.
      3    BY MR. GLASSER:
      4       Q. So earlier today when we were talking
      5    about the funding agreement and how (ii) in the
      6    hole was designed to have a plan that covers
      7    existing and future claims and we talked about
      8    the $2 billion, if the $2 billion -- J&J itself,
      9    as we can tell from this document which is
      10   Exhibit 116, at least as of the day before the
      11   bankruptcy, believed it could estimate as
      12   probable $2.391 billion of obligation in respect
      13   to talc, right?
      14      MS. BROWN: Objection, speculation,
      15   foundation.
      16      THE WITNESS: We were able to -- by what's in
      17   our financial statements, the fact that it's in
      18   our financial estimates, we had the ability to
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      19   say it was probable and an estimate. It does
      20   not mean that's an exact amount, but it was --
      21   there was a probable, estimable liability for
      22   the enterprise of $2.391 billion, yes.


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 104 :6       Q. At the beginning of this deposition we
      7    talked about the $31 billion in available cash
      8    and cash equivalence that were on the balance
      9    sheet at the time of this bankruptcy.
      10          Why, to your knowledge, did J&J not
      11   just put $5 billion in LTL?
      12      MS. BROWN: I object. Calls for speculation.
      13      THE WITNESS: Well, the reality is the
      14   responsibility is JJCI's. But J&J in good faith
      15   was going to fund the $2 billion as a means to
      16   show the Court that setting -- that the
      17   restructuring that we were doing was a --
      18   something we believed in and we wanted to
      19   provide fair and appropriate settlements as --
      20   as ultimately required for current and future
      21   claimants.
      22          And so $2 billion is certainly not an
      23   insignificant amount of funding to commit to
      24   this. And ultimately the bankruptcy court would
      25   tell us the amount due and we would fund the
 105 :1    remainder.


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 105 :7       Q. Yeah. Where is old JJCI today? You
      8    said this is JJCI's obligation.
      9           Where is that company that had that
      10   obligation?
      11      A. Old JJCI was restructured and new JJCI
      12   exists. I don't know.
      13      Q. So old JJCI -- old JJCI was
      14   extinguished by the transaction, right?
      15      A. New JJCI has all the responsibilities
      16   of old JJCI.
      17      Q. It doesn't have the talc liabilities
      18   according to the piece of paper you all wrote
      19   each other. LTL does, right?
      20      A. Through the funding agreement JJCI and
      21   J&J have agreed to fund LTL as necessary.
      22      Q. So since J&J signed --
      23      A. Up to -- up to the value -- up to the
      24   value of old JJCI. So --
      25      Q. Which you already -- which you already
 106 :1    told me in this deposition was tens of billions
      2    of dollars.
      3           So I'm saying, why didn't you just put
      4    5 billion in LTL? Who made that decision?
      5       MS. BROWN: Objection, lacks foundation,
      6    calls for speculation.
      7       THE WITNESS: I don't know who made the
      8    decision.


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 106 :17     Q. Did you ever discuss businessperson to
      18   businessperson inside J&J with anybody what an
      19   appropriate amount of funding for LTL would be?
      20     A. No, I did not.


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 108 :8      Q. In fact, I've asked this question of
      9    every witness in the case and haven't really
      10   gotten an answer yet.
      11         Why -- do you know why it had to happen
      12   so fast over the two-day period?
      13     MS. BROWN: Objection, calls for speculation.
      14     THE WITNESS: I do not.
      15   BY MR. GLASSER:
      16     Q. Were you ever involved in any discussions
      17   about when it ought to happen?
      18     A. No, I was not.


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 111 :13      Q. So I take it the normal money
      14   management system is, at least in the United
      15   States -- I know this may not be true globally,
      16   but at least in the United States, accounts are
      17   swept every evening to a concentration account,
      18   right?
      19      A. Yes.
      20      Q. Those concentration accounts are -- is
      21   a bank -- I take it at Bank of America in the
      22   name of Johnson & Johnson, right?
      23      A. Yes.
      24      Q. I couldn't hear you.
      25      A. Yes. Sorry.


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 117 :1                  (Whereupon, Ryan Deposition
      2                   Exhibit 121 was first referred
      3                   for identification.)
      4    BY MR. GLASSER:
      5        Q. Do you know, when it says "End," does
      6    that tell us how long the meeting actually
      7    lasted, or was that -- is that the planned
      8    amount when you get these invites?
      9        A. That would be the amount that is
      10   scheduled for meetings, as I'm sure you know,
      11   can run really long or can run short.
      12       Q. I like those better.
      13           So do you recall what this meeting on
      14   the 6th was about?
      15       A. Yeah, this was to discuss the
      16   restructuring plan and the -- the approval memo
      17   and the funding agreement.
      18       Q. So this is the call you think where you
      19   were -- where you were briefed in on what the --
      20   what the meaning of the funding agreement when
      21   we were -- we were talking about the funding
      22   agreement before, and you said, I had a meeting.
      23   I think you might have said with Chris and -- do
      24   you think this was this meeting?
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      25     A. Yeah, I'm going to think this was
 118 :1    probably the meeting. I don't know if there was
      2    another meeting, but this was probably the
      3    meeting.


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 118 :8              (Whereupon, Ryan Deposition
      9               Exhibit 122 was first referred
      10              for identification.)


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 121 :1       Q. And then when he drills down a little
      2    bit more, as you said on page 1, he gives us a
      3    $1.3 billion number.
      4           Do you see that right above the box?
      5       A. Yes.
      6       Q. Redacted --
      7       A. Yes, he said we had 1.3 billion on the
      8    balance sheet.
      9       Q. For settlements previously accrued,
      10   right?
      11      A. Yes, that's what it says.
      12      Q. So it looks to me like the drill down
      13   is trying to figure out the incremental
      14   difference between settlements previously
      15   approved and $2 billion.
      16          Is that how you read it?
      17      A. Without being able to see the redacted
      18   box, I can't for sure. But, yes, the first two
      19   -- Adam is saying that what will hit JJCI's P&L
      20   for Q3 and, therefore, J&J's P&L for Q3 won't be
      21   the full 2 billion because there are already
      22   things that were reserved on J&J's balance
      23   sheet.


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 131 :13      Q. Let's go to Exhibit 126. And we don't
      14   need to pull this up. We can put it in the
      15   chat.
      16               (Whereupon, Ryan Deposition
      17                Exhibit 126 was first referred
      18                for identification.)
      19   BY MR. GLASSER:
      20      Q. This is an email from you, October 11,
      21   2021, 1:00 p.m. in the afternoon, approving the
      22   transaction. Do you agree?
      23      A. Yes.
      24      Q. I take it you did this on your own, you
      25   did not, in fact, have a committee meeting of
 132 :1    the other approving parties, correct?
      2       A. Correct. The approvers did not all get
      3    together. We each had our own, I'll call it,
      4    areas of responsibility and -- for approving
      5    somewhat relative to that, I guess I would say.
      6       Q. So when you gave your approval, you
      7    believed you were saying, from a treasury
      8    perspective, I approve that this will not cause
      9    us trouble from a treasury perspective?
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      10      A. That's right. I mean, if you look at
      11   the to list, on the to list there are -- there
      12   are four members of CFO staff, Paul Ruh,
      13   Robert Decker, Louise Weingrod, and myself.
      14         So we certainly don't need four members
      15   of the CFO staff called just to approve in
      16   general, so we were all looking at specifics
      17   related to our areas of expertise.


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 134 :8        Q. I asked you questions with respect to
      9    the funding agreement. But to tap it down,
      10   there are nine steps set forth in the approval
      11   memorandum and the deal documents. There are 82
      12   deal documents that effect, you know, each of
      13   those nine steps.
      14           I take it you personally did not have
      15   any involvement in negotiating or writing or
      16   commenting on any of those deal documents?
      17       A. That's correct, personally I did not.
      18   My team would have been involved just to make
      19   sure from an understanding standpoint of having
      20   -- related to our treasury department. But I
      21   did not have personal input into any of it.
      22       Q. Exhibit 1.57 [sic] is in your stack.
      23   It's the amended and restated commitment and
      24   loan agreement between Johnson & Johnson and
      25   Johnson & Johnson Consumer, Inc., that you
 135 :1    signed. Do you recognize that?
      2        A. Yes.
      3        Q. Why did Johnson & Johnson and Johnson &
      4    Johnson Consumer, Inc., need to enter this loan
      5    and commitment agreement, to your knowledge?
      6        MS. BROWN: Objection, calls for speculation,
      7    lacks foundation.
      8        THE WITNESS: I don't know all the legal
      9    aspects of it. I know that J&J does not have to
      10   fund JJCI's cash flows forever under the funding
      11   agreement. J&J's commitment to LTL was defined.
      12   And so J&J has a certain commitment, but JJCI is
      13   truly the parent company of LTL. And so JJCI is
      14   first and foremost responsible.
      15   BY MR. GLASSER:
      16       Q. All right. Do you remember I asked you
      17   a series of questions before about how does JJCI
      18   call cash or get cash from Johnson & Johnson
      19   prior to this transaction under its normal --
      20   under its normal operations. And part of the
      21   reason I asked you those questions is it feels
      22   like, to me, that this first -- this loan
      23   document is the first evidence I've seen of an
      24   actual right or ability of JJCI to actually get
      25   money from J&J without J&J's consent, kind of an
 136 :1    obligation. Is that why it was done?
      2        MS. BROWN: Lacks foundation, calls for
      3    speculation.
      4        THE WITNESS: I'm not sure as to the specific
      5    reasons why.
      6    BY MR. GLASSER:
      7        Q. So it's fair to say that even though
      8    you signed the loan and commitment agreement,
      9    its role in the transaction you're not sure of?
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 136 :11      MS. BROWN: Objection, misstates testimony.
      12         Go ahead.
      13      THE WITNESS: I understood the
      14   responsibilities that J&J had under the loan
      15   agreement.
      16   BY MR. GLASSER:
      17      Q. Did you ever see any pro forma
      18   financial analysis of LTL as a post-bankruptcy
      19   company?
      20      A. No, I did not.
      21      Q. How was the initial capitalization of
      22   LTL for $6 million plus a royalty stream arrived
      23   at?


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 137 :1      THE WITNESS: I don't know.


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 137 :3       Q. I couldn't hear you, ma'am. I'm sorry.
      4       A. I do not know how it was derived.
      5       Q. Have you ever in your last six years as
      6    treasurer at any time seen any estimate of what
      7    the future talc liability, future total overall
      8    fair value analysis or whatever of what the sum
      9    and substance of the existing cases could yield
      10   in terms of liability for J&J?
      11      A. No, I never did.


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 138 :14       Q. Well, maybe another way then is to say
      15   it's the case that the bankruptcy of LTL,
      16   despite that, J&J continued to operate its
      17   businesses as usual, correct?
      18       A. We continued our business operations,
      19   yes. Again, as part of our -- I would say part
      20   of our operations is always the planning for
      21   different scenarios. We're looking at different
      22   scenarios. We're looking at different uses of
      23   cash. So we knew we had at least $2 billion
      24   less cash.


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 140 :3           You -- there was reference earlier in
      4    your deposition to Project Plato, and I just
      5    want to know what your understanding of those
      6    words as used at J&J is.
      7       A. My understanding of Project Plato was
      8    that it was a team of experts from various
      9    functions who were brought together to do due
      10   diligence around the restructuring of our
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     11   consumer group that could lead ultimately to the
     12   structure that is documented in the approval
     13   memo. But it wasn't -- it wasn't a preconceived
     14   structure, so it was let's do diligence and
     15   understand if there's a way to restructure that
     16   could -- that could allow us ultimately to get
     17   to some type of structure that allowed us to
     18   file for our -- for one of the subs to file for
     19   bankruptcy.
     20       Q. And did -- what was your understanding
     21   of the ultimate purpose if that was carried out?
     22       A. We felt like we had run out of options.
     23   So we had a -- JJCI was under significant
     24   financial pressure from these continued and
     25   mounting legal costs. And with what we would
141 :1    call lottery-like outcomes, we didn't view that
     2    as sustainable for JJCI for the long run.
     3            And we felt that in the legal system
     4    our options had -- had run out with our belief
     5    that due process wasn't afforded to us and
     6    ultimately the appellate court would not listen
     7    to our -- our appeal about that. There were
     8    very few options left.
     9            So if there was an appropriate legal
     10   pathway, then we wanted to understand that so
     11   that we could ultimately provide a fair and
     12   equitable outcome and efficient for all parties
     13   involved.
     14       Q. And did you understand there to be
     15   economic benefits to J&J if Project Plato was
     16   carried out?
     17       A. I never -- I never heard of it
     18   discussed in economic terms. It was really a
     19   legal path forward because we didn't feel we had
     20   a legal path forward.
     21       Q. Well, let me -- let me -- let me try
     22   and break that down. Thank you.
     23           Is it -- in your experience, from your
     24   many years at J&J including as treasurer, was
     25   one of J&J's primary goals to provide value to
142 :1    shareholders?
     2        A. Certainly. As a publicly traded
     3    corporation, one of -- one of your goals is to
     4    create value for your shareholders.
     5            J&J is -- with our credo speaks about
     6    our -- our four major responsibilities, the
     7    first of which is to the patients, the moms, the
     8    dads, the people who use our product. Second is
     9    to our employees. Third is to our communities.
     10   And, finally, we believe if we do the first
     11   three correctly, the shareholders will receive a
     12   fair return.
     13       Q. In your experience at J&J, either
     14   generally or specifically, would J&J take --
     15   undertake strategies that impaired shareholder
     16   value?
     17       A. That is not the norm. You could look
     18   at things like why do we give donations. That
     19   takes away from -- potentially from a dollar in
     20   our pocket and, therefore, a dollar in our
     21   shareholders' pockets. But no, we don't
     22   typically do things that destroy value.
     23       Q. So, in fact, would you agree that at
     24   least one of the motivations in the Project
     25   Plato strategy was to provide an economic
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 143 :1    benefit to J&J?
      2       MS. BROWN: I object, lacks foundation, calls
      3    for speculation.
      4       THE WITNESS: I never heard it described as
      5    in economic terms why we were pursuing it.
      6    BY MR. JONAS:
      7       Q. So is it the true that the only --
      8    strike it -- strike that.
      9           Is your understanding that the only
      10   reason that J&J undertook Project Plato was to
      11   provide -- let me see if I get this right -- to
      12   provide a fair and equitable resolution to talc
      13   claimants?
      14      MS. BROWN: I object. That misstates her
      15   testimony.
      16      MR. JONAS: I'll restate the question so we
      17   have a clean record.
      18   BY MR. JONAS:
      19      Q. Is it your understanding that the only
      20   reason that J&J undertook Project Plato was to
      21   provide a fair and equitable resolution to talc
      22   claimants?
      23      MS. BROWN: Calls for speculation.
      24      THE WITNESS: I won't say that was -- I don't
      25   know all of the reasons. Certainly one of the
 144 :1    reasons was to provide an efficient, fair, and
      2    equitable outcome for all parties.
      3    BY MR. JONAS:
      4       Q. Okay. Do you have an understanding as
      5    to whether there are any other reasons to
      6    undertake Project Plato?
      7       A. Again, as a company, we were looking
      8    for a valid legal pathway because we felt that
      9    other legal pathways had been closed when the
      10   Supreme Court couldn't or wouldn't hear our
      11   appeal.
      12      Q. And when you say "a valid legal
      13   pathway," to what? A valid legal pathway to
      14   what end?
      15      A. To a fair and equitable and efficient
      16   settlement for all parties involved.


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Page 145
 145 :5            In July of 2021, you were part of
      6    strategic discussions at J&J relating to capping
      7    talc liability, correct?
      8        A. I think --
      9        MS. BROWN: I object, lacks foundation.
      10           Go ahead.
      11       THE WITNESS: Sorry, Alli.
      12       MS. BROWN: No. Go ahead.
      13       THE WITNESS: I was going to say I think
      14   you're using the word there in terms of capping
      15   that I'm not sure how you're defining that, and
      16   so I'm not comfortable agreeing that the
      17   diligence we were doing was designed to cap talc
      18   litigation.
      19           We were looking for a legal path
      20   forward to manage our talc, all the cases that
      21   we had today and into the future. I never heard
      22   anyone saying the goal was the capping of the
      23   liability.
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 148 :20       Q. Okay so let me try it again.
      21           Were you part of discussions at J&J as
      22   early as July 2021 relating to a strategy to
      23   manage talc liability by moving talc liability
      24   into a newly formed subsidiary and putting that
      25   subsidiary into bankruptcy?
 149 :1        A. Yes, I was involved in conversations
      2    and ultimately the analysis of such a strategy.
      3        Q. Thank you.
      4            And as far as you know, that strategy
      5    was put into effect and carried out ultimately
      6    resulting in the bankruptcy of LTL, which was
      7    filed in North Carolina in October 2021,
      8    correct?
      9        A. The LTL filed bankruptcy in 2021,
      10   October 2021, that is correct.
      11       Q. I'm sorry. You were breaking up. It's
      12   not your fault.
      13       A. Ultimately, LTL filed bankruptcy in
      14   October of 2021.


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Page 149
 149 :16           Is it your understanding that LTL's
      17   filing bankruptcy in twenty -- October of 2021
      18   was the culmination of Project Plato?
      19       A. I'm not sure I would say it just like
      20   that. But Project Plato -- the work of the
      21   Project Plato team was to do the diligence to
      22   understand multiple aspects.
      23           So as an example, in the treasury
      24   space, as discussed earlier, would there be any
      25   negative implication to our bond covenants, to
 150 :1    our hedging agreements, to our banking
      2    agreements, to our insurance agreements.
      3            So the teams, each from their own
      4    discipline, did an analysis and determined that
      5    Plato could go ahead. The ultimate bankruptcy
      6    was the decision of the LTL board.


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 150 :12           Did you believe -- I want -- I want to
      13   know your understanding, your belief as
      14   treasurer of J&J. Strike that.
      15           As treasurer of J&J, did you believe
      16   that Project Plato was a good strategy for J&J?
      17      MS. BROWN: Objection, vague.
      18      THE WITNESS: I -- I think if we ultimately
      19   could have a defined liability for talc,
      20   regardless of the size of that defined
      21   liability, that would be a good thing for the
      22   company.
      23           I thought if ultimately we had a
      24   bankrupt subsidiary, we would also have negative
      25   PR. So I thought it was kind of a balance of
 151 :1    probably good and -- and bad depending on how it
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      2    all came together.


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 151 :22       Q. Okay. We may need to have you do that.
      23   But I will try to make it easier. So let me see
      24   if I can get you there. And if not, we can
      25   certainly go back and look at document -- have
 152 :1    you look at the document.
      2           If Project Plato is ultimately
      3    successful, do you believe that J&J -- that
      4    J&J's talc liability could exceed the value of
      5    old JJCI?
      6        MS. BROWN: Lacks foundation and calls for
      7    speculation.
      8        THE WITNESS: I don't know because it depends
      9    ultimately on how the bankruptcy court
      10   determines the value for LTL that has to be --
      11   has to be provided.


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Page 152
 152 :13      Q. I'm sorry, I'm confused. You signed
      14   the funding agreement, correct?
      15      A. Yes, I did.
      16      Q. You were part of strategic discussions
      17   at a high level at least relating to Project
      18   Plato, correct?
      19      A. Yes, I was.
      20      Q. Are you testifying now that you do not
      21   understand what J&J's talc liability may be if
      22   Project Plato is successful?
      23      MS. BROWN: Objection.
      24      THE WITNESS: I don't know what J&J's talc
      25   liability will be because it's not defined.


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Page 154
 154 :15          But do you understand one way or the
      16   other whether old JJCI could have, itself, filed
      17   bankruptcy?
      18      A. I don't know the answer to that.
      19      Q. Do you have any understanding one way
      20   or the other if Johnson & Johnson, the parent
      21   company, could have filed or could file for
      22   bankruptcy?
      23      A. Again, I don't know all of the rules
      24   and regulations for filing for bankruptcy.


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Page 156
 156 :14          Do you recall the discussion relating
      15   to the $2 billion of, I think it might have been
      16   referred to as qualified settlement fund or
      17   funding that was discussed earlier?
      18      A. Yes, I do.
      19      Q. Okay. And do you know who was involved
      20   in the decision surrounding that amount that is
      21   using $2 billion as the -- that funding amount?
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      22     A. I do not know.


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 157 :1           When you first saw the $2 billion
      2    number as treasurer, how was that presented to
      3    you?
      4       A. I honestly don't remember the first
      5    time that I saw it. I don't remember.
      6       Q. Okay. And I mean, $2 billion, that's a
      7    fair amount of money even for a company like
      8    J&J, right?
      9       A. It's a significant amount of money,
      10   yes.
      11      Q. So did -- did you ask any questions
      12   like, hey, why is it 2 billion and not a billion
      13   or -- did you ask anybody any questions about it
      14   or you just accepted it?
      15      A. I believe I asked Chris Andrew --
      16      Q. Okay.
      17      A. -- who is our lawyer to help me
      18   understand -- not so much the -- yes.
      19      MS. BROWN: And I'll caution you, again,
      20   Ms. Ryan, to the extent the answer would
      21   indicate discussions with Mr. Andrew in a legal
      22   capacity, I will instruct you not to reveal the
      23   substance of that conversation.
      24      THE WITNESS: Yep.
      25
 158 :1    BY MR. JONAS:
      2       Q. And what is your understanding how the
      3    $2 billion was arrived at?
      4       MS. BROWN: And, again, if that understanding
      5    comes from something lawyers told you in their
      6    capacity as providing legal advice, my same
      7    instruction would apply.
      8       THE WITNESS: I don't think there is much
      9    else I can say. I think the only conversation
      10   being with Mr. Andrew.


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Page 158
 158 :12      Q. Okay. Did Mr. Andrew tell you how --
      13   I'm not asking for the detail. I simply want to
      14   know yes or no -- did Mr. Andrew tell you how
      15   the $2 billion number was arrived at?
      16      A. No.
      17      Q. Okay.
      18      A. That's not --
      19      Q. And you didn't ask that?
      20      A. Not that I recall.


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Page 161
 161 :8            Who first told you about Project Plato?
      9       A. I first heard about the concept of a
      10   potential restructuring from Erik Haas, our head
      11   of litigation. I don't know the exact date.
      12   And eventually the team put in place to do the
      13   due diligence around the potential restructuring
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      14   was given the code name "Plato."


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 172 :21           So -- so John Kim was present for your
      22   deposition preparation; is that true?
      23      A. That is true.
      24      Q. So it was John Kim, Alli Brown,
      25   Mr. Starner from White & Case, Mr. Jones from
 173 :1    Jones Day --
      2       A. Yes.
      3       Q. -- and -- and John Kim that were
      4    present at your deposition preparation, correct?
      5       A. Yes. And Erik Haas was there for part
      6    of it, and Andrew White from J&J was also there
      7    for part of it.


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 174 :19      Q. All right. So let's look at
      20   Exhibit 105.
      21      MS. BROWN: Michelle, just take a minute and
      22   let us know when you have it.
      23      THE WITNESS: Yes, I have it.


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 175 :7       Q. Okay. And Mr. Levesque says [as read]:
      8    We realize the contemplated scenario involves a
      9    subsidiary other than a J&J subsidiary, but we
      10   are thinking through what happens in the event
      11   the process went through and involves a J&J
      12   subsidiary after all.
      13           Do you see that?
      14      A. Yes.
      15      Q. Okay. So you had been discussing with
      16   Mike Levesque from Moody's about a contemplated
      17   scenario involving the transfer of J&J's talc
      18   liabilities to a subsidiary, correct?
      19      MS. BROWN: Objection.
      20      THE WITNESS: No, you're misreading this.
      21   Michael Levesque is responding to my email that
      22   is further down this chain from June 2nd. The
      23   timing is completely coincidental with the
      24   meeting that I had with Joe Wolk and any
      25   discussions on Project Plato.
 176 :1            So Michael, he says, "We realize the
      2    contemplated scenario involves a subsidiary
      3    other than a J&J subsidiary." He's talking
      4    about the Imerys situation in his email. But he
      5    then jumped to, But we, Moody's, are thinking
      6    through what happens in the event that it would
      7    involve a J&J subsidiary.
      8            So I got that email and thought, wow,
      9    they've kind of jumped on to what we're actually
      10   thinking about doing, which is why ultimately
      11   there's an email from me that takes me a couple
      12   weeks to even get back to him because I thought,
      13   well, I'm not going to tell him at this point
      14   about what we're thinking about in Project Plato
      15   until I better understand if there is a chance
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      16   Project Plato could be moving ahead.
      17          So he in his July 1st, the time of it
      18   and everything is completely coincidental with
      19   the meeting that I had with Joe Wolk. I did not
      20   call him. I had not mentioned to him anything
      21   about a potential J&J restructuring or J&J
      22   subsidiary going into bankruptcy.


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Page 176
 176 :25           So here -- here you get this email from
 177 :1    Mike Levesque on July 1st, at 1:40 p.m., July 1,
      2    2021, and he's clearly talking about the
      3    resolution of J&J's talc liabilities that he's
      4    saying something about, well, what would happen
      5    if it involved a J&J subsidiary, right?
      6        A. That's right.
      7        Q. And on your --
      8                  (Simultaneous crosstalk.)
      9        THE WITNESS: (Inaudible) very clearly what
      10   would happen with our -- some of our debt
      11   agreements and would it be considered a default.
      12   BY MR. BLOCK:
      13       Q. Right, okay. And on your end, am I
      14   correct you were thinking that we're talking
      15   internally about transferring our talc
      16   liabilities to a subsidiary en route to
      17   resolving the cases in bankruptcy and here
      18   you're being asked by Mr. Levesque essentially
      19   about that?
      20       A. Yes, I was -- I was -- yes, I don't
      21   remember exactly how I felt, but I know I was a
      22   little surprised that he had gone down that path
      23   on his own.
      24       Q. Okay.
      25       A. Because it was something we had never
 178 :1    discussed.


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Page 179
 179 :23      Q. Were your concerns about negative PR
      24   from J&J transferring its talc liabilities to a
      25   subsidiary that then filed for bankruptcy, were
 180 :1    those concerns at any point in time alleviated
      2    or resolved?
      3       A. I think when we ultimately decided to
      4    move ahead when the LTL board approved the
      5    bankruptcy and it was announced publicly, I
      6    think we were prepared from a communications and
      7    PR standpoint.
      8       Q. And one of the things that J&J
      9    communicated to the public was very clearly that
      10   J&J itself had not filed for bankruptcy, right?
      11      A. Yes, yes.
      12      Q. And that -- and that no other J&J
      13   affiliate including JJCI had filed for
      14   bankruptcy, correct?
      15      A. Yes.
      16      Q. And J&J told the public that J&J and
      17   JJCI would continue their operations business as
      18   usual, correct?
      19      A. Yes. And that was important to do when
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      20   you have retail customers expecting your
      21   product. You don't want them to think that
      22   there's going to be some kind of issues with
      23   just the operations of the business.


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 190 :2        Q. Okay. So was this -- when you were
      3    forwarded this news article, are you basically
      4    finding out that somehow J&J's internal
      5    discussions about Project Plato had leaked to
      6    the press?
      7        A. I think there was an internal -- well,
      8    there was a debate whether somebody in J&J
      9    leaked, which is what Scott Borup believes here
      10   when he says, "I'm mystified how it leaked." Or
      11   that the plaintiffs' bar was trying to get in
      12   front of anything we might do and were leaking,
      13   if you will, on our behalf that -- to try to
      14   head us off at the pass so that --
      15       Q. Okay.
      16       A. -- we could not pursue this legal
      17   strategy.
      18       Q. To your knowledge, how would any of the
      19   plaintiffs' lawyers who were handling talc cases
      20   against J&J have -- have even known about
      21   Project Plato before this news article on
      22   July 19, 2021?
      23       A. That I'm not sure of, but I know that
      24   they're smart lawyers. So they knew that we
      25   were running out of options and this is an
 191 :1    option. And so maybe they wanted to clog up
      2    that artery before we opened it up and used it.
      3        Q. Okay. So you don't -- you don't have
      4    any personal knowledge --
      5        A. No.
      6        Q. -- of how any plaintiff's lawyer
      7    handling any talc cases could have found out
      8    about Project Plato before July 19, 2021, right?
      9        A. I do not. I have no knowledge of
      10   anything like that.


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Page 196
 196 :20          Why did you wait to respond to
      21   Mr. Levesque until the story had been reported
      22   in the media earlier that morning of July 19,
      23   2021?
      24      A. I believe we were waiting to be more
      25   confident about that strategy of something that
 197 :1    we were going to pursue, that that was a pathway
      2    that we could pursue because, like I said
      3    before, my concern with our credit rating agency
      4    was that the bankrupting of a subsidiary would
      5    be viewed as a negative. And it's why in my
      6    email to Michael I ended it with I'd like to
      7    understand if there is an impact on our credit
      8    rating or how Moody's views J&J from a financial
      9    policy perspective.
      10          I viewed that it would be -- I thought
      11   it would be viewed as a negative by the credit
      12   agency and I did not want to alert them that we
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      13   were considering such a thing until I was more
      14   certain that it was something that we were going
      15   to pursue.
      16          Once there is a story in the press
      17   about it, I know they're going to call -- and I
      18   think there is even an email further in the deck
      19   where I -- it's Exhibit 108 where they did call,
      20   and I forwarded it to the CFO and said they both
      21   reached out on this.
      22          So I had no choice but to now respond
      23   to what was happening because they were saying
      24   what's going on.


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Page 201
 201 :19        Q. Okay. So looking at your email from
      20   July 19, 2021, at 1:59 p.m. that you sent to
      21   Michael Levesque at Moody's, I want to read you
      22   a sentence from your email. [As read]: We are
      23   looking at a number of ways of capping our talc
      24   liability, especially with the recent
      25   disappointing Supreme Court inaction on our
 202 :1    case.
      2             Do you see that sentence?
      3         A. Yes, I do.
      4         Q. And was that a true statement that you
      5    made to Moody's on July 19, 2021?
      6         A. Yes. What I would like to say about
      7    it -- I guess a couple of things. I mean --
      8    I'll focus on the one.
      9             A couple questions earlier around the
      10   use of the word capping. Capping in the context
      11   with a credit rating agency, I don't know if
      12   there is actually like a legal meaning of
      13   capping here.
      14            But as finance professionals, capping
      15   to us, what it meant, both to Moody's and to me
      16   in using the word, was defining.
      17            We would have a defined liability
      18   because what we did not have was -- what we had
      19   at this moment in time was something very
      20   undefined. And when you could have Ingham-like
      21   outcomes of $4-plus billion or ultimately
      22   $2-and-a-half billion lottery-like outcomes,
      23   then it was very detrimental to us and it was
      24   creating an overhang on the company's credit
      25   rating because there was such uncertainty.
 203 :1             And if you go back and read Moody's
      2    reports or S&P's reports, you will see that both
      3    of them took our credit rating down -- not our
      4    credit rating down, but they put us on negative
      5    watch and the negative watch is typically the
      6    step before your credit rating is reduced a
      7    notch or more.
      8             And in their reports they reference the
      9    uncertain liability and they talk very much
      10   about talc.
      11            So capping in this context, really, I
      12   guess I could have used a better word, but
      13   capping to me and to them in our conversations,
      14   it was really "we're going to have a defined
      15   amount."
      16        Q. Okay.
      17        A. And I think -- I'm just reading what I
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     18   said here. Yeah.
     19           So it was not meant to say we were
     20   looking to put some arbitrary amount but rather
     21   by doing this we could finally have a defined
     22   amount.
     23       Q. So you're a financial professional,
     24   correct?
     25       A. Yes.
204 :1        Q. Mike Levesque is a financial
     2    professional, correct?
     3        A. Yes.
     4        Q. And the words you used were [as read]:
     5    We are looking at a number of ways of capping
     6    our talc liability, especially with a recent
     7    disappointing Supreme Court inaction in our
     8    case.
     9            Do you see that?
     10       A. Yes, I see that.
     11       Q. Okay. And my only question for you is
     12   was that statement true when you made it to
     13   Mr. Levesque on July 19, 2021?
     14       A. The statement is true. And what I'm
     15   trying to make sure the record states is what I
     16   meant by the word "capping." So -- because I
     17   think different people can look at that word
     18   differently.
     19           So there is -- our goal was to have a
     20   defined amount for the liability, and that's
     21   what this would -- from a -- from a Moody's
     22   perspective, having a defined amount was very,
     23   very important.
     24           And so it wasn't so much was it a
     25   dollar, a billion, ten billion. The defined
205 :1    amount was really, really important as they look
     2    at us having over $30 billion of debt
     3    outstanding, a $10 billion revolver, a
     4    $10 billion line of credit, and an undefined
     5    liability.
     6            So, yes, I used the word "capping," but
     7    I just want to make sure it's clear what my
     8    intent was with that word.
     9        Q. Capping, by definition, means creating
     10   a ceiling that you're not going to -- that
     11   you're not going to go above of. I mean, the
     12   word "cap," right, it's a cap on something. Are
     13   you saying -- are you saying you misspoke?
     14       A. I'm saying my understanding of the
     15   ultimate restructuring was that we would have a
     16   defined amount because the bankruptcy court
     17   would ultimately define the amount that had to
     18   be funded to LTL. And so there would be a
     19   defined amount, and that -- so, therefore, the
     20   defined amount would put a number.
     21       Q. Okay. So --
     22       A. I'm not sure I misspoke. I mean, I
     23   think it's kind of like a step from one word to
     24   the other. But they -- I guess what I'm trying
     25   to say is I think it means the same thing,
206 :1    because the bankruptcy court would define the
     2    amount. If you have a defined amount -- you
     3    just said the definition of capping is no more
     4    than; a defined amount equals no more than.
     5        Q. Okay. So what you're testifying to
     6    today is that what you meant to convey to
     7    Moody's was that Johnson & Johnson was looking
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      8    at a number of ways to define the amount of its
      9    talc liability, especially with the recent
      10   disappointing Supreme Court inaction in the
      11   Ingham case; is that correct?
      12       A. That's correct. And the importance of
      13   the mention of the Supreme Court again was that
      14   we felt that our legal avenues were becoming
      15   fewer and fewer.
      16           And so leading up to the Supreme Court
      17   inaction in our case, we had said to Moody's,
      18   even though we had -- had to book a reserve the
      19   prior year, we believed we would prevail. Once
      20   we were heard at Supreme Court, our appeal would
      21   win the day.
      22           And with that inaction, it caused the
      23   credit agency to -- to say, well, now what, and
      24   now you do have lottery-like losses and this is
      25   concerning to your credit rating and how will we
 207 :1    get a defined amount.
      2        Q. So are you saying that Johnson &
      3    Johnson was concerned in July of 2021 -- I think
      4    you said this earlier -- that the talc
      5    litigation was potentially damaging to J&J's
      6    credit rating because the amount of liability of
      7    the talc litigation was undefined?
      8        A. It was putting an --
      9        MS. BROWN: Objection. Objection. It calls
      10   for speculation.
      11       THE WITNESS: Our credit rating had a
      12   negative watch on it. And part of that negative
      13   watch was driven by the uncertainty related to
      14   talc liability and driven by -- I believe
      15   Moody's put us on negative watch soon after the
      16   initial Missouri decision on Ingham, the in
      17   excess of $4 billion decision.
      18           So clearly the talc liability was
      19   having a negative implication on J&J's credit
      20   rating.


RYAN, MICHELLE - 01/27/2022
Page 208
 208 :2       Q. Okay. What other factors, what other
      3    things other than the undefined amount of the
      4    talc litigation, to your knowledge, caused J&J
      5    to have a negative watch put on it from Moody's
      6    in terms of J&J's credit rating?
      7       A. It was probably litigation overall.
      8    But with the other major litigation item that
      9    J&J had related to opioids having -- having a
      10   cap, having clarity, having a defined amount,
      11   really the biggest uncertainty that remained was
      12   talc.


RYAN, MICHELLE - 01/27/2022
Page 209
 209 :2       Q. I think what you're testifying to right
      3    now -- and you can correct me if I am wrong --
      4    that J&J still has a negative watch put on it by
      5    Moody's in terms of J&J's credit rating, in your
      6    opinion, because of the undefined amount of the
      7    talc litigation, as we sit here today.
      8            Is that your testimony? Or if it's
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      9    different, please clarify.
      10      A. I believe that at least a portion of
      11   J&J's negative watch from Moody's is driven by
      12   the undefined nature of our talc liability.
      13   That does not mean that -- that removing that
      14   negative watch was a driver in pursuing a
      15   restructuring.
      16          And as far as I know, the two were
      17   never connected. But I was not in the room when
      18   the legal strategy was developed.


RYAN, MICHELLE - 01/27/2022
Page 212
 212 :17      Q. Well, when you told Mr. Levesque that
      18   J&J was looking at capping our talc liability,
      19   had you spoken to Michelle Goodridge, the
      20   president of JJCI?
      21      A. No, I had not.
      22      Q. Have you ever spoken to Michelle
      23   Goodridge, the president of JJCI, about Project
      24   Plato?
      25      A. No, I have not.


RYAN, MICHELLE - 01/27/2022
Page 214
 214 :24        How would you characterize Johnson &
      25   Johnson's financial condition as of October 2021
 215 :1    when the LTL bankruptcy was filed?


RYAN, MICHELLE - 01/27/2022
Page 215
 215 :10      THE WITNESS: I would say that Johnson &
      11   Johnson Consumer, Inc., who was responsible for
      12   the talc liabilities, their financial standing
      13   had weakened with the Ingham verdict.
      14          Our financial records, public records,
      15   show that they were in the red. They were
      16   negative from an income perspective the prior
      17   year. So the impact of -- or the whole consumer
      18   group was because of the impact of JJCI.
      19          So certainly the legal liability that
      20   had been incurred to date was taking a toll on
      21   the financial strengths of JJCI.
      22          J&J's financial position was strong.
      23   But J&J didn't have an obligation to fund JJCI
      24   forever, and so JJCI needed to take action.
      25


RYAN, MICHELLE - 01/27/2022
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 216 :5           You just said that in October of 2021,
      6    J&J's financial condition was strong. Is that a
      7    true statement, yes or no?
      8       A. Yes.
      9       Q. And how strong was J&J's financial
      10   condition as of October 2021?
      11      A. I'm not sure how to define -- so strong
      12   is the word I used. I don't know if there's
      13   degrees of strength.
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      14           I think the fact that there were
      15   billions of dollars flowing to legal costs
      16   prevented us from being even stronger and being
      17   able to invest in innovation, which has -- is
      18   what has driven our company and driven the value
      19   for our shareholders.
      20           So billions of dollars, as shown on a
      21   previous exhibit, prevented us from investing
      22   further behind all of the innovations that we
      23   create in both our pharmaceutical and medical
      24   device and consumer businesses. So we were
      25   strong --
 217 :1       Q. But well, you said --
      2       A. -- but we could have been stronger.
      3       Q. You said --
      4       A. There was an overhang on our stock for
      5    a number of years as a result of the uncertainty
      6    of litigation. There's an overhang on our
      7    credit rating.
      8            So I guess we were strong but could
      9    have been stronger without the impact of -- of
      10   the uncertainty of talc litigation.


RYAN, MICHELLE - 01/27/2022
Page 217
 217 :13          So not only is it your position that
      14   the undefined amounts of J&J's talc liability
      15   affected J&J's credit rating, but what you're
      16   telling us today is that that liability also was
      17   what you would term "an overhang" on J&J's stock
      18   price; is that true?
      19      A. That's my opinion. I don't know if
      20   everybody in the company would agree. That's my
      21   opinion.


RYAN, MICHELLE - 01/27/2022
Page 218
 218 :6    Johnson in 2021. So I just want to know why you
      7    characterize Johnson & Johnson's financial
      8    condition as being strong in 2021. Can you --
      9    can you put that in any sort of monetary terms
      10   or professional terms that are understandable?
      11      A. $80 billion of sales and 15 to
      12   $20 billion of cash flows is -- is a strong
      13   business. The market cap of 4- to $500 billion
      14   is a large business. So there were financial
      15   metrics that show financial strengths.


RYAN, MICHELLE - 01/27/2022
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 218 :17          Now, a few times today you said that
      18   the talc liabilities were the responsibility of
      19   JJCI and not J&J. Do you recall that testimony?
      20      A. Yes.


RYAN, MICHELLE - 01/27/2022
Page 219
 219 :7       Q. Who told you that JJCI was responsible
      8    for the talc liabilities and not J&J? Who told
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      9    you that?
      10      A. That's the way it works. They're the
      11   legal entity that is responsible for talc.
      12   J&J isn't responsible for -- just like Janssen
      13   Pharmaceuticals is responsible for our
      14   pharmaceutical business, JJCI is responsible for
      15   our consumer business.


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 221 :10      Q. Okay. Do you have an understanding, as
      11   you sit here today, that JJCI is legally
      12   responsible for the talc liabilities and not
      13   Johnson & Johnson?
      14      A. It's my understanding that JJCI is
      15   responsible for the talc liabilities.
      16      Q. And what do you mean when you say
      17   "responsible"?
      18      A. That they are the legal entity that is
      19   required to pay them, and if -- yes, they are
      20   the legal entity responsible to pay for any --
      21   any liabilities there.
      22      Q. And where did you get the information
      23   that you just testified to?
      24      A. That's how our business is set up. So
      25   that company -- the company who has
 222 :1    responsibility is accountable. Like when our
      2    McNeill unit had legal issues, the McNeill unit
      3    was responsible and whatever legal entity
      4    ultimately it reported to. So it's -- it's how
      5    our corporate structure works.
      6           The affiliates are responsible for
      7    their liabilities, not --
      8       Q. Okay.
      9       A. -- the corporate structure, not the
      10   corporate --
      11      Q. Do you have any --
      12      MS. BROWN: Let her finish her answer.
      13      MR. BLOCK: Sure.
      14      THE WITNESS: I just said not the enterprise.
      15   BY MR. BLOCK:
      16      Q. Okay. Do you have any awareness of
      17   whether there's ever been a judgment, a legal
      18   judgment, requiring J&J, the parent company, to
      19   pay talc liabilities from particular cases. Do
      20   you have any awareness about that at all?
      21      A. I do not.
      22      Q. Okay. Was it your understanding that
      23   the Ingham judgment was against JJCI and not
      24   against Johnson & Johnson, the parent company?
      25      A. That was my understanding, yes.
 223 :1       Q. Okay. And if a portion of the Ingham
      2    judgment was against J&J, the parent company, do
      3    you know why JJCI would be paying that on behalf
      4    of J&J, the parent company?
      5       A. I have no idea since I'm -- yeah, I'm
      6    not aware of it, so I wouldn't even know to ask
      7    a question about it.
      8       Q. Okay. And I assume you've never seen
      9    any agreement or any document that required JJCI
      10   to pay any talc judgment or liabilities that
      11   were against J&J, the parent; is that correct?
      12      A. That's correct, I've never seen such a
      13   document.
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      14      Q. Okay. So I think you used the words
      15   "financial stress" earlier. I think you said
      16   that JJCI was under financial stress before the
      17   restructuring. Is that the word you used?
      18      A. I believe it is, yes.
      19      Q. Okay. And what is the basis for your
      20   statement that JJCI was under financial stress
      21   before the October 2021 restructuring?
      22      A. In 2020, they reported negative
      23   earnings as a result of the legal accruals that
      24   were required. So that is certainly a sign of
      25   financial stress for a -- for a company with
 224 :1    decent size sales and operations to be negative.
      2       Q. Other than your review of the 2020
      3    annual reports, are there any other documents or
      4    records that you're relying upon in support of
      5    your statement that JJCI was under financial
      6    stress as of October 2021?
      7       A. No, I think that document shows it.


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 228 :24           And I think you agree with me that the
      25   J&J talc-related costs and expenses in 2021
 229 :1    before the bankruptcy filing were actually
      2    substantially less as compared to 2020, right?
      3        A. It's a function of the timing of cases.
      4    It's not -- it's not -- I mean, we saw the chart
      5    earlier that showed quarterly expenses and we --
      6    and -- and it shows how it's zero in one quarter
      7    and 700 in the next quarter.
      8            So I think that just confirms that
      9    there's a wild uncertainty here. And as cases
      10   get settled, it causes significant volatility.
      11   And these numbers as well show that when you can
      12   have an asterisk on a page because one quarter
      13   has no earnings on a business that probably has
      14   3 billion -- it's probably on here somewhere --
      15   had sales that quarter of -- I'm looking for
      16   it -- the consumer group in the second quarter
      17   of 2020 had sales of $3.3 billion and no income.
      18           So it shows that because of the
      19   volatility of legal expenses, the group income


RYAN, MICHELLE - 01/27/2022
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 230 :11       Q. All right. Now, you had said earlier
      12   that you feel like these jury verdicts -- I
      13   think you said wild and unpredictable; is that
      14   right?
      15       A. Lottery-like, unpredictable, yes.
      16       Q. Okay. And did you -- did you feel that
      17   there could be another Ingham verdict, that that
      18   was representative of other verdicts that J&J
      19   was likely to see in the future?
      20       A. I'm not sure we would say anything was
      21   likely, but that's why it's lottery-like.
      22           I'm not likely to win the Mega
      23   Millions, but it's a lottery and I could. And
      24   so that's why lottery-like outcomes in
      25   litigation are a big concern for us.
 231 :1            So, yes, it was a possibility that we
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      2    could have very large and, in our view,
      3    inappropriate outcomes, especially since the
      4    science is on our side. We believe we should
      5    win every case and certainly not lose
      6    multi-billion dollars verdicts.


RYAN, MICHELLE - 01/27/2022
Page 231
 231 :17      Q. Okay. And it says here in the 10-Q for
      18   2021 for J&J [as read]: The facts and
      19   circumstances, including the terms of the award,
      20   were unique to the Ingham decision and not
      21   representative of other claims brought against
      22   the company.
      23          Do you see that?
      24      A. Yes.
      25      Q. And was that statement to investors, at
 232 :1    least to your knowledge, true?
      2       A. It's definitely true, yes.


RYAN, MICHELLE - 01/27/2022
Page 234
 234 :15       Q. Okay. So what you just testified to
      16   there is in making the decisions that you did
      17   with respect to Project Plato, you believe that
      18   restructuring JJCI and LTL filing for bankruptcy
      19   and resolving the case in the bankruptcy system
      20   is the most fair and equitable way for J&J to
      21   resolve its talc litigation; is that correct?
      22       A. I think it is the most fair for all
      23   parties involved, yes.
      24       Q. Okay. So how did you come to that
      25   conclusion that the resolution of the cases in
 235 :1    the bankruptcy system, which includes staying
      2    all the court cases against Johnson & Johnson
      3    pending throughout the country, on what basis
      4    did you conclude that the bankruptcy system was
      5    better than the court system?
      6        A. Because it would lead to more timely
      7    and efficient settlement is what I understood.


RYAN, MICHELLE - 01/27/2022
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 243 :19      Q. I mean, you're an officer of Johnson &
      20   Johnson, and Louise Weingrod, she's pretty high
      21   level at Johnson & Johnson, right?
      22      A. Yes, we're both on the staff of the
      23   CFO.
      24      Q. Okay. And with -- and she's saying
      25   "sounding more credible?" You're saying "I
 244 :1    could see this happening."
      2           So it sounds to me like the two of you
      3    aren't the ultimate decision makers about
      4    whether to pursue Project Plato, right?
      5       A. Project Plato was a legal strategy
      6    predominantly, so the legal team would be the
      7    one driving it. We were informing the decision.
      8    Our teams were informing the decision.
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 247 :8           So is that what you believe and what
      9    you believed when you were treasurer of Johnson
      10   & Johnson, that the plaintiff lawyers
      11   representing people who developed cancer and
      12   sued Johnson & Johnson as a result of their
      13   client's use of baby powder are playing the
      14   lottery, in the words you used?
      15      A. No, I don't think they're playing the
      16   lottery. But I think it's -- our company gets
      17   sued -- my opinion, I have a distaste for the
      18   whole product liability system in our country
      19   because I think it -- it encourages frivolous
      20   lawsuits and that's -- but that's my opinion.
      21   That's not the treasurer of Johnson & Johnson
      22   speaking.
      23          As the treasurer of Johnson & Johnson,
      24   the way this is explained to me is if -- if we
      25   were to go down this path, we -- we don't run
 248 :1    the risk of outside verdicts any longer and we
      2    can get to efficient, fair, equitable outcomes
      3    for the claimants who deserve to be paid, and
      4    the very volatile and un- -- undefined aspect of
      5    the claims that we had been facing would go
      6    away.
      7           So -- so I believe that. And I believe
      8    that plaintiffs' lawyers who do make a lot of
      9    money in these cases saw that they might not
      10   make as much money. And so that would be
      11   something concerning, in my opinion, to a
      12   plaintiff lawyer and why they would not want us
      13   to be able to avail ourselves of this legal
      14   pathway.
      15      Q. You mentioned your distaste for the
      16   American product liability system. Do you also,
      17   quite honestly, have a distaste for the
      18   plaintiff lawyers that file product liability
      19   claims against Johnson & Johnson?
      20      MS. BROWN: Note my objection.
      21      THE WITNESS: I don't have any personal point
      22   of view. I don't think I know any of them. I
      23   guess today maybe I met a few, but I don't know
      24   the lawyers. So it's not a personal thing.


RYAN, MICHELLE - 01/27/2022
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 252 :9       Q. All right. And is it true -- is it
      10   true that you had helped draft the Project Plato
      11   approval memo?
      12      A. I wouldn't say I helped draft it. I
      13   would say a -- and I think it was a previous
      14   exhibit as well. Yeah, a previous exhibit
      15   showed it being passed around the work team and
      16   ultimately Duane Van Arsdale sending it to me
      17   and I sent back a couple of thoughts on edits.
      18          So I wouldn't say draft; I would say
      19   edited a few things. And as I said earlier, I
      20   edited it not with anything to do with the legal
      21   plan or the restructuring itself but more around
      22   structure of the documents because I'm very used
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      23   to receiving restructuring documents and I
      24   wanted it to have the same form and substance
      25   that other J&J -- my language, now I'm probably
 253 :1    using legal terms there -- a similar flow, a
      2    similar template, a similar flow to other J&J
      3    restructuring documents.
      4       Q. Okay. So let me --
      5       A. And it was a basic restructuring of the
      6    company.


RYAN, MICHELLE - 01/27/2022
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 274 :9       Q. And so in approving the restructuring
      10   plan that you approved on October the 11th --
      11   and this is Exhibit 126 -- did you hope that
      12   this plan, this restructuring plan would result
      13   in a situation where the liability is clearly
      14   defined?
      15      A. I believe that if the board of LTL
      16   ultimately approved the bankruptcy, that we
      17   would then -- my understanding, my
      18   businessperson's understanding of the bankruptcy
      19   system is that the court would then determine an
      20   amount that had to be funded. And so through
      21   that process, yes, we would have a defined
      22   amount.


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Page 275
 275 :4       Q. And you knew when you approved the plan
      5    that the bankruptcy created an automatic stay
      6    would stop the litigation with regards to the
      7    state court jury system, correct?
      8       MS. BROWN: Objection, calls for speculation,
      9    lacks foundation.
      10      THE WITNESS: I understood the stay because
      11   that was part of it. I didn't understand all
      12   the mechanisms of it. I just knew that for a
      13   period of time cases would be stopped while the
      14   bankruptcy court kind of organized itself and
      15   determined the path forward for the cases.


RYAN, MICHELLE - 01/27/2022
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 296 :6        Q. When did you hear, if you did hear,
      7    that it looks like the spinoff is going to be a
      8    go?
      9        A. Our board formally approved it in
      10   October and I think probably after -- in about
      11   -- throughout this year it started to become
      12   more and more probable that it would happen.
      13       Q. When you say "this year," do you mean
      14   2022 or --
      15       A. 2020 -- I'm sorry, 2021.
      16           Throughout 2021, as we had more
      17   conversations internally and conversations were
      18   had with our board, there seemed to be growing
      19   acceptance or growing alignment that this was --
      20   this was a good course of action for us.
      21       Q. Do you have an understanding as to why
      22   it was believed within J&J that this was a good
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      23   course of action?
      24       A. Well, I think this document, although I
      25   don't have it all totally known, but right there
 297 :1    [as read]: The separation designed to enhance
      2    operational performance and strategic
      3    flexibility, benefiting patients and consumers
      4    and unlocking value for all stakeholders.
      5           So it was a strategic decision as our
      6    innovative healthcare businesses in
      7    pharmaceuticals and medical device have really
      8    gone down a different path. I mean, 30 years
      9    ago pharmaceuticals were mainly chemical drugs
      10   and our consumer business had a -- had -- a
      11   pretty large portion of that was OTC drugs. So
      12   there were synergies there.
      13          But our pharmaceutical business has
      14   gone more and more toward biologics and things
      15   like that. And the synergies that exist between
      16   the two businesses have become much less and the
      17   -- just the overall business models have really
      18   diverged. And so it was a belief that
      19   separation was best for both companies and would
      20   lead to the best outcomes ultimately for our
      21   shareholders as well.


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 298 :12      Q. Was one of the purposes of the
      13   corporate restructuring formation of LTL and
      14   capping talc liabilities, in part, to enhance
      15   the value of the global consumer business?
      16      A. No, no, not at all. It -- because
      17   really J&J had choices on how to manage the talc
      18   liability, and so it was -- again, they were two
      19   irrespective pieces.
      20           So, no, it wasn't -- it -- the -- the
      21   restructuring and LTL and, you know, what it
      22   ultimately -- would we have -- would LTL be
      23   bankrupt, that was not part of any of the
      24   discussions that we had as we talked about the
      25   separation of consumer.


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 299 :7       Q. In your email to Moody's, you know, you
      8    state that you're looking at number -- numerous
      9    ways of capping our talc liability and then you
      10   described the one option.
      11          But what are the other options being
      12   considered?
      13      A. We really didn't have other options at
      14   that time that I was aware of. So I think it
      15   was my way of kind of stepping into this
      16   discussion with him. But this was -- this was
      17   the only option that I had been made aware of
      18   other than continuing in the court system that
      19   we felt was -- was not a worthy option.


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 302 :20     Q. Going back to the spinoff that we just
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     21   looked at, the announcement of the spinoff, do
     22   you think that would have been possible if talc
     23   liabilities were still allocated to JJCI?
     24       MS. BROWN: Lacks foundation, calls for
     25   speculation.
303 :1        THE WITNESS: I don't know because that
     2    wasn't the case.
     3    BY MR. KAHN:
     4        Q. Okay. Would capping the liabilities
     5    for talc, in your mind, enhance the value of new
     6    JJCI?
     7        MS. BROWN: Lacks foundation, calls for
     8    speculation.
     9        THE WITNESS: A defined liability would --
     10   would certainly help in defining the value of
     11   any company. So it -- having -- having a
     12   defined liability -- you say capped, I say
     13   defined -- it helps to understand the value of a
     14   company. When it's an undefined amount, it's
     15   very difficult to say what is the company worth.
     16   BY MR. KAHN:
     17       Q. All right. So it would make it a more
     18   attractive investment?
     19       A. It may not. That all depends. If the
     20   bankruptcy court comes back and were to say it's
     21   a $50 billion liability, then that may not make
     22   it a more attractive company.
     23       Q. All right. Looking at just the day
     24   before this corporate restructuring occurred,
     25   did J&J have any difficulty meeting its debts
304 :1    when due?
     2        A. The phone broke up. The day before did
     3    J&J what?
     4        Q. Have difficulty meeting its debts when
     5    due?
     6        A. No, Johnson & Johnson did not have any
     7    issues servicing its debt.
     8        Q. Did it have any overdue debts?
     9        A. Not that I was aware of, certainly
     10   nothing intentional.
     11       Q. Had it defaulted on any debts at that
     12   time?
     13       A. No.
     14       Q. Did it have any difficulty raising or
     15   borrowing money?
     16       A. No.
     17       Q. Did it have impaired access to capital
     18   markets?
     19       A. No.
     20       Q. Now, I want to ask you the same
     21   yes-or-no type questions as to JJCI.
     22           As of the day before the corporate
     23   restructuring, did JJCI have difficulty meeting
     24   its debt when due?
     25       A. Not that I was aware of.
305 :1        Q. Did it have any difficulty -- or strike
     2    that.
     3            Did it have any overdue debts?
     4        A. JJCI wouldn't have debt because we --
     5    our U.S. affiliates don't have access to capital
     6    markets; the corporate enterprise does. So they
     7    wouldn't have debt. They might have accounts
     8    payable through their vendors, but they wouldn't
     9    have debt.
     10       Q. Are you aware of whether it had any
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      11   overdue accounts with its vendors?
      12       A. Only something that was unintentional
      13   where something got hung up in the accounts
      14   payable department for some reason.
      15       Q. All right. But not as a result of an
      16   inability to pay?
      17       A. That's correct, not that I was aware
      18   of.
      19       Q. And I think you said it had no debts
      20   because that would be on the corporate -- or the
      21   J&J level, correct?
      22       A. Yes.
      23       Q. And it would not have difficulty
      24   raising or borrowing money because that would be
      25   at the J&J level?
 306 :1        A. That's right, it wouldn't. That's not
      2    an entity that would do that.
      3        Q. And the same would be true as to access
      4    to capital markets, that would be on the J&J
      5    level --
      6        A. That's correct.
      7        Q. -- not the JJCI?
      8        A. Correct.
      9        Q. Now, I think you said this before, I
      10   just want to make sure.
      11           Do you know whether any J&J entity
      12   prepared or had prepared on its behalf analysis
      13   of the fair market value of JJCI?
      14       A. I had not seen any analysis calculating
      15   the fair value of JJCI.
      16       Q. Okay. It may have occurred, it may not
      17   have occurred, you just haven't seen it?
      18       A. Yeah, I don't know who would have done
      19   that, though. So I would be surprised if it was
      20   done, but I definitely have not seen it if it
      21   was done.
      22       Q. Have you ever heard of anybody
      23   preparing an estimate, either draft or
      24   otherwise, of the value of current talc claims?
      25       A. I have not seen any analysis or
 307 :1    valuation of the current talc liability.
      2        Q. Have you heard that anybody has
      3    prepared an estimate, either draft or otherwise,
      4    of the value of future talc claims?
      5        A. I have not heard of that or seen that.


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 308 :8           In the ordinary course would J&J be the
      9    entity that would cut any settlement check or
      10   any check to satisfy a judgment?
      11      A. The check would come out of the J&J
      12   kind of central account, but the accounting
      13   would then drive the costs back to the
      14   responsible entity.
      15          So in this case, the check may come
      16   from a Johnson & Johnson account, but the
      17   accounting would push the expense or the -- you
      18   know, the cash outflow back to JJCI.
      19      Q. It would show it as an expense of JJCI?
      20      A. JJCI, yes.
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WONG, ARTHUR


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   11 :5              Do you understand that
       6    Johnson & Johnson recently undertook a
       7    corporate restructuring that resulted in
       8    creating a new company called "Legacy Talc
       9    Litigation?" Or LTL?
       10       A. Yes.
       11             MR. STARNER: Objection --
       12             MR. SHAPIRO: And do you
       13       understand --
       14             MR. STARNER: Objection.


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   11 :24      Q. And do you understand that
       25   Johnson & Johnson then placed LTL into
   12 :1    bankruptcy?
       2       A. Yes.
       3       Q. And did you learn all of that in the
       4    course of your duties at Standard and Poor's?
       5       A. Yes.


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   13 :19       Q. Did the company share with you its
       20   estimate of the talc liability?
       21                 MR. STARNER: Objection. Lacks
       22       foundation. Speculative.
       23       A. No. Not that I can recall, in terms
       24   of an updated estimate.
       25       Q. And what do you mean when you refer
   14 :1    to an updated estimate?
       2        A. Well, I guess when they initially
       3    announced and proposed this thing, they had an
       4    amount that they were going to put in.
       5    Though, it was understood by us that it could
       6    change, based on further negotiation and what
       7    the judge decides.
       8        Q. What did the company tell you --
       9    well, and when was that conversation when the
       10   company discussed with you what its estimate
       11   of the potential liability was?
       12                 MR. STARNER: Objection.
       13       Mischaracterizes his testimony.
       14       A. Originally, the -- the discussion
       15   started back in October, when we took the
       16   initial call. And JNJ shared their plans with
       17   us for the -- for the process.
       18             At that time, we had asked if -- if
       19   there was a possibility of if this number
       20   could increase. And they said yeah, it can
       21   still -- I mean, this was the initial number
       22   of the estimate, and it could still increase
       23   to what -- you know, it was speculation at
       24   that point.
       25             We didn't receive any updated
   15 :1    estimate since then.
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      2        Q. What was the company's initial
      3     estimate of its talc liability when you had
      4     that meeting in October?
      5                MR. STARNER: Objection.
      6        Mischaracterizes the testimony. Lacks
      7        foundation.
      8            Go ahead.
      9        A. I believe we were looking at -- I
      10    guess it's in my notes, that we -- we
      11    discussed internally, after our initial call
      12    back in October with JNJ.
      13           I believe it was -- it was anywhere
      14    from $2 billion to $5 billion was the original
      15    estimate that it could be.
      16       Q. I understand. And -- and who from
      17    JNJ provided that estimate to you in October?
      18       A. The treasurer, Michelle Ryan.


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   18 :7        Q. Oh. Sorry. Sorry. What is your
       8    current role at S&P?
       9        A. I'm a Senior Director at S&P. And I
       10   serve as the Sector Specialist for the
       11   healthcare team.
       12       Q. And what are your responsibilities
       13   in that role?
       14       A. My role is to support the different
       15   various healthcare franchises on the
       16   healthcare team. Such as pharmaceuticals;
       17   healthcare services; medical devices. And I
       18   serve as a point person for, I guess, the
       19   outreach.


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   19 :5        Q. And do you have responsibility for
       6    covering Johnson & Johnson?
       7        A. Currently as a backup analyst. Yes.
       8        Q. And who are you the backup analyst
       9    to?
       10       A. I'm a backup analyst to the primary.
       11   In the case of Johnson & Johnson, it would be
       12   David Kaplan.
       13       Q. I see. And when did you become the
       14   backup analyst for Johnson & Johnson.
       15       A. When I took on my new role as the
       16   Sector Specialist, I believe back in 2018.
       17       Q. I see. So, since 2018, you've been
       18   the backup analyst for Johnson & Johnson?
       19       A. Yes.
       20       Q. And was Mr. Kaplan the primary
       21   analyst throughout that whole period? Or was
       22   there someone else before Mr. Kaplan?
       23       A. No. It was David Kaplan, since
       24   then, who has been the primary?
       25       Q. And what are your responsibilities
   20 :1    as the backup analyst for Johnson & Johnson?
       2        A. As the backup analyst, I serve as
       3    the point of contact for the company, or for
       4    investors, in case David Kaplan is not
       5    available.
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       6            And I attend the management
       7    meetings, and will be up to speed on
       8    Johnson & Johnson. Although I'm not
       9    responsible for day-to-day coverage of it.
       10   I'm responsible in terms of being familiar
       11   with the credit.
       12       Q. And in 2020 and in 2021, who were
       13   the people that you communicated with at
       14   Johnson & Johnson, in your role as the backup
       15   analyst?
       16       A. It was mainly with Michelle and
       17   Duane.
       18       Q. Got it. And that's
       19   Duane Van Arsdale?
       20       A. Yes.
       21       Q. And when you participated in
       22   conversations with Michelle Ryan and
       23   Duane Van Arsdale, how did you record those
       24   conversations?
       25                MR. STARNER: Objection.
   21 :1        A. Usually, well, through our notes.
       2        Q. And when you saw "through our
       3    notes," does the company have a note-taking
       4    system?
       5        A. For S&P? No. It's -- we take our
       6    notes -- management meeting notes, we call
       7    them. And then we scan them in and file them.
       8        Q. And you -- they are called -- did
       9    you say they are called "management meeting
       10   notes?"
       11       A. Yes.
       12       Q. And did you take management meeting
       13   notes any time you spoke to Michelle Ryan or
       14   Duane Van Arsdale?
       15       A. Usually, yes.
       16       Q. And then you said that you scan them
       17   into a system at S&P?
       18       A. Yes.
       19       Q. And what system is that?
       20       A. It's -- we used a box, where we have
       21   individual folders for each company. And
       22   that's where we filed our -- our notes.
       23       Q. Okay. And the practice that you
       24   described was the practice that you always
       25   followed, in the ordinary course of business,
   22 :1    when you spoke to a JNJ representative?
       2        A. Yes.
       3        Q. And was it your understanding that
       4    other analysts within the healthcare group at
       5    S&P also followed that practice when they
       6    spoke to corporate representatives?
       7        A. Yes.
       8                 MR. STARNER: Objection.
       9        Vague.


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   23 :20       Q. Okay. Let me -- let me mark as --
       21   or let me show you what's been previously
       22   marked Exhibit 386. If the videographer could
       23   help us with that?
       24              Mr. Wong, take your time to
       25   scroll through these notes. And then I'll ask
   24 :1    you questions about them.
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       2        A. Okay. Thank you.
       3            [Witness perused document.]
       4        Q. I'll let you -- you might want to
       5    focus your attention -- if you scroll back up,
       6    there is a section called "Item 2: Cordoning
       7    off of Talc Liabilities -- Strategy on Hold."
       8                 Let me -- I will represent to
       9    you that earlier today, Mr. Kaplan said that
       10   these were notes that he prepared in
       11   preparation of an internal discussion about
       12   these topics.
       13                And my question for you is, do
       14   you recall participating in an internal
       15   meeting where these topics were discussed?
       16       A. I do not. Actually, I don't -- I'm
       17   thinking I may have missed -- I may have been
       18   out on this day for this meeting.
       19       Q. Okay. Does the material described
       20   in item two refresh your recollection about a
       21   conversation with Michelle Ryan, or others at
       22   Johnson & Johnson, about the bullet points
       23   listed in item two?
       24                MR. STARNER: Objection.
       25       A. It does. This reminds me -- it's
   25 :1    similar to the conversation I had with her in
       2    October, I believe, when David was out. And
       3    this is similar to what we've -- what we've
       4    discussed.
       5        Q. And which of the items described in
       6    item two here, did Ms. Ryan talk to you about
       7    in October?
       8                 MR. STARNER: Objection.
       9        A. Let's see. I think pretty much all
       10   five points we had chatted about. That this
       11   was -- this was what the plan was.
       12       Q. And let me ask you, with respect to
       13   the fifth bullet point, where Mr. Kaplan's
       14   notes describe the objectives of the strategy.
       15   Do you see that?
       16       A. Yes.
       17       Q. Can you tell me what Ms. Ryan said
       18   to you about those three points, in
       19   particular?
       20                MR. STARNER: Objection. Lacks
       21       foundation. Calls for speculation. And
       22       mischaracterizes testimony.
       23       A. I think it's -- I think it properly
       24   summarizes what -- I had chatted with her in
       25   October. I took some notes from the October
       26
   26 :1    discussion. So I think these points were
       2    reflected in my notes as well.
       3        Q. Okay. And I think we'll come to
       4    those notes. But just so that the record is
       5    clear, did she explain to you that the company


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   27 :25       Q. Got it. And did Ms. Ryan describe
   28 :1    to you, in that October meeting, that the
       2    company's talc strategy would reduce the
       3    exposure for punitive damages?
       4               MR. STARNER: Objection.
       5        A. That, I -- that, I don't recall. I
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      6     mean, I -- it was -- it was understood that it
      7     was to limit the total number of damage --
      8     amount of damages, and the amount that JNJ
      9     could be exposed to.


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   30 :2       Q. So let me show you what's been
       3    previously marked as Exhibit 388.
       4               [Witness perused document.]
       5       Q. Mr. Wong, if you look at the first
       6    calendar invite, it refers to an
       7    October 14th meeting with Michelle Ryan.
       8               Do you see that?
       9       A. Yes.
       10      Q. And is that the meeting you're
       11   recalling, where Ms. Ryan provided you with
       12   the $2 billion to $5 billion estimate?
       13      A. Yes.


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   31 :21        Q. And if we turn to the next email,
       22   which I guess is not a calendar invite, but
       23   it's next in time, it's an email from you, at
       24   5:27 p.m., to your team.
       25                Do you want to scroll to that?
   32 :1    It's the document Bates stamped "692" at the
       2    bottom. And you write:
       3                 "Hi everyone,
       4                 We had an update call with JNJ
       5    this morning on the talc
       6    litigation/settlement.
       7                 Below are the links to the
       8    discussion notes/recommendation and the latest
       9    projections."
       10                Do you see that?
       11        A. Yes.
       12        Q. And does the first link refer, or
       13   link to your notes of the meeting with
       14   Michelle Ryan?
       15        A. I believe the second one does.
       16        Q. The second one does.
       17        A. Yes.
       18        Q. Okay. And what does the first link
       19   refer to?
       20        A. I believe that's the memo I created
       21   from the notes, just to summarize the points
       22   and to share with everyone where we last left
       23   off in terms of our thinking on JNJ's rating.
       24            And how does this move -- may
       25   potentially affect the ratings.
   33 :1         Q. Okay.
       2         A. And how --
       3         Q. And I'm going to show you some notes
       4    that we received. And I'm going to ask you
       5    whether those documents are the notes or memo
       6    that these links relate to. And I'll do that
       7    in a few moments.
       8                 But, before I do that, the
       9    links on this -- in this email, in
       10   Exhibit 388 -- the links to the notes and the
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       11   memo, are those examples of the notes that you
       12   would prepare in the ordinary course of your
       13   work at Standard and Poor's, and then maintain
       14   in the box system, as you described at the
       15   beginning of the deposition?
       16       A. You mean, are these notes like
       17   examples of what we keep in our box?
       18       Q. Yes.
       19       A. Yes.
       20       Q. And the notes that you made of your
       21   conversation with Michelle Ryan are the kinds
       22   of notes that you make with corporate
       23   representatives in the ordinary course of your
       24   work at Standard and Poor's. Correct?
       25       A. Yes.
   34 :1        Q. And the same is true of the memo?
       2        A. Yes. That memo would document our
       3    internal discussions, in terms of what we were
       4    trying to decide what to do with the rating or
       5    outlook -- if we do, in fact, do something
       6    with the rating or outlook.


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   34 :22       Q. Let me show you what we've
       23   previously marked as Exhibit 389.
       24              [Witness perused document.]
       25       Q. Tell me when you've had a chance to
   35 :1    look at all of it, Mr. Wong.
       2        A. Oh, I'm sorry. I wasn't sure if you
       3    were waiting for me to -- yeah. I created
       4    this document. That's the link to -- this is
       5    one of the documents that was in the -- that
       6    was linked to -- for our internal discussion.
       7        Q. Got it. And which of the two
       8    documents is this? Is this your notes of the
       9    meeting? Or the memo you created from your
       10   notes of the meeting?
       11       A. This is the memo I created from the
       12   notes of the meeting. And this is my -- my
       13   summary of the discussion. And then my
       14   summary of the background of -- of where we
       15   see Johnson & Johnson's rating and outlook.
       16       Q. Okay.
       17       A. And then I make a recommendation as
       18   to the internal group, what I felt we would --
       19   how -- how our reaction would be, in terms of
       20   from a ratings and outlook perspective.
       21       Q. And did you create this on
       22   October 14th?
       23       A. Yes.


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   36 :1       Q. Okay. You created this soon after
       2    your meeting with Michelle Ryan. Correct?
       3       A. Yes. Yes. And the time since the
       4    discussion with Michelle, and the actual
       5    meeting -- internal meeting. This is when I
       6    created this.
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   39 :1        Q. Got it. Okay. And at the bottom of
       2    the page, you wrote -- LTL:
       3                "JNJ to commit to funding LTL
       4    additional monies when ultimate litigation
       5    amount is decided by Federal Court, roughly
       6    six to 12 months, estimating roughly
       7    $5 billion in total (so another $3 billion in
       8    funding?)"
       9                Do you see that?
       10       A. Yes.
       11       Q. And that reflects what Michelle Ryan
       12   explained to you?
       13       A. Yes. That was just --
       14               MR. STARNER: Objection.
       15               THE WITNESS: Sorry.
       16               MR. STARNER: Okay.
       17               THE WITNESS: Yeah. That was
       18       just from the conversation with her.
       19       Because when we initially discussed the
       20       $2 billion, our follow-up question was,
       21       could this go higher.
       22           And that was just a number that was
       23       put out there in our discussion. So we
       24       included it in our discussion.
       25   BY MR. SHAPIRO:
   40 :1        Q. And Ms. Ryan explained to you that
       2    Johnson & Johnson thought that they could
       3    resolve the talc liabilities in the Bankruptcy
       4    Court within six to 12 months?
       5                MR. STARNER: Objection.
       6        A. Yes. If this was approved by the
       7    judge.
       8        Q. And she explained to you that their
       9    current estimate was $5 billion in total?
       10               MR. STARNER: Objection.
       11       A. She -- yeah. I mean, that was the
       12   amount that it could -- she was just trying to
       13   give us an idea of how much further it can go
       14   up.
       15       Q. From the $2 billion?
       16       A. Right.
       17       Q. Got it. I will ask the court
       18   reporter to show you a document that's been
       19   previously marked "390."
       20       A. Right. This is the -- these are my
       21   notes from the discussion with her.
       22       Q. Okay. So these are the notes that
       23   you literally made while you were talking to
       24   her?
       25       A. Yes.


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   47 :8        Q. Okay. And you were asked some
       9    questions about estimates and initial numbers.
       10   I just want to make sure that the record's
       11   clear.
       12              In your discussions with
       13   Johnson & Johnson in this period of time, the
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       14   estimates related to talc liability was in the
       15   context of resolving the talc liability and
       16   the bankruptcy. Right?
       17        A. Right. Right. That number would
       18   be -- if that was agreed upon, that would be
       19   the number in the vehicle, which would be --
       20   which would go into bankruptcy.
       21            But that would be the amount that
       22   was -- that would have been negotiated, and be
       23   the total -- the ultimate settlement.
       24        Q. You weren't discussing any estimates
       25   with Johnson & Johnson about the cost of
   48 :1    litigating the talc claims outside of
       2    bankruptcy, at this point in time; were you?
       3         A. No.
       4         Q. Okay. And the discussion around the
       5    2 billion-dollar number. Did you understand
       6    that that was an amount of money that
       7    Johnson & Johnson had -- had agreed to
       8    initially fund as part of the bankruptcy
       9    process?
       10        A. Yes. My understanding was, that was
       11   the amount that was going to be in the
       12   proposal.
       13        Q. But you understood that was an
       14   initial amount. Correct?
       15        A. Right. Right. Initial amount which
       16   then would be negotiated upon.
       17        Q. And you understand any ultimate
       18   settlement or resolution of the talc claims in
       19   bankruptcy would be a product of negotiations?
       20               Is that right?
       21        A. Right.
       22        Q. And the Court would ultimately have
       23   to sign off any ultimate settlement in
       24   bankruptcy. Is that right?
       25        A. Right.


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   50 :24               In your conversations with JNJ
       25   in this period of time, they were -- they were
   51 :1    relaying to you an estimate of what they
       2    thought it would potentially take to settle
       3    talc litigation in the bankruptcy. Right?
       4         A. Correct.
       5         Q. And at no point in time were you,
       6    you know, talking to the company about any
       7    estimate about what it would, you know,
       8    potentially cost to litigate all these claims
       9    out of bankruptcy. Right?
       10        A. No. No. There wasn't any estimate
       11   that was talked about. But that would be one
       12   of the savings of going through with this
       13   process as well.
       14        Q. Right. You would avoid what could
       15   potentially be a significantly higher risk of
       16   litigating these cases outside of bankruptcy.
       17   That's one of the benefits. Right?
       18        A. Right. Right.
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   51 :21               You've done some work in this
       22   space about, you know, estimating what
       23   potentially could be, you know, the cost of
       24   talc liability and litigating talc claims.
       25   Right?
   52 :1        A. We have an idea that it could be
       2    significant to defend all these cases. Just
       3    being familiar with other litigation that
       4    happens in the industry.
       5            So while we didn't talk about a
       6    specific number, we do understand that, you
       7    know, even if -- even if a company wins, the
       8    cost of litigation is -- could be significant.


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   55 :16       Q. Okay. And there is a reference
       17   there to a number of claims and time period
       18   involved. What was your understanding of
       19   what -- well, strike that.
       20                What were you referring to
       21   there, when you say "number of claims and time
       22   period involved?"
       23       A. It's -- I guess the number of claims
       24   was just looking at the schedule of upcoming
       25   trials. And that -- and that there could be
   56 :1    just a number of claimants that were -- that
       2    were growing.
       3            And, also, looking at how -- I guess
       4    the protracted process of going through them,
       5    you know, individually. That this was going
       6    to stretch out over a long period.
       7            That's -- that's why it made more
       8    sense, from a pragmatic standpoint, to do
       9    this -- this -- this process.
       10       Q. And you understood there was tens of
       11   thousands of plaintiffs in claims, that were
       12   currently pending against JNJ? Is that right?
       13       A. Right.
       14       Q. And you understood it would
       15   potentially take, you know, an extremely long
       16   period of time to litigate all those claims in
       17   court?
       18       A. Right. That's the understanding as
       19   to just having that negative headline and
       20   negative -- the uncertainty continue to be --
       21   to stretch out over years for
       22   Johnson & Johnson.
       23       Q. And you understand that's one of the
       24   reasons why Johnson & Johnson pursued this
       25   restructuring, and ultimately put this
   57 :1    subsidiary into bankruptcy? Is that
       2    consistent with your understanding?
       3        A. Right. That's -- that this choice
       4    was, I guess -- again, a pragmatic choice.


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   57 :17       Q. So, Mr. Wong, if you look at this
       18   first page here, this is something entitled,
       19   "The Unpredictable Cost of Latent
       20   Catastrophes." Do you see that?
       21       A. Right.


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   58 :8              And you see the primary credit;
       9    you see Patricia Kwan? Do you see that name?
       10      A. Oh, yes. I'm sorry. This is from a
       11   while back. Sorry.
       12      Q. Okay. And do you see your name
       13   there as secondary contacts? You see your
       14   name listed there?
       15      A. Right.
       16      Q. Okay. Do you recognize this
       17   document now?
       18      A. I do. Can't say I'm up-to-date on


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   58 :20      Q. Okay. Generally, what's your --
       21   what's your understanding of kind of what this
       22   document is?
       23      A. I believe it's a document that talks
       24   about litigation in general. If I remember
       25   correctly, I was contacted just to talk about
   59 :1    just large litigations that we have come
       2    across.


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   59 :22      Q. And just to be -- and just so that
       23   we orient -- orient ourselves, do you recall
       24   when this publication was released by S&P?
       25      A. I believe two or three years ago.


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   60 :12       Q. Okay. If you look at the very top
       13   of the document, Mr. Wong, you'll see a date.
       14   Maybe we can take a look at that and see if
       15   that's consistent with your understanding.
       16       A. All the way at the beginning? Yeah.
       17   Okay. I'll just go.
       18       Q. Do you see --
       19       A. Yes.
       20       Q. Is it June 3rd 2019? Do you see
       21   that?
       22       A. Yes.
       23       Q. Okay. Is that consistent with your
       24   recollection of when this was published?
       25       A. Yes. I mean, I know it was -- at
   61 :1    least a couple years ago.
       2        Q. Okay. And is this something that
       3    S&P, you know, does, kind of in the ordinary
       4    course? They publish articles like this?
       5        A. Yeah. We do. When we think
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       6    there's -- there's a credit story to talk
       7    about.
       8        Q. And is this kind of like a research
       9    report you issued to the market, to, you know,
       10   talk about relevant, you know, credit issues?
       11       A. Yes.
       12       Q. Okay. How often would you say that
       13   you've been involved with publishing a report
       14   like this?
       15       A. Since I started with S&P, 23 years
       16   ago.
       17       Q. Sure. Is that a lot? Is that what
       18   you can tell me?
       19       A. Yeah. I mean, when we feel like we
       20   have something to say, we go out there with
       21   these -- we would call them commentaries.
       22       Q. Yeah. I just want to confirm that
       23   this type of commentary is something that's
       24   fairly typical when it's done in the ordinary
       25   course.
   62 :1                Is that fair?
       2        A. Yes.


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   63 :15        Q. Okay. Do you know who -- this
       16   entity called "Praedicat?" I mean, have you
       17   heard of them?
       18        A. I -- I don't recall, actually.
       19        Q. Okay. Were you aware that S&P had,
       20   you know, engaged with a kind of data
       21   analytics company to look at, you know,
       22   potential losses associated with talc
       23   litigation?
       24        A. No, I wasn't.
       25        Q. Okay. Do you recall being aware
   64 :1    that they had done some work, and, you know,
       2    applied certain scenarios in estimating
       3    potential damages associated with talc
       4    litigation?
       5         A. No.
       6         Q. Okay. And looking at, you know,
       7    their kind of estimate of, you know, a damages
       8    scenario, that could potentially result in,
       9    you know, $84 billion of exposure.
       10                 Is that something that you were
       11   aware that, you know, Ms. Kwan had, you know,
       12   helped -- you know, had pulled together and
       13   included in this commentary?
       14        A. You know, I don't remember.
       15        Q. Okay. But this is something you
       16   would -- again, this is something that S&P,
       17   you know, publishes to the market on a kind of
       18   regular basis. And so, they are very --
       19   regular basis. Right?
       20        A. Yeah. This is -- yeah. We would
       21   do -- again, we would do commentaries on a
       22   regular basis, when there is -- when we
       23   believe there is, I guess, a demand for it.
       24            So, the amount that you're referring
       25   to -- $84 billion -- I mean, it's -- it's
   65 :1    speculative, in terms of the amount. But
       2    compared to prior litigations, it's not -- I
       3    mean, it's a large amount, but it's not
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       4    something that, you know, just goes to the
       5    unpredictability of the -- of the process.
       6         Q. So you're saying that the estimate
       7    of potential damage in the amount of
       8    $84 billion just reflects how, you know,
       9    uncertain the talc litigation could be, going
       10   forward, if you litigated it?
       11               Is that what you're -- is that
       12   fair?
       13        A. Yeah. I think that's fair. I mean,
       14   again, we understand each litigation and the
       15   merits of the litigation are different. But,
       16   no one has seen numbers like this with other
       17   litigation.
       18        Q. And when S&P would put out a
       19   commentary like this, they would certainly
       20   ensure to make sure that what they are
       21   including in the commentary, you know, is kind
       22   of accurate and fairly represents the correct
       23   information. Right?
       24        A. Right. I mean, it just gives -- it
       25   gives some perspective as to how -- to the
   66 :1    readers. Gives some perspective as to how
       2    high some of these numbers can get with
       3    litigation, and how unpredictable it could be.
       4            Which is what we're trying to write
       5    about. It's just the uncertainty, from a
       6    credit perspective.
       7         Q. And from that perspective, do you
       8    understand the $84 billion to be, you know,
       9    kind of a worst case scenario, or something
       10   that is, you know, a potential -- while maybe
       11   not as likely, but still a potential risk in
       12   connection with the talc litigation?
       13        A. Right. That's why we had published
       14   that -- went out with this number.


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   67 :3        Q. First, S&P didn't change
       4    Johnson & Johnson's Triple A rating after
       5    publishing this article. Correct?
       6        A. No. We didn't change the -- the
       7    rating. It still remained Triple A.


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   71 :14       Q. So, Mr. Wong, take a look at this.
       15   This is an email dated October 18th 2021.
       16   We've marked it as Exhibit 404. And it's
       17   Bates stamped "SPGI759_001" through "002."
       18              And if you scroll down to the
       19   second email, you'll see an email from you to
       20   Ms. Ryan and Mr. Van Arsdale, on
       21   October 15th?
       22              And if you take a look at that,
       23   in your email, you say:
       24              "Just a quick
       25   question/clarification. What if the Federal
   72 :1    Court comes back with a really high settlement
       2    number? Can JNJ back out?"
       3               Do you see that?
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       4        A. Yes.
       5        Q. Okay. Let's scroll up, if you
       6    would? And this is Mr. Van Arsdale, from
       7    Johnson & Johnson, responding to your email.
       8                Do you see that?
       9        A. Right.
       10       Q. Okay. And he says:
       11               "Hi Arthur,
       12               To your question below, the
       13   ultimate determination of the value of the
       14   trust will be resolved via negotiations
       15   between the parties or an estimation before
       16   the Bankruptcy Court.
       17               The parties have the ability to
       18   appeal any bankruptcy plan, including values
       19   to the District Court, so JNJ can't back out
       20   of the bankruptcy process for this reason, but
       21   has the ability to influence its outcome in a
       22   more reasonable manner."
       23               Do you see that?
       24       A. Right.
       25       Q. So you understood that
   73 :1    Johnson & Johnson could not back out?
       2        A. Yeah. I apologize. I got the
       3    timing and understanding incorrect.
       4        Q. That's okay. We've got lots of
       5    documents. That's all good.
       6        A. Right.
       7        Q. So does this accurately reflect kind
       8    of what Johnson & Johnson's response to your
       9    question was, as to whether or not they could,
       10   you know, back out of the bankruptcy process?
       11       A. Right. No, I think it clarified for
       12   us that -- I think for us, that it was trying
       13   to understand if a number came back, was that
       14   final. And JNJ would just have to accept that
       15   much higher number than what was -- you know,
       16   what JNJ originally thought it would look to
       17   settle for.
       18       Q. So you understood that
       19   notwithstanding, you know, the kind of general
       20   estimate we talked about earlier for
       21   settlement and bankruptcy, the ultimate
       22   settlement number is still to be determined,
       23   and it will be subject to the process in the
       24   bankruptcy court. Right?
       25       A. Right.


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   76 :20              Do you have any knowledge of
       21   what JNJ told the S&P group was JNJ's
       22   projections of the amount of money that it
       23   would take to resolve JNJ's current and future
       24   talc cases, before the bankruptcy filing?
       25              MR. STARNER: Objection.
   77 :1        A. No. I don't -- I don't believe I --
       2    we have anything in our -- we've been given
       3    any upper amount, in terms of how much it
       4    would ultimately cost.
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    7 :18   reporter will now swear in the witness.
       19    ROBERT WUESTHOFF,
       20   called as a witness, and having been first duly
       21   sworn, was examined and testified as follows:


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   17 :8    Q: Okay. When said -- I think you said
       9    then -- after the Enterprise Acceleration, you
       10   said then this assignment. When you say 'this
       11   assignment,' what do you mean by that?
       12   A: It's probably not the right
       13   characterization, but this opportunity, this role
       14   was presented to me and -- and then I accepted
       15   it.
       16   Q: And when you say 'this role,' what do
       17   you mean by that?
       18   A: The role of being president of LTL.
       19   Q: Okay.
       20   A: And president of Royalty A&M.
       21   Q: Okay. And when were you first
       22   approached to take those roles?
       23   A: Late September. I believe September
       24   28th.
       25   Q: And who approached you -- let's just
   18 :1    back up.
       2    Up until September 28th, you were
       3    more or less happily doing your Enterprise
       4    Acceleration job?
       5    A: Yeah. I was -- I was doing it. I
       6    think doing a good job at it. Yes, that's
       7    correct.
       8    Q: Okay. Okay. I'm sure you were.
       9    And then on September 28, who
       10   approached you about this new role?
       11   A: Michael Ullmann.
       12   Q: Okay. And who was he?
       13   A: He is the -- I guess you call it the
       14   general counsel for Johnson & Johnson.
       15   Q: Okay. And that first conversation
       16   you had with him, can you describe that
       17   conversation for me?


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   18 :25   THE WITNESS: Yep.
   19 :1     My understanding was that they
       2     were -- they -- Michael was interested in, I
       3     guess, the company -- in me as -- to take on this
       4     role as president of LTL and also a company
       5     called -- a subsidiary of Royalty A&M, which
       6     would be associated with LTL.
       7    BY MR. JONAS:
       8    Q: And then that initial conversation on
       9     September 28th, was that just you and
       10    Mr. Ullmann?
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      11    A: No. Erik Haas was always present on
      12    the call.
      13    Q: And who is he?
      14    A: He's also a senior attorney with
      15    Johnson & Johnson.


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   20 :13   Q: Okay. And did they -- did you ask --
       14   well, how long was that conversation?
       15   A: Roughly, half an hour.


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   21 :2    And what did they tell you the
       3    business of LTL would be?
       4    A: The business of LTL would be to
       5    oversee and -- and help resolve the talc cases
       6    that were sitting in what's referred to as old
       7    JJCI.
       8    Q: Okay. And was there any further
       9    discussion about what the business of LTL would
       10   be?
       11   A: Other than the RAM subsidiary, which
       12   is a Royalty monetization business.
       13   Q: Uh-huh.
       14   A: And that's the other role that I have
       15   as president of both. And the Royalty
       16   monetization business or RAM is to grow that
       17   business.
       18   Q: Okay. And do you know why they
       19   approached you to take on this role?
       20   A: I asked that question. And the
       21   answer I got back was, you know, your name was
       22   recommended by a number of people, so we're
       23   coming to you to ask you if you're interested.


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   22 :3    And just so we can frame this up, on
       4    what date did you leave your position at the
       5    Enterprise Acceleration unit, whatever job, and
       6    take on a formal -- another formal job?
       7    A: I verbally accepted the new role
       8    approximately Wednesday. I think it was
       9    October 6th.
       10   Q: Okay.
       11   A: And then written confirmation was a
       12   couple days later.


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   26 :17   Q: Okay. And let me ask you: Prior
       18   to -- to that date, what had been your
       19   involvement at J&J or any of its entities or
       20   subsidiaries relating to talc?
       21   A: Really -- really none.
       22   Q: Okay.
       23   A: You know, being in the supply chain,
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       24   you know, I -- I had operations that manufactured
       25   the talc. But other than that, that's the extent
   27 :1    of my involvement.
       2    Q: Okay. Were you -- had you been --
       3    prior to September 28th, were you familiar with
       4    the -- the various talc litigations against J&J
       5    that was going on?
       6    A: Only in very general high-level terms
       7    and from what the company would disseminate
       8    globally to all the employees. That's all that I
       9    was aware of.


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   28 :2    Q: Okay. So -- well, let me ask you:
       3    Do you -- without telling me the substance of it,
       4    do you recall whether there was any discussion
       5    about the magnitude of J&J or any of its related
       6    entities about the talc liability?
       7    A: No. No.
       8    Q: Okay. So -- just so I understand,
       9    they asked you to become president of a company
       10   that would address J&J's talc liabilities,
       11   correct?
       12   A: Correct.
       13   Q: And you didn't ask what the amount of
       14   those liabilities was?
       15   A: I had a general understanding that
       16   there were a lot.
       17   Q: Okay. And when you say you had a
       18   general understanding and you used the word 'a
       19   lot,' can you be more specific?
       20   A: In terms of the number of claims,
       21   that there were a lot of claims.
       22   Q: Okay. Do you have -- do you have any
       23   understanding as to what the magnitude of those
       24   claims might be?
       25   A: Not at that time, no.


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   29 :25   Q: So what did the -- in those first
   30 :1     conversations, what did they tell you the assets
       2     of L -- these new entities that you were going to
       3     be president of, LTA -- LTL, excuse me -- what
       4     did they tell you the assets were going to be?
       5    MS. BROWN: And, again, Mr.
       6     Wuesthoff, you can answer to your understanding
       7     to the extent that doesn't involve advice of
       8     counsel.
       9    THE WITNESS: I didn't get an
       10    understanding of the assets until much later in
       11    the process.


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   34 :11   Q: Okay. Okay. Had you ever done any
       12   work at all in your career in connection with
       13   managing litigation liabilities?
       14   A: Not directly. I've been exposed to
       15   them in my career, but I've never managed them
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       16   directly.
       17   Q: Did you think it was strange they
       18   were asking you to take on a role to manage talc
       19   liabilities?
       20   A: I didn't, as president, given that I
       21   would have a chief legal officer to handle. And
       22   my board and myself, we delegated to my chief --
       23   our chief legal officer to devise and implement
       24   that plan. So I'm overseeing it, staying in
       25   touch with it, but I was fine with that as a
   35 :1    president.
       2    Q: Okay. So let's just back up, because
       3    you've mentioned a couple things here.
       4    When you first met with Mr. Ullmann
       5    or the second meeting you had with Mr. Haas, did
       6    you discuss who else would be employed or work in
       7    some capacity at either of those new entities?
       8    A: Yes. They told me I would have a
       9    chief legal officer; there would be -- and there
       10   would be a chief financial officer.
       11   Q: And who -- did they tell you who that


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   35 :22   Q: Okay. Okay. And in either of those
       23   first two conversations, did -- was there any
       24   discussion about the bankruptcy of LTL?
       25   A: It was -- my understanding was that
   36 :1    bankruptcy would be an option to pursue.
       2    Q: Okay. And -- and other than that,
       3    what you just described, was there any further
       4    discussion about bankruptcy in those first two
       5    conversations?
       6    A: No.


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   39 :24   Q: Let me -- I just want to see if I've
       25   got this right. On the initial meeting on
   40 :1    September 28th, which I think you said was about
       2    30 minutes, you then had a conversation with
       3    Mr. Haas, which was probably less than
       4    30 minutes. You then had another conversation
       5    with Mr. Ullmann, which was probably about
       6    15 minutes.
       7    Those were the sum and substance of
       8    the discussions you had with anyone at J&J before
       9    verbally accepting the LTL presidency on
       10   October 8th?
       11   A: That's correct.
       12   Q: Okay.
       13   A: By the way, just to correct, I
       14   don't -- I don't know how long the conversation
       15   with Erik was. It wasn't five minutes. It was
       16   probably 20 to 30 minutes, but --


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   41 :20   Q: Okay. And as best you can recall,
       21   what did you think the pros and cons were of
       22   taking the job?
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       23   A: The con would be some of the unknown,
       24   that -- you know, that's uncertain with any new
       25   role, particularly a new role with a new
   42 :1    position. But just to put that out there. I
       2    coach a lot of people and I do it to myself. You
       3    know, it's okay to get out of your comfort zone.
       4    That's the way to grow. And I'd decided, you
       5    know what? I'm not too late in my career to grow
       6    and learn; so, yes, so I -- I said fine with
       7    that.
       8    What -- what -- what, frankly,
       9    intrigued me about the role a lot was growing the
       10   RAM business.
       11   Q: Okay. And what intrigued you about
       12   that?
       13   A: Being in more of a commercial
       14   business development role. I've never had one
       15   directly. I've supported them. I've been part
       16   of senior management teams. I've been charged
       17   with growth of a company. But actually growing
       18   it with a team myself, with a CFO, a chief legal
       19   officer and grow that business, I found that to
       20   be very interesting.


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Page 50
   50 :13   Q: Okay. So as far as you know -- and I
       14   appreciate you may need to check with others --
       15   but as far as you know, there's no LTL office, an
       16   LTL desk, LTL filing cabinet or any other owned
       17   office materials by LTL?
       18   A: Correct. And that's consistent with
       19   how J&J operates.


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Page 53
   53 :19   Q: When did you come -- when did you
       20   reach the conclusion as president of this entity
       21   that it was going to have to file bankruptcy?
       22   A: We voted and confirmed that on our
       23   board meeting on Thursday the 14th.


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Page 57
   57 :6    Had you had any experience with
       7    Chapter 11 bankruptcy prior to this?
       8    A: No, not directly.
       9    Q: Okay. And so you've told me you
       10   did -- you were brought up to speed on the talc
       11   liability. I take it there were some materials
       12   provided to you in that record?
       13   A: Material that was reviewed with me.
       14   I don't know if I actually physically got the
       15   material.
       16   Q: Well, did you -- did you -- prior to
       17   that board meeting on the 14th, did you -- did
       18   you get any written material at all relating to
       19   LTL or the talc liability or the bankruptcy or
       20   anything like that?
       21   A: I don't recall specifically on those
       22   topics.
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       23   Q: Okay.
       24   A: The materials were around the
       25   divisional merger, the services agreements, the
   58 :1    funding agreements, the second amended
       2    agreements. That was mostly the written
       3    materials.
       4    Q: And we'll talk about those things
       5    later. So thank you.
       6    Okay. So were you provided with --
       7    strike that.
       8    Were you provided with any written
       9    analysis relating to whether or not LTL should
       10   file bankruptcy?
       11   A: No.
       12   Q: Okay. And so what analysis did you
       13   do that helped you reach the conclusion that LTL
       14   should file bankruptcy?
       15   A: Yeah. What I -- what I did, and,
       16   frankly, it was a pretty common sense call. I
       17   looked at the fact that there -- there
       18   were roughly 38,000 outstanding cases that was
       19   growing rapidly. In fact, there were 12,000 --
       20   that included 12,000 that were added just this
       21   year through October. We had -- again, based on
       22   the safety of our talc, we had won most of the
       23   judgments.
       24   There was one judgment, the Ingham
       25   case, which was just an exorbitant judgment, over
   59 :1    $4 billion. And moving forward, there would
       2    continue to be, really, this -- the wave of
       3    litigation. It seemed obvious it was going to
       4    continue, and one reason is this 60-year latency
       5    of some of these cancers. So the volume of
       6    current and future claims was really
       7    overwhelming.
       8    And with processing, roughly, you
       9    know, one a month, we didn't see any way to
       10   equitably and efficiently resolve these cases if
       11   the status quo stayed as it was. Just the
       12   mathematics, it would take thousands of years at
       13   12, even 24 cases a year to settle these.
       14   So moving it into a structured
       15   bankruptcy, you know, funded by a trust seemed
       16   like the obvious way to equitably and efficiently
       17   resolve these claims for all claimants and
       18   stakeholders.


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Page 61
   61 :18   Q: Okay. And let me ask you: Why --
       19   was there a sense of urgency to file bankruptcy?
       20   A: No. The only -- no, there wasn't.
       21   There was not. But the -- I mean, to me, because
       22   it was such an obvious next move, why would we
       23   wait? Why deliberate any further with something
       24   that was -- it was so commonsensical, and then
       25   delay, you know, revolving these claims. That
   62 :1    doesn't make sense to me. So, no, there was no
       2    pressing matter, but why not just move on?
       3    Q: Well -- and you felt that you had
       4    enough time -- between the formation of LTL on
       5    the 12th and the 14th, you felt there was enough
       6    time to do all the analysis necessary to make an
       7    informed decision that LTL had to file
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       8    bankruptcy?
       9    A: Well, again, the background
       10   information that we were provided was worked on
       11   for quite some time by many people. It wasn't
       12   just us in one week. There was -- the
       13   information we were presented was -- had been
       14   gathered up over -- I don't even know how long.
       15   So assuming the information is factual and where
       16   I -- well, the board assumed that everybody at
       17   J&J is super high integrity, there's no reason to
       18   not believe the information. Again, it just
       19   seemed like such an obvious choice, because the
       20   status quo is that that would be a way to settle
       21   these cases. It put old JCCI in financial
       22   distress, which put LTL in financial distress.
       23   So the only way to resolve, in our view -- and
       24   then, again, we thought it was a pretty
       25   straightforward decision -- was to file for
   63 :1    bankruptcy.


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Page 63
   63 :4     So, in fact, working on a new entity
       5     and it's filing bankruptcy, I think you said that
       6     work was being done at J&J for weeks and
       7     months -- let me finish my question, please.
       8    A: I'm sorry.
       9    Q: That's okay.
       10    That work was being done at J&J weeks
       11    and months before you were approached to even
       12    take this job, right?
       13   MS. BROWN: I object. Misstates
       14    testimony.
       15   THE WITNESS: No. I -- I probably
       16    miss -- well, I either -- I misstated or I'll
       17    correct.
       18    The background information of the
       19    number of cases that were present and building
       20    the information around the -- the -- the
       21    judgments to date and the dollar amounts, the
       22    expenses paid to date and then projecting
       23    forward, anybody with common sense could project
       24    forward there's such volatility and such
       25    uncertainty, cases growing by the thousands, how
   64 :1     could we possibly stay the course and resolve
       2     these in any equitable or efficient way?
       3     So whatever work was done prior to
       4     LTL being formed, I can't comment to that. I
       5     wasn't part of that.


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Page 65
   65 :22   Did anybody provide you with specific
       23   analysis relating to how a bankruptcy of LTL
       24   would work?
       25   A: Other than -- and this was, I
   66 :1    believe, verbal.


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   66 :8    My understanding was that a trust
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      9     would be formed. J&J and JJCI would contribute
      10    to that trust. And that trust is what would be
      11    used by the bankruptcy court to -- to settle the
      12    current and future cases.


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Page 67
   67 :8    Did you -- as president of LTL, did
       9    you think it was important that LTL have legal
       10   counsel?
       11   A: Yes. And legal -- legal counsel was
       12   provided.
       13   Q: Okay. When you say 'was provided,'
       14   what do you mean by that?
       15   A: Jones Day was -- was assigned to LTL
       16   to be our counsel -- outside counsel.
       17   Q: By whom?
       18   A: I don't know.


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Page 68
   68 :8    Q: Okay. And you don't know who made
       9    the decision that LTL would retain Jones Day?
       10   A: I do not.
       11   Q: Okay. Do you know if when -- when
       12   LTL retained Jones Day, do you know if Jones Day
       13   was also representing other Johnson & Johnson
       14   entities?
       15   A: I don't know that answer.


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   69 :24   Okay. So do you remember the time
       25   that that meeting started on the 14th?
   70 :1    A: The -- not exactly. It was either
       2    11:30 or 12:30. It might have been 12- -- I
       3    don't know. It was a 90-minute meeting.
       4    Q: The whole meeting lasted 90 minutes?
       5    A: Yes. Give or take a few minutes.
       6    Q: And can you -- the best you can, can
       7    you describe for me what happened at that
       8    meeting?
       9    A: We recapped and reviewed the
       10   restructuring. So we were, you know, all
       11   refamiliarized with that. We reviewed the talc
       12   liabilities and the history of the talc claims.
       13   We talked about our new company and, you know,
       14   protocols of a new company and how a new company
       15   needs to operate. We talked about the options to
       16   resolve the claims and had a discussion there,
       17   and then we voted on the resolution.


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Page 70
   70 :22   Q: So tell me more particularly, what
       23   was the nature of that review?
       24   A: It was sort of a recap -- and sorry
       25   to be redundant, but the 38,000 cases, 12,000 new
   71 :1    this year alone, the prospect of that will
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       2    continue to grow, potentially, exponentially; the
       3    fact there's a 60-year latency period, which
       4    means in normal course of events, this would
       5    easily run through the decade. And, again -- and
       6    by the way -- I'm sorry. I don't mean to say by
       7    the way.
       8    And then, you know, we -- based on
       9    the safety of our product, we prevailed in many
       10   of the cases; but exorbitant judgements such as
       11   the Ingham case were there and certainly could be
       12   there in the future. That uncertainty. So
       13   that's the sort of information we reviewed.
       14   Q: Uh-huh. Okay. And let me ask you
       15   more particularly: Did you review the amounts
       16   that J&J or any J&J entities had paid
       17   historically on talc claims?
       18   A: Yes. That was -- that was part of
       19   the discussion. So in defense of the talc
       20   claims, roughly a billion dollars and in
       21   judgments, roughly three and a half billion in
       22   total; so close to four and a half, five billion
       23   in total spent.
       24   Q: And that would include the Ingham
       25   payment we talked about?
   72 :1    A: Correct.
       2    Q: Okay. And was there any discussion
       3    about any sort of estimates or projections of
       4    future talc liability?
       5    A: We didn't do any mathematical
       6    exercise, but just based on the -- the number of
       7    cases and over a short period of time and the
       8    volatile nature of the judgments, if that
       9    continued in any sort of a similar pattern, the
       10   expenses and costs would grow exponentially. We
       11   would never get at solving these claims for many
       12   of the claimants. It just wouldn't physically be
       13   possible.
       14   Q: Uh-huh. But there was absolutely --
       15   you don't recall at all, absolutely, any
       16   discussion about future -- strike that -- an
       17   estimate of what the future claim amounts might
       18   be that would have to be paid?
       19   A: No. Other than the fact that if they
       20   continued at this rate, it could be an exorbitant
       21   dollar figure. But other than that, we didn't do
       22   any numerical analysis.
       23   Q: And in light of what you just said,
       24   were you concerned that you would become
       25   president of an entity that would take on these
   73 :1    liabilities?
       2    A: Yes. Of course concerned, but not
       3    worried because the funding agreement is there as
       4    an asset for LTL to resolve these cases.


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   74 :6    Q: Okay. And what were the -- other
       7    than bankruptcy, what were the options you
       8    discussed to resolve the claim?
       9    A: Well, the main option was to stay the
       10   course; you know, just continue to litigate or
       11   to -- just, you know, address one -- one case at
       12   a time. You know, to stay the course. So the
       13   status quo was -- was, frankly, the main
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    14   alternative. We briefly discussed an insurance
    15   option, and that was quite brief, because it
    16   just -- that just doesn't -- there's no way that
    17   that pencils and insurance companies would --
    18   would cover any sort of liability moving forward
    19   in anything that would be close to affordable.
    20   So that really was discounted quickly.
    21   So it really came down to the status
    22   quo versus filing for bankruptcy and dissolving
    23   this to a trust. And, again, it came back to we
    24   thought that was the most equitable and efficient
    25   way to resolve these claims.
75 :1    Q: And when you say -- you used two
    2    words. I want to break it down. You said
    3    'equitable' and 'efficient.'
    4    Can you tell me your understanding of
    5    why it was efficient for bankruptcy to be used to
    6    resolve these claims?
    7    A: Yeah. You know, efficient is a broad
    8    term. But there are lots of resources being
    9    expended, not just by old JJCI and now LTL, but
    10   by courtrooms; time spent researching, time
    11   spent -- attorneys all over the place. It's just
    12   very -- you know, just very -- that's one piece
    13   of efficient.
    14   The other piece of efficient is how
    15   do you process the number of current and future
    16   claims in any sort of a way -- one at a time or
    17   two at a time or in the case of Ingham, 22 at a
    18   time -- when you've got 38,000 and building?
    19   There's just no efficient way to do that in our
    20   view.
    21   And a bankruptcy court handling this,
    22   it wouldn't be efficient any other way. You
    23   couldn't get through them. And it certainly
    24   wouldn't be equitable, because there would be
    25   many claims you could never get to.
76 :1    Q: And when you use the -- you said the
    2    word 'equitable.' What do you mean by that?
    3    A: I guess what I mean by equitable is
    4    many -- well, the cases that have been tried to
    5    date, many claimants getting nothing and a few
    6    getting an exorbitant award, I don't think -- we
    7    don't view that as equitable. But when you've
    8    got so many claims to process, again, 38,000 and
    9    growing, there'd be no way to address many of
    10   those, and that certainly wouldn't be equitable.
    11   Now, having said all of that, we
    12   don't believe the claims had merit, but I know
    13   there's another -- there's a counter view to
    14   that, which is why we're talking. But we just
    15   don't see the claimants can be equitably treated
    16   if we were to stay the status quo.
    17   Q: So are you telling me, at least in
    18   part, the LTL bankruptcy was -- one of the
    19   considerations was to treat claimants equitably;
    20   it was for their benefit? Is that what you're
    21   saying?
    22   A: We looked at all stakeholders
    23   benefitting from this, not just claimants, not
    24   just LTL, not just others. It's just -- it would
    25   benefit all -- all parties. Yes, it would be
77 :1    more equitable to the claimant. Yes, we believe
    2    that.
    3    But the real reason we filed for
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      4     bankruptcy is looking at the voluminous amount of
      5     cases, how they're growing, the lottery size
      6     awards, put us in -- old JJCI in financial
      7     distress because of the volatility in moving
      8     forward, and that's certainly where LTL is.
      9     So, again, to work through these
      10    cases in an equitable and efficient way for all
      11    parties for current and future claims, we believe
      12    this is the best course.


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   78 :3    Did you say that LTL was in financial
       4    distress?
       5    A: Yes.
       6    Q: Okay. Why?
       7    A: Because we have 38,000-some open
       8    claims. They're growing and building. They will
       9    continue, based on the latency of at least
       10   mesothelioma -- if I'm pronouncing that right --
       11   at least 60 more years. In other words, no end
       12   in sight. And the nature of some of the -- of
       13   the judgments being such -- in our view,
       14   extraordinary in terms of the size of the dollar
       15   amounts, yes, I'd say we are in financial -- now,
       16   having said that, I think we're in equally
       17   distressed, but not -- but slightly better
       18   position than old JJCI, because we have the
       19   backing of the funding agreement.


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Page 82
   82 :3    Q: Does LTL owe anybody money?
       4    A: We do -- we do have to -- we have
       5    bills we have to pay, yes.
       6    Q: What bills are those?
       7    A: Attorneys' bills, fees. We have to
       8    pay J&J for any services we get from J&J -- from
       9    JJCI and J&J Services, Inc.
       10   Q: Okay. So other than bills from J&J
       11   for services and other than bills from lawyers,
       12   does -- and I'll -- just bear with me. Let's say
       13   those are creditors, you owe money.
       14   Does LTL have any other creditors?
       15   A: Not to my knowledge.


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Page 108
 108 :25     So is -- is -- does any
 109 :1      Johnson & Johnson entity continue to sell talc
      2      baby powder outside of the United States?
      3     A: I don't know for sure. I've been out
      4      of that for quite a while.
      5     Q: Okay. Well, let me ask you: If
      6      there was any asserted liability in connection
      7      with foreign, outside of the United States, talc
      8      sales, would that be a liability of LTL?
      9     MS. BROWN: Objection. Form.
      10     Foundation.
      11    THE WITNESS: That's a legal
      12     question. I -- I don't know the answer.
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      13    BY MR. JONAS:
      14    Q: Well, you're the president of LTL,
      15    right?
      16    A: Yes. But I'm not a lawyer, and I
      17    would defer to my chief legal officer for that
      18    answer.


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Page 127
 127 :16    Q: Okay. What is the value of LTL's
      17    assets today?
      18    A: We have six million in the bank
      19    account, we have RAM with royalties valued at
      20    some $367 million, and we have the service
      21    agreement with JJCI and J&J.


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Page 127
 127 :24    And what's the value of the funding
      25    agreement?
 128 :1     A: The value of the funding agreement is
      2     up to the value of JJCI.
      3     Q: Okay. And what is the -- what is
      4     that? What is the value of JJCI?
      5     A: I do not know.
      6     Q: Have you ever had any discussions
      7     about that?
      8     A: No.


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 128 :11     Did you sign the -- and we'll look at
      12     it, but did you sign the funding agreement on
      13     behalf of LTL?
      14    A: I'm sure I did. I'd have to look at
      15     the document.
      16    Q: Okay. And you just said that the
      17     funding agreement was to provide LTL with funding
      18     up to the value of JJCI, correct?
      19    A: Correct.
      20    Q: And so when you were about to sign
      21     the funding agreement, you didn't have any
      22     understanding or appreciation of what that value
      23     to LTL could be?
      24    MS. BROWN: Objection. Misstates
      25     testimony.
 129 :1     THE WITNESS: I -- I did not have a
      2      quantified number. No, I did not.
      3     BY MR. JONAS:
      4     Q: Could be -- as far as you knew, it
      5      could be a dollar, right?
      6     A: Well, I was sure it was more than a
      7      dollar.
      8     Q: Oh, okay. So was it more than a
      9      million dollars?
      10    A: I -- I honestly don't have a figure
      11     for you, sir.
      12    Q: But you knew it was more than a
      13     dollar, right?
      14    A: I knew it was more than a dollar.
      15    Q: How did you know it was more than a
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     16    dollar?
     17   A: Because the company -- JJCI, I know,
     18    just common sense, is worth more than a dollar.
     19   Q: Okay. Well, does common sense tell
     20    you that JJCI's worth more than a billion
     21    dollars?
     22   A: I can't say that. I'm not in
     23    finance. I don't know what JJCI is worth.
     24   Q: Okay. Do you know what any -- by
     25    amount, do you have any idea what JJCI is worth?
130 :1    A: I do not.
     2    Q: Okay. So when you signed the funding
     3     agreement and it said that value would be funded
     4     or provided to LTL up to the value of JJCI, other
     5     than it being more than a dollar, you had no idea
     6     what that amount might be, correct?
     7    MS. BROWN: Objection to the form.
     8     Misstates testimony.
     9    THE WITNESS: Ali, can you say that
     10    again slower?
     11   MS. BROWN: I'm sorry. I object to
     12    the form. It misstates your testimony.
     13   THE WITNESS: No. That's correct. I
     14    do not know the dollar value of JJCI.
     15   BY MR. JONAS:
     16   Q: Okay. So, therefore, you didn't know
     17    the value of LTL, right?
     18   MS. BROWN: Objection. Speculation.
     19   THE WITNESS: I guess that would
     20    be -- that would be correct. I knew the assets,
     21    the six million and the royalties and then I have
     22    an agreement with JJCI and J&J to if -- if we
     23    move into bankruptcy and move into a trust, there
     24    would be moneys there that those two would
     25    provide the trust.
131 :1    BY MR. JONAS:
     2    Q: But when LTL filed -- when you voted
     3     to put LTL into bankruptcy, you did not know the
     4     value of its assets, correct?
     5    A: I did not know the value of JJCI.
     6    Q: That's not my question, sir.
     7    A: Okay.
     8    Q: My question is: When you put -- when
     9     you voted to put LTL into bankruptcy, one of its
     10    assets was the funding agreement, correct?
     11   A: Correct.
     12   Q: And the value of the funding
     13    agreement was up to the value of JJCI, correct?
     14   A: That's correct.
     15   Q: And you did not know the value of
     16    JJCI, correct?
     17   A: Correct.
     18   Q: So when you voted to put LTL into
     19    bankruptcy, you did not know or have any idea of
     20    the value of its assets, correct?
     21   MS. BROWN: Objection to the form.
     22   THE WITNESS: Quantitatively, no. I
     23    did not know the full value of the funding
     24    agreement, because not knowing the full value
     25    of -- of JJCI -- what you're stating is correct.
132 :1    BY MR. JONAS:
     2    Q: Okay. So you didn't know whether or
     3     not LTL was insolvent when it filed bankruptcy,
     4     did you?
     5    MS. BROWN: Objection to the form.
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      6      Speculation.
      7     THE WITNESS: What -- what I did know
      8      is we were no worse and, in fact, better than old
      9      JJCI was with these same liabilities.
      10    BY MR. JONAS:
      11    Q: Okay. Do you know what the word
      12     'insolvency' means?
      13    A: Run out of money.
      14    Q: Do you know what the word
      15     'insolvency' means?
      16    A: I would say no. If I don't look at
      17     it literally, probably not.


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Page 142
 142 :17    Q: Do you know who the Bates White firm
      18    is? Do you know them?
      19    A: I'm not sure exactly.
      20    Q: How about not exactly? Do you have
      21    any idea who Bates White is?
      22    A: I -- I think it might be a -- a law
      23    firm. I'm bad on names, to be honest; but I'm
      24    sure it's a law firm.
      25    Q: Okay. And L- -- do you know if LTL
 143 :1     has hired them?
      2     A: Not to my -- not -- no. Well, I
      3     don't know that answer.
      4     Q: Okay. So -- and I don't want to
      5     waste any time. I mean, you don't -- if you
      6     don't -- you don't know what kind of work they
      7     do?
      8     A: I don't.
      9     Q: Okay. Do you know if -- let me ask
      10    you: Do you know if LTL -- and by that I mean
      11    anyone at LTL -- has undertaken any work to value
      12    potential legacy talc liabilities?
      13    A: No. I'm not aware of that.


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Page 144
 144 :25    Q: And do you know if J&J has ever
 145 :1     retained PricewaterhouseCoopers for anything?
      2     A: I can't answer that. No, I have no
      3     knowledge of that.


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Page 146
 146 :9     Q: And you'll see here, Mr. Wuesthoff --
      10    a lot of this has been redacted, but you'll see
      11    in the middle of the page -- well, at the top of
      12    the page it says, 'Gross product liability
      13    balance is in the millions.' And in the middle
      14    of the page, it says 'talc' -- one line says
      15    'talc,' then it says 'payments,' and then it gets
      16    to a sub total.
      17    Have you ever seen this document
      18    before?
      19    A: No. I've never seen this.
      20    Q: Okay. So do you have any idea -- and
      21    I'd like you to take a look at this. Do you have
      22    any idea what the purpose of this document is?
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      23    MS. BROWN: Objection. Foundation.
      24    Speculation.
      25    A: Other than reading the heading, not
 147 :1     really knowing what that means -- I mean,
      2     literally, it means I don't know.


WUESTHOFF, ROBERT - 12/22/2021
Page 150
 150 :1     Q: Okay. Well, do you recall at that
      2     board meeting -- or prior to the board meeting, I
      3     think you said there was -- you had certain
      4     information that was made available to you
      5     relating to talc liabilities, right?
      6     A: No. Only to the respect of the
      7     number of cases --
      8     Q: I see.
      9     A: -- the money that was spent to date,
      10    the billion in processing the three and a half
      11    billion in judgments. Those were the only
      12    numbers we had.
      13    Q: Okay. Nothing more specific than
      14    that?
      15    A: No.


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Page 150
 150 :22    At that board meeting on
      23    October 14th, was there any discussion about
      24    insurance available to cover talc liabilities?
      25    A: We said the -- we briefly talked
 151 :1     about insurance and said that the proposals we
      2     were getting -- or would get from insurance, and
      3     apparently there had been some prior discussion
      4     that I was not part of -- that it just would be
      5     an exorbitant amount of money for them to cover
      6     the current and future potential cases. So it
      7     was, frankly, a brief discussion.
      8     Q: Okay. And you're talking about the
      9     possibility of insurance to cover -- on a
      10    go-forward basis to cover future liabilities,
      11    correct?
      12    A: Well, current -- yeah, future
      13    liabilities based on current claims and future
      14    claims.
      15    Q: Okay. Was there any discussion about
      16    existing insurance at that October 14th meeting?
      17    A: No, not that I recall.
      18    Q: Okay. And so when you -- when you
      19    voted -- when the board voted -- excuse me --
      20    A: Uh-huh.
      21    Q: -- to put LTL into bankruptcy, what
      22    was your understanding of what existing talc
      23    liability insurance existed?
      24    A: Very, very limited. Next to zero.
      25    Q: Okay. You don't know if there was
 152 :1     any insurance available to J&J for talc liability
      2     when you decided -- when you voted to put LTL
      3     into bankruptcy, correct?
      4     MS. BROWN: Object. Misstates
      5     testimony. Lacks foundation.
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Page 152
 152 :9     A: No. It was never -- never discussed.
      10    Q: Okay. And leading up to that
      11     meeting, you didn't have any materials provided
      12     to you relating to existing insurance for talc
      13     liabilities, correct?
      14    A: I'd have to relook at the documents,
      15     to be honest. I'd have to look -- relook at the
      16     documents.
      17    Q: Okay. But you don't recall any
      18     insurance-related materials being provided to
      19     you, correct?
      20    A: Not specifically insurance-related
      21     materials. Was insurance in the materials? And
      22     there were a lot of materials. It's -- it's
      23     possible. It's been two and a half months since
      24     I've read a lot of those documents. I'm happy to
      25     look at the document, but it's been a long time.
 153 :1      I just don't remember.
      2     Q: Okay. Okay. But just come back to
      3      what -- what you knew when you voted to put LTL
      4      into bankruptcy.
      5      You didn't know whether there was a
      6      billion or ten million or any particular amount
      7      of insurance available to cover talc liabilities,
      8      right?
      9     MS. BROWN: Objection. Misstates
      10     testimony.
      11    THE WITNESS: Yeah. We didn't
      12     discuss that as a viable option, because there
      13     was never any -- any substance to that, that
      14     would have warned to anything of value and that
      15     was the extent of the conversation.


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Page 154
 154 :16    Q: Okay. And the LTL bankruptcy was
      17     intended, at least in part, to address the ordeal
      18     with the financial distress of JJCI, correct?
      19    MS. BROWN: Objection. Foundation.
      20     Speculation.
      21    THE WITNESS: I think that's
      22     incorrect. LTL was formed to address the -- the
      23     outstanding and future claims of the talc
      24     liability.


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Page 155
 155 :3     What is your understanding of your
      4     statement that JJCI was experiencing financial
      5     distress? What was the basis of that distress?
      6     A: The basis was the sheer number of
      7     current outstanding cases that were growing
      8     exponentially; again, 12,000 new ones in 2021
      9     through October, plus the projecting that we
      10    would continue to get based on the latency of the
      11    cancer, particularly the meso- -- I can't
      12    pronounce it -- the lung cancer.
      13    And the other of the distress was
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      14     the -- was the huge lottery-type of awards that
      15     seemed like it would be possible, and, in fact,
      16     with the Ingham case, was the settlement. The
      17     uncertainty moving forward and the ongoing legal
      18     expense of hundreds of thousands of dollars a
      19     year through the rest of the decade was -- yeah,
      20     that would put most companies in some sort of
      21     distress.
      22    Q: Okay. And the way that the
      23     restructuring that we've been talking about
      24     addressed JJCI's -- JJCI's financial distress,
      25     was to move that -- was to move the talc
 156 :1      liabilities from JJCI to LTL, correct?
      2     A: No. It wasn't done to alleviate
      3      their liability to JJCI, because LTL got the
      4      exact same liability. The advantage that LTL has
      5      slightly over what JJCI had, the old JJCI, is we
      6      have the funding agreement backed by JJCI and
      7      J&J. So we're actually in a slightly stronger
      8      position than JJCI would have been on their own.
      9     Q: Okay. So do you believe today that
      10     both LTL and JJCI are both responsible for the
      11     talc liability we've been talking about?
      12    MS. BROWN: Objection. Foundation.
      13     Speculation.
      14    THE WITNESS: LTL is responsible for
      15     resolving them; through funding agreements JJCI
      16     and J&J are committed to help fund that
      17     resolution.


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Page 160
 160 :3     Q: Do you know why LTL was formed in
      4     North Carolina as opposed to any -- any other
      5     state?
      6     A: I do not.
      7     Q: Did you ever ask anybody why it was a
      8     North Carolina company?
      9     A: I did not.
      10    Q: Did it ever -- did you ever think
      11    about that, well, why in North Carolina as
      12    opposed to some other state?
      13    A: I didn't give it a lot of thought,
      14    no.
      15    Q: Any thought at all?
      16    A: Not a thought. No -- no substantial
      17    thought.


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Page 161
 161 :4     So on September 28th, you met with
      5     Mr. Ullmann and Mr. Haas?
      6     A: Uh-huh.
      7     Q: On -- and then you had a relatively
      8     short follow-up meeting with Mr. Haas at some
      9     point. On October 6th, you verbally accepted the
      10    role.
      11    A: Uh-huh.
      12    Q: On October 8th, you signed the
      13    document -- the document to become president?
      14    A: Uh-huh.
      15    Q: On October 11th, I guess, you
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      16    formally became president of LTL and RAM. And
      17    October 12th, LTL was formed. And on the 14th,
      18    there was a board meeting.
      19    A: Correct.
      20    Q: And I know you said in advance of the
      21    board meeting you thought you had spent seven
      22    hours reviewing things.
      23    A: Uh-huh.


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Page 162
 162 :3     Q: But now you're saying there were
      4     informal meetings of the -- that would become, I
      5     guess, the managers of LTL.
      6     Can you tell me about those, please,
      7     or describe those?
      8     A: People who are now members --
      9     board -- board managers, we were included in --
      10    in briefings by lawyers on the history of the
      11    safety of talc and -- and some matters like that.
      12    Q: Okay. And was this part of the seven
      13    hours, were those meetings part of that seven
      14    hours you were talking about?
      15    A: Yes.


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Page 163
 163 :1     Q: Okay. And how many of those, if you
      2     recall, how many of those types of meetings do
      3     you think you had?
      4     A: I know there were two, potentially
      5     three, but I know of two.
      6     Q: Okay. And were those between the 8th
      7     and the 14th, would you say?
      8     A: Yes. Yes.
      9     Q: Okay. Great. All right. And so
      10    coming back, have you had -- since October 14th,
      11    have there been any more LTL board meetings?
      12    A: There have not been formal meetings,
      13    but we -- we have met at least pretty much
      14    weekly. Sometimes a couple times a week we get
      15    together and talk.


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Page 167
 167 :16    Q: What's your understanding of what a
      17    qualified settlement fund is in bankruptcy?
      18    A: My understanding -- and it's --
      19    it's -- you know, my understanding is it's --
      20    it's a fund that would be used as -- as -- for
      21    the bankruptcy court to resolve the claims.
      22    Q: Okay. And do you recall -- strike
      23    that.
      24    In this case, has -- is there a
      25    proposed quantum or amount that J&J would fund to
 168 :1     the LTL qualified settlement fund? Are you
      2     familiar with that?
      3     A: Yes. Yes. There is a figure. Yes.
      4     Q: Okay. And what is that figure?
      5     A: Two billion dollars.
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Page 168
 168 :8      So -- just so I make sure I connect
      9      your understanding of what a qualified settlement
      10     fund is to that number -- that two billion
      11     dollars would be available to satisfy talc
      12     claims, correct?
      13    A: That's my understanding, yes.
      14    Q: Okay. How was that two billion
      15     dollar figure arrived at?
      16    MS. BROWN: Objection. Foundation,
      17     speculation.
      18    THE WITNESS: I -- I don't know that
      19     answer.
      20    BY MR. JONAS:
      21    Q: Okay. Well, did you negotiate it?
      22    A: No.
      23    Q: Okay. So how do you know that two
      24     billion dollars is going to be enough to satisfy
      25     talc claims?
 169 :1     MS. BROWN: Objection. Foundation.
      2     THE WITNESS: I -- I don't know
      3      either way. I -- what I -- what I do know is
      4      that we believe our talc is safe and the claims
      5      have no merit; but there are these -- these huge
      6      settlements that, frankly, we don't believe were
      7      based in science; and, you know, I don't know
      8      what those could be at some point; and we've
      9      talked about that. But the two billion is a --
      10     is a good start.
      11    BY MR. JONAS:
      12    Q: Oh, okay. So have you talked to
      13     anybody about the fact that that's only a
      14     starting number; that it, in fact, will -- it
      15     will be more than that?
      16    MS. BROWN: I object. Misstates his
      17     testimony.
      18    THE WITNESS: Yeah. There's a
      19     funding agreement, and the two billion is -- is
      20     essentially part of that funding agreement --
      21    BY MR. JONAS:
      22    Q: Uh-huh.
      23    A: -- which says JJCI and J&J will fund,
      24     you know, the settlement up to the value of old
      25     JJCI. The two billion is really, I guess, an
 170 :1      advance towards that.


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Page 171
 171 :13    Q: Okay. So let me ask you: Who came
      14     up with the two billion dollar figure?
      15    MS. BROWN: Objection. Foundation.
      16    THE WITNESS: As I said, I don't
      17     know.
      18    BY MR. JONAS:
      19    Q: Well, when someone said to you or
      20     explained to you that we're going to put up two
      21     billion dollars to fund LTL's liability, did you
      22     say, well, how about some more? Can I get more?
      23    A: No. I did not.
      24    Q: Why not?
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      25    A: Frankly, I thought the two billion
 172 :1     was a great start, and hopefully, not even two
      2     billion is needed, but that's not my decision.
      3     Q: Okay. Well, what analysis did you do
      4     that led you to conclude that two billion dollars
      5     was, quote, unquote, a great start?
      6     A: Because it's a lot of money.
      7     Particularly, when we believe that the -- our
      8     talc is safe and does not cause cancer and the
      9     claims don't have merit. I mean, two billion's a
      10    lot of money.


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Page 172
 172 :21    Q: And you didn't do any analysis to
      22    estimate or project future liability, correct?
      23    A: Nope. Other than -- nope. I don't
      24    mean to say nope.
      25    No, we didn't. Other than, like I
 173 :1     said, we looked at the numbers, looked at the
      2     number of claims projected forward. That -- it's
      3     hard -- it's very hard to actually project what
      4     it might be. But, again, we -- we stand behind
      5     the safety of the product and, you know, I don't
      6     know where it'll end up.
      7     Q: Okay. Would you agree with me that
      8     the funding agreement is the most important asset
      9     of LTL?
      10    A: It's very important. I would say
      11    that, yes.
      12    Q: Do you think it's the most important
      13    asset?
      14    A: I think it's very, very important,
      15    yes.


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Page 173
 173 :22    Was there any negotiation by LTL of
      23    the funding agreement?
      24    A: Not -- not with myself or our board,
      25    no.


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Page 178
 178 :17    Q: Okay. And -- and did you -- from the
      18     time you got the document -- first got the
      19     document, were -- were any changes made at your
      20     request?
      21    A: No.
      22    Q: Okay. So, basically, you got the
      23     document and you signed it, right?
      24    MS. BROWN: Objection. Misstates
      25     testimony.
 179 :1     THE WITNESS: Well, I said -- as I
      2      said, I reviewed the document. I read the
      3      document, asked any questions I had about it, and
      4      then I signed it.
      5     BY MR. JONAS:
      6     Q: Okay. What questions did you have
      7      about it?
      8     A: I don't recall.
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      9     Q: Do you think it was -- do you know
      10    how many questions you had?
      11    A: Not -- not -- I would guess not a
      12    lot, because I think the language is quite clear
      13    in it, and it's quite understandable.


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Page 180
 180 :9      In connection with the decision to
      10     file LTL for bankruptcy, was there any specific
      11     analysis as to the impact on talc claimants? Do
      12     you recall whether there was?
      13    MS. BROWN: Objection. Vague.
      14    THE WITNESS: Yeah. What do you mean
      15     by impact?
      16    BY MR. JONAS:
      17    Q: Well, was there any analysis done of
      18     whether talc claimants, whether their rights
      19     would be abridged in any way by the LTL -- the
      20     restructuring that was taking place?
      21    MS. BROWN: Objection. Vague.
      22     Foundation.
      23     Mr. Wuesthoff, if you understand, and
      24     if you know, you're free to answer.
      25    THE WITNESS: Yeah. They're -- what
 181 :1      we discussed is claimants are no worse off, in
      2      fact, we think better off with this arrangement.
      3     BY MR. JONAS:
      4     Q: Okay. I'm just -- I just am back
      5      to -- I appreciate that. I know you said that.
      6      I just want to know specifically what
      7      analysis you did to arrive at that conclusion?
      8     A: The -- the analysis was, frankly,
      9      pretty straightforward in that we have what old
      10     JJCI had, plus the QSF funding agreement and --
      11     the QSF, including this funding agreement, which
      12     JJCI did not have.
      13    Q: And did you hire any experts to help
      14     you reach that conclusion?
      15    MS. BROWN: Objection. No
      16     foundation.
      17    THE WITNESS: No. No.


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Page 189
 189 :1     Do you understand, even as you sit here, that as
      2     a result of the bankruptcy, certain talc
      3     litigation has been stayed or stopped?
      4     A: I am aware.
      5     Q: Okay. When did you first become
      6     aware of that?
      7     A: I don't remember exactly.
      8     Q: Was it after the bankruptcy?
      9     A: You mean after the filing?
      10    Q: Yes.
      11    A: No. I believe it was before that.
      12    Q: Okay. So you knew before the
      13    bankruptcy filing that one of the things that
      14    would happen once LTL filed was there would be a
      15    stay or stoppage of talc litigation, right?
      16    A: Yes. Correct.
      17    Q: Okay. All right.
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      18    A: It was not discussed, though.
      19    Q: Okay. But you knew that?
      20    A: Yeah.


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Page 190
 190 :12    Q: Well, how did you anticipate those
      13    would be resolved as you -- to use your words?
      14    How was that going to happen?
      15    A: That they would go into -- into a
      16    bankruptcy; there would be a trust that would be
      17    funded; and the bankruptcy court would handle
      18    that accordingly.


WUESTHOFF, ROBERT - 12/22/2021
Page 221
 221 :2     A: At a high level is the Royalty stream
      3     that comes from -- and I think in this case, this
      4     is Lactaid -- those royalties -- the royalty
      5     income comes to Royalty A&M.
      6     Q: Okay. And do you know -- do you know
      7     how much RAM paid for this?
      8     A: I do. It's in the -- it's in the
      9     agreement, under price.


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Page 221
 221 :14     But, I guess, my question is: Do you
      15     know who settled on the price? Who -- who -- who
      16     said that's a good price or bad price, or do you
      17     know?
      18    A: I do not know.
      19    Q: Okay. Do you know who would know?
      20    A: I do not.
      21    Q: And -- and do you know -- well,
      22     strike that.
      23     So you're not familiar in any way
      24     with any of the underlying negotiations between
      25     RAM and McNeil that led to this agreement?
 222 :1     A: I'm not aware that any took place.
      2     Q: And you don't even know who -- do you
      3      know who -- with McNeil being on one side of the
      4      table and RAM or somebody being on the other side
      5      of the table, do you know who that was? Was it
      6      someone at J&J?
      7     A: I do not know.
      8     Q: Okay.
      9     A: By the way, the purchase -- the
      10     purchase price is under Section 2.2.
      11    Q: Okay. Let me just take a look.
      12     $315 million?
      13    A: Yep.
      14    Q: And do -- do you think that's a
      15     good -- a fair price?
      16    MS. BROWN: Objection. Foundation.
      17    THE WITNESS: What I did look at was
      18     the -- the recent history of the earnings stream
      19     on that royalty and the discounted cash flow
      20     value moving forward, and it seemed like a fair
      21     price.
      22    BY MR. JONAS:
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      23    Q: Okay. But you don't know if anybody
      24    on the RAM side of the table said, will you take
      25    300 million, or 250 million, or any other amount
 223 :1     lower than 315, right?
      2     A: No. I'm not aware of that.


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Page 223
 223 :9     Q: And see if I can expedite this, Mr.
      10    Wuesthoff.
      11    There's a purchase and sale
      12    agreement, same date, between
      13    McNeil Pharmaceutical Co. and RAM; and then at
      14    1.68, there's a purchase and sale agreement, same
      15    date, between Johnson & Johnson Consumer, Inc.,
      16    and RAM; and then, lastly, at 1.69, there's a
      17    purchase sale agreement of same date between
      18    Johnson & Johnson Consumer, Inc., and RAM.
      19    And if I asked you all the same --
      20    generally the same questions with respect to your
      21    understanding of, you know, who negotiated
      22    et cetera, those -- would your answers generally
      23    be the same?
      24    A: Yes.


WUESTHOFF, ROBERT - 12/22/2021
Page 224
 224 :14    Q: Okay. So if we're looking at 1.72,
      15     it's called an intercompany facility agreement
      16     between Johnson & Johnson and -- and RAM.
      17     You see that?
      18    A: Yep.
      19    Q: And you signed this on behalf of RAM,
      20     right?
      21    A: Correct.
      22    Q: And Ms. Ryan signed this on behalf of
      23     Johnson & Johnson, correct?
      24    A: Yes.
      25    Q: And so what's your understanding of
 225 :1      the purpose of this agreement?
      2     A: This agreement, my understanding, is
      3      to provide funding to RAM to acquire additional
      4      royalty streams outside of JJCI or outside of
      5      Johnson & Johnson, for that matter.
      6     Q: I see. Okay.
      7      And do you know the total amount of
      8      funding that would be provided?
      9     A: Yes. It's -- it's a revolving
      10     $50 million.
      11    Q: Okay. And do you know if anybody
      12     negotiated this on behalf of RAM?
      13    A: I do not.
      14    Q: Okay. And did you get any legal
      15     advice, as president of RAM, in connection with
      16     this document?
      17    MS. BROWN: Objection to the form.
      18     To the extent you understand that,
      19     you can answer, Mr. Wuesthoff.
      20    THE WITNESS: Yep. My understanding
      21     is if RAM requests the money for investment
      22     purposes, then the money will be granted.
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 237 :8     Have you -- have you inquired as to
      9     whether this would have any impact on LTL or its
      10    business?
      11    A: No. I have not.
      12    Q: Have you considered that?
      13    A: Briefly.
      14    Q: And what -- tell me about that
      15    consideration.
      16    A: My consideration is that the funding
      17    agreements remain intact despite that's -- that's
      18    where I am.
      19    Q: Okay. And have you determined -- did
      20    you do any analysis to determine that this -- if
      21    and when this separation takes place, it -- there
      22    won't be any further or additional barriers to
      23    LTL or LTL or claimants -- talc claimants being
      24    able to collect or get funding from
      25    Johnson & Johnson?
 238 :1     A: Well, yeah. No. I -- I've had no
      2     discussion about it. I would imagine that'll be
      3     a lawyer discussion at some point, but I would
      4     expect Johnson & Johnson will honor its
      5     commitments. And I would -- personally, based on
      6     the integrity of all the executives at J&J, I
      7     don't see this as a problem.
      8     Q: Okay. Just to -- just to be clear,
      9     you haven't done -- you haven't -- as president
      10    of LTL, you haven't done or commissioned any
      11    analysis as to the impact of this on LTL,
      12    correct?
      13    A: Correct.


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 249 :19    Q: Okay. So at any no point in your
      20    career did you have any role or responsibility
      21    with regard to selling talc at all, right?
      22    A: Correct.


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 250 :10    Q: Okay. And did you -- were you
      11    involved in any negotiations wherein LTL would
      12    take on any talc liabilities for any other
      13    companies other than JJCI?
      14    A: No.


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 283 :25    Q: You had testified earlier that the
 284 :1     two million dollars [sic] potentially contributed
      2     to a qualified settlement fund was a start and it
      3     -- the fund could be funded up to the value of
      4     old JJCI.
      5     Do you recall that testimony?
      6     MS. BROWN: Misstates the testimony.
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      7     I object.
      8     BY MR. DINE:
      9     Q: Do you recall that testimony?
      10    A: I don't recall those exact words,
      11    but, yeah, I said the two billion dollars is a
      12    significant amount, and it could -- it could be
      13    the beginning or a start, if you will, but it's a
      14    significant amount and maybe it is sufficient.
      15    I, frankly, don't know.
      16    But, again, we stand behind the fact
      17    that we don't believe the claims have merit, in
      18    which case the two billion would be sufficient,
      19    maybe more than sufficient. But I -- you know,
      20    that's -- that's up to the bankruptcy court,
      21    assuming it would go there to determine that.


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 285 :19    Q: Mr. Wuesthoff, you testified that you
      20     reviewed the amended and restated funding
      21     agreement. Do you recall that testimony -- that
      22     testimony?
      23    A: Yes. Yes.
      24    Q: In your review of that document, did
      25     you conclude -- come to a conclusion about the --
 286 :1      what the JJCI value is under that agreement?
      2     MS. BROWN: Objection. Asked and
      3      answered.
      4     THE WITNESS: Yes. No. We did not.


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 333 :14    Q: Okay. Do you -- did you and do you
      15    defer to others to calculate precisely the value
      16    of LTL's assets?
      17    A: Yeah. That's --
      18    MR. MORRIS: Objection, yeah, to the
      19    form of the question.
      20    BY MS. BROWN:
      21    Q: You can answer.
      22    A: I get to answer, right?
      23    Q: You do, sure.
      24    A: Yes, my CFO.
      25    Q: Okay. Did you, nevertheless,
 334 :1     understand -- without that precise dollar figure,
      2     do you nevertheless understand LTL to be in
      3     financial distress?
      4     A: Yes. In financial distress, correct.
      5     Q: And what was that understanding based
      6     on, Mr. Wuesthoff?
      7     A: It was based on the uncertainty and
      8     volatility around the -- what I would call the
      9     extreme number of cases that were growing and
      10    the -- the huge exorbitant settlements on several
      11    of those. That's what we based our thinking on.
      12    Q: You were --
      13    A: And the fact -- and the fact these
      14    were going to continue for at least another
      15    60 years, probably, based on the latency of the
      16    cancer.
